Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 1 of 203




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION




        REIYN KEOHANE,                        )
                                              )
                     Plaintiff,               )
                                              )
              v.                              ) Case No. 4:16cv511-MW/CAS
                                              )
        JULIE JONES in her official           )
        capacity as Secretary,                )
        Florida Department of                 )
        Corrections, and TERESITA             )
        DIEGUEZ, Director of                  )
        Everglades Correctional               )
        Institution,                          )
                   Defendants.                )


                                  - - -
          THE TELEPHONIC DEPOSITION OF STEPHEN B. LEVINE, M.D.
                             MAY 15TH, 2017
                                  - - -


                     Telephonic deposition of STEPHEN B. LEVINE,

        M.D., as if upon Cross-Examination before Christine A.

        Schirripa, a Registered Professional Reporter, Certified

        Reporting Instructor, and Notary Public in and for the

        State of Ohio, on Monday, the 15th day of May, 2017, at

        Northeast Court Reporting, LLC, 5075 Taylor Drive,

        Bedford Heights, Ohio, commencing at 10:02 a.m.



                                           - - -




                   Northeast Court Reporting, LLC
                     (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 2 of 203
                                                                        2



   1
                                       APPEARANCES:
   2

   3

   4                         On Behalf of Plaintiff:

   5                         KIRKLAND REID, ESQUIRE

   6                                Jones Walker

   7                         RSA Battle House Tower

   8                  11 North Water Steet, Suite 1200

   9                         Mobile, Alabama         36602

  10                              (251) 439-7513

  11                         kreid@jones.walker.com

  12

  13

  14

  15                         On Behalf of Defendant:

  16                         LESLIE COOPER, ESQUIRE

  17                          Senior Staff Attorney

  18                            LGBT & HIV Project

  19                   American Civil Liberties Union

  20                             125 Broad Street

  21                       New York, New York           10004

  22                              (212) 549-2584

  23                             lcooper@aclu.org

  24

  25




                   Northeast Court Reporting, LLC
                     (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 3 of 203
                                                                               3



   1                                   I N D E X

   2    Witness                                                    Page

   3    Stephen B. Levine, M.D.
             Cross-Examination by Ms. Cooper . . . . .               5
   4

   5

   6

   7    OBJECTIONS                                                  Page

   8

   9    By Mr. Reid. . . . . . . . . . . . .              49, 53, 108, 121,
                                                         132, 135, 137, 140,
  10                                                     141, 145, 147, 148,
                                                         168, 170
  11

  12

  13

  14                              E X H I B I T S

  15                  Description                                    Page

  16    1            Expert Witness Disclosures . . . .              8
        2            Department of Corrections Document             46
  17    3            Confidential Transcript. . . . . .            119

  18

  19

  20

  21

  22

  23

  24

  25




                   Northeast Court Reporting, LLC
                     (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 4 of 203
                                                                          4



   1                          STEPHEN B. LEVINE, M.D.,

   2                called by the Defendant for the purpose of

   3           Cross-Examination, as provided by the Federal Rules

   4           of Civil Procedure, being by me first duly sworn, as

   5           hereinafter certified, deposes and says as follows:

   6                                       - - -

   7                              CROSS-EXAMINATION

   8    BY MS. COOPER:

   9           Q.      Good morning.        My name is Leslie Cooper.   I'm

  10    with the ACLU, and I am counsel for the plaintiff in this

  11    case, Reiyn Keohane.         I understand you've had your

  12    deposition taken before, Doctor; is that correct?

  13           A.      Yes.

  14           Q.      And about how many times?

  15           A.      Perhaps a half dozen.

  16           Q.      Okay.     So you know the routine, but I'm going

  17    to go over some ground rules just to make sure we're all

  18    on the same page.

  19            First, since the court reporter needs to transcribe

  20    everything we all say, I'll ask you to make sure to

  21    answer verbally and with words, rather than "uh-huh" or

  22    "huh-uh," because that's pretty hard to type, and not to

  23    nod.    Is that okay?

  24           A.      I'll try.

  25           Q.      Okay.     And I'll do my best and ask you to do




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 5 of 203
                                                                             5



   1    your best to avoid speaking over one other, because that

   2    also makes it very hard for the court reporter to type

   3    down what we're saying.         Okay?

   4          A.       I'll try to be polite.

   5          Q.       Okay.    And if you need a break at any point,

   6    that's fine.     I don't know how long we'll be, but if you

   7    need a break, just let me know, and I'll just ask that if

   8    there's a pending question or line of questions, that I

   9    finish that or we finish that before taking a break, and

  10    then I'll find a time as quickly as possible.            Okay?

  11          A.       That's fine.

  12          Q.       And last thing and ultimate thing, I guess,

  13    if I ask you a question that is not clear to you or you

  14    don't understand, let me know.            You can ask me to ask it

  15    a different way.

  16           If you do answer a question, I will assume you

  17    understood it.       Okay?

  18          A.       Okay.

  19          Q.       Great.    And the last question is, is there

  20    anything that would prevent you from giving full and

  21    complete and truthful testimony today?

  22          A.       I can't think of anything.

  23          Q.       Okay.    No medication or anything that would

  24    prevent from you doing so?

  25          A.       No.




                   Northeast Court Reporting, LLC
                     (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 6 of 203
                                                                        6



   1          Q.      Okay.     Great.     So is that right that you have

   2    been retained as an expert witness by the FDOC, the

   3    Florida Department of Corrections?

   4          A.      Yes.

   5          Q.      And what were you specifically asked to do

   6    related to this case?

   7          A.      To give an opinion about the medical

   8    necessity of long hair and underwear for this young man.

   9          Q.      Okay.     And you're referring to Plaintiff

  10    Reiyn Keohane?

  11          A.      Yes.

  12          Q.      Uh-huh.     And when you refer to Reiyn as a

  13    young man, is that because you view Reiyn as a man as

  14    opposed to a woman?

  15          A.      Well, he's a natal man who presents himself

  16    as a transwoman, and so I probably should have said for

  17    this young woman who resides in a male prison.

  18          Q.      Okay.     And can you tell me if you did

  19    anything today or if you've done anything, not

  20    necessarily today, but at any point, to prepare for

  21    today's deposition?

  22          A.      I did.

  23          Q.      Okay.     Tell me what you did.

  24          A.      I reread my report several times, I reread

  25    Dr. Brown's report and his rebuttal to my report, I read




                   Northeast Court Reporting, LLC
                     (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 7 of 203
                                                                                    7



   1    several articles that I have recently published, and I

   2    read a report of another expert from the west coast.                      I'm

   3    blocking on his name, Dr. Groten.

   4            Q.      Would that be Dr. Gorton?

   5                            MR. REID:       Yes.

   6            A.      Gorton, yes, sorry.

   7            Q.      (BY MS. COOPER)         Okay.     Anything else?

   8            A.      Well, you know, I had -- no.               I think that

   9    was it.

  10            Q.      And did you talk with counsel?

  11            A.      Yes.

  12            Q.      Okay.     And did you talk to anyone else about

  13    the case in preparing for the deposition?

  14            A.      No.

  15            Q.      Did you talk to anything else about the case

  16    at any point?

  17            A.      I think I told the gist of the case to my

  18    wife and told her what I was doing today.                   And she asked

  19    about what was it about, and I refreshed her memory that

  20    I went to Florida to interview this person, but not in

  21    any detail.

  22            Q.      Okay.     Anybody else besides counsel and your

  23    wife?

  24            A.      Well, I told my staff I wouldn't be in, and

  25    they know I'm having a deposition, but they have no idea




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 8 of 203
                                                                                    8



   1    what it's about.

   2          Q.       Okay.     And anybody else that you talked to

   3    about the case?

   4          A.       No, I haven't discussed the case with anyone.

   5          Q.       Okay.     I'd like to mark a document that I've

   6    previously called Document 1 and mark that as Levine 1 as

   7    an exhibit.

   8                                       - - -

   9               (Whereupon, Levine Exhibit 1 was marked

  10                           for identification.)

  11                                       - - -

  12          Q.       (BY MS. COOPER)         Dr. Levine, you'll see

  13    what's been marked as Levine Exhibit 1.                   It's a document

  14    on the front page entitled, "Defendant, Teresita

  15    Dieguez's, Expert Witness Disclosures."                   And then if you

  16    turn three pages in, there is, on your letterhead, I

  17    believe, Levine, Risen & Associates, a letter dated

  18    January 6th, 2017.        Are you seeing that with me?

  19          A.       Yes.

  20          Q.       Okay.

  21          A.       It looks like my report.

  22          Q.       And you anticipated my question.                So this is

  23    the report you wrote in this case?

  24          A.       I presume so, yes.

  25          Q.       Do you need to take a look to make sure?




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 9 of 203
                                                                                9



   1          A.      Well, it's my report.

   2          Q.      Okay.     And did anyone besides you contribute

   3    to writing this report?

   4          A.      There's a rough draft of the report that was

   5    sent to the attorneys, and they told me I left out

   6    certain things, and so I had to put in things like my

   7    past related legal and educational work and so forth.

   8          Q.      Okay.     Did anybody else contribute to this

   9    report?

  10          A.      No.

  11          Q.      Did anybody contribute to writing this?

  12          A.      No.     This is my -- this is my handiwork.

  13          Q.      Okay.     And towards the top of the first page

  14    of the report, we read certain records that -- excuse me,

  15    we're getting a feedback.          I don't know if something

  16    changed in there.

  17          A.      I moved closer to the microphone.          Now I'll

  18    go back.

  19          Q.      Dr. Levine, on the front page you mentioned

  20    five numbered items of records that you reviewed.               Those

  21    were records you reviewed prior to writing your report;

  22    is that correct?

  23          A.      Yes.

  24          Q.      And since you have written the report or

  25    since you've reviewed those records, are there any other




                   Northeast Court Reporting, LLC
                     (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 10 of 203
                                                                           10



    1    records or documents that you read in this case besides

    2    the ones you mentioned to me earlier, which I'll repeat

    3    just to make sure you remember?              You mentioned

    4    Dr. Brown's report and rebuttal report, articles that you

    5    recently published, and Dr. Gorton's report in this case.

    6           Are there any other documents you've reviewed in

    7    this case or for this case?

    8         A.        I can't think of any.

    9         Q.        Okay.     And you conducted an evaluation of

   10    Reiyn Keohane, correct?

   11         A.        Yes.

   12         Q.        Uh-huh.     And on the document listed here it

   13    includes, "Keohane's DOC Medical Records Labeled Active

   14    Volume II."     Do you know whether that was her complete

   15    prison medical file?

   16         A.        It was a -- I couldn't say I know for sure it

   17    was a complete file.         It was the file that the attorneys

   18    thought that I needed to see.             I just can't tell you that

   19    it's the complete file.          It's what I read, that's all.

   20         Q.        Okay.     Do you recall approximately how many

   21    pages of documents were there?

   22         A.        About an inch worth.

   23         Q.        Okay.     And about how long did it take you to

   24    review those records?

   25         A.        I'm just guessing now.            Four hours.




                   Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 11 of 203
                                                                           11



    1         Q.        Okay.     You have a private practice in Ohio;

    2    is that correct?

    3         A.        I do.

    4         Q.        And do you have areas of specialization in

    5    your practice?

    6         A.        Yes.    I'm known to be -- have a specialty

    7    interest in all matters that relate to human sexual

    8    behavior.     So that involves sexual dysfunction, marital

    9    disharmony, sexual identity concerns involving gender,

   10    orientation, and paraphilia.            And we often see people

   11    whose sexual patterns run them, get them in trouble with

   12    the law.     So sexual identity, sexual dysfunction, marital

   13    relations are the three dimensions of my specialty

   14    interests.     And I have an academic interest, that is, a

   15    scholarly interest in those subjects.

   16         Q.        Okay.     Approximately how many patients are

   17    you currently treating?

   18         A.        Well, the center I run has between 12,000 and

   19    13,000 visits a year, and I have anywhere -- depending on

   20    the day, I have between 14 and 16 people in my practice.

   21    I see about, I would say, 28 to 32 hours of patient care

   22    per week, so I'm deeply involved in the actual delivery

   23    of care.

   24         Q.        Okay.     So when you say your center has about

   25    12,000 to 13,000 visits a year, that's not separate




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 12 of 203
                                                                                   12



    1    patients; is that right?

    2            A.      That's right.        That's the total number of

    3    visits.      A particular patient may come six times or 26

    4    times or one time.

    5            Q.      Can you estimate approximately how many

    6    different patients you have seen, say, over the past

    7    year?

    8            A.      Personally?

    9            Q.      Yes.

   10            A.      Well, let's just assume I work 47 weeks a

   11    year and multiply that by 30, so I guess that's about

   12    1,500.

   13            Q.      Different patients or patient visits?

   14            A.      Those are patient visits.             So different

   15    patients, I'm just guessing, 250.

   16            Q.      Over the course of the year, approximately?

   17            A.      Yes.

   18            Q.      Okay.     And are you currently treating any

   19    patients with gender identity issues or gender dysphoria?

   20            A.      Yes.

   21            Q.      How many?

   22            A.      Well, it depends on currently -- you know,

   23    what we mean by currently treating.                I am currently

   24    involved with a person who's lived for 32 years as a

   25    woman who's now living again as a man.                     I'm going to see




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 13 of 203
                                                                               13



    1    in three days a person who's never had sex reassignment

    2    surgery but has been living as a woman for many years,

    3    probably 30 years.        We run -- I run two conferences a

    4    week, and my staff always presents transgender patients

    5    to me.    So in any given month, I'm always involved with a

    6    transperson or people who are considering becoming a

    7    transperson.

    8             I see a lot of people who struggle with the

    9    elements of masculinity and femininity within themselves

   10    who are not publicly presenting themselves as a

   11    transperson.

   12             So I tend to have long-term relationships with

   13    people, and so do the people in my center.                So in any

   14    given month, you know, I may see and be involved with two

   15    or three people.       But I've been doing this for 44 years,

   16    so my center and I have accumulated, you know, hundreds

   17    of people we've seen over the years.

   18         Q.        And you have, according to the letterhead on

   19    your report, about 12 other doctors or social workers or

   20    others who work at the center; is that right?

   21         A.        That's right.

   22         Q.        Okay.     So in terms of the personal patients,

   23    people you see personally, how many people who have

   24    gender dysphoria or identify as transgender have you seen

   25    in the past year?




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 14 of 203
                                                                            14



    1         A.        Probably in my office with me conducting the

    2    interview, probably ten.           We're talking about separate

    3    people, not, you know, one person three times or

    4    something.

    5         Q.        That's right.

    6         A.        You know, I'm just guessing, really.

    7         Q.        Okay.     Is that typical over the years for

    8    your practice, that you personally would see about ten

    9    patients with gender dysphoria or who are transgender

   10    over a given year?

   11         A.        Well, the -- in recent years, the number of

   12    people coming has increased.            In the '80s -- in the '70s

   13    and '80s we were very busy.            In fact, we collected 300

   14    patients.    We stopped counting at 300 patients in the

   15    mid-'80s, and it sort of quieted down probably in the

   16    early '90s, and I would just say in the last ten years,

   17    particularly the last five years, there's been an

   18    increased number of patients coming through our center.

   19           I tend to want to give the experience of these

   20    patients to my younger colleagues and to supervise them.

   21    And so I don't -- you know, I don't grab all the patients

   22    and keep them for myself.

   23         Q.        Okay.     And can you describe the type of

   24    treatment you provide when you're working with patients

   25    who have gender dysphoria?




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 15 of 203
                                                                           15



    1         A.        Yes.     We have an extensive initial

    2    evaluation.     We tell the people in the beginning that we

    3    like to see them for between four and six hours of

    4    individual treatment.         If they have a wife, we want to

    5    see their wives.        If they have parents, we'd like to meet

    6    their parents.        We do psychological testing.        And

    7    sometimes we then, at the end of that time, we present --

    8    we have the patient come in to our staff and interview

    9    our staff.     So the initial evaluation often takes several

   10    months, sometimes three months, and then we make a

   11    decision about what to do.

   12           What we tend to do is try to keep them in an

   13    ongoing relationship with us to further explore this

   14    momentous decision that they're considering.              But

   15    sometimes at the end of the evaluation we recommend

   16    hormone treatment, we send them to an endocrinologist,

   17    and we even -- so they may have an evaluation, they may

   18    have hormones, they may come in and see us periodically

   19    when they're having hormones.             And if they still persist

   20    in wanting to have sex reassignment surgery, then we

   21    refer them to -- we give them a letter for sex

   22    reassignment surgery, give them a letter of

   23    recommendation, which contains our extensive evaluation,

   24    our sense of their strengths and their limitations, and

   25    that we support the idea that, in this particular case,




                   Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 16 of 203
                                                                                16



    1    sex reassignment surgery or hormones, we support this for

    2    the treatment.      The endocrinologists that we use and the

    3    surgeons appreciate and require such letters, so we have

    4    historically provided that for decades.

    5         Q.        Okay.     And what about social transition, is

    6    that a term that you use and understand, social

    7    transition?

    8         A.        I understand the term.

    9         Q.        Okay.     Is there a better term that you use in

   10    your work?

   11         A.        Well, historically we used to call that the

   12    real-life experience or the real-life test.               But social

   13    transitioning is, I think, a much more neutral and better

   14    term for the presentation of the self in the aspired-to

   15    gender.

   16         Q.        And in your work with patients, do you work

   17    with them in socially transitioning or engaging in the

   18    real-life experience?

   19         A.        Well, we participate -- we conduct our work

   20    with them while they're doing that.               I don't know what

   21    participate means other than that.

   22         Q.        Okay.     Do you ever recommend that they begin

   23    the real-life experience or social transitioning as part

   24    of their treatment?

   25         A.        We talk about the fact that the establishment




                   Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 17 of 203
                                                                               17



    1    of the sense of self as a transperson or the decision

    2    that my life would be better if I were living as a woman

    3    or a man is a fantasy.          It's an intrapsychic process.

    4    It's a decision that people make that they're unhappy as

    5    they are, and they've long had a fantasy that they would

    6    be better off as a woman.           And so it's very clear that

    7    that's -- that fantasy or that conviction or that

    8    judgment that they make is one thing.                But presenting

    9    itself as woman, I'm just going to just talk about the

   10    male to female rather than always having to talk about

   11    female to male and male to female.               Is that all right?

   12         Q.        Sure, sure.

   13         A.        So the experience of presenting themselves

   14    socially, vocationally, educationally, interpersonally

   15    and with the family and with former friends, that's not

   16    something that one can quite predict how one is going to

   17    react and in particular how other people are going to

   18    react.

   19             And so it's understood by the patient and ourselves

   20    that it's a very important thing before one makes this

   21    final momentous decision, for example, to have sex

   22    reassignment surgery or gender conforming surgery, that

   23    you go ahead and do this, because we could anticipate

   24    certain reactions, but there are certain unanticipated

   25    events and processes that are going to occur, and you




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 18 of 203
                                                                              18



    1    have to master those in order to remain mentally healthy.

    2             And so the real-life experience or the presentation

    3    of the self in the new gender is something that you need

    4    to do.    We would really not give people permission, for

    5    example, for sex reassignment surgery if they insist that

    6    they only will present themselves as a woman after they

    7    have sex reassignment surgery.             We really feel strongly

    8    that the real-life experience is an important process of

    9    the decision making that requires taking the fantasy that

   10    my life will be better as a woman and actually living --

   11    attempting to live as a woman.

   12         Q.        Okay.     And I see.       So it's important for

   13    making the decision -- the real-life experience is

   14    important for making the decision about whether to take

   15    certain steps, such as sex reassignment surgery.             But I'm

   16    wondering if real-life experience or social transition,

   17    does that help alleviate the gender dysphoria itself?

   18         A.        It can, and that's what I'm saying.          It can,

   19    but you need to understand that sometimes it creates so

   20    much anxiety that the person then gives up the idea and

   21    returns to their male role, and then we talk about how is

   22    it that a man, any man integrates the feminine parts of

   23    his soul with the masculine parts of his soul.

   24             And there are many different combinations, what I

   25    like to call the gender mosaic, which is a universal




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 19 of 203
                                                                         19



    1    phenomenon.     There are many different combinations of how

    2    to be a man in the world, and the patient's ideas, often

    3    formed when the patient was a youngster, are relatively

    4    naive compared to the adult varieties of combining

    5    masculine and feminine into a male presentation.

    6           So it's -- you know, it's a very interesting,

    7    complicated, nuanced phenomenon, realizing that, say, a

    8    12-year-old decides that he can't live -- he is a woman

    9    and has very little idea as a 12-year-old's understanding

   10    of masculinity and femininity of adult life, of the roles

   11    that an adult plays.         He's a 12-year-old person, a

   12    13-year-old person.        So we need to be thoughtful about

   13    these things, because, of course, it's a momentous life

   14    decision.

   15         Q.        Going back to the patients that you see, and

   16    you estimated maybe ten or so patients with gender

   17    dysphoria or who are transgender in the past year or so,

   18    have you recommended -- or let me rephrase that.

   19           Have you given letters for surgery for any patients

   20    in the last year?

   21         A.        Yes.

   22         Q.        Yes?    And have you sent patients to

   23    endocrinologists for hormone therapy in the past year?

   24         A.        Yes.

   25         Q.        Okay.     And how many of your ten or so




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 20 of 203
                                                                           20



    1    patients in the past year determined after real-life

    2    experience not to transition?

    3         A.       I'm sorry.       You ask how many of the patients

    4    in the last year decided not to transition?

    5         Q.       Yes.

    6         A.       Well, one.

    7         Q.       Just one.      And the rest went forward with

    8    their process of transitioning?

    9         A.       Well, some of the people, you know, I've seen

   10    in the last year I've seen for a number of years.

   11         Q.       Uh-huh.

   12         A.       Let me modify that.           I just thought, there's

   13    a second person.       So two.

   14         Q.       Two.     And would you say, of your patients

   15    generally with gender dysphoria or gender identity

   16    issues, that the majority of them ultimately decide not

   17    to transition, or is that more the exception?

   18         A.       No.     I think the majority of them persist in

   19    the transitioning.       One needs to understand, however,

   20    that in America, the United States, the follow-up of

   21    patients who are seen for gender identity disorder is

   22    very limited.       Many of these patients know what they

   23    want, and if they can't get what they want, they go

   24    elsewhere to get what they want.

   25           And even doctors who see many, many, patients, you




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 21 of 203
                                                                              21



    1    know, although it may seem like ten is a small number

    2    when other people claim to have seen 300 or something,

    3    many of these people are seen once or twice or three

    4    times, and then they're lost to follow-up.

    5           Our center tries to have long-term relations with

    6    people, and, therefore, it tends to create people who

    7    value discussion about this momentous life change and who

    8    value a close, trusting relationship with a therapist.

    9    So I guess that's my answer.

   10         Q.       Okay.     I'm understanding that there are

   11    patients who are lost to follow-up.              Sitting here now,

   12    you're not aware that the majority of your patients who

   13    have transitioned have reverted back; is that correct?

   14         A.       Oh, no, I'm not aware of that.

   15         Q.       Okay.

   16         A.       The truth is, I don't know what the majority

   17    of the people I've seen over the 44 years, I don't know

   18    how they're living today.

   19         Q.       Okay.     You mentioned you have a scholarly

   20    interest in gender identity issues and some of the other

   21    areas involving human sexuality.

   22           Have you ever taught classes involving or

   23    addressing treatment for gender dysphoria?

   24         A.       Yes.

   25         Q.       Where did you teach those classes?




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 22 of 203
                                                                                22



    1         A.        Well, in September, last September, I taught

    2    a six-hour seminar in Massachusetts.                In July of 2016, I

    3    did a similar seminar in Idaho.              I've done it in

    4    California.     I have put on a three-hour symposium on

    5    September the 9th at University Hospitals of Cleveland on

    6    the treatment of gender dysphoria.               I read some of the

    7    literature, and I write articles about this.

    8           I've been on national meetings and presented at the

    9    American Psychiatric Association on this.                 I've presented

   10    at the Society for Sex Therapy and Research on this.                  And

   11    that's just my -- you know, this comes to -- I'm sure

   12    there have been more.         I don't keep -- actually, on my --

   13    I don't keep track on my CV of the presentations that I

   14    make, just the publications.

   15         Q.        Okay.     And when you mentioned you taught a

   16    seminar in Massachusettes and another in Idaho last year,

   17    were those at universities or some other kind of

   18    facility?

   19         A.        These were the mental health professionals

   20    who work in the prison correction system.                 They're

   21    corrections professionals.

   22         Q.        Idaho and Massachusetts?

   23         A.        And California.

   24         Q.        Okay.     What year was the California

   25    presentation?      Was that also in '16?




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 23 of 203
                                                                                   23



    1         A.       Oh, no.     I think that was probably in '14.

    2         Q.       Okay.     And when did you present on the topic

    3    of treatment for gender dysphoria at the APA?

    4         A.       I think either 2013 or 2014.

    5         Q.       Okay.     And what did you present?              What did

    6    you talk about when you presented at the APA?

    7         A.       Well, it was a symposium, and Kenneth Zucker,

    8    Heino Meyer-Bahlburg, and Peggy Cohen-Kettenis and I had

    9    a symposium on -- I can't exactly remember the title of

   10    symposium, but we were raising questions about the

   11    treatments of gender dysphoria, the policies about gender

   12    dysphoria, what we know about persistence and desistance

   13    of childhood gender identity disorder.                   And I spoke a

   14    little bit about the strange thing that identity has so

   15    multiple features in every human being, and yet in

   16    psychiatry the only thing we ever pay attention to about

   17    identity is gender identity, and it tends to be a

   18    distorting process.

   19           My interest in gender identity disorder comes from

   20    the fact that I'm interested in all things involving

   21    human sexuality.      And there are multiple aspects of

   22    identify, of sexual identity, and many aspects of the

   23    gender identity issue ignores the relationship to

   24    orientation and the relationship to intention.

   25           Intention is a term that refers to what a person




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 24 of 203
                                                                                 24



    1    wants to do with their body and wants to do with other

    2    people's body during sex, and the common term for the

    3    unusual intention is paraphilia.              And so I'm -- and

    4    during that symposium, I was trying to remind the

    5    audience that sexual identity, which is sometimes used as

    6    a synonym for gender identity, is wrong.                  It is not a

    7    synonym.    That gender identity is one-third of our sexual

    8    identity, and that every human being, including the

    9    gender dysphoric human beings, every human being is a

   10    mosaic of masculine and feminine, heterosexual and

   11    homosexual, and peaceable mutuality and paraphilic

   12    intentions.     And the evaluation of prisoners and -- I'm

   13    sorry, the evaluation of patients with gender identity

   14    disorder often ignores the other components of sexual

   15    identity.

   16           So I've been over the years a person who's been

   17    just interested in the fundamental basis of the decision

   18    to change gender or to repudiate one's natal sex and

   19    gender identity that comes from one's natal sex, and I've

   20    always been trying to look at this through a

   21    developmental lens.        And so I've been involved in things

   22    that facilitate a thoughtful approach to this rather than

   23    a reflexive approach to this.

   24         Q.        Okay.     Have you taught at any universities on

   25    the subject of gender dysphoria or gender identity?




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 25 of 203
                                                                              25



    1         A.        Yes.

    2         Q.        Which one?

    3         A.        Case Western Reserve.

    4         Q.        Okay.     So I want to go back to the prison

    5    consulting that you mentioned.             And on page 1 of your

    6    report under your credentials, you mention that you were

    7    a consultant to prisons in Massachusetts, California,

    8    Idaho, Virginia, and New Jersey.              You mentioned now a few

    9    minutes ago Massachusetts, California, and Idaho.              Can

   10    you tell me when you consulted in Virginia and New

   11    Jersey?

   12         A.        This answer will be plus or minus one year in

   13    accuracy.

   14         Q.        Okay.

   15         A.        2013.

   16         Q.        For both?

   17         A.        Within 12 months of each other.

   18         Q.        Okay.     And in Virginia and New Jersey, was it

   19    a similar thing, that you presented a seminar?

   20         A.        No.

   21         Q.        What happened there?

   22         A.        In New Jersey they had a particular problem

   23    at a case who was a behavioral problem who couldn't

   24    control his aggressive behavior and had injured guards

   25    and was in long-term sort of isolation or in special




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 26 of 203
                                                                                    26



    1    units for people who are particularly violent.                   And the

    2    person was gender dysphoric.

    3           And so I interviewed that person.                  I should tell

    4    you he was naked, wrapped in a blanket in a cage for my

    5    protection.     And I interviewed that person with the head

    6    of psychiatry, and I wrote a letter of recommendation for

    7    the management of that person.

    8         Q.        Okay.

    9         A.        In Virginia, there was a person who used

   10    to -- had been long-term in prison who had gone from

   11    being a very difficult prisoner, having many

   12    disciplinary, what did you call them, slips or charges

   13    against him and over the years had consolidated a gender

   14    identity, a transgender identity and was struggling to

   15    improve herself and was improving herself and had been

   16    rejected for sex reassignment surgery in the past.                   And I

   17    outlined conditions under which the person could, in

   18    fact, qualify for sex reassignment surgery.

   19         Q.        Uh-huh.

   20         A.        I think that's the answer to your question.

   21         Q.        Was that the De'lonta case?

   22         A.        Yeah.

   23         Q.        Okay.     So there were certain conditions you

   24    thought should be put in place for her to be qualified

   25    for sex reassignment surgery?




                   Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 27 of 203
                                                                                    27



    1         A.       Yes.    I was trying to give the inmate a

    2    pathway towards getting what she wanted, and I thought in

    3    her case that it might be actually quite useful for her.

    4         Q.       Okay.     Can you recall some of the conditions

    5    that you outlined that she should follow or meet?

    6         A.       I don't have that report in front of me, and,

    7    I mean -- I think it had to do with the sort of -- I'm

    8    not going to be able to answer your question very well.

    9    There were four or five things, I think, I recommended,

   10    including knowing that sex reassignment surgery was

   11    possible but that her behavior or cooperation needed to

   12    improve for the next 12 months or so or six months.

   13           And she had gone from really being quite a

   14    disturbed young man to a much more placid human being

   15    that only occasionally was getting into trouble with the

   16    prison rules.     And so, you know, I said that I just --

   17    she had had some kind of recent problem, and we talked

   18    about that, and so I gave -- I forgot.                   Really it's too

   19    long for me to remember.

   20         Q.       Okay.

   21         A.       I'm sure it's in my report.

   22         Q.       Okay.     Now, you mentioned the education of

   23    the seminar last year in the prison in Massachusetts.

   24    Can you tell me what kind of information you provided in

   25    that seminar?




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 28 of 203
                                                                             28



    1         A.       Well, Osborne and Lawrence had published a

    2    paper in the Archives of Sexual Behavior discussing

    3    whether or not any prisoner could get sex reassignment

    4    surgery while in prison.          And so -- and I had published

    5    an article in the Journal of the American Academy of

    6    Psychiatry and the Law just a few months later, I think,

    7    in June of 2016.      And so the concepts in the Osborne,

    8    Lawrence, and my article became the substance of the

    9    presentation.

   10           And I spent a lot of time talking about the

   11    paradigms underneath, the sets of assumptions that are

   12    underneath experts, dueling experts in courtrooms

   13    recommending this or that.          And I talked about the

   14    medical paradigm, the developmental paradigm, the

   15    minority rights, civil rights or human rights paradigm,

   16    and the paradigm of a prisoner.             And I also eventually

   17    added the paradigm of what is called -- what one of the

   18    audience members, one of the psychologists told me was a

   19    justice paradigm.

   20           So what I'm really -- so in the seminar in

   21    Massachusetts specifically is what you asked about -- I'm

   22    sorry, I'm meandering a bit -- I discussed the underlying

   23    assumptions that we make when we invoke that this is a

   24    medical illness, the underlying assumptions that we

   25    invoke when we think this is a developmental process, the




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 29 of 203
                                                                            29



    1    underlying assumptions that we make when we think this is

    2    a minority rights issue, and that all experts tend to

    3    give opinions, but they don't give the underlying

    4    assumptions, but the underlying assumptions are what

    5    determines the opinions.

    6           And I thought that since this is a rich, complex

    7    subject area, that there was something about the court

    8    process, the courtroom process, that forced people to

    9    distort the complexity in order to win a point of view

   10    and that we in corrections, that is, those of us who --

   11    those people in my audience who are taking care of

   12    people, they have a whole different experience, because

   13    they're taking care of people who got themselves into

   14    prison, and these people are not the people who would

   15    qualify for transgender treatments on the -- as

   16    outpatients in the free community.              And so we have these

   17    dilemmas between the use of these paradigms to justify or

   18    to prevent giving transpeople in prison any kind of

   19    treatment.

   20           So we're talking about that rich, complex

   21    interface, all the paradoxes, and the contradictions and

   22    the ethical problems about, you know, that when you

   23    recommend a treatment and you don't know what the outcome

   24    of the treatment will be when a prisoner has never had

   25    sex reassignment surgery on the state's dime or the




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 30 of 203
                                                                                30



    1    federal government's dime, and so it is kind of an

    2    experiment, because these people have such character

    3    problems, they've been so antisocial in such a way, that

    4    as an outpatient in the free society they probably

    5    wouldn't participate responsibly in a treatment program.

    6    So we'd be giving sex reassignment surgery to people

    7    who -- as an experiment.          And, yet, we're not allowed to

    8    experiment with prisoners.

    9           So you can hear the paradox, I hope, in my answer,

   10    that I'm trying to educate the corrections people who

   11    actually take care of these people from week to week and

   12    month to month.       We talk about the countertransference,

   13    that is, what's going on inside the mind of the therapist

   14    as they're trying to balance these forces.               And many

   15    people appreciate my ability to put into words the kind

   16    of inchoate distress that they feel, the ethical distress

   17    that they feel in trying to help these people.               So that

   18    takes me about six hours.

   19         Q.       Okay.     And you talked about the issues of sex

   20    reassignment surgery for prisoners who I think you

   21    described have character problems such that they probably

   22    wouldn't participate responsibly in treatment on the

   23    outside.   Does that mean -- is it your view that sex

   24    reassignment surgery is never appropriate for prisoners

   25    under any circumstance?




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 31 of 203
                                                                          31



    1         A.       May I remind you that in the De'lonta case I

    2    recommended the pathway to sex reassignment surgery.            So

    3    the answer to that question is it is not my view that sex

    4    reassignment surgery is never indicated.

    5         Q.       Okay.     Now, in your work with the

    6    Massachusetts Department of Corrections -- and by the

    7    way, is that work still ongoing, your consulting work

    8    with them?

    9         A.       Yes.

   10         Q.       Okay.     Have you made recommendations

   11    regarding treatment protocols for inmates with gender

   12    dysphoria?

   13         A.       Yes.

   14         Q.       And can you explain that, what kind of

   15    recommendations you've made?

   16         A.       Well, I recommended that the Massachusetts

   17    Department of Corrections set up a program for gender

   18    identity disorder patients and inmates and that they

   19    should meet in a group and have -- and to supervise each

   20    other, that is, to share these arduous decision-making

   21    processes and that people in prison who are identified as

   22    transsexual ought to be in the program.

   23           And so they have actually followed that, and we

   24    have given -- or they have given hormones to a large

   25    number of people.       What's so interesting is that the




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 32 of 203
                                                                             32



    1    numbers of people who are -- well, like in 2006 or 2007,

    2    there were 12 identified prisoners in the state system in

    3    Massachusetts, and today there are far more.

    4           We had no -- there were no women in Framingham,

    5    which is the female prison, who identified as

    6    transsexual, and now, I would say that 80 percent of the

    7    new cases are coming from Framingham.               So what's happened

    8    is that there has always been an overrepresentation in

    9    prisons of transsexual people, but the numbers of people

   10    who are declaring themselves transsexual in prisons seem

   11    to be increasing, as it is increasing in society.

   12         Q.       I'm sorry.       I want to go back to the question

   13    about the treatment protocols.            You mentioned you

   14    recommended setting up a program --

   15         A.       Yes.

   16         Q.       -- to treat patients with gender identity

   17    disorder, I guess, as it was known at the time; is that

   18    correct?

   19         A.       Yes.

   20         Q.       And are there treatment protocols that you

   21    have recommended for those who are working with patients

   22    in that program?

   23         A.       Well, I've recommended that they have regular

   24    meetings with therapy, that prisoners could get hormones,

   25    and so I think that's the answer to your question.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 33 of 203
                                                                                  33



    1         Q.        Okay.

    2         A.        The -- we wanted -- we wouldn't give hormones

    3    to anyone who said I'm trans and I want hormones.                 We

    4    would put them in the program, we would see them for a

    5    number of sessions and decide, say, after six months or

    6    four months, I forget -- the policy -- I don't write the

    7    policies.    There's a committee that writes the policies.

    8    I had a rule in sensitizing the administrators to the

    9    needs of these prisoners, but the specific details of the

   10    program I actually don't articulate, I don't write.                    The

   11    prison officials do that.           But we do have treatment

   12    protocols for the ability to get hormones and special --

   13    sometimes their group meetings for transgender patients,

   14    inmates, so that's part of the treatment too.

   15           There's a special recognition that they're trans

   16    and that we try to educate the corrections staff.                 I

   17    personally don't, but the other people who are on the

   18    gender identity committee do and the administrators do,

   19    you know, that people are addressed as a she, they're

   20    addressed by their preferred female name.                 And so it's

   21    made life a little bit easier for them.

   22           You know, the transpeople have their own unique

   23    form of suffering, and in medicine, doctors put up with a

   24    lot of suffering, but it's the needless suffering that we

   25    are trying to address.          And so we've been able to make it




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 34 of 203
                                                                               34



    1    a little easier for the transpeople in Massachusetts'

    2    prisons.

    3         Q.       And you mentioned that you recommended --

    4    made recommendations regarding therapy, regarding

    5    protocols to get hormones.          What about access to female

    6    clothing or cosmetic items?

    7         A.       Well, that too.

    8         Q.       Okay.     "That too" meaning?

    9         A.       I'm not sure about cosmetics, but certainly a

   10    brassiere.    I mean, it's a male prison, and so they wear

   11    male outer garments.        But those on hormones that have

   12    breast development, they have brassieres, and I actually

   13    think they have female canteen items.               Over the years,

   14    Massachusetts has allowed more and more female canteen

   15    items, so I think they wear female underpants.

   16         Q.       Uh-huh.     Okay.     And what other kinds of

   17    canteen items do they have access to, female canteen

   18    items?

   19         A.       Lotions, I think.

   20         Q.       Uh-huh.     Okay.

   21         A.       But the other thing is that we now -- they

   22    have access to either laser or electrolysis hair removal,

   23    facial hair removal.

   24         Q.       Uh-huh.     You had mentioned a while back

   25    something about articles you've written.                 A quick




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 35 of 203
                                                                                35



    1    question for you.       On your CV, which is attached to your

    2    report and you list articles, it looks like it begins on

    3    page -- yeah, page 4, publications, you have books and

    4    then other categories.         Is this up to date, or are there

    5    articles that you've written on gender dysphoria that

    6    don't appear here?

    7          A.      This CV was sent, I think -- let me just find

    8    it.   Give me a second, please.           There's one article that

    9    is not on here, and that was published about a month ago,

   10    and it's in the Journal of Sex and Marital Therapy, and

   11    it's called, Ethical Concerns About the Emerging --

   12                          THE WITNESS:        Do you have that?

   13          A.      The exact title, Ethical Concerns About the

   14    Emerging Treatments for Adolescent Gender Dysphoria.

   15          Q.      (BY MS. COOPER)         Okay.     Thank you.

   16          A.      It's in EPub form now.            That is, it's

   17    available through the Internet, but it's not yet in hard

   18    published form.

   19          Q.      Okay.

   20          A.      As soon as an article is accepted, it seems

   21    within days now it's available through the Internet.

   22          Q.      Okay.     I want to ask you a few questions

   23    about some of the expert testimony you've done.                 Am I

   24    right that you've testified -- that you testified in

   25    other cases involving prisoners' access to treatment for




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 36 of 203
                                                                             36



    1    gender dysphoria and that those cases are Norsworthy,

    2    De'lonta, Edmonton, Toniqua, Hobart, and Angelina is the

    3    New Jersey case; is that correct?

    4         A.       Yes.

    5         Q.       Okay.     And then you were also an expert

    6    witness in Kosilek, right, for the court?

    7         A.       I think you misstated one thing.           I didn't

    8    testify in the Virginia case; I just wrote a report, two

    9    reports.

   10         Q.       Okay.     Got you.      So then the cases I

   11    mentioned, though, you served as an expert, whether you

   12    testified or not, and these were cases involving access

   13    to treatment for transgender prisoners; is that right?

   14         A.       I don't think I understand your question.

   15         Q.       The list of cases that I mentioned, you were

   16    retained and either wrote a report or testified in those

   17    cases; is that correct?

   18         A.       Right.     Either one, right.

   19         Q.       Yeah.     And they all involve prisoners seeking

   20    access to some form of treatment for gender dysphoria?

   21         A.       Yes.

   22         Q.       Were there any other cases you've been

   23    involved with involving prisoners seeking treatment for

   24    gender dysphoria besides those?

   25         A.       You mean involving either deposition or




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 37 of 203
                                                                         37



    1    testimony in court?

    2            Q.      Or expert report.

    3            A.      Oh, well, if you go back to page 1 of my CV,

    4    the first paragraph under Related Legal and Educational

    5    Work.

    6            Q.      Uh-huh.

    7            A.      Several years after the Kosilek testimony,

    8    the Department of Corrections in Massachusetts had 12

    9    prisoners, and they asked two consultants from the Fenway

   10    Clinic to give an opinion about a treatment plan for each

   11    of these 12 prisoners.           And the treatment plan was

   12    exactly the same for each of these men and women,

   13    transpeople.      They all should have pretty much immediate

   14    sex reassignment surgery.

   15             And this outraged the administration, and they felt

   16    that individual treatment plans for 12 people shouldn't

   17    result in the same recommendation, and they decided then

   18    to hire me to talk about -- they decided to hire me to

   19    come in with the chief of psychiatry to do an evaluation

   20    of these 12 people.

   21             So I actually went up to Massachusetts on I think

   22    three or four occasions, and I interviewed, often with

   23    the head of psychiatry, these prisoners, and I gave

   24    recommendations for the management of these people.

   25             After that, I began educating the entire mental




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 38 of 203
                                                                                 38



    1    health community in the Department of Corrections.                And

    2    from that educational experience, people volunteered to

    3    be on the gender identity committee.                And so that's how

    4    that began.     So the easy answer, the quick answer to your

    5    question, I have also been considered an expert enough to

    6    fly into Massachusetts to interview 12 individual

    7    inmates.

    8         Q.        And when was that?

    9         A.        That was in 2008.

   10         Q.        Okay.     And can you tell me what kind of

   11    treatment or management you recommended for these

   12    individuals?

   13         A.        Well, a combination of talking about this

   14    matter, preparing for hormone treatment, discussing

   15    behavioral control.        One of the people was dying,

   16    actually, and so the idea of having sex reassignment

   17    surgery -- he was probably a year from death with chronic

   18    disease and in a wheelchair -- just didn't seem to be a

   19    reasonable recommendation.           One of the people was so

   20    behaviorally disturbed that the idea of addressing the

   21    hormonal aspects of his desires seemed totally

   22    inappropriate.

   23           So, I mean, I responded to 12 different people in

   24    ways that were based on their individual presentation,

   25    which is, of course, what reasonable clinicians are --




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 39 of 203
                                                                               39



    1    throughout branches of medicine, every branch of

    2    medicine, are expected to do.

    3         Q.        Did you -- I'm sorry.

    4         A.        No, I'm done.

    5         Q.        Okay.     Did you recommend surgery for any of

    6    those 12?

    7         A.        Not immediate surgery, absolutely not.           And

    8    at that point, it was not clear whether sex reassignment

    9    surgery could be done.          It seemed in 2008 that there was

   10    no legal precedent, there was no -- that the policy in

   11    Massachusetts was that no one would have sex reassignment

   12    surgery.     Even though the Kosilek case in 2006, two years

   13    before, was an attempt to get sex reassignment surgery,

   14    the judge took five years to make a decision.

   15         Q.        Okay.

   16         A.        And so at that point in 2008 -- and it may

   17    have run -- some of those evaluations may have run over

   18    into 2009.     At that point, it didn't look like sex

   19    reassignment surgery was possible.

   20         Q.        But that wouldn't determine your medical

   21    recommendation, would it, whether there was a legal

   22    barrier?

   23         A.        Well, actually, I think it would influence

   24    it, yes, because I'm trying to deal with reality here.

   25    And the prisoners' reality are very different than the




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 40 of 203
                                                                            40



    1    reality of a free person.

    2            Q.        A couple follow-up questions about the

    3    recommended treatment for these 12 prisoners with gender

    4    dysphoria.        Did you recommend that any of them have

    5    access to female clothing, such as panties or bras?

    6            A.        I actually don't remember, Ms. Cooper.

    7            Q.        Okay.     What about female canteen items, did

    8    you recommend that?

    9            A.        Some of these recommendations came as a

   10    result of working with the gender identity team, you

   11    know, as all of us came to see that we could

   12    eventually -- we could ease the burden a little bit.            And

   13    so this is an evolutionary phenomenon, and it's hard for

   14    me to remember or to capture for you what it was like in

   15    2008.        But it certainly -- there has been a movement

   16    towards making things a little easier for trans prisoners

   17    I think everywhere.           The Department of Corrections

   18    national meetings now I think every year now has seminars

   19    on this whole problem.             So, you know, this is a

   20    process -- this is in -- it's moving.

   21            Q.        Okay.     One of the cases that you were

   22    involved in was the Fuller case, correct?

   23            A.        Yes.

   24            Q.        Charlene Fuller; is that right?

   25            A.        Yes.




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 41 of 203
                                                                                  41



    1            Q.      And were you retained by the Department of

    2    Corrections in that case?

    3            A.      Yes.

    4            Q.      And what was that case about?

    5            A.      Charlene Fuller.         Charlene Fuller wanted

    6    breast forms.       So that was the question, whether it was

    7    useful to -- I guess what they would say would be

    8    medically necessary to have her have breast forms.

    9            Q.      Okay.     And what was your opinion, your expert

   10    opinion?

   11            A.      My opinion was that I thought it would be

   12    useful for her to have breast forms.                 It would calm her

   13    down considerably.

   14            Q.      Uh-huh.     And did it help address her -- was

   15    it your opinion it would help address her gender

   16    dysphoria?

   17            A.      Well, yes.       I thought it was a minor matter

   18    in a very disturbed human being.               But shortly after the

   19    recommendation, she threatened to kill her therapist, and

   20    that, of course, in the prison is a no-no.                 And so the

   21    whole issue got complicated.             I think she did get her

   22    breast forms, but she also spent some time then in -- you

   23    know, she was disciplined for her witnessed threats to

   24    kill her therapist, which then she denied that she ever

   25    said.




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 42 of 203
                                                                         42



    1         Q.       Uh-huh.

    2         A.       Again, this is only an example, that the

    3    treatment of prisoners often who are in prison for

    4    aggressive crimes like murder or attempted murder is not

    5    the same as the treatment for people on the outside, and

    6    if they have murdered people, we don't know about it.

    7    But in prison we do know what their crimes are and we do

    8    know what they struggle with, and since Charlene Fuller

    9    was largely -- you know, had been in prison for many

   10    years, we also knew the fluctuating gender behaviors of

   11    the patient, of the inmate.

   12           But all that complexity, you know -- despite all

   13    that complexity, I just listened to the subjective

   14    aspects of this person, and I thought that giving this

   15    person breast forms would calm her down; however, I'm not

   16    so sure I was right, because the person's violence or

   17    threats of violence continued.

   18           Charlene Fuller is a very muscular person who keeps

   19    her body like a weight lifter and has bulging muscles and

   20    is a very formidable force.           And she has this combination

   21    of being, Don't mess with me, I'll rip you from limb to

   22    limb, and I'm a woman.         And don't you mess with me by

   23    referring to me as not a woman, and I need breasts, and I

   24    need large breasts.       And so there was a concern whether

   25    large breasts, like her very large body, basically, could




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 43 of 203
                                                                                43



    1    hide weapons or something in her bra, and so that was the

    2    concern with Charlene Fuller.

    3         Q.        Okay.     So my understanding is you continued

    4    to be a consultant at the Massachusetts Department of

    5    Corrections for their gender identity disorders clinic;

    6    is that right?

    7         A.        I do, once a month.

    8         Q.        Once a month.        And is that you go to

    9    Massachusetts once a month or get on the phone with the

   10    clinicians?

   11         A.        Oh, it's like you and I today.             I'm on the

   12    phone.

   13         Q.        Okay.     And you talk through different patient

   14    treatment plans, that sort of thing?

   15         A.        Well, not -- see, I've been doing this for a

   16    number of years, and so I developed a capacity on the

   17    staff to formulate treatment plans and so forth.                What

   18    they often discuss with me is psychodynamics, the

   19    internal dynamics, the motivations for things.                And I

   20    often tell them about published literature that I've been

   21    reading or conferences that I've been to.

   22             They rely on me to kind of clarify the field to

   23    them, much more so than Dr. Levine says this person

   24    should have hormones or Dr. Levine says they shouldn't

   25    have hormones.




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 44 of 203
                                                                                 44



    1           You need to understand that the people who are on

    2    the gender committee work with these patients all the

    3    time, they've gone to various educational programs, they

    4    teach each other, which is the ideal way of taking care

    5    of prisoners, and that they have over the course of years

    6    become very sophisticated.           The heads of these programs

    7    are very astute clinicians, and they -- and my hat goes

    8    off to them.     They have to mediate between the rules of

    9    the prison and the expectations of being a mental health

   10    professional, and it's very difficult at times.                But

   11    they're very sophisticated now, and they're very

   12    thoughtful people.

   13           And so I used to be much more active in teaching

   14    them basics, but they all know the basics now.                And to

   15    give hormones, they don't need my decision when to give

   16    hormones.    They seem to want me even though I don't

   17    actually see the need for me as much.                But every time I

   18    raise that, they're very unanimous in wanting to keep me

   19    there, because I think they want to run new cases by me.

   20           And one of the things that I've done is help them

   21    understand that many transpeople do not -- trans

   22    prisoners do not want to think about what they've been

   23    through before they were in prison; the neglect, the

   24    abuse, the physical abuse, the sexual abuse that they've

   25    had.   They just want to become a new person, and they




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 45 of 203
                                                                               45



    1    don't want to think about the past.

    2           And so I've been trying to teach them the

    3    humanness, the universality of humanness and how all of

    4    us bring our past into our present.               And modern, you

    5    know, crisis-oriented therapy in prisons aren't really

    6    developmental or psychodynamic in origin, and so I

    7    represent a certain psychiatric perspective that they

    8    didn't have in their training and they're not comfortable

    9    articulating.      And so they find that valuable.           And as

   10    long as they find that valuable, then I'm happy to tell

   11    them what I know.        But between you and me, I don't do the

   12    same things that I did in 2008 with them because they

   13    don't need it.

   14         Q.        So back when you -- you know, in 2008 and,

   15    perhaps, the years immediately following that, were you

   16    involved in giving guidance about particular patient

   17    treatment?

   18         A.        I think that would be fair to say, yes.

   19         Q.        Okay.     And that could be for a clinician

   20    asking your view on whether hormone therapy seemed

   21    appropriate for a particular patient?

   22         A.        It was much more how to handle this patient's

   23    hostility.     I guess maybe this goes back to your previous

   24    question.    What I help them to do is appreciate from a

   25    psychotherapy perspective what people's distrust means,




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 46 of 203
                                                                                46



    1    what people's hostility means, what people's concept of

    2    your job as my therapist is to advocate for me, and you

    3    better get me hormones right away or you're a worthless

    4    piece of crap, and how do we respond to that.               You see,

    5    those are the kind of therapeutic issues that therapists

    6    in prisons need help with, how to understand the

    7    pervasive distrust and the us-against-them mentality that

    8    many of these people have.

    9         Q.       Okay.

   10         A.       So I have been helpful in not -- in helping

   11    them to not take the bait and how to respond to such

   12    hostile, demeaning processes between the inmate and

   13    therapist, and actually, in other words, how to make the

   14    therapy a therapeutic process.

   15         Q.       Okay.     I would like to mark document number 4

   16    as Exhibit Levine 2.

   17                                      - - -

   18              (Whereupon, Levine Exhibit 2 was marked

   19                          for identification.)

   20                                      - - -

   21         Q.       (BY MS. COOPER)         Dr. Levine, do you recognize

   22    this document?

   23         A.       Katherine Sinea, Kenneth Hunt.             Okay.   I

   24    certainly recognize that name.

   25         Q.       Where are you looking?            I'm wondering if




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 47 of 203
                                                                                 47



    1    I'm --

    2                           MR. REID:       The case style.

    3                           MS. COOPER:         Okay.    You know what?     Our

    4                   numbering is off.           Can we step off the record

    5                   for a minute?

    6                                       - - -

    7       (Whereupon, a discussion was held off the record.)

    8                                       - - -

    9         Q.        (BY MS. COOPER)         So, Dr. Levine, now I'm

   10    looking at what has now been marked as Levine 2.                I'll

   11    ask you about the whole thing.              Do you recognize this

   12    document?

   13         A.        Not at the moment.           Wait a second.    I think

   14    this is a version of the policy, the gender identity

   15    committee policy.

   16         Q.        Okay.     And if you look on what is the third

   17    page now of the exhibit, where it has a box at the top

   18    saying, "Massachusetts Department of Corrections.                 Title:

   19    Identification, Treatment, and Correctional Management of

   20    Inmates Diagnosed With Gender Identity Disorder," does

   21    that refresh your recollection?              Is that the gender

   22    identity policy?

   23         A.        Actually, I don't think this is the latest

   24    policy, but it's a policy, yeah.

   25         Q.        And if you scroll down a little bit on that




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 48 of 203
                                                                                48



    1    same page, it says, "Promulgation Date 1/06/10, Effective

    2    Date 2/08/10."         This was policy in effect back at that

    3    time?

    4            A.      Yes.

    5            Q.      Okay.     And you were a consultant with the

    6    department at that time, right?

    7            A.      Yes, but not in the writing of this policy.

    8            Q.      Uh-huh.     But you were involved in the

    9    discussion regarding the development of the gender

   10    identity disorder policy at MDOC, right?

   11            A.      Far less than you might imagine.           Certainly

   12    with the Fenway 12 patients and with the lawsuits, the

   13    administration knew that they needed to develop a policy,

   14    and so that's a multi -- you know, I don't have to tell

   15    you, you probably know better than I do, prisons have

   16    multiple layers of experts, and multiple people from

   17    different departments have to forge together a policy.

   18             And I, talking on the phone, you know, one hour,

   19    two hours a month, I don't participate in that.               I must

   20    have influenced the policy because of that six-hour

   21    seminar that I gave, and I must have influenced the

   22    policy because of the monthly education that I provide to

   23    the head of psychiatry and his or her staff.               But, you

   24    know, they might have sent me a policy to read and to

   25    comment on at some phase or stage or some draft of the




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 49 of 203
                                                                             49



    1    policy, but I don't really feel like I designed this

    2    policy.

    3         Q.        Uh-huh.

    4         A.        Much of it has to do with, you know, who

    5    reports to whom and so forth.

    6         Q.        Are there any aspects of the policy at that

    7    time or any time, you know, over your years consulting

    8    with the department where any of the treatment protocols

    9    discussed are protocols with which you disagree?

   10                           MR. REID:      Object to the form.

   11         A.        I would be hard pressed to tell you what's in

   12    this policy.     I would be happy to read it and answer that

   13    question if you wanted to spend the time, but I just

   14    can't answer your question.

   15         Q.        (BY MS. COOPER)        Okay.     If you could turn to

   16    page -- if you look at the numbering on the bottom

   17    right-hand corner, the page 11?

   18         A.        Okay.

   19         Q.        Are you there?       And at the bottom there's "C,

   20    Essential Elements of the Treatment Plan for GID

   21    Diagnosed Inmates."        Do you see that?

   22         A.        Yes.

   23         Q.        Okay.     I'd like to then flip to the next --

   24    well, let's read along just for the context.              Point 1

   25    under C says, "The goal of GID-related modifications to




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 50 of 203
                                                                         50



    1    the individualized mental health Treatment Plan is to

    2    assist the GID-diagnosed inmate in exploring and managing

    3    his/her issues related to gender identity as well as any

    4    co-occurring mental health disorders."

    5           And if you turn the page, it says, No. 2, "Although

    6    individualized, the Treatment Plan for all inmates

    7    diagnosed with GID shall contain, at a minimum, these

    8    essential elements:       A, The inmate is offered

    9    participation in at least monthly individual

   10    psychotherapy provided by the contractual mental health

   11    service provider; B, The Treatment Plan may contain

   12    recommendations regarding access to cross-gender clothing

   13    and canteen/cosmetic items approved for inmates in

   14    accordance with the 103 CMR 403 Inmate Property policy.

   15    Commensurate with the security level of the housing

   16    placement, GID inmates housed in a male institution (Male

   17    to Female, or MTF) shall be permitted to purchase and

   18    retain clothing items and articles authorized for other

   19    male inmates housed in that institution, as well as those

   20    items authorized for females commensurate with their

   21    particular security level at the female institution."

   22    I'm going to stop there.          I know the paragraph goes on to

   23    talk about female-to-male transsexual people, but I'm

   24    going to stop at that point.

   25           Is it your understanding that that was the policy




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 51 of 203
                                                                            51



    1    in Massachusetts, to allow for access to female clothing

    2    and canteen items commensurate with the security level

    3    that women at women's facilities would be able to get?

    4         A.       Yes, but I think that the actual

    5    interpretation of which items has been evolving in the

    6    direction -- since 2010 in the direction of closer to

    7    most canteen items.       I'm not so sure that it was the same

    8    in 2011 as it was in 2016 --

    9         Q.       Uh-huh.

   10         A.       -- on a practical basis.             And we -- I'm

   11    sorry.    I stopped.

   12         Q.       Yeah.     Do you disagree with including access

   13    to female clothing and canteen items in the treatment

   14    plan for inmates with gender dysphoria?

   15         A.       No.

   16         Q.       Okay.     Do you think it's an appropriate part

   17    of the treatment plan?

   18         A.       I think it's a kindness.

   19         Q.       Okay.     And in your experience working with

   20    the clinicians at MDOC in Massachusetts, is that what

   21    actually happens, that inmates with gender dysphoria or

   22    some of them are provided, based on the clinician's

   23    involvement, access to female clothing and canteen items?

   24         A.       Yes.

   25         Q.       Uh-huh.     Is that common there?




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 52 of 203
                                                                                52



    1         A.        When the inmate wants to, the policy enables

    2    them to.   They have to be registered -- they have to be

    3    part of the GID program, though.             Not everybody who has a

    4    kind of feminine gender mosaic wants to be part of the

    5    GID program.     And so if they want to get, say, wear

    6    female undergarments, they need to be part of the GID

    7    program.

    8         Q.        Okay.    And you recognize that for transwomen

    9    with gender dysphoria, that feminizing relieves some of

   10    the pain of their gender dysphoria; is that right?

   11         A.        Yes.

   12         Q.        Now, if you go back to what's been marked as

   13    Levine 2, the MDOC GID policy, page 10, please, under "B,

   14    Treatment Plan Review and Approval."

   15         A.        Okay.

   16         Q.        And did you find that?

   17         A.        Yes.

   18         Q.        Okay.    And if you'll read along with me,

   19    "Once the Treatment Plan has been developed, it shall be

   20    forwarded to the GID Treatment Committee for review, to

   21    ensure that all recommendations are clinically

   22    appropriate, and taking into consideration the inmate's

   23    individualized needs based upon the provision of adequate

   24    medical care utilizing the most current version of the

   25    Standards of Care referenced by WPATH."                  This goes on to




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 53 of 203
                                                                                      53



    1    say, "The GID Treatment Committee may refer the inmate

    2    for specialty physician consultations if its members

    3    believe that such consultations are advisable."

    4             First of all, what is the Standards of Care

    5    referenced by WPATH mentioned in there?                     What does that

    6    mean?

    7                            MR. REID:       Object to the form.          He said

    8                    he didn't write it.

    9            A.      World Professional Association for

   10    Transgender Health is an organization that is most

   11    interested in transgender individuals and has over the

   12    course of 20-some years generated seven different

   13    versions of what is called the Standards of Care.                     And

   14    this is an international organization and a committee, I

   15    think, of 36 people from Asia -- a few from Asia, Europe,

   16    and North America put together a 121-page document

   17    talking about aspects of the treatment of gender

   18    dysphoria.      There's a brief section on the treatment of

   19    institutionalized individuals, and courts and

   20    institutions like government -- like prisons think that

   21    WPATH is like the standard of care.                And so that's what

   22    this is referring to.          They're trying to meet WPATH's

   23    standards within the limitations that this institution is

   24    a prison and not, say, a nursing home.                     So that's what

   25    WPATH is.




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 54 of 203
                                                                                    54



    1           WPATH used to be called the Harry Benjamin

    2    International Gender Dysphoria Association, so the early

    3    Standards of Care were from the Harry Benjamin

    4    International Gender Dysphoria Association.                   But it was

    5    really hard to abbreviate that word, abbreviated HBIGDA,

    6    and no one could figure out what HBIGDA meant.                    WPATH

    7    seems a little easier.

    8         Q.       Okay.     Thank you for that.              So the

    9    Massachusettes Department of Corrections gender identity

   10    policy follows the most current version of the WPATH

   11    Standards of Care; is that right?

   12         A.       Well, with limitations, Ms. Cooper.                  The

   13    staff went last year to a WPATH training program and

   14    experienced the educational content as indoctrination, as

   15    unscientific, unwilling to listen to anything other than

   16    sort of the party view.         And so the -- there has been an

   17    enormous skepticism about the WPATH standards as a result

   18    of the corrections people's experience with prisoners and

   19    the policy that comes from WPATH.

   20           It's like there's an enormous disconnect between

   21    the people who teach -- the people who credential

   22    therapists as a clinical expert in the treatment of

   23    gender dysphoria and the actual experience of taking care

   24    of prisoners.     So I can tell you, I wasn't there, and I

   25    didn't influence their opinions.             They came back from the




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 55 of 203
                                                                                  55



    1    meeting, and they were really -- they were outraged, and

    2    they were varying between laughing at it and being

    3    outraged at the closed-mindedness of the people who were

    4    credentialing and teaching people about how to take care

    5    of gender identity disorder or gender dysphoric human

    6    beings, especially prisoners.

    7           So what we have here, you see, is the difference

    8    between policies that are promulgated for the people in

    9    free society versus the special needs recognized by

   10    mental health professionals who work in the corrections

   11    area who have an entirely different experience of the

   12    nature of taking care of inmates.

   13           So in the prison system, not just the

   14    administrators, but more importantly the clinicians are

   15    coming to question WPATH standards.              But of course, as

   16    you know, courtrooms love such things, because how are

   17    lawyers and judges to, you know, interpret medical

   18    information except through the consensus of organizations

   19    that specialize in a particular problem?

   20           So it's just a complicated area, you know.                  And so

   21    the prison don't need to be sued more.                   Prisons don't

   22    need to be sued more, and so they want to be

   23    compassionate to their prisoners and take care of these

   24    people within the culture of the prison, and so they look

   25    at WPATH standards.




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 56 of 203
                                                                         56



    1         Q.        Uh-huh.     So when you say there was enormous

    2    skepticism of the WPATH standards, you're talking about

    3    the Massachusetts DOC folks who went to that training?

    4    They expressed that skepticism?

    5         A.        Oh, yes.      They're not the only skeptics about

    6    WPATH.

    7         Q.        Uh-huh.     Who else is a skeptic?

    8         A.        Well, you're talking to one of them.

    9         Q.        And who are the others that you know of?

   10         A.        Oh, I think almost all scholarly people

   11    recognize that when 36 people get together to write a

   12    policy, there are inherent limitations in that policy.

   13             When the Standards of Care, the 7th edition, were

   14    finished and approved, the head of the program said that

   15    this was a great advance in the minority rights of

   16    people.     And, you see, WPATH began as a scientific

   17    organization to try to figure out what is this phenomenon

   18    and how should the medical profession and the

   19    psychological profession deal with these people.

   20             Somewhere along the line it became determined

   21    without scientific evidence that the best thing to do is

   22    to give in to -- to transition people and they would live

   23    happily after ever, and WPATH thought this would cure

   24    gender dysphoria.        But it's very clear to the researchers

   25    in the field who run gender identity clinics that sex




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 57 of 203
                                                                                    57



    1    reassignment surgery, for example, does not cure gender

    2    dysphoria.    What it cures is the anatomic dysphoria for

    3    having a penis.

    4           If you look at the quest for -- post sex

    5    reassignment surgery, the quest for additional surgeries

    6    to further feminize the person, you could see that there

    7    is -- I'm not feminine enough.            Even if I have a

    8    neovagina, even if I have female genitalia, I need my

    9    chin done, I need my nose done, I need my thyroid

   10    cartilage shaved, I need implants in my buttocks, et

   11    cetera, et cetera, et cetera.

   12           So the quest to be more feminine continues.                  The

   13    distress about living in a male body continues for many

   14    people.   And so I think the 8th Standards of Care, which

   15    is currently in the process of getting organized, is

   16    going to recognize the fact that they can't be talking

   17    about curing gender dysphoria, just helping the anatomic

   18    features of this.

   19           So, you see, it's quite a problem.                  The WPATH has

   20    become an advocacy group and not a scientific process,

   21    and there are many people who are interested in the

   22    origins and the ideal management of gender dysphoria who

   23    recognize the advocacy nature of this.                   They have taken a

   24    stance.   And science is not taking a political stance on

   25    most things, you see, but WPATH has, and they've declared




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 58 of 203
                                                                                 58



    1    that there's nothing wrong with having an alternate

    2    gender identity, and they have ignored all the detail,

    3    all the data.

    4             Now, one of the most interesting things is that the

    5    30-year follow-up in Sweden, which in 2011 was the best

    6    data that the whole field has demonstrated an excess -- a

    7    19-fold excess of suicide after sex reassignment surgery.

    8    The WPATH Standards of Care, even though that paper was

    9    presented at their international meeting, they found

   10    reason not to even put that in the Standards of Care.

   11         Q.        Could I ask you a question about your

   12    skepticism, as you put it, of WPATH standards?                   Does your

   13    skepticism focus on whatever the protocols are regarding

   14    surgery, or is it broader than that?

   15         A.        No.    I think perhaps I didn't make myself

   16    clear.    My skepticism is based upon the advocacy role,

   17    the switch of WPATH from a scientific organization to an

   18    advocacy organization.

   19         Q.        I see.     I see.     Well, let me reframe my

   20    question then, because I think I want to focus on

   21    something a little different.

   22             Putting aside the organization, and let's just look

   23    at the current Standards of Care that exist, do you use

   24    those Standards of Care in your current practice?                   Do you

   25    follow them, look to them for guidance?                   Do you use them




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 59 of 203
                                                                                       59



    1    in any way?

    2         A.        Well, I would say much more closely than not.

    3    I, personally, you perhaps could tell from my comments

    4    already, I personally think that these people in the

    5    community ought to have psychotherapy for a while.                       I

    6    think the prisoners need to have psychotherapy for a

    7    while.    And psychotherapy in the 7th edition of the

    8    Standards of Care have been downgraded as not necessary.

    9    And so there's a profound disagreement.

   10             And so in my center, I recommend psychotherapy to

   11    people, and so I don't exactly follow the standards.                         The

   12    7th edition wants to give adolescents hormones very

   13    quickly, and we're much more cautious.                    We will give

   14    adolescents hormones, but not as quickly as the Standards

   15    of Care would like.

   16             The Standards of Care pretty much allow the patient

   17    to dictate what they want.           And in the recent paper that

   18    is not in your version of my CV, I have written a

   19    scholarly article about the ethical problems in the

   20    Standards of Care.        I'm sure the 8th edition of the

   21    Standards of Care will take my thinking, which is not

   22    just my thinking, but I'm the one who just wrote it.                         I'm

   23    sure they will have to come to grips with the ethical

   24    problems, because 17 different centers in Europe who do

   25    this care have been surveyed, and they talk about their




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 60 of 203
                                                                             60



    1    unease about providing quick hormones to individuals

    2    because of a number of questions, scientific questions,

    3    that are not answered.          So please do not interpret my

    4    being skeptical as unique or idiosyncratic to that

    5    strange guy in Cleveland, Dr. Levine.

    6         Q.        And you talked about surgery and hormone

    7    therapy as it's touched on or discussed by the Standards

    8    of Care, but let's focus on the real-life experience or

    9    social transition.        Are there aspects of what the

   10    Standards of Care say about that that you disagree with?

   11         A.        Well, I think they've downplayed the

   12    necessity of social transition as a requirement for

   13    hormones.    They still retain it as a requirement for sex

   14    reassignment surgery.         But in the earlier versions -- and

   15    I'm not -- you know, I don't know what, you know, what

   16    the absolute truth is, I mean, based on the outcome

   17    datas, but in the earlier versions, people were -- that

   18    is, professionals were asking patients to try to

   19    transition to present themselves in various roles:              As a

   20    student, as a worker, in their social relations with

   21    others and with their family.             We asked them to try it

   22    out first, you see, before we alter your body with

   23    hormones.

   24           Now I think the new Standards of Care say, Naw,

   25    that's not necessary.         Just go ahead and take hormones,




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 61 of 203
                                                                         61



    1    because it will help you -- you know, if you take

    2    hormones for two months or so or three months, you'll

    3    begin to notice, you know, some physical changes in your

    4    skin.

    5            Q.      So the Standards of Care, you were the chair

    6    of the committee that drafted version 5; is that correct?

    7            A.      That's true.

    8            Q.      And did that mean you actually took a lead in

    9    drafting those standards?

   10            A.      It meant that I -- yes, I took the lead.

   11    Much of the prose is my prose.

   12            Q.      Okay.     So in the version that you -- where

   13    you were the chair, that included treatment protocol --

   14    let me start that question over.               I muddled it.

   15             In the version 5 where you were the chair, did the

   16    Standards of Care include hormone therapy?

   17            A.      Yes.

   18            Q.      And surgeries?

   19            A.      Yes.

   20            Q.      And real-life experience?

   21            A.      Yes.

   22            Q.      And the real-life experience, does that

   23    include living and presenting one's self in accordance

   24    with one's gender identity?

   25            A.      With one's aspired-to gender identity, yes,




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 62 of 203
                                                                                62



    1    right.

    2           Q.      And would that include things like -- you may

    3    have touched on this before -- say it's a male-to-female

    4    transgender person -- using female pronouns; is that

    5    right?

    6           A.      Would you repeat that question?

    7           Q.      Yeah.     Would that include using female

    8    pronouns or having people use female pronouns to refer to

    9    you?

   10           A.      That's what the patient wants.             But the

   11    real-life experience -- that was part of why there was a

   12    real-life experience, because not everybody, like your

   13    brother or your sister or your friend, can actually refer

   14    to you as a her.       They try, but they often slip up, you

   15    see, and that's one of the things that the person -- the

   16    transitioning person has to contend with, is just because

   17    they have declared themselves to be a woman and they want

   18    other people to perceive them and treat them as though a

   19    woman, that's not what often happens, because people

   20    unconscious -- the first thing that all human beings do

   21    when they meet another person is classify them

   22    unconsciously as a male or a female.

   23             So if you've had a brother for 18 years and the

   24    brother says, Please call me Susan, they may try to call

   25    the person Susan, but they will slip.                And so then the




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 63 of 203
                                                                                    63



    1    patient has to come to grips with the fact that although

    2    they want to be called Susan and referred to as a she,

    3    the world, the people who they interact with often cannot

    4    perceive them as a she.          They can't get over the fact

    5    that you've been my brother for 18 years, you see, and so

    6    they try, but they fail.

    7             And so that's one of reasons for the real-life

    8    experience.     You know, you have to recognize what reality

    9    is of other people's reality of you.                You have a sense of

   10    you, but you can't necessarily make other people have the

   11    same sense of you that you desire them to have.                  That's

   12    the real-life experience, Can you cope with that?                    Are

   13    you going to get mad at that, are going to get depressed

   14    at that, or are you going just to say, well, I

   15    compassionately understand my mother has raised me for 18

   16    years.     She thinks about me as a son, and now she can't

   17    think about me as a son, but she does think about me as a

   18    son.     She bore me, she raised me, she diapered me, et

   19    cetera.

   20             And so this is one of the reasons why we wanted the

   21    real-life experience, to have the patient grasp that what

   22    they're doing interferes with the mental lives of other

   23    people, the perceptions of other people.                  And just

   24    because one declares that I'm a -- you know, I don't mean

   25    to be disrespectful, but if someone declared that they're




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 64 of 203
                                                                             64



    1    really a bear, it doesn't mean that other people are

    2    going to perceive them to be a bear.                And so that's

    3    for -- that's the reason for the real-life experience,

    4    you see?

    5         Q.        You mentioned earlier that also the real-life

    6    experience or social transition can alleviate or can help

    7    alleviate gender dysphoria.            Can you explain how or why

    8    that is?

    9         A.        Well, there's a giddy happiness in the lives

   10    of gender dysphoric people when the following things

   11    happen or occur:       One, when they present themselves in

   12    public as a woman and the person, the stranger, seems to

   13    perceive them as a woman.           That makes them very happy.

   14    So people often tell clinicians, Oh, I went to the store

   15    and I was called ma'am, and that makes them very happy.

   16    Getting access to hormones makes them very happy, and

   17    having a surgery to enhance their femaleness, whether

   18    it's breast augmentation or genital rearrangement or

   19    genital reassignment, it makes them temporarily very

   20    happy.     These people are made very happy by being able to

   21    realize their dream, their fantasy of being perceived as

   22    a woman, you see.

   23             And that has been the basis, that happiness of the

   24    patient in transition has been the basis for the

   25    recommendations for social transition, hormone treatment,




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 65 of 203
                                                                             65



    1    sex reassignment surgery, and any other procedure that

    2    the person may want to enhance their sense that they have

    3    a feminine face or a feminine body.

    4           So happiness -- I guess I lost your question.            I'm

    5    just elaborating on -- happiness is what happens when

    6    people transition and are perceived as a woman.

    7         Q.        When people are not treated for gender

    8    dysphoria, can they experience significant distress?

    9         A.        Many people have gender dysphoria who are not

   10    treated for gender dysphoria.             They carry a fantasy that

   11    they're a woman, but they don't want to make transitions

   12    for various reasons.         But if -- I guess if we're talking

   13    about -- we need to distinguish between talking about

   14    inmates and talking about people in the world with gender

   15    dysphoria.

   16         Q.        Well, let's talk about people in the world.

   17    Can they suffer severe distress if they don't get

   18    treatment?

   19         A.        Well, they don't actually need treatment.

   20    Some people actually just present themselves.             They do

   21    the real-life test themselves.             So they're distress is

   22    modified.    They are, of course, distressed that they have

   23    in their mind this conviction that they would be a

   24    happier person as a female, and, in fact, they're not.

   25    So there is a distress inherent in having the fantasy




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 66 of 203
                                                                               66



    1    that my life would be better if I were presented as a

    2    woman.    So that's inherent in the condition, you see.

    3    So, of course, anything that reinforces their fantasied

    4    ambition to be a woman makes them happier temporarily.

    5         Q.        Uh-huh.     So there's no treatment that you

    6    think can actually really alleviate the dysphoria and let

    7    somebody go on to live a happy life?

    8         A.        I don't think there's any treatment that can

    9    completely eliminate the dysphoria that I was born and

   10    raised a male.      I certainly think that there are

   11    treatments that can enhance the quality, the subjective

   12    quality of people's lives.

   13             The problem in the field, Ms. Cooper, is that we

   14    don't really have an agreed-upon array of assessments to

   15    make the decision that the person has a happy life.               The

   16    parameters that are used are, Do you regret having sex

   17    reassignment surgery?         You need to understand that a

   18    recent study has shown that 53 percent of almost 900

   19    people in Sweden are on disability for emotional and

   20    physical problems who are transgender identified.

   21    Fifty-three percent of people are on disability.               So I

   22    don't think we would say that disabled people, whether

   23    they're emotionally or physically disabled, are generally

   24    among the happiest people in the community.               They have

   25    very limited and impaired lives.




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 67 of 203
                                                                              67



    1           So this idea that, you know, we're making them --

    2    they have happy, fulfilled lives is not based upon any

    3    agreed-upon international standard for how we are to

    4    assess those lives.       The more information over time that

    5    is coming in this direction indicates that there are

    6    causes of concern about this.             I do not disagree in any

    7    sense that the treatment of gender dysphoria in the way

    8    that the patient wants will almost always create a high

    9    degree of temporary happiness.

   10         Q.       Okay.     Why don't we take our break here.

   11                                      - - -

   12                  (Whereupon, a recess was taken.)

   13                                      - - -

   14         Q.       (BY MS. COOPER)         Dr. Levine, we talked some

   15    about the real-life experience or social transition.

   16    Does that include or can it include dressing and grooming

   17    as a woman, say, for a male-to-female transgender person?

   18         A.       Yes.

   19         Q.       So for some people with gender dysphoria, is

   20    social transition sufficient to treat their gender

   21    dysphoria?    In other words, they don't feel the need for

   22    hormones or surgery?

   23         A.       Yes.

   24         Q.       So on the outside of prison, I think you

   25    mentioned earlier, some people can do social transition




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 68 of 203
                                                                             68



    1    on their own.     They can dress and groom, present as a

    2    woman, correct?

    3         A.        Yeah, either full time or part time.

    4         Q.        But for prisoners where they don't get to

    5    have choice, necessarily, about the clothes they wear or

    6    the products they use, for prisoners with gender

    7    dysphoria, access to -- say a male-to-female transgender

    8    person, access to female undergarments could be a

    9    treatment for gender dysphoria; is that right?

   10         A.         You know, it's the word "treatment" that

   11    makes me hesitant.       If you can rephrase that question

   12    without the word "treatment," I probably could answer it

   13    more easily.

   14         Q.        Sure.    What is the issue with treatment?

   15    Because that may help me rephrase it better.

   16         A.        Well, everything that a person wants in their

   17    view is treatment.       That is, you know, I'm going to treat

   18    myself to an ice cream cone.           What I want, what I can

   19    have, what would make me feel better is an individual

   20    judgment that a person makes.            But I'm a physician, and,

   21    you know, treatment to me is a different story.            It has

   22    to do with things like committing to conversate to a

   23    professional relationship.          It's committing to taking a

   24    medication, getting a surgical experience, or wearing a

   25    brace.    It has to do with things from the medical




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 69 of 203
                                                                          69



    1    tradition, not from the individual choice matters of

    2    citizens.

    3         Q.        So can hormone therapy be a treatment for

    4    gender dysphoria?

    5         A.        Well, yes, of course.           If a doctor is

    6    prescribing it, it is a medical treatment for gender

    7    dysphoria.

    8         Q.        Uh-huh.     And, similarly, surgery could be a

    9    treatment for gender dysphoria?

   10         A.        Yes.    But, you know, wearing panties is not a

   11    treatment for gender dysphoria that a doctor -- I mean,

   12    the doctor doesn't care if you're wearing panties or male

   13    briefs.     It has no material relevance to the medical

   14    tradition.     Clearly the people like to -- from the skin

   15    on up, they want to wear female clothes, and they have

   16    the freedom to wear female clothes when they're a free

   17    person.     They have to put up with the fact that people

   18    react to them, given if they have a male-appearing body

   19    dressed as a female.         But it's not a medical treatment.

   20    It's a compassionate treatment.

   21           When we're talking about prison, we're talking

   22    about can we accommodate this poor person's aspirations?

   23    Can we accommodate to it?           So in that sense, it's a

   24    policy or a decision that people in charge in a prison

   25    provide because they understand the person has this




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 70 of 203
                                                                              70



    1    unique form of suffering.          I just don't think it's right

    2    to equip -- to equate sex reassignment surgery with

    3    wearing panties as treatment.

    4         Q.       Okay.     Now, with that said, the

    5    Massachusettes Department of Health in the gender

    6    identity policy we looked that, it did talk about access

    7    to female clothing and canteen items under a policy that

    8    was put together by clinicians; isn't that right?

    9         A.       Well, clinicians and administrators.

   10         Q.       I see.     But it would need -- somebody would

   11    need to have the approval of a clinician to be part of

   12    the program to be able to access the undergarments, for

   13    example, right?

   14         A.       They would have to be in the gender

   15    identity -- they would have to be a patient of that

   16    particular unit.

   17         Q.       Okay.

   18         A.       So the doctor doesn't prescribe -- you must

   19    understand, Ms. Cooper, the doctor doesn't prescribe you

   20    should wear panties, you see?            If the patient is in the

   21    gender clinic and wants to portray herself as much as

   22    possible to others, panties are irrelevant.                But panties

   23    are relevant to the patient's subjective experience

   24    because it means to the patient that she is a woman.                But

   25    it is not -- that's what it is, you know.                It's an




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 71 of 203
                                                                            71



    1    accommodation, it's a kindness to the gender dysphoric

    2    inmate.

    3           I think it cheapens the idea of treatment if you

    4    equate these interventions that historically doctors do

    5    for people with decisions on how to dress.

    6         Q.       So it wouldn't come up in therapy if a

    7    patient was saying, I really -- you know, let's say you

    8    diagnosed somebody as having gender dysphoria.              A

    9    clinician wouldn't suggest to a patient, Maybe you ought

   10    to try dressing as a woman or grooming as a woman to see

   11    how that makes you feel?

   12         A.       No, that's not -- that would be a very

   13    unusual thing.

   14         Q.       Okay.     So treatment, putting aside that word,

   15    would it be fair to say that for prisoners with gender

   16    dysphoria, access to cross-sex undergarments can help

   17    alleviate their distress from gender dysphoria?

   18         A.       Well, it won't alleviate it entirely, of

   19    course.   Can I emphasize the word of course, the phrase

   20    of course?    It's just one of the little things that might

   21    make the person feel like even though they've lost their

   22    freedom, that they have -- they can demand certain things

   23    from the prison and they can -- which would make them

   24    pleased to be near cotton or nylon panties.              Many people

   25    feel that they don't -- that the panty itself tucks the




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 72 of 203
                                                                                    72



    1    penis between the legs more than jockey shorts.                   I'm not

    2    so sure it's true, but I think they prefer knowing that

    3    they're wearing panties.

    4             In the world outside of prison, every once in a

    5    while someone is taken to the emergency room or dies, and

    6    they're obviously a man, and when they body is undressed,

    7    the person is wearing panties.              So we know that there is

    8    a psychological meaning to wearing panties that, although

    9    I can't express myself in the world courageously as a

   10    woman, I at least privately can wear panties.                   And I've

   11    seen many a person who does that.               It's pleasing to them.

   12    It means something to them.

   13             And so it's not -- there's no doctor involved with

   14    this at all.      There's no medical treatment that the

   15    patient goes and buys female garments and wears them.

   16            Q.      Can it improve their mental health to wear

   17    them?

   18            A.      Well, that's a big phrase, "mental health,"

   19    you know.     It makes them happier.            They do it, so it must

   20    make them happier.         Sometimes people say they're calmer.

   21    But, you know, mental health is a big thing, and being

   22    temporarily calmed by something is a little thing.

   23            Q.      Well, I'm just curious about the word that

   24    you used, making them happy or pleasing.                   You know, it

   25    would make me happy or pleasing to get a new car, but I




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 73 of 203
                                                                                   73



    1    don't -- it doesn't go to any mental health diagnosis

    2    that I have.     Is there a difference between how it would

    3    please someone with gender dysphoria to have women's

    4    underpants and how it would please me to get a car, a new

    5    car?

    6           A.      Yes, because -- well, they're the same in

    7    that a car and underpants has a certain status to you,

    8    that to the gender dysphoric this means I am a woman.

    9    This is confirmation that I am a woman.                   It's not

   10    confirmation to Ms. Cooper that the person is a woman

   11    because he is wearing underpants.              The car -- you know,

   12    there are obviously very big differences between an

   13    expensive car and a minor item.

   14           Q.      I didn't say an expensive car.                I'm just

   15    saying a car.

   16           A.      Any car.      Look, we're lost in some -- you

   17    want me to find the similarities between the two, or I

   18    could also find the differences between the two.

   19           Q.      Yeah, I'm trying to understand why you used

   20    the word pleasing or happiness in reference to something

   21    that involves a -- would you agree that gender dysphoria

   22    is a serious psychiatric condition?               Let me start that

   23    question over.

   24            Is gender dysphoria a serious condition?

   25           A.      It's a psychiatric condition.                There is no




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 74 of 203
                                                                         74



    1    psychiatric condition that isn't serious.

    2         Q.        Okay.    And is it a condition that can lead to

    3    serious harm to an individual?

    4         A.        Well, the reason anything is a psychiatric

    5    condition is that it holds adaptive disadvantages for

    6    interpersonal, social, vocational, educational

    7    functioning in the world.          That's what a disorder is, in

    8    general.   So clearly gender dysphoria can lead to harm,

    9    personal harm for the patient.

   10         Q.        Okay.    Doctor, let's move on from that then.

   11    Now, the WPATH Standards of Care, is it your

   12    understanding that they are recognized as the accepted

   13    protocols for treatment by the American Medical

   14    Association?

   15         A.        Yes.

   16         Q.        And the American Psychiatric Association?

   17         A.        Well, I'm going to answer yes to every

   18    institution that you name.

   19         Q.        That they recognize that those standards are

   20    the accepted protocols?

   21         A.        It's one of the ways of treating gender

   22    dysphoria, yes.

   23         Q.        Okay.    Are you familiar with the National

   24    Commission on Correctional Health?

   25         A.        No.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 75 of 203
                                                                             75



    1         Q.       So going back to the various types of

    2    treatment for -- let's not use the word treatment.              Let's

    3    say --

    4         A.       Accommodation.

    5         Q.       Well, I don't even need to preface it.            I

    6    just want to clarify.        I think I understand what you

    7    would say here, but just to be sure, so in your view,

    8    hormone therapy may be appropriate to treat gender

    9    dysphoria in some patients; is that correct?

   10         A.       Yes.

   11         Q.       And surgery may be appropriate to treat some

   12    patients with gender dysphoria, correct?

   13         A.       Correct.

   14         Q.       And social transition or real-life experience

   15    is something that can be helpful for individuals with

   16    gender dysphoria; is that right?

   17         A.       Yes, helpful in making their anxiety

   18    diminished and helpful in helping them to decide whether

   19    to return to the male gender presentation and find a new

   20    way of living.       So it's helpful in both ways.

   21         Q.       Right.     And are there people who you consider

   22    to be sort of leading researchers in the area of gender

   23    dysphoria?

   24         A.       Yes.

   25         Q.       Can you name some of them?




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 76 of 203
                                                                                 76



    1         A.        Kenneth Zucker.

    2         Q.        Okay.

    3         A.        There's a lot of European people whose names

    4    I probably can't pronounce.            One of them is deVries;

    5    Cohen-Kettenis, Peggy Cohen-Kettenis.

    6             You need to understand that the level of research

    7    in this field is extremely low quality.                   In North America

    8    there is very little research that comes out of United

    9    States.     The research comes out of Toronto and Amsterdam

   10    primarily.     Other than that, there are a lot of people

   11    who writes articles, but they're derivative articles,

   12    they're political articles, they're about minority rights

   13    or they're about diagnoses, nosology.

   14         Q.        Okay.

   15         A.        So it's not just Dr. Levine who thinks, but

   16    most of the people in the filed have acknowledged that

   17    the standards of scientific work which are well -- which

   18    are clearly recognized in the world are very low in this

   19    field.    So you have to be very careful when you talk

   20    about research, whether you're talking about counting

   21    things, follow-up things, or expert opinion.

   22             Expert opinion, you may know, in terms of the

   23    paradigm of evidence-based medicine is the lowest on the

   24    hierarchy of respectable evidence.               So if I work in a

   25    field for 40 years and I have an opinion based on my




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 77 of 203
                                                                          77



    1    clinical experience, we recognize in the paradigm in

    2    medicine that that opinion is not necessarily valid.            It

    3    is not scientific.        It's just based upon my experience.

    4    But my experience could be influenced by my biases.

    5    Science is trying to take away bias and look at

    6    systematically, with prearranged criteria, the phenomenon

    7    that we're going to study.

    8           Q.      Okay.

    9           A.      Almost everybody in the field, including the

   10    people who do surgery, recognize that the level on the

   11    hierarchy of evidence-based medicine in this field is

   12    low.    So it's very hard to talk about science when it

   13    comes to gender dysphoria.

   14           Q.      I want to go back to something you talked

   15    about earlier.      I think we were talking about at

   16    Massachusetts DOC that there was a movement towards

   17    making -- well, let me rephrase that because I think I

   18    muddled that.

   19            You talked generally, I think, about a movement in

   20    corrections towards making things easier for transgender

   21    inmates.    You mentioned a national meeting where there

   22    was a seminar about that, and specifically you talked

   23    about in Massachusetts an increase in access to female

   24    canteen items.      Did I get that right, first of all?

   25           A.      Yeah, I think I was saying that if you




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 78 of 203
                                                                                   78



    1    compared, like, last year with five years ago, there are

    2    more canteen items that are accessible.                      I was also

    3    thinking that getting electrolysis hair removal is now

    4    easier than it was -- it probably was nonexistent in

    5    2010.        So there is this shift, you know, that you can't

    6    see when you read a bureaucratic policy.

    7            Q.        Uh-huh.     And you talked generally about that

    8    Department of Corrections national meetings had these

    9    seminars.        Is it your understanding that not just

   10    Massachusetts but other prisons are moving in that

   11    direction too?

   12            A.        Oh, yes.      I mean, my experience is -- my most

   13    intense experience is with Massachusetts, but I am aware

   14    that all states are contending with the fact that they

   15    have to do something about the threatened lawsuits, the

   16    number of people who are declaring themselves to be women

   17    in prison and so forth and so on.                 So yes, this is not

   18    unique to one state.            And, you know, these are prisons,

   19    and you don't expect, you know, brand new treatment

   20    protocols for various psychiatric problems to be worked

   21    out first in prison.            They're worked out first in the

   22    community.

   23            Q.        You've worked in about, what, half a dozen, I

   24    think we counted, prison systems, is that right, with

   25    respect to gender dysphoria?




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 79 of 203
                                                                                   79



    1         A.        Well, I've been involved at least temporarily

    2    in a half dozen.

    3         Q.        Yeah, thank you, for consulting with these

    4    various prison systems, correct?

    5         A.        Yes.

    6         Q.        Okay.     And in any of those systems or any of

    7    those departments of correction, were transgender inmates

    8    in male facilities allowed to have access to female

    9    undergarments?

   10         A.        I think in Massachusetts it's possible that

   11    they can.    They can.

   12         Q.        And what --

   13         A.        I don't know the answer to, you know,

   14    Virginia or Wisconsin, Idaho, so forth.                   I don't know.

   15         Q.        Okay.     And what about canteen items, do you

   16    know whether, in any of those prisons where you've

   17    consulted, transgender inmates were able to access female

   18    canteen items?

   19         A.        Well, of course, in Massachusetts, yes.                I

   20    have a feeling that in California there was some access.

   21    I don't think any of them had makeup.                But as I said

   22    before, I think, you know, hand lotions that men

   23    generally don't think of wanting to use, body lotions and

   24    so forth, I think things like that are female canteen

   25    items.




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 80 of 203
                                                                                    80



    1         Q.        Okay.     So I want to switch gears and talk

    2    about your evaluation of the plaintiff, Reiyn Keohane.

    3    You met with her personally, right, and did an

    4    evaluation?

    5         A.        Yes, eyeball to eyeball.

    6         Q.        How much time did you spend with her?

    7         A.        I listed that in my report.                A little more --

    8    two and a half hours or so, I think.

    9         Q.        Okay.

   10         A.        More than two and a half hours.                Four hours,

   11    almost five hours, I guess.

   12         Q.        Okay.     Now, if we go back to your report,

   13    which is               marked as Levine 1, and turn to page 6.

   14         A.        I'm slow here.        Yes.

   15         Q.        At the very top of the page, it says, if

   16    you'll read along with me, "Gender dysphoria is both a

   17    psychiatric DSM-5 diagnosis and a label for a set of

   18    symptoms based on the incongruence of gender identity and

   19    genital anatomy and secondary sex characteristics.                   The

   20    fact that Reiyn is on hormones means that others have

   21    diagnosed the inmate as having met the DSM-5 criteria.

   22    There is no other diagnostic description of the inmate's

   23    gender identity development as a child and adolescent in

   24    my opinion."     Just a couple questions about that.

   25           Do you agree with the diagnosis that Reiyn has




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 81 of 203
                                                                                      81



    1    gender dysphoria?

    2         A.        Yes.

    3         Q.        Okay.     Was there reason you didn't put a

    4    diagnosis in your report?

    5         A.        Well, actually, Ms. Cooper, I thought that my

    6    report had gender dysphoria all over it.                  I'm a little

    7    shocked that readers don't think I made a diagnosis.                     I

    8    was not asked to come in and make a diagnosis.                  There is

    9    a prisoner who wants to be a woman and is fighting to

   10    more accommodations to her female identity, is already on

   11    hormones.    There is no other diagnosis that would apply.

   12           The only other thing would be some kind of subtype

   13    of gender identity disorder or gender dysphoria, but the

   14    subtypes were not relevant to the question that I was

   15    asked to consult about.          And so that's the reason I

   16    didn't make the diagnosis.           The person has gender

   17    dysphoria.     The person's on hormones.             Let's get on with

   18    the subject, is basically what I was thinking.

   19         Q.        Okay.     And do you agree that she has a need

   20    to be on hormones?

   21         A.        She's wanted to be on hormones for a very

   22    long time, so she feels the need to be on hormones.                  It

   23    made her happier when she was on hormones.                  It gave her

   24    hope that she could fulfill her dream in the future of

   25    living more fully as a woman, meaning anatomically and




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 82 of 203
                                                                             82



    1    socially as a woman.        And she wants to have the skin

    2    softening and breast development and penile shrinkage and

    3    loss of libido that hormones generally provide for

    4    people.

    5           So it just seems to me that it's a strange thing

    6    that you're asking me a question do I agree she should be

    7    on hormones.     The horse is out of the barn, the train has

    8    left the station, the patient calls herself a

    9    transsexual, is on hormones, is happy being on hormones,

   10    so that's where I begin.

   11         Q.        Uh-huh.    If she were to be taken off hormones

   12    by the DOC against her will, do you think that would

   13    cause her harm?

   14         A.        Oh, she would be very distressed.

   15         Q.        Now, staying on page 6 of your report, in the

   16    second paragraph you say, "Reiyn told me that she simply

   17    lied about some of her history when she was initially

   18    evaluated in custody in summer 2014."               What did she tell

   19    you she lied about?

   20         A.        Her history, her feelings of how long she's

   21    felt about being a girl and so forth.               You need to

   22    understand that it's well known in the -- among people

   23    who take care of transgender people that they lie about

   24    their histories, especially adolescents, because

   25    adolescents, people who are Reiyn's age, have grown up




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 83 of 203
                                                                                    83



    1    with the Internet in a way that 30 years ago there was no

    2    Internet.     You know, people told us their histories.

    3             But even -- we know in our field, even the experts

    4    that you would call know in our field how important the

    5    Internet is to these patients and how the Internet

    6    contains many, many blogs that tell people what to tell

    7    doctors in order to get what they want.                   And doctors by

    8    the late '70s recognized that many people were lying to

    9    them about their histories, that they read in a textbook

   10    what a transsexual was and what histories they have, and

   11    they just tell the doctor that.

   12             And so I'm aware that this is a problem, you see.

   13    None of us can take a person who wants something from us

   14    and believe that everything that the person tells us

   15    about his development or her development is correct.

   16             So, you know, I just point out one little thing to

   17    you, that Reiyn has consistently told each of the

   18    evaluators that he has, as a boy, always sat down to

   19    urinate.     On the other hand, his parents were shocked to

   20    discover later in life that this person wanted to be a

   21    girl.

   22             You would think that if a child refused to urinate

   23    standing up it would raise some question in parents'

   24    minds.     So actually, I think the idea that I always sat

   25    to urinate, I always knew I was a girl, these things




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 84 of 203
                                                                          84



    1    aren't probably true, you see?

    2             And so we must take anyone's history -- I'm not

    3    picking on Reiyn.         Please understand I'm not picking on

    4    Reiyn as an individual.           All of us in this field know

    5    that the histories, especially when they're stereotypic,

    6    the histories are apt to be distortions, and they are apt

    7    to be influenced by what people have read on the Internet

    8    and been told by other transpeople who are more advanced

    9    on what you need to tell the doctor in order to get a

   10    diagnosis, what you need to tell the doctor to get

   11    hormones, et cetera, et cetera.

   12             We know that it's just part of the complexity that

   13    we have to sift through in making these very difficult

   14    decisions about whether or not this person is genuine or

   15    this person has some subtle form of sort of character

   16    pathology, which they think in a unique way that will, in

   17    fact, cause them harm in the future.

   18            Q.      Can we turn to page 10 of your report now?

   19            A.      Yes.

   20            Q.      In the first paragraph under the heading,

   21    "Character Traits" --

   22            A.      Uh-huh.

   23            Q.      -- if we go to midway through, the sentence

   24    beginning, "Reiyn's stubborn persistence," do you see

   25    that?




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 85 of 203
                                                                                85



    1         A.       The first paragraph?

    2         Q.       Yes.

    3         A.       Yes, I see it.

    4         Q.       Okay.     And if you'll read along with me, it

    5    says, "Reiyn's stubborn persistence with the trans

    6    identity has cost her mightily."

    7         A.       Yes.

    8         Q.       What do you mean by her stubborn persistence

    9    with the trans identity?

   10         A.       Well, how to explain this?                 Reiyn has a

   11    history of living as a boy and has incorporated elements

   12    in her psyche of a boy.         And she has the conviction that

   13    she is not really a boy because of certain attractions

   14    she has to female things.          And the fact that the world

   15    recognizes that you can be interested in playing dress-up

   16    and still be a boy, there's a kind of stubbornness about

   17    her persistence of the idea that her fantasy that she is

   18    a girl is true, that she is a girl, and that she went

   19    through a lot of hardship in order to maintain this

   20    fantasy.

   21           Other children would recognize that the reality of

   22    presenting myself as a girl is an arduous process and

   23    that maybe I ought to rethink this.              But she has formed

   24    this identity, it is the reason for everything that she

   25    does, and it has become the core of her development.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 86 of 203
                                                                                86



    1           There's a kind of stubbornness about that.                 There's

    2    a refusal to accept aspects of reality.                  And she has

    3    other traits, like she has an arrogant self-confidence, a

    4    belief that she knows better than everybody and that she

    5    is smarter than boys and smarter than girls and smarter

    6    than mental health professionals, and in particular,

    7    she's smarter than all the mental health professionals

    8    that dealt with her, and she's smarter than her parents.

    9    And that's what -- this inability to consider other

   10    people's point of view is what I mean by a stubborn

   11    persistence.

   12           This is an intelligent person, and it is amazing

   13    that this intelligent person could not participate and

   14    adapt to school environments.            I mean, you need to

   15    understand -- all of us need to understand that there are

   16    transpeople who have had an identity from adolescence on,

   17    like puberty on, who end up getting Ph.D. degrees and

   18    M.D. degrees and do not, you know, get into the troubles

   19    with other people and have adaptive capacities to

   20    withstand tension and anxiety and to contain their

   21    private identity internally without acting out as much as

   22    this person did.

   23           So I would say that is a stubborn persistence of a

   24    trans identity.      It's cost her educationally, it's cost

   25    her socially, it's cost her in terms of intimate




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 87 of 203
                                                                           87



    1    connections with people, and now it has led to her

    2    attempting to murder or being convicted of attempting to

    3    murder another human being.           I would say that's a

    4    stubborn persistence.

    5         Q.       Okay.     You're not saying she isn't really

    6    transgender, though, right?

    7         A.       I'm sorry, repeat that?

    8         Q.       You're not saying she isn't really

    9    transgender, are you?

   10         A.       I think her identity is one of a transperson.

   11    That is her identity.

   12         Q.       Okay.     You're not suggesting she ought to

   13    adopt a male identity, are you?

   14         A.       No.

   15         Q.       Okay.     Now, on page 12, let's look under your

   16    recommendations.

   17         A.       I'm here.

   18         Q.       All right.       You say on the -- well, let's

   19    start from the beginning.          "I recommend a compassionate

   20    response to Reiyn's request which take into account the

   21    security-related concerns of the prison setting.             I think

   22    it would help Reiyn psychologically to know that when she

   23    needs a haircut, it does not have to be a buzz cut,"

   24    right?    Question about that.         Would it help her

   25    psychologically to know that she doesn't have to cut her




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 88 of 203
                                                                               88



    1    hair above her ears and collar?

    2         A.       Did you say in color?

    3         Q.       No, sorry.       Would it help her psychologically

    4    to know she doesn't have to get her hair cut above the

    5    ears and shirt collar?

    6         A.       Oh, a shirt collar.           I'm sorry.

    7         Q.       Yes.

    8         A.       It would help Reiyn to get anything she

    9    wanted.   So if that's a specific thing that she may want,

   10    you know, long hair, so she would be very pleased to have

   11    long hair.    That would help her, yes.

   12         Q.       And would it be psychologically helpful for

   13    her to be able to wear a bra and panties?

   14         A.       Yes.

   15         Q.       Okay.     This would be a compassionate response

   16    to Reiyn's request, to allow her to do so?

   17         A.       Yes.    But we have to finish the sentence.

   18         Q.       Go ahead.

   19         A.       You know, that she's a prisoner, and a

   20    prisoner is -- the prison, the Department of Corrections

   21    has to ensure the safety of the prisoners and the safety

   22    of the correction officers, and they make decisions about

   23    how prisoners need to comport themselves.                So the context

   24    of her treatment to stabilize or enforce her feminine

   25    identity, the context for that is prison.                She's in a




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 89 of 203
                                                                                   89



    1    prison.

    2         Q.        Uh-huh.

    3         A.        So listen, it's very clear.               I mean, if we

    4    listen, if we believe what she's saying in this

    5    particular instance, that she wants long hair and she

    6    wants it down to her -- beyond her collar or at her

    7    shoulders, whatever, I believe her that's what she wants.

    8    I believe that's what this fight is about.                  At least on

    9    the surface, that's what this fight is about.                  So I think

   10    that's the answer to your question.

   11         Q.        Okay.     Now, if we can flip back to page 5 of

   12    your report.     Actually, I'm sorry.           I made a mistake.         I

   13    need to have you go back to page 10.

   14         A.        Ten?

   15         Q.        Ten, yep.

   16         A.        I'm there.

   17         Q.        Okay.     If you look at the second -- the

   18    paragraph that is second from the bottom.

   19         A.        Uh-huh.

   20         Q.        The last sentence of that paragraph says,

   21    "Legal successes will keep Reiyn happy, but the warrior

   22    queen may be vulnerable to acute decompensations when

   23    thwarted by prison security concerns."

   24           I want to make sure I understood that passage.

   25    Were you suggesting that if she's unable to get access to




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 90 of 203
                                                                                    90



    1    the hair and clothing she's seeking, she could be

    2    vulnerable to acute decompensation?

    3         A.       Yes.

    4         Q.       And what does decompensation mean?                 Is that a

    5    term of art in psychiatry?

    6         A.       That's a nice phrase, a term of art.                 Well,

    7    acute decompensation is going from emotional stability,

    8    relative comfort at a certain level of mood, to being

    9    overwhelmed with anxiety, feeling hopeless and helpless,

   10    thinking about maybe I should just kill myself,

   11    decompensation of being enraged and picking a fight with

   12    another person or decompensation where you can't

   13    participate -- if you're in an intimate relationship you

   14    no longer can participate in sexual behavior.

   15           The decompensation could be going from not using

   16    any substances of abuse to using substance of abuse.

   17    Acute decompensation could be taking the pills that you

   18    take for some medical condition and taking a month's

   19    worth at once, quote, an overdose.

   20           So it has many different meanings, but it just

   21    means a deterioration in one's self-control,

   22    self-preservation and mood stability and behavioral

   23    predictability.      That's what it means.               It's a term of

   24    art, I guess.

   25         Q.       And why do you believe that she may be




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 91 of 203
                                                                                 91



    1    vulnerable to acute decompensation if she's unable to

    2    access the female hair and clothing standards?

    3          A.       Because this person believes that she is a

    4    powerful, intelligent, superior individual who knows what

    5    is right and what is wrong and knows what she's entitled

    6    to and knows what her rights are, and she has -- she

    7    suffers from little expressed doubt.                She presents with

    8    certainty about things.

    9           Now, I'm an experienced -- I'm older than Reiyn,

   10    and I've had a lot of experience, as you have, that

   11    outcomes are not certain.           We distrust certainty.       We

   12    understand people have convictions, religious

   13    convictions, political convictions, professional

   14    convictions, but that doesn't necessarily mean that they

   15    are correct or the future will -- they can predict the

   16    future.

   17           You know, we recognize, as mature people, recognize

   18    there's a complexity in life.             Reiyn does not recognize

   19    complexity.     Reiyn believes that she is a special person

   20    endowed with capacities that far exceed lawyers and

   21    doctors and administrators and supreme court justices.

   22    She knows what the truth is.            She knows what the outcome

   23    is.   She is certain, in other words.               She's arrogantly

   24    confident.     She feels entitled.           She is what we call in

   25    psychiatry a narcissistic character.




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 92 of 203
                                                                                  92



    1           And when such people are thwarted by reality, as

    2    Reiyn has been thwarted by reality a number of times in

    3    the past, she is likely to decompensate.                 When her mother

    4    refused to give her permission for hormones, she made a

    5    suicide gesture, you see.          That's a decompensation.         I

    6    would say that the corrections staff need to be alert

    7    that if she loses or has a temporary setback in her legal

    8    quest, she's apt to have an acute decompensation.

    9           Now, the corrections people, that is, the mental

   10    health professions who work in prisons, recognize that

   11    when people lose a lawsuit sometimes, they have a period

   12    of great disappointment.          It may last a day, it may last

   13    a week, it may last longer.           But they're on alert that

   14    that's when people need special consideration.                 They're

   15    often moved to a special facility, a mental health

   16    facility in a prison.

   17           And I would recommend that if that happens to

   18    Reiyn, because Reiyn is so clear about what the future's

   19    going to be, that if the future is not what she wants,

   20    she's going to decompensate.           And this is the problem

   21    with being rigid and certain and young.

   22           So that's what that means.            And that's why I used

   23    the term warrior queen.         I hope that sentence conveys

   24    that to the reader.       It's about her character, you see.

   25         Q.       If Reiyn were a patient at a prison where you




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 93 of 203
                                                                                93



    1    were responsible for her care for gender dysphoria, would

    2    you be recommending that she be permitted access to

    3    female undergarments?

    4         A.       That's a little too theoretical for who you

    5    are addressing this question.            It would depend on why was

    6    I working in the prison in the first place and also what

    7    is the policy of the prison.           I would certainly recognize

    8    that this is what the patient wants.               And as I tried to

    9    make clear to you, when you give a transperson what they

   10    want, just like if you give any person what they want,

   11    they are temporarily happy.

   12           Again, I would have a conversation, what is the

   13    meaning of panties?       Why are we being so rigid about

   14    this, you see?     What is it about panties?             Why can't you

   15    sustain your sense of your feminine soul without having

   16    some external thing that no one else can see but you?

   17    Why did you need that literal thing?               Why can't the

   18    concept that you are a woman just be enough, you see?

   19    Well, because I'm a woman.          I want to dress like a woman.

   20    But you're in prison, and you don't have access to these

   21    things, and it might actually -- if someone sees that

   22    you're wearing panties, that may make you vulnerable to

   23    harassment, it may make you vulnerable to gang rape or

   24    individual rape.      It is putting you in jeopardy.

   25           I would have this conversation, you see.               It's not




                   Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 94 of 203
                                                                                 94



    1    simply, I have gender dysphoria; therefore, I should wear

    2    panties.   You live in a prison.            You live with a bunch of

    3    sexually-deprived men.         You're living with a group of men

    4    who are well known to have sex with other men until they

    5    can get out and have sex with women again.                And you, you

    6    are, given my sense of Reiyn being a little masochistic

    7    person, you are going to put yourself in harm's way, and

    8    you've always put yourself in harm's way.                Look what

    9    you've done to your educational progress in life.                Look

   10    how you've ruined the opportunity to get on to college

   11    and so forth.

   12           So the treatment, if I were working in prison and I

   13    had the mental knowledge that I have now, I have the

   14    knowledge that I have now, I would try to talk to Reiyn

   15    about this whole matter and point out to him he's being

   16    rather literal and he's being passionate and he's being

   17    certain and he's putting himself into harm's way, both

   18    with the prison officials and with other inmates, and

   19    ultimately with himself.          Don't you see, Reiyn, that you

   20    are making this difficult for yourself?

   21           This is the conversation that needs to happen, I

   22    believe.   That's different than -- then if he had the

   23    right to have female canteen items where -- the prison

   24    that I worked in, then he can go ahead and make his

   25    decision, but I want to have this conversation with him.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 95 of 203
                                                                                       95



    1            Q.        So, yeah, that's what I was going to ask you

    2    about.        In Massachusetts, that policy that allows

    3    prisoners to get access to female canteen items and you

    4    said that they can get access to female undergarments,

    5    are they putting themselves in harm's way by doing that?

    6            A.        Well, some of them are.            But if you just go

    7    back to Charlene-Paige Fuller, Charlene-Paige Fuller's

    8    physical appearance was such that you would have to be a

    9    seven-foot man to mess with Charlene Fuller.                       Some of

   10    these people are so -- they are aware that they're

   11    vulnerable in prison to rape, and so they lift weights

   12    and they keep themselves really physically fit and

   13    dangerous looking so that people don't mess with her.                         So

   14    when you have a thin person, not a big-muscled person,

   15    you know, they have to protect themselves.

   16             Now, of course, Reiyn didn't have muscles to

   17    protect himself.          He had guns and a seven-inch knife to

   18    protect himself with.            So you see that there is a sense

   19    of vulnerability that this man had when he was living as

   20    a transperson out there.              He has a sense of

   21    vulnerability.         And when I talked to him about this, he

   22    denied there was any danger to him.                  I want to repeat

   23    that:        He denied there was any danger.                 And his ace in

   24    the hole was that he had a lover who was going to protect

   25    him.     But I pushed him on this and he said, "No, no, I'm




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 96 of 203
                                                                                 96



    1    too strong.     There's no problem.           No one's ever harassed

    2    me in prison," which is a lie, by the way.

    3         Q.        Okay.     So in Massachusetts, is it only strong

    4    and muscular transwomen who can appropriately get female

    5    undergarments and canteen items if they have gender

    6    dysphoria, or can a slight person also get them?

    7         A.        No, a slight person can get them.

    8         Q.        Okay.     I want to go back to your report on

    9    page 11 under the heading "Medical Necessity."                In that

   10    first paragraph under "Medical Necessity," you write, "To

   11    qualify for medical necessity, a physician recommends a

   12    data-supported reasonable procedure that can:                Prevent

   13    death; Prevent complications; Relieve pain; Improve

   14    capacity to function," right?

   15         A.        Yes.

   16         Q.        I'm getting my feedback again.

   17           We just read that first sentence under "Medical

   18    Necessity" on page 11 of your report.                And question for

   19    you, can providing an inmate with gender dysphoria access

   20    to female undergarments or canteen items or grooming

   21    standards relieve pain?

   22         A.        Yes, it relieves the subjective pain.             I'm

   23    not so sure we should -- we have to qualify that.                I

   24    think it makes the person happier.               It's not like they

   25    have pain and I give them morphine and the pain goes




                   Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 97 of 203
                                                                                    97



    1    away.        It just makes people happier to get what they

    2    want.

    3             The fundamental pain of gender dysphoria, that is,

    4    my body is a male body, other people perceive me as a

    5    male person, it doesn't go away because I'm wearing a bra

    6    or panties, you know.            The pain of gender dysphoria is

    7    not even cured by sex reassignment surgery.                   One aspect

    8    of the pain of gender dysphoria is cured by sex

    9    reassignment surgery.

   10             So we have gone in our field from the idea that

   11    sex -- hormones and sex reassignment surgery is a cure

   12    for the problem to these are management matters for the

   13    problem, but the continuation of the sense of my body

   14    doesn't match my mental life continues.

   15            Q.        So for your definition of medical necessity,

   16    it would have to be a complete cure of the pain as

   17    opposed to relieving it, so like if you had, for

   18    example --

   19            A.        No, I'm sorry.        Let me interrupt.       It's the

   20    word pain that we're talking about.                  There is distress

   21    that my body and my mind don't match.                   That distress is

   22    just part of their existence, you see?

   23            Q.        And that can be reduced by --

   24            A.        And that distress, which I guess lawyers want

   25    to call pain, that distress can be modified by wearing




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 98 of 203
                                                                                98



    1    panties.

    2         Q.        And when you say "modified," you mean

    3    reduced?

    4         A.        I mean reduced, yes.

    5         Q.        Okay.     And what about improving capacity to

    6    function?     Can someone function better?                Say if the

    7    prisoner with gender dysphoria was able to get access to

    8    female grooming or clothing standards, could it improve

    9    their capacity to function?

   10         A.        Well, functioning in prison means the absence

   11    of disciplinary citations and the ability to perform work

   12    that they are assigned in prison.              That's what that

   13    means.

   14         Q.        Could it also mean go to school and do well

   15    in an education program?

   16         A.        And participate in therapy and go -- well,

   17    yes, and take care -- well, work or study if that's their

   18    thing.     If they have, you know, a treatment for sexual

   19    abuse if they were a sexual abuser, they go to sexual

   20    abuse treatment programs.           It's certainly -- what we're

   21    trying to do is to get the person to be thoughtful about

   22    their life and not be preoccupied about this incongruence

   23    all day long.

   24             So in a very limited way, Ms. Cooper, this might

   25    improve function.        However, you need to recognize that it




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 99 of 203
                                                                              99



    1    might not; that argumentative people, stubborn people who

    2    have a lot of violence in their head, who hate

    3    authority -- whether they're wearing panties or not, they

    4    can still hate authority and, you know, get into trouble

    5    and can still not concentrate in their classroom because

    6    they can't concentrate in general.

    7         Q.        Understood.       But here where you've got a

    8    policy that, for instance, for any inmate, access to

    9    female clothing and undergarments and grooming standards,

   10    I want to know whether, for some of those individuals

   11    with gender dysphoria, could having access to female

   12    clothing or undergarments and grooming standards improve

   13    function?

   14         A.        Theoretically the answer is yes.

   15         Q.        Okay.     Now, you say at the bottom of that

   16    same paragraph, "Gender dysphoria is a psychiatric

   17    condition.     Using the term medical necessity puts experts

   18    into uncomfortable positions."             Are you saying the word

   19    "medical necessity" just doesn't fit with psychiatric

   20    treatment?

   21         A.        No.

   22         Q.        What did you mean by that passage then?

   23         A.        Gender dysphoria is the only psychiatric

   24    condition where changing the physiology of the body --

   25    let's put it this way:          Gender dysphoria is the only




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 100 of 203
                                                                               100



    1    psychiatric condition for which surgery is thought to be

    2    a viable treatment.       Even though the most common thing

    3    that we take care of in psychiatry are varieties of

    4    depression and anxiety and we give drugs for those

    5    conditions, but we recognize that there are many forms of

    6    treatment for these conditions, and drugs are not

    7    absolutely required.        They may be elected by the patient

    8    or elected by the patient and the doctor, but many people

    9    who come for treatment refuse to take any medical

   10    therapies for it.

   11           So we would say that it's medically necessary to

   12    use this physical intervention, that is, given a

   13    chemical, an anti-depressant, an anti-anxiety agent, but

   14    it requires the consent of the patient.                  The patient gets

   15    to choose how the person is treated.

   16           But, you see, in the gender dysphoria treatment,

   17    you will find people who believe, like the Fenway Clinic

   18    doctors believed in 2006, that if you have the diagnosis

   19    of gender identity disorder or gender dysphoria in

   20    today's lingo, then it's medically necessary to give

   21    hormones, have mammoplasty, have rhinoplasty, have the

   22    cricoid cartilage shaved, go into your vocal cords and

   23    try to make your voice higher.            Everything a person wants

   24    is called medically necessary.            And in that light, you

   25    know, we reduce this matter to absurdity.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 101 of 203
                                                                                 101



    1            So it used to be the sex reassignment surgery was

    2    called medically necessary, and I think I explained why

    3    that is, to make the surgeon not feel like he's above all

    4    doing no harm.     It used to be that that was what was

    5    medical necessity, and everything else was called

    6    cosmetic, cosmetic.

    7            But today, cosmetic surgeries, like having larger

    8    breasts made with silicone or having one's chin remodeled

    9    or putting implants on one's lips so you could have more

   10    sensuous, big, fat lips or having your forehead

   11    remodeled, these things are called medically necessary by

   12    certain people who are experts in transgender health.

   13            I think that's ludicrous, you see.               And so if we're

   14    going to say that -- I'm willing to say that in certain

   15    conditions when I make a judgment and other physicians

   16    make a judgment, that hormones are medically necessary,

   17    and sex reassignment surgery for some of the people on

   18    hormones might be where we think it might help them live

   19    a happier life.      That's medically necessary.             I do not

   20    believe remodeling one's nose is medically necessary, you

   21    know.   I don't actually believe having long hair is

   22    medically necessary to feel feminine.               I do think that

   23    there are certain women who like how they look in short

   24    hair.

   25            And so the idea that because a person wants their




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 102 of 203
                                                                                    102



    1    nose done or wants bigger breasts or wants longer hair,

    2    that I'm going to call that medically necessary, it's

    3    pushing me, you see?            It puts me in an uncomfortable

    4    position.        I want to help the patient.                 I do want to help

    5    the patient feel better.              I'm a physician; I'm a

    6    psychiatrist.         I want to help people feel better.

    7             On the other hand, I don't want to use concepts

    8    that are not logical and that are absurd, and that makes

    9    me uncomfortable.           That's what I mean by the last

   10    sentence.        Now, I do recognize that there are people who

   11    don't agree with me who have M.D. degrees and Ph.D.

   12    degrees.        They don't agree with me.            They believe that

   13    having your forehead redone is medically necessary.

   14    Okay.        In medicine we're used to controversy, you see.

   15    We're used to it.           You can't get a hundred physicians on

   16    any subject to agree that this is the one way to treat

   17    something, you see.

   18            Q.        Okay.     Let's go back --

   19            A.        Did that make it clear what I meant by those

   20    two sentences?

   21            Q.        I think so, yeah.

   22            A.        Okay.

   23            Q.        And so that just raised some additional

   24    questions I want to follow up on.

   25            A.        I'm talking too much.




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 103 of 203
                                                                           103



    1          Q.      So you're not saying that there's no

    2    treatment for gender dysphoria that could ever be

    3    medically necessary for a patient, right?

    4          A.      Oh, I'm not saying that.

    5          Q.      No.     And some examples you gave, hormone

    6    therapy could be medically necessary for a patient, sex

    7    reassignment surgery could be medically necessary for a

    8    particular patient, correct?

    9          A.      Yes.

   10          Q.      But as far as issues relating to social

   11    transition, is it your view that those kinds of -- you

   12    know, in a prison where you would need an intervention to

   13    be able to socially transition, that that could never be

   14    medically necessary?

   15          A.      Well, you must understand, Ms. Cooper, I've

   16    been trained for many years not to use the word never.

   17          Q.      So there could be a patient for whom access

   18    to female undergarments or grooming standards could be

   19    medically necessary?

   20          A.      No.     There could be a condition where that

   21    would be psychologically beneficial.

   22          Q.      Okay.

   23          A.      Again --

   24          Q.      But it could never be medically necessary?

   25          A.      Again, we're talking about terminology.            And




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 104 of 203
                                                                                 104



    1    I know the history of medical necessity, and you need to

    2    understand I'm a physician, and I've already explained

    3    the absurdity of these things.                You don't need me to

    4    repeat it, I don't believe.

    5            Q.        Right.     Well, I'm trying to understand the

    6    line.        So you're comfortable with the word

    7    psychologically helpful for things like access to female

    8    grooming and undergarments, right?

    9            A.        Yes.     Given the sensibilities of an

   10    individual patient who needs to reinforce the idea that,

   11    in a literal way, that I am a woman, that dressing as a

   12    woman means that I am a woman, then it would be

   13    psychologically helpful to that person who that's how

   14    they think, and because that's how they think, it's

   15    useful to them, you see?              This is an internal, private,

   16    psychological sense of who I am.                 Who I am -- a sense of

   17    who I am, of course, for all human beings, for all human

   18    beings, is in evolution, is in evolution.                    Our identity

   19    keeps changing over time for all human beings.

   20            Q.        What I'm trying to understand the difference

   21    is why can hormone therapy be medically necessary, given

   22    that we're talking about an internal sense of gender, but

   23    access to female clothing or grooming to be able to put

   24    them in a place or express your feminine identity can't

   25    be medically necessary?




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 105 of 203
                                                                               105



    1          A.       I know you're the lawyer and I'm the person

    2    who's answering the questions, but I would love to switch

    3    roles with you at this point.             Hormones are medically

    4    necessary because they're hormones, because they change

    5    the physiology of the body, because they influence the

    6    function of almost every organ in the body and every

    7    blood vessel in the body.           It's medically necessary

    8    because it's an intrusion into the body, and a physician

    9    who's responsible for understanding anatomy, physiology,

   10    health and disease is going to prescribe it.                It requires

   11    a physician who is understanding of how the body works to

   12    make that decision and to administer the drug.

   13           It's a doctor thing.          It's based on knowledge of

   14    anatomy and physiology and pathology.                It's medically

   15    necessary to have a physician give a drug that enters

   16    into the brain.       We don't allow schoolteachers to make

   17    decisions to give their gender dysphoric persons

   18    hormones.    That's why it's medically necessary.              It's

   19    medically necessary to have surgery because a physician

   20    must do the surgery.

   21           It is not medically necessary to wear panties for a

   22    doctor to -- panties have no influence on the liver, on

   23    the brain, on the heart, you see?              Well, I shouldn't say

   24    the brain, because the psychological aspects of the mind,

   25    it does have an influence on it.




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 106 of 203
                                                                               106



    1           So you're trying to understand why hormones are

    2    medically necessary and haircuts or panties are not

    3    medically necessary.        It's because haircuts do not affect

    4    every cell in the body, panties do not affect the

    5    physiology of urination, whatever.              They don't affect

    6    whether you masturbate and have sperm at the end of your

    7    masturbation, but hormones do.            And because it's related

    8    to the body and its functions, it's medically necessary.

    9           But the most important reason that it's medically

   10    necessary is that for thousands of years, 4,500 years,

   11    it's been well known that there are ethical concerns

   12    about the practice of medicine, and we, above all, are

   13    not supposed to do harm.          The Nazis taking off breasts

   14    for women as an experiment was an unethical thing.               It

   15    went in the face of the 4,000 years of tradition, more

   16    than 4,000 years.

   17           So we say that it's medically necessary because the

   18    surgeon and the endocrinologist, who are not

   19    psychiatrists, who don't -- who can't talk the language

   20    that I'm speaking to you in, they feel unethical taking

   21    off a penis, a healthy penis.            Doctors are not surgeons.

   22    They're not allowed to take away healthy tissue.              So in

   23    order to make them feel ethically acceptable, we use the

   24    term medical necessity.         It's about ethics.

   25           There's no ethical consideration here in the same




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 107 of 203
                                                                               107



    1    light.     There's no endocrine consideration here.            There's

    2    no physiologic consideration here when we're going to

    3    prescribe hormones.        I'm sorry, when we're going to

    4    prescribe panties.        It's not the same as hormones.

    5          Q.       Okay.

    6          A.       I think this is the best I can do to help you

    7    understand the distinction.

    8          Q.       Okay.     And would it be -- you used the

    9    psychologically helpful.           Would it also be fair to say

   10    psychiatrically helpful to be able to access female

   11    undergarments and grooming standards if you have gender

   12    dysphoria?

   13          A.       I'll accept that as a synonym, yes.

   14          Q.       Okay.     And it would also be psychiatrically

   15    helpful for someone with gender dysphoria in the

   16    appropriate case to have hormone therapy or surgery too,

   17    right?

   18          A.       In individual cases, yes.

   19          Q.       Right.     Right.     Okay.     That is helpful.      I'm

   20    understanding the problem with the term medical necessity

   21    for access to clothing or grooming standards is it

   22    doesn't physically affect the body.               You don't need a

   23    doctor to prescribe it; is that correct?

   24          A.       That's right.        The first line of that

   25    paragraph, it said, "A physician," because that's the




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 108 of 203
                                                                               108



    1    history.        Those are the definitions that insurance

    2    companies use and government agency uses.

    3            Q.        So having now talked a bunch about the

    4    terminology, is it your view that then -- and maybe you

    5    said this, and forgive me if I just didn't catch it, but

    6    providing access to female grooming standards or

    7    undergarments could be psychiatrically or psychologically

    8    necessary for a particular individual to treat gender

    9    dysphoria?

   10                              MR. REID:       Object to the form.

   11            A.        I said helpful.         I didn't say necessary.

   12            Q.        (BY MS. COOPER)         Psychiatrically helpful or

   13    psychologically helpful, either of those?

   14            A.        Yes.

   15            Q.        Okay.     So for an individual with gender

   16    dysphoria, they could never have a psychiatric or

   17    psychological need to socially transition?

   18            A.        They feel the need to transition.          Obviously,

   19    many people do, so they do have a psychological need.

   20    You know, you could say I have a psychological need to

   21    punch somebody in the face sometimes too, but we have a

   22    need.        We make a judgment that this is the best for us,

   23    that our lives would be better if we do this.                If you

   24    want to call that a psychological need, it's -- I can

   25    live with your terminology.




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 109 of 203
                                                                           109



    1          Q.       Uh-huh.

    2          A.       You just need to understand what these words

    3    mean --

    4          Q.       Right, but --

    5          A.       -- and what they don't mean.

    6          Q.       -- for somebody who has a patient with gender

    7    dysphoria, social transition is part of the accepted

    8    approach to caring for that patient, no?

    9          A.       It's part of the professional's concept of

   10    how this person might benefit.             That is --

   11          Q.       Excuse me.       Just -- go ahead.

   12          A.       No, no, I promised not to interrupt you, and

   13    here I am, I'm interrupting you.

   14          Q.       But is it there's a social transition as part

   15    of the professional concept of -- in the same way hormone

   16    therapy is part of the professional concept of what might

   17    help gender dysphoria?

   18          A.       Well, in the first six editions of the

   19    Standards of Care, the answer to your question would have

   20    been yes.    But in the 7th edition to the Standards of

   21    Care, social transition is not necessarily a requirement

   22    for having endocrine treatment.              So I would say there has

   23    been a de-emphasis on the importance of a specific type

   24    and duration of social transition, you see.

   25           So today if I cross-dress in secret and on




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 110 of 203
                                                                             110



    1    Halloween I dressed up as a woman and went to a party and

    2    I liked it so much, and now I go to a doctor and say I

    3    want to be on hormones because I want to feminize my body

    4    and then after I have breasts in a year or so, I want to

    5    live as a woman, the Standards of Care would say, oh,

    6    that's okay; whereas in the previous Standards of Care,

    7    we'd say, oh, no, that's not okay.

    8           Q.      Well, I wasn't focusing on the social

    9    transition as precursor or prerequisite to hormone

   10    therapy or surgery.        I'm just talking about it as

   11    something that is psychiatrically or psychologically

   12    beneficial to the patient in its own right.                Is that fair

   13    to say?

   14           A.      Oh, yes, and I agree with you.             I agree with

   15    you.

   16           Q.      Okay.     Just like hormone therapy could be

   17    psychiatrically, psychologically beneficial to a patient

   18    in its own right?

   19           A.      And it could be psychologically harmful,

   20    right.

   21           Q.      Right.     Right.

   22           A.      I feel the need while you're gathering your

   23    thoughts to add one additional point that's related to

   24    your previous questions.

   25           Q.      Yeah, please.




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 111 of 203
                                                                                   111



    1          A.      You should understand that among the people

    2    who have been given hormones in the United States and in

    3    Europe, it's been recognized that not everyone continues

    4    taking hormones.      That is, the hormone treatment itself

    5    is an experiment for the person to see whether or not

    6    this concept of how I'm going to live my life will be

    7    beneficial to me.

    8           So, you know, when we talk about, you know, it's

    9    medically necessary to give hormones, it's not medically

   10    necessary to continue taking hormones.                   It's just what

   11    doctors do in response to these histories.                   It doesn't

   12    mean that, oh, my God, the person is going to die if they

   13    don't get their hormones, you know, or that once you need

   14    hormones, it's medically necessary, like if you lost your

   15    adrenal glands, it would be medically necessary be given

   16    cortisone or you can die in four days.

   17           So it's not like insulin is medically necessary for

   18    the diabetic, you see?         It's medically necessary --

   19    that's the ethical term we use -- medically necessary to

   20    justify giving a male body female hormones.                   Then the

   21    male person decides whether, over time, sometimes a year,

   22    sometimes three years, the male person, the female

   23    person, the transperson, shall I say, then may decide not

   24    to take hormones for physical reasons or psychological

   25    reasons or that they haven't -- the happiness they




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 112 of 203
                                                                                 112



    1    anticipated did not come true.

    2           So then the patient decides it's not medically

    3    necessary any longer to take hormones.                    So where do we --

    4    where is our concept of medical necessity in such a

    5    scenario?    We see that it's an elective procedure that

    6    the doctors justify with the term medical necessity in

    7    order to move the person along the pathway that he has

    8    decided happiness would -- greater happiness would lie at

    9    the end of this journey, you see.              So when a person

   10    decides I no longer want to take hormones, they're no

   11    longer medically necessary.            No endocrinologist is saying

   12    to the patient, You must take hormones.

   13          Q.       Uh-huh.     Although their psychiatrist could

   14    potentially advise against it if they thought it would

   15    cause harm, psychiatric harm to the patient, no?

   16          A.       I can't -- the psychiatrist could -- I guess

   17    would say, Maybe we ought to think about this further.

   18    And the patient might say, I have thought about it for

   19    months or years, and I don't want to do this anymore.                    We

   20    recognize the patient autotomy.              It's an ethical

   21    principle, respect for patient autotomy.

   22          Q.       Sure.     So I'm trying to understand other

   23    psychiatric conditions that -- some of the examples we're

   24    talking about of medical necessity were physical things

   25    where somebody would die if they -- or something really




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 113 of 203
                                                                          113



    1    bad would happen to their body, right, if they don't get

    2    a particular treatment, a diabetic not getting insulin,

    3    for example.

    4          A.       Sure.

    5          Q.       Is it your view that any psychiatric

    6    condition, then, that those treatments are not medically

    7    necessary because they won't physically make the body

    8    stop working or die if they don't get it?

    9          A.       Could you rephrase that?

   10          Q.       Yeah.    Could treatment ever be medically

   11    necessary, under your view of the term, for any

   12    psychiatric condition?

   13          A.       Well, of course.

   14          Q.       So if somebody has severe depression, could

   15    an anti-depressant be medically necessary?

   16          A.       Absolutely.

   17          Q.       Okay.    Even though that patient might say,

   18    Hey, Doctor, I don't want to be on anti-depressants

   19    anymore, and the doctor would respect the patient's

   20    autotomy and they could decide not to, right?

   21          A.       Yes.

   22          Q.       Even though the doctor views it as medically

   23    necessary?

   24          A.       Right.

   25          Q.       Okay.    So similarly, a psychiatrist could




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 114 of 203
                                                                            114



    1    think of hormone therapy as medically necessary for a

    2    particular patient?

    3          A.       See, the doctor, I think, everywhere -- well,

    4    maybe not everywhere.         The doctor does not say, You need

    5    to be on hormones.        You need to understand that.     It is

    6    the patient who wants hormones; it's not the doctor.               To

    7    the doctor, the person has gender dysphoria, and what are

    8    they going to do about it?           Are they going to be one of

    9    those persons who lives with it, who talks about it, who

   10    doesn't talk about it, who goes and prays to Jesus?

   11    People do lots of things with what the mosaic -- their

   12    gender identity, their sexual identity mosaic.

   13           The patient says they want to have hormones.              Just

   14    like the doctor doesn't say, You must remove your

   15    genitals.    The patient says I want to get rid of my

   16    genitals.    This is different than how -- you know, if I

   17    go to my doctor and I'm coughing and I have a fever of

   18    103 and I'm producing ugly yellow sputum and he takes an

   19    x-ray and my lobe is filled with pus, my lung lobe is

   20    filled with pus, we don't have big discussion about this.

   21    The person is going to get antibiotics, you see.           It's

   22    medically necessary or this guy is doing to die.           He's

   23    going to die, right.

   24          Q.       Well, how is it medically necessary for

   25    somebody who suffers from depression to get




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 115 of 203
                                                                            115



    1    anti-depressants?

    2          A.       Well, it's medically necessary to have an

    3    intervention to respect the potential of depression to

    4    deteriorate the quality of life and work and

    5    relationships.      And it is a lethal condition in some

    6    people.     So I'm saving someone's life by intervening with

    7    a depressed person, a severally depressed person.

    8          Q.       And could the same be said for somebody with

    9    gender dysphoria?

   10          A.       Am I saving his life?           Is what you said?

   11          Q.       Couldn't the same be said for somebody with

   12    gender dysphoria, that an intervention is necessary to

   13    potentially save their life if they are so distressed

   14    about it?

   15          A.       Oh, absolutely.         Absolutely.

   16          Q.       Okay.     I think this is a good time to take a

   17    lunch break.

   18                           MS. COOPER:         Can we go off the record?

   19                                       - - -

   20               (Whereupon, a luncheon recess was taken.)

   21                                       - - -

   22          Q.       (BY MS. COOPER)         So on page 11 of your

   23    report, second paragraph under "Medical Necessity," you

   24    say there's nothing medically necessary about hair

   25    length.     Can there be something psychologically,




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 116 of 203
                                                                             116



    1    psychiatrically helpful about being able to grow your

    2    hair to a traditionally feminine hair length?

    3          A.       Yes.

    4          Q.       And I'm just wondering, you know, in the case

    5    of, say, women who lose their hair to chemotherapy, would

    6    they have a medical need to be able to wear a wig, would

    7    you say?

    8          A.       I have a full mouth.          This is a subject close

    9    to my heart.     I'm glad you brought that up.           The

   10    insurance industry is very compassionate about women

   11    who've had mastectomies or lumpectomies and have

   12    chemotherapy which causes hair loss or what we like to

   13    call alopecia.        It's a temporary thing, as you know.

   14           Now, the insurance company will pay for a breast

   15    prosthesis in perpetuity for women who have had

   16    mastectomies and will temporarily give a small amount of

   17    money to wear a wig.        But as you probably know, that many

   18    women who lose their hair wear hats, scarves, or go bald.

   19    They don't want a wig.

   20           It's not medically necessary to have a wig.             It

   21    doesn't change the course of whether she's going to live

   22    or die of breast cancer.          It's only an accommodation to

   23    the narcissistic injury to her being a bald woman or

   24    having a unicorn for what used to be symmetrical breasts.

   25    We recognize that it's useful temporarily for a woman to




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 117 of 203
                                                                                117



    1    get a wig, but actually, many women with a wig don't love

    2    their wigs, and they give them up.

    3           So you could easily say it's medically necessary

    4    because it's covered by insurance.              But it's not

    5    medically necessary in the way that chemotherapy is

    6    medically necessary because we're trying to cure this

    7    woman of a disease that's potentially fatal.                 It has no

    8    outcome, no long-term outcome on whether she's going live

    9    or die or prosper in a person in five years whether she

   10    wears a wig for three months or whether she even stuffs

   11    her bra.

   12           So you could call it medically necessary, but you

   13    need to understand it's very much like what we are

   14    talking about here for Reiyn.            It is psychologically

   15    beneficial, that's all.         No, the doctor doesn't prescribe

   16    a wig, you see?       The doctor -- the insurance will pay for

   17    a wig, that's all.

   18          Q.      Okay.     You talked briefly about the Fuller

   19    case earlier where you said you did testify it was

   20    medically necessary for her to have breast forms to fill

   21    her bra because of her gender dysphoria.                 Am I saying

   22    that correctly?

   23          A.      You know, on the surface you're saying that

   24    correctly, but let me just make it more complex.                 The

   25    person has gender dysphoria.           The person is a violent,




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 118 of 203
                                                                             118



    1    unstable, inconstant gender dysphoric person that

    2    presents herself sometimes as a female and sometimes as a

    3    man.     Given the instability and the fact that she was in

    4    for murder and violence has been part of her history in

    5    prison, it just seemed to me to be needlessly provocative

    6    to take this person and refuse to give her a breast form

    7    that she wanted, because she was going to get very

    8    depressed, and when she gets depressed, she gets violent.

    9    And so I just thought it was -- we should call -- we

   10    should give her what she wanted in this case because I

   11    did not want other people to be harmed.

   12             So, you see, your sentence is correct, but it's not

   13    quite addressed by the circumstances that led me to the

   14    decision.      It wasn't because she had gender dysphoria.

   15    It was because of the individual nature of this violent,

   16    unstable, inconstant man, woman.

   17             When the person's family visited Mr. Fuller, he

   18    went down -- the person goes down and presents himself as

   19    a man.      And when the family is not around, he presents

   20    himself as a woman.         So it's kind of confusing for the

   21    prison staff and for me to know whether is this a man or

   22    a woman.      I just say this is a transwoman, but an

   23    inconstant transwoman.

   24           Q.       Just a moment.        I'm looking for something.

   25                            MS. COOPER:        Can we mark a document




                     Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 119 of 203
                                                                               119



    1                   that I had as No. 2, which says

    2                   Charlene-Paige Fuller versus Carol Higgins

    3                   O'Brien on the caption?            Do you have that?

    4                                       - - -

    5                (Whereupon, Levine Exhibit 3 was marked

    6                            for identification.)

    7                                       - - -

    8          Q.       (BY MS. COOPER)         So do you recognize this

    9    document?

   10          A.       No.     Did I have a videoconference?          Okay.

   11          Q.       Did you have your deposition taken in the

   12    case of Fuller against O'Brien?

   13          A.       You know, if you would have asked me without

   14    showing me this, I would say I didn't have a deposition,

   15    but I guess I did.

   16          Q.       You don't recall doing a deposition?

   17          A.       Was this in Cleveland?            Let's see.   Yes, it

   18    was in Cleveland.        Okay, I remember the place it

   19    happened.    I just didn't remember it.              Okay.

   20          Q.       Okay.     And you issued a report in that case,

   21    is that right, in the Fuller case?

   22          A.       Most likely, yes.

   23          Q.       Okay.     And if you turn, you'll see that this

   24    is a minuscript where the pages have pages four per page.

   25    And if you look at page 11 -- I'm sorry, page 10.




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 120 of 203
                                                                             120



    1          A.       Okay.    34, 35, 36, 37, right?

    2          Q.       No, I'm sorry, if you look in the little page

    3    10.

    4          A.       Oh, the little page 10.           Okay.

    5          Q.       And at the very bottom of page 10, it says,

    6    "And what did you do to prepare for today's deposition,

    7    Dr. Levine?"     And I think just for the sake of the court

    8    reporter, I want to ask you to just read to yourself the

    9    next two pages, through page 12.

   10          A.       Okay.

   11          Q.       Great.    Thank you.       So in this process, you

   12    were asked about a conversation with a Dr. Andrade,

   13    correct?

   14          A.       Yes.

   15          Q.       And who is Dr. Andrade?

   16          A.       He was the co-head of the Gender Identity

   17    Committee.

   18          Q.       In Massachusetts?

   19          A.       Yes.

   20          Q.       And then you mentioned a conversation with

   21    Dr. Andrade, and the questioner at the top of page 12

   22    says, "And could you describe the conversation for me?"

   23    Answer:    "Could I what?"        Question:      "What did you say in

   24    the course of the conversation, Dr. Levine?"              Answer:

   25    "Well, I -- he got-- he was informed that, that my




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 121 of 203
                                                                               121



    1    opinion was that Charlene-Paige Fuller could -- her

    2    breast forms could be considered medically necessary.

    3    And he was, I think, about to convene a committee there

    4    to make the recommendation that breast forms could be

    5    used.        And he just wanted to ascertain whether what he

    6    had heard is correct, that I had rendered that opinion,

    7    and that's what I told him, and that basically was it."

    8             So do I understand that correctly that you told

    9    Dr. Andrade that breast forms for Ms. Fuller could be

   10    medically necessary?

   11                               MR. REID:      Object to the form; asked

   12                      and answered.

   13            A.        Well, actually, that's what I said.

   14            Q.        (BY MS. COOPER)         Okay.     Could you go to

   15    page -- sorry, page 101, little page 101?

   16            A.        Okay.

   17            Q.        Okay.     And I'm going to need to back up a

   18    little bit to give you some context, but -- well, let's

   19    go to 101 or the bottom of 100.                 I believe she's reading

   20    from a report from you, but you tell me if I

   21    misunderstand that, okay.

   22             Question:        "All right.      Very good, sir.     I'm at the

   23    beginning of the second paragraph.                  It says, 'If

   24    medically necessary means that a physician believes that

   25    a treatment or accommodation would likely improve the




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 122 of 203
                                                                             122



    1    subjective distress or improve the functional capacity of

    2    the patient, it is my opinion, with a reasonable degree

    3    of certainty, that allowing her use of the breast forms

    4    will prove useful to her and, therefore, is medically

    5    necessary."

    6           Is that something you wrote in the report in the

    7    Fuller case?

    8          A.       Probably.      Although you didn't ask it, I

    9    think you ought to know that in dealing with the

   10    paradoxes inherent in the term medical necessity,

   11    probably the Charlene Fuller case helped me -- moved me

   12    to make the recommendations the following year that we no

   13    longer use the term medical necessity, but use the term

   14    psychologically helpful.

   15           As you have interpreted, you know, in my Charlene

   16    case, Charlene Fuller, it was because she had gender

   17    dysphoria that it was medically necessary.                But really, I

   18    interviewed a man in shackles whose violence could not --

   19    whose calmness could not be trusted by the prison

   20    officials in a private room with me.                And so the idea of

   21    it was gender dysphoria, per se, that led to the medical

   22    necessity determination, which, by the way, surprised the

   23    staff, who didn't think it was medically necessary,

   24    that's what led to my continued unease and led to the

   25    publication and the recommendation in the Journal of the




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 123 of 203
                                                                                  123



    1    American Academy of Psychiatry and the Law.

    2           So, you know, I'm not the same person that I was

    3    two and a half years ago.          My life is one of continued

    4    evolution of thinking and understanding about this field

    5    and including the term medically necessary.                  So you're

    6    quoting me from 2015, my 2015 understanding of the term.

    7    I had to make a practical decision.              I made it.      But

    8    today, armed with that, I would have a different concept.

    9           I would answer that all things considered, given

   10    the violence potential of this inconstant, unstable, and

   11    threatening man, woman, man, whatever you want, I think

   12    we ought to just give the breast forms because he wants

   13    it, and I don't really think it will cause any great harm

   14    to him, to her.       So that's how I think.             So I just want

   15    you to understand that I reserve the right to evolve my

   16    thinking, as I'm sure, in your lawyerly world, your

   17    thinking about many things evolves from one year to

   18    another.

   19          Q.      Okay.     Can we look at little page 105?

   20          A.      Got it.

   21          Q.      Okay.     Middle of the page, the questioner

   22    says -- well, sort of the top third.               Question:     "And on

   23    the subject of improving Miss Fuller's subjective

   24    distress" -- are you with me?

   25          A.      Not yet.      Okay, got it.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 124 of 203
                                                                                 124



    1          Q.       Line 7, right?

    2          A.       Yeah.

    3          Q.       Question:      "On the subject of improving Miss

    4    Fuller's subjective distress --" Answer:                  "Yes."

    5    Question:     "-- you also -- you write that breast forms

    6    diminish Miss Fuller's anguish, correct?"                  Answer:

    7    "Yes."

    8             So that was your opinion in that case, that they

    9    would diminish her anguish?

   10          A.       Yes.

   11          Q.       Okay.     Question, following along after:

   12    "And you agree that breast forms will improve Miss

   13    Fuller's mental health by diminishing the anguish that

   14    she experiences without them; is that correct?"                    Answer:

   15    "Yeah," and then you go to -- you're welcome to read that

   16    to see if that changes your opinion.                But you did say

   17    yes, and that was your view at the time?

   18          A.       Yes.    Well, I'm going to read out loud

   19    what --

   20          Q.       Go ahead.

   21          A.       "I'm trusting her representation to me that

   22    if she could only feel the weight of her breast tissue

   23    and that she feels good when she can feel the weight of

   24    that large, heavy -- large breast form or whatever she

   25    packs it with, packs her bra with."




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 125 of 203
                                                                                      125



    1           You know, here's a person who said, I need to feel

    2    heavy breasts.     Just having breasts are not enough for

    3    me.   I want heavy breasts.         You must recognize that

    4    Charlene-Paige Fuller does not take hormones, does not

    5    want to take hormones, but she does want large breasts.

    6    And given the unusual nature of this person and the

    7    violence potential, I just thought, let's give this

    8    person, compassionately, breast forms.                   Let's quit

    9    fighting over this matter.          Nothing good is going to come

   10    from the fight.

   11           So the question is about the anguish, Charlene

   12    Fuller's anguish.       She presents herself, if you can

   13    believe her -- and I have no idea whether she's telling

   14    the truth -- she has a lot of anguish if she can't feel

   15    heaviness on her breast, on her chest.                   So I said let her

   16    feel heaviness on her breast, on her chest.                   That's the

   17    nature of this decision.          It's not about medically

   18    necessary for the treatment of gender dysphoria.                      It's

   19    about Charlene-Paige Fuller.           Just like WPATH says, it

   20    should be individually based.

   21          Q.      Okay.     Would you say now that your view about

   22    the term medical necessity has evolved, it would be more

   23    appropriate to say that it would be psychiatrically or

   24    psychologically helpful for Charlene Fuller to have

   25    breast forms?




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 126 of 203
                                                                            126



    1          A.       I would prefer the term psychologically

    2    helpful.

    3          Q.       Why is that preferable to psychiatrically?

    4          A.       You know, the connotation -- everyone has a

    5    psychology, you see, but psychiatric is like --

    6    psychiatry is the study of abnormal mental experiences

    7    and behaviors, so everyone who has a psychology doesn't

    8    have, you know, a psychiatric thing.

    9             So all of us are meaning makers, and Charlene-Paige

   10    Fuller takes great personal and idiosyncratic meaning of

   11    having a protuberant chest, and I mean a protuberant

   12    chest.     And so that's her individual meaning, you see.

   13    It's sort of -- I knowledged before that in most

   14    situations, it's a synonym between psychiatric and

   15    psychological.      But really what I'm talking about is the

   16    individual psychology of a person.               We don't usually use

   17    the term the individual psychiatry of a person.

   18          Q.       But isn't gender dysphoria a psychiatric

   19    condition?

   20          A.       It certainly is.

   21          Q.       So why wouldn't it be helpful for the

   22    psychiatric condition of gender dysphoria to --

   23          A.       Because it only helps one aspect of the

   24    condition.     It helps one symptom of the condition.            You

   25    know, I think in my view, you and I are sort of in




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 127 of 203
                                                                          127



    1    agreement.    We're splitting hairs, though.

    2          Q.      Uh-huh.     Well, yeah, but these hairs may

    3    matter so -- and I want to make sure I understand the

    4    line here.

    5           So the fact that it may only help one aspect of the

    6    condition, if there were other psychiatric conditions

    7    where a treatment could help one aspect, but not

    8    completely cure the whole thing, it could still be

    9    psychiatrically helpful, right?

   10          A.      Absolutely.       In fact, that's the experience

   11    of psychiatry.     We're all frustrated we can't really

   12    eradicate most of the people quickly from all the aspects

   13    of their condition, and we're happy to help with one or

   14    more aspects at a time.

   15          Q.      Okay.     So there's not, in your view -- I want

   16    to make sure I understand -- there's not a qualitative

   17    difference between breast forms, on the one hand, and,

   18    say, women's undergarments or grooming standards on the

   19    other in terms of whether access could be helpful

   20    psychologically, helpful psychiatrically, whatever

   21    terminology you're comfortable with?

   22          A.      Yeah, I think they all -- you know, they all

   23    fall in the same category.

   24          Q.      Okay.     So for Reiyn, is it possible that

   25    providing -- or I should ask it differently.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 128 of 203
                                                                          128



    1           In your view, would providing her access to female

    2    undergarments diminish her anguish?

    3          A.       She wants female undergarments, she's

    4    anguished and frustrated that she doesn't have them, and

    5    so providing them for her would diminish her anguish

    6    about that.

    7          Q.       And would it diminish her anguish relating to

    8    her gender dysphoric feelings?

    9          A.       I actually don't know how to answer that

   10    question, because I think I've answered it in many ways

   11    already today.      So I don't know if you're asking me

   12    something different.

   13          Q.       Well, let me phrase it a little differently.

   14           Would providing access to female undergarments and

   15    grooming standards reduce her feelings of dysphoria?             I'm

   16    sorry, did you say something?

   17          A.       I'm just thinking.

   18          Q.       Okay.

   19          A.       You know, the question sort of directs me to

   20    answer it yes, but there's a part of me that wants to

   21    qualify my yes.        It's a minor aspect of her gender

   22    dysphoria.     Because she's in a legal battle for this,

   23    she's going to exaggerate the importance of this to her.

   24    All of us know that, you know.             I don't consider her to

   25    be a highly trustworthy narrator of anything, but I




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 129 of 203
                                                                           129



    1    grant, because of my experience with hundreds of other

    2    gender dysphoric people, that there is distress that she

    3    carries around because her gender identity doesn't match

    4    her anatomy and its function.             And so any modest little

    5    thing that could be done might diminish her anguish a

    6    bit.

    7            But the anguish -- she will celebrate or, as she's

    8    told me, she will cry when she wins this lawsuit in

    9    happiness.     But you know and I know that her continued

   10    dysphoria will exist, because she lives in a male body,

   11    she's in a male prison, and she has -- she doesn't have a

   12    vagina, she doesn't menstruate, and she doesn't have any

   13    natural feminine patterns.

   14            These are feminine -- she's learning how to be a

   15    woman constantly.        She will always -- she will spend her

   16    life learning how to be a woman.              And she'll be watching

   17    50-year-old women to see how she should behave when she's

   18    50.    So she will always be distressed.

   19           Q.      Is that true of anybody who has gender

   20    dysphoria?

   21           A.      Yes, I think so.

   22           Q.      So it's your view that access to female

   23    undergarments or being required to wear male

   24    undergarments is a minor thing for someone with gender

   25    dysphoria?




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 130 of 203
                                                                                130



    1          A.       When you compare it to the existential

    2    dilemma that doesn't go away, it's a relatively minor

    3    thing.     When you focus narrowly on her current distress

    4    and what she wants, it seems to be a major thing.

    5          Q.       But her existential dilemma, it sounds like

    6    you're saying, wouldn't go away no matter what treatment

    7    she got, right?

    8          A.       Well, if you look at the experience of so

    9    many people who have sex reassignment surgery, they dream

   10    of having sex reassignment surgery for years and years,

   11    they finally get to it, and as soon as they're done with

   12    that, they start on a quest to have additional surgery.

   13    So they're not feeling completely cured; they still have

   14    gender dysphoria.

   15          Q.       Uh-huh.

   16          A.       You need to understand that's a basic --

   17    that's there.

   18          Q.       Is there any treatment for gender dysphoria

   19    or accommodation that isn't a, quote, minor thing that

   20    could have a serious effect on somebody's well-being?

   21          A.       I think the conviction of many people in the

   22    field is hormones and sex reassignment surgery and

   23    cosmetic surgery thereafter is the best that we can do as

   24    a medical profession.         It's not the best that can be done

   25    in terms of a psychological profession.                   It's the best we




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 131 of 203
                                                                                   131



    1    can do medically with interventions with the body.                   We

    2    can do surgery; we can give hormones.                   That's the best we

    3    can do for this existential condition or, if you prefer,

    4    this psychiatric condition or, if you prefer, this

    5    psychiatric illness.

    6            Q.        And living and presenting in accordance with

    7    their desired gender identity is not as important as

    8    hormones or --

    9            A.        No, I think for many people, Ms. Cooper, it's

   10    the most important thing.              It's most important to present

   11    themselves as the woman that they feel themselves are;

   12    rather, no one sees their genitals except their rare

   13    lover.        So, you know, whether you're walking around with

   14    a penis, a shriveled-up penis due to estrogen or a

   15    vagina, no one sees it.             It's all a subjective thing, you

   16    see?     So living, being accepted as a woman, whether

   17    you're an inmate or you're a free person, is the most --

   18    functioning as a woman in society is what helps them the

   19    most.        It's not surgery.        It's functioning as a woman in

   20    society.

   21             And that's what grieves me, worries me so as a

   22    scholar in this field, that 53 percent of people are on

   23    disability.        Even when they present themselves as a woman

   24    full time, they're on disability.                 That doesn't sound

   25    like happiness to me.




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 132 of 203
                                                                              132



    1          Q.       Uh-huh.    But you're continuing to provide

    2    treatment to people for gender dysphoria, right?

    3          A.       Yes, but you can --

    4          Q.       You haven't thrown in the towel?

    5          A.       Absolutely.      And you could imagine that the

    6    treatment that I provide has conversation about these

    7    issues, you see?      I don't run a mill where if you come

    8    in, an hour later you get hormones.              That's not what I

    9    do.   This is not a mill, a transsexual center where you

   10    can get hormones by asking for them.

   11          Q.       You have to first determine that they would

   12    be appropriate for the individual; is that right?

   13          A.       Of course.

   14          Q.       Is it your view that prisoners must sometimes

   15    be denied care, whether it's medical care or

   16    psychological intervention, that would really benefit

   17    them because there is a security issue posed by that

   18    treatment?

   19                          MR. REID:       Object to the form.

   20          A.       That was a pretty complicated question for my

   21    little brain.     Could you try that again?

   22          Q.       (BY MS. COOPER)        Yeah, let me try it

   23    differently.     I agree.

   24           Are there circumstances under which an inmate's

   25    health should have to be sacrificed due to security risks




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 133 of 203
                                                                           133



    1    related to treatment?

    2          A.       Well, can I use the word PREA with you?

    3          Q.       Sure.

    4          A.       So many inmates who are transfolks are

    5    sexually attracted to men, and their feminine mannerisms

    6    and feminine behaviors and freedom to dress however they

    7    want is thought to put them at risk for rape, gang rape,

    8    individual rape, harassment, and being the victims of

    9    violence.    And so the patient may think that I need to

   10    have my femininity enhanced by -- and the patient says I

   11    want this, that, X, Y, and Z, but the security people may

   12    think that given the character, the nature of this

   13    prisoner, that it is against -- it's a security issue.

   14    I mean, I think the prison feels responsible for

   15    maintaining the safety of inmates.

   16           So in that sense, I've seen some outlandish

   17    prisoners whose exaggerated feminine style makes everyone

   18    worry about their safety.           But generally speaking, you

   19    know, they live in a prison, and the prison's obligation

   20    is to ensure the safety of the inmates and the

   21    corrections officers and so forth and the people who

   22    work, like the psychologists who come in every day to

   23    work in the prison.

   24           And so most of the time, security doesn't interfere

   25    with it.    But they do, at least in Massachusetts, they




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 134 of 203
                                                                             134



    1    have the final say on what can be done and what can't be

    2    done.        And when I first started working in the prison, I

    3    was educated about prisons, and I learned a lot of things

    4    I didn't know before, like the corrections profession is

    5    like over 200 years old, and they've evolved systems of

    6    taking care of large percentage of people who are

    7    violent, and we have to learn to respect them.

    8             A mental health professional is just one little

    9    piece of a complex organization called a prison, and we

   10    cannot begin to think that we know better than the prison

   11    officials.        That was my introduction in 2008 to prison.

   12             On the other hand, I'm quite aware that prisons

   13    have been really slow to recognize the needs of the trans

   14    prisoners, and it's taken legal intervention to make them

   15    accommodate to.          So it's not just a simple thing of, you

   16    know, we always have to trust the security apparatus.                   We

   17    also have to trust emerging concepts of psychiatric

   18    illness, and clearly, gender dysphoria is an emerging

   19    concept of psychiatric illness.

   20            Q.        I need to ask you to hold one moment.

   21                                          - - -

   22                      (Whereupon, a recess was taken.)

   23                                          - - -

   24            Q.        (BY MS. COOPER)         Sorry about that.   So then

   25    focusing on Massachusetts, there they allow -- well,




                       Northeast Court Reporting, LLC
                          (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 135 of 203
                                                                               135



    1    there are transgender inmates in male facilities who are

    2    allowed to wear female undergarments, right?

    3            A.      I think so, yeah.

    4            Q.      And get feminine canteen items; is that

    5    right?

    6            A.      Uh-huh.

    7            Q.      And get female canteen items?              I'm sorry, I

    8    couldn't hear you.

    9            A.      Yes, I sorry.

   10            Q.      And in Massachusetts, as far as you know, are

   11    the transgender women in prison allowed to grow their

   12    hair?

   13            A.      I think they grow their hair any way they

   14    want.

   15            Q.      Okay.     And are the prisons able to keep them

   16    safe?

   17            A.      As far as I know.

   18            Q.      Are you aware of any -- in your experience

   19    with prisons or otherwise, aware of any other condition

   20    where a security reason was given to deny treatment or

   21    care to somebody who had a medical need or psychiatric

   22    need?

   23                            MR. REID:       Object to the form.

   24            A.      I think violence, disciplinary action, what I

   25    think prison people call -- I mean the corrections people




                      Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 136 of 203
                                                                              136



    1    call insubordination, these causes for disciplinary

    2    actions have slowed the access to hormones for people.

    3    They're thinking, I think, this person is too unstable to

    4    undertake such a momentous process.

    5           And so I don't think it ever precludes the

    6    treatment for gender dysphoria, like hormones.             It just

    7    delays it.    It makes the evaluation get extended.             It

    8    makes the mental health professional try to figure out

    9    why are you behaving in such a way that's counteracting

   10    what you say you want, you see?             So to that extent, I

   11    think I can answer your question.

   12           You need to understand, I don't work full time in a

   13    prison.    I'm not a corrections mental health

   14    professional.     I don't have day-to-day experience in

   15    prison.

   16          Q.      Uh-huh.     Now, is it your understanding that

   17    the Florida Department of Corrections policy is to bar

   18    access to female undergarments or female grooming

   19    standards, including growing hair, for all inmates at

   20    male facilities, including gender dysphoric inmates?

   21          A.      That's my understanding of why we're in a

   22    lawsuit.

   23          Q.      Right.     And so there it's not a question of

   24    the prison context delaying access to the female clothing

   25    and grooming standards; it's the prohibition.             You




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 137 of 203
                                                                                137



    1    understand that, right?

    2          A.      Yeah, it's a statewide policy, I understand.

    3          Q.      Yeah, okay.       So are you aware of any other,

    4    going back, medical or psychiatric conditions where a

    5    security reason would be a basis to deny needed care --

    6                          MR. REID:       Object to the form.

    7          Q.      (BY MS. COOPER)         -- for accommodation?

    8                          MR. REID:       Object to the form.

    9          A.      I'm not aware.

   10          Q.      (BY MS. COOPER)         Okay.     But it's your view

   11    that we need to defer to the security needs of the

   12    prison, either when they're medical or mental health

   13    issues, I think?

   14                          MR. REID:       Same objection.

   15          A.      I don't think that's my view.              You read my

   16    report.

   17          Q.      (BY MS. COOPER)         Yes, so let's go back to

   18    your recommendations.        You say I think it would help --

   19    under your Recommendations section on page 12.

   20          A.      I sort of remember what I said.

   21          Q.      I'll wait until you have it in front of you.

   22    You say, "I recommend a compassionate response to Reiyn's

   23    request which take into account the security-related

   24    concerns of the prison setting.             I think it would help

   25    Reiyn psychologically to know that when she needs a




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 138 of 203
                                                                                    138



    1    haircut, it does not have to be a buzz cut.                    Officials

    2    who determine safety issues should be asked to define a

    3    safe hair length for her."

    4             Then you go on to say, "I am aware that male

    5    prisoners elsewhere have longer hair."                    And before we go

    6    on to the rest, I have questions about the hair.

    7             So earlier I asked if you thought it would be

    8    psychologically helpful for her to be able to not only

    9    not have a buzz cut, but be able to grow it beyond her

   10    ears and shirt collar, and I think you said yes; is that

   11    right?     Or is that your view?          I want to make sure I'm

   12    not misstating.       I don't mean to try to trick you.               I'm

   13    genuinely, sincerely asking, is that your view?

   14          A.       It's my view that she lives in a prison that

   15    has rules that have a history that I don't understand,

   16    but the rules are probably designed for safety reasons,

   17    as represented, as understood by the history of Florida

   18    penitentiaries; that Reiyn in lives in a context.                    He

   19    earned the right -- she earned the right to be in the

   20    context called prison, and all prisoners need to learn

   21    how to adapt to the rules of their environment.

   22             Apparently, there is some variety of haircuts, as

   23    long as they're short, and that Reiyn, by refusing, has

   24    probably made it worse for herself by instead of

   25    accommodating to a feminine style that would be pleasing




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 139 of 203
                                                                            139



    1    to her, she has insisted that she wants only what she

    2    wants, and she's not adaptive.             She's not -- she is what

    3    I called before stubborn.

    4            But given her helplessness, given her existential

    5    plight, given the fact that she's going to be in this

    6    prison for another 10 to 12 years, it might be kind of us

    7    to instruct her how to get her hair cut shorter than

    8    she's wants, but longer than having her hair cut off like

    9    a bald 70-year-old man.

   10            And so what I'm trying to say in the first sentence

   11    is, can't, folks, we figure out how to accommodate and

   12    minimize the great drama that Reiyn is creating by hiring

   13    attorneys to fight this battle legally because she knows

   14    what is necessary to make her happy?

   15            So there's a certain unreasonableness, there's a

   16    certain gratuitousness or unnecessariness about this

   17    struggle.    And so I'm saying, look, I want to be

   18    compassionate.      I don't want to lie to the world and say

   19    it's medically necessary.           I just want to say it would be

   20    kind.   Could someone talk to this young person and

   21    explain in a way that she can understand how she can get

   22    her way without having to create all this drama?

   23            And I guess that's part of her character, you see?

   24    She's a warrior.       She construes things as though this is

   25    a fight, and I'm going to win or I'm going to die.               Very




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 140 of 203
                                                                                140



    1    dramatic, or what I would say, very melodramatic.                 And I

    2    say we provide compassion.          As an expert, I provide

    3    compassion for her longings.           But as also an expert, I

    4    say it's a two-way dance between the Department of

    5    Corrections and Reiyn.         And Reiyn might be doing

    6    something wrong in creating such a response, no, you're

    7    going to have a buzz cut.

    8          Q.      Were you informed that after you met with her

    9    when she was transferred to another prison after having

   10    her hair trimmed to the collar and ear, when she was sent

   11    to the other prison, she was required to have a buzz cut?

   12                          MR. REID:       Object to the form.

   13          A.      After I met with her, she was sent to another

   14    prison?

   15          Q.      (BY MS. COOPER)         Were you aware that she was

   16    subjected to a forced buzz cut after having had her hair

   17    cut above the ear and collar in another prison, yes?

   18          A.      Before I met her?

   19          Q.      No, after, after.

   20          A.      No, I was not aware of that.               I was aware

   21    that that happened before I met her.

   22          Q.      Okay.     Now, you say that officials should

   23    determine safety issues -- who determines safety issues

   24    should be asked to define a safe hair length.

   25           If they were to tell you that safe hair length is a




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 141 of 203
                                                                             141



    1    buzz cut, would you defer to that?              That's what I was

    2    getting at earlier.       Do we defer to the security

    3    officials, necessarily?

    4                          MR. REID:       Object to the form; asked

    5                  and answered.        If you have more to add,

    6                  you're certainly -- you're free to answer.

    7                  I'm just objecting for the record.

    8          Q.      (BY MS. COOPER)         Do you need me to ask the

    9    question again?

   10          A.      Okay.

   11                          MR. REID:       Unless you think you've

   12                  already answered it.

   13          Q.      (BY MS. COOPER)         I'm going to ask the

   14    question again, because I think it may have made us all

   15    forget.

   16          A.      Yeah.

   17          Q.      In this same paragraph in the Recommendations

   18    section of your report, you say, "Officials who determine

   19    safety issues should be asked to define a safe hair

   20    length for her."

   21           My question is, If those officials were to

   22    determine that the safe hair length is a buzz cut, would

   23    you say we ought to defer to them?

   24          A.      When I was 13 I had what I called a buzz cut.

   25    I had like an inch of hair, flat-top hair.               Is that what




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 142 of 203
                                                                                142



    1    we're talking about, or are we talking a buzz cut means

    2    take all hair off and make you look like a 70-year-old

    3    bald man?

    4          Q.       Let's say it leaves a quarter inch of hair.

    5          A.       Okay.     All I'm saying is that I'm not an

    6    expert in safety.        I don't know what causes their policy

    7    in Florida.     As you've established and as I have known,

    8    it's not a universal, statewide prison policy in 50

    9    states to require a buzz cut.             It's very apparent that,

   10    since states do it differently, that everyone doesn't

   11    agree from state to state that it's a safety issue.

   12             I don't know why Florida thinks it's a safety

   13    issue.     But if I were Florida, I don't think I would want

   14    one prisoner walking around as an exception with long

   15    hair when no one else is allowed to do that.                And I think

   16    that, too, may cause some kind of feelings from the other

   17    inmates that may put Reiyn into jeopardy.

   18             If you ask me, as you have, you already know that I

   19    think that longer hair would please Reiyn and add to his

   20    sense that he's being a woman, and I'd like to be

   21    compassionate to some degree to that.                If Florida says

   22    no, I recognize that will be hard for this young woman,

   23    for Reiyn, and he will have -- she will have some kind of

   24    negative emotional decompensation.               I doubt if she will

   25    commit suicide, but she will have some distress about




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 143 of 203
                                                                           143



    1    that, some anger about that, some despair about that.

    2           I'm just saying that she lives in a prison, and she

    3    doesn't make the rules.          And I'm asking -- I guess the

    4    DOC read this report, and so I said to the DOC, speaking

    5    directly to them in my head, that can we find a way to be

    6    compassionate?      Do we have to have this endless fight

    7    about something that seems rather silly to me?            And I

    8    certainly don't want to justify this, in turn, the same

    9    way that I justify, you know, giving testosterone to

   10    females who want to be men.

   11          Q.       What do you mean by that, you don't want to

   12    justify it based on the same way --

   13          A.       Because I've explained that to you, I think,

   14    very -- at length that --

   15          Q.       Oh, meaning one is medically necessary and

   16    one is not?

   17          A.       Exactly.      That's what I mean.

   18          Q.       Okay.     So, again, your view is that if the

   19    Department of Corrections security folks feel that a

   20    quarter-inch haircut is the only safe haircut, then you

   21    would not think there should be an override because of

   22    her mental health?

   23          A.       What I would like to say to Reiyn or have

   24    someone say to Reiyn is that there is probably a quarter-

   25    inch haircut style that, if you look at magazines -- you




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 144 of 203
                                                                                   144



    1    could figure out in your creative way how to take

    2    whatever haircut that they're going to allow and make it

    3    feminine in your view.          They probably will allow you.

    4             If they have a one-inch -- say a quarter inch is

    5    pretty short for hair.          That's like a 70-year-old bald

    6    person.     But let's say it's not a quarter inch, it's an

    7    inch, and she has soft hair, actually.                    She doesn't have

    8    curly hair.     And it curls -- it has a slight curl when I

    9    saw her.     It sort of curved around her ear.                 And they

   10    allow her to grow out her hair and keep her hair whatever

   11    reasonable length there was and she doesn't have to have

   12    a buzz cut, to use your term.             She could have a lesser of

   13    a haircut, as long as she weren't fighting them and

   14    insisting, in her narcissistic way, you know, It has to

   15    be my way or I'll sue you.

   16          Q.       Well, that's your understanding of the facts,

   17    right?

   18          A.       Yes, you're absolutely right.                 That's just my

   19    understanding of the facts; that's right.

   20          Q.       Okay.

   21          A.       I also have a sense of her personality.

   22          Q.       Okay.     But going back again, just because I

   23    think we may have lost the point that if the security

   24    folks said it has to be a quarter inch, no longer, you

   25    would say that should be deferred to and there shouldn't




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 145 of 203
                                                                                   145



    1    be an override for psychiatric or psychological reasons?

    2                          MR. REID:       Object to the form.          That

    3                  really has been asked and answered a lot.

    4                  You can do it again if you want.

    5          Q.      (BY MS. COOPER)         Go ahead.

    6          A.      I prefer not to return to the same subject

    7    endlessly.

    8                          MS. COOPER:        Yeah, I don't think I got

    9                  an answer to that, though, Kirk.

   10                          MR. REID:       You got plenty of answers,

   11                  Leslie.     You just didn't the one that you're

   12                  looking for, it seems.

   13                          MS. COOPER:        I didn't get an answer

   14                  that would --

   15                          MR. REID:       We've been ten minutes on

   16                  this.

   17                          MS. COOPER:        What's that?

   18                          MR. REID:       I said we've spent ten

   19                  minutes, and you've asked the same question

   20                  three consecutive times.

   21                          MS. COOPER:        I know.         I got a lot of

   22                  information but not an answer to whether --

   23                          MR. REID:       Your questions is falsely

   24                  premised, it's improper, and I'm objecting.

   25                  You can answer it one more time.




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 146 of 203
                                                                               146



    1          A.      I've directed my comment that some

    2    compassionate modification of the policy could be made

    3    for this person, without allowing this person to get

    4    anything that she demands.

    5          Q.      (BY MS. COOPER)         Uh-huh.      And that's even if

    6    the security disagrees?

    7          A.      Well, I'm just an outside psychiatrist.             I

    8    don't work in a prison.         I don't appreciate security in

    9    the way that security appreciates security.               I don't have

   10    the responsibilities that security has, you see, to the

   11    inmates and their families and so forth.

   12           And so if they say, for whatever reasons that are

   13    unique to Florida, that they don't believe this is safe,

   14    then you can say, well, this is a ridiculous policy, but

   15    you don't need me to say this is a ridiculous policy.

   16    I'm just saying, as a psychiatrist, this would be a

   17    compassionate thing to do for this young woman.               That's

   18    all I'm saying.

   19          Q.      Thank you.       And then in terms of the

   20    underpants and bra, same thing?

   21          A.      Same thing, yes.

   22          Q.      Okay.     And you mentioned that at some prisons

   23    where you've consulted, that transgender women were

   24    allowed to grow your hair.          Slightly different question,

   25    have you ever consulted in a prison that didn't allow




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 147 of 203
                                                                               147



    1    transgender women to grow their hair?

    2          A.      This is the first time in my experience where

    3    this issue has come up as a contentious one.

    4          Q.      And do you know whether, in those other

    5    prisons, there were limitations on the males' hair

    6    length?

    7          A.      Walking through prisons, I've seen people

    8    with long hair, ponytails, males.               They weren't feminized

    9    people.    They were just men.

   10          Q.      Okay.     And you're aware that Reiyn is on

   11    hormone therapy now, you mentioned in the report, right,

   12    and that causes breast development, correct?

   13          A.      Yes.

   14          Q.      Yeah.     In fact, I think you mentioned she

   15    would need a bra for safety reasons at a certain point.

   16    Am I remembering that right?

   17          A.      Yes.

   18                          MR. REID:       Objection to the form.      I

   19                  think you said safety reasons.

   20          A.      Oh, I'm sorry.

   21                          MS. COOPER:        Yes.

   22                          MR. REID:       Did you mean medical

   23    reasons?

   24          A.      No, I meant in terms of her vulnerability to

   25    being sexually provocative inapparently to other




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 148 of 203
                                                                                148



    1    prisoners, and that's why it's a security or safety

    2    issue.

    3           Q.      (BY MS. COOPER)         Okay.     Thank you.   Based on

    4    your experience consulting in prisons with respect to

    5    transgender inmates, do you think there's any basis to

    6    think wearing underpants would create more of a security

    7    concern than having an inmate develop breasts?

    8                           MR. REID:       Object to the form.      He's

    9                   already said he's not an expert on security

   10                   issues.     You can answer if you can.

   11           A.      If we want to compare the risks to the

   12    patient of having the nipple glimpsed or the breast

   13    tissue glimpsed versus perhaps a waistband of underpants,

   14    female underpants, I would say that the breast issue is

   15    probably more risky.         But, you know, you and I don't know

   16    who's housed in prisons in Florida and how they think and

   17    how sexually deprived they are and how aggressive they

   18    are.     And so anything that would indicate that this

   19    person could be my sexual object or sexual victim might

   20    be a security risk.        But as my attorney just said, I'm

   21    not an expert in security.           I don't consider my opinion

   22    worth that much when it comes to security matters.

   23           Q.      Okay.     Can inmates who have gender dysphoria

   24    present themselves in very feminine ways even without

   25    access to female grooming or clothing standards or even




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 149 of 203
                                                                                   149



    1    hormones?

    2          A.       Well, as you know, there are people called

    3    effeminate homosexuals, and effeminate homosexuality is

    4    one of the pathways towards transgenderism.                    And one can

    5    be effeminate without taking hormones.                    One can be

    6    recognized as being feminine in one's mannerisms and

    7    one's figures of speech and so forth without hormones.

    8             Hormones don't create this, you know.                 Hormones

    9    change the body.       They may change the mind in that many

   10    people who take female hormones say they allow

   11    themselves -- they're now more expressive emotionally;

   12    they feel more intensely.           But the answer to your

   13    question is, No, you don't need hormones for feminine

   14    expression.     If you look at the vast majority of

   15    effeminate homosexuals, you recognize them instantly as a

   16    feminine person, a feminine male.

   17          Q.       And those people could be at risk of sexual

   18    abuse?

   19          A.       Oh, I think they are, they are, and I think

   20    prisons recognize that.

   21          Q.       Okay.     Is treatment of gender dysphoria

   22    considered a specialty or some kind of specialization in

   23    the field of psychiatry?

   24          A.       Unfortunately it is, yeah.

   25          Q.       Unfortunately or fortunately?




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 150 of 203
                                                                          150



    1          A.      Unfortunately.

    2          Q.      Why is that unfortunately?

    3          A.      Well, I think this might take me a half hour.

    4          Q.      Let me ask it this way:            Do you mean

    5    unfortunately because the general practitioners don't

    6    have the experience to treat it?             Is that what you mean?

    7          A.      WPATH has made a business of credentialing

    8    people as experts.       And in order to be credentialed as an

    9    expert, you have to agree with their protocols for the

   10    treatment.    And they take -- they think that -- for

   11    example, you can't really properly take care of a child

   12    with gender identity disorder or gender dysphoria or an

   13    adolescent unless you're specially credentialed, like me,

   14    I mean, like us with WPATH.

   15           And so child psychiatrists aren't generally thought

   16    to be competent, they're not even taught how to take care

   17    of gender dysphoria.        They're not -- so what happens is

   18    that WPATH has created a special niche for themselves

   19    that only their experts have enough knowledge, who only

   20    their experts understand the importance of hormones and

   21    surgery and gender transition; that anyone else who

   22    disagrees on whatever basis is obviously not a

   23    knowledgable person.

   24           And so they've created through their marketing

   25    efforts this enormous idea that only they have the




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 151 of 203
                                                                             151



    1    expertise.     Now, what that has created, Ms. Cooper, is

    2    the following thing.         I'm just blocking on what they just

    3    created.     Oh, so, you see, most doctors are silent about

    4    this.    There's something unethical and sort of swarmy

    5    about dealing with people who want to change their sex,

    6    in particular since they're not often telling you the

    7    truth.     They want to do something that seems against

    8    human nature, or for religious people, against what God

    9    made them.

   10             And so rather than get involved with these people,

   11    they wash their hands of it.            They actually don't want to

   12    be interested in them, you see.              And some of them has

   13    raised this question, is this right?                Are you sure?

   14    Isn't this -- this sounds crazy to me that you want to

   15    change your sex.       We ought to look at this

   16    psychologically, you see.           And then the patient says,

   17    Well, I'm not going back to see that doctor, that son of

   18    a bitch, that discriminating idiot, you see?

   19             So the doctors who take care of these people are

   20    very sympathetic to their suffering, they're very

   21    sympathetic to sexual minority status, and they've

   22    created a niche market for themselves, an expertise.                And

   23    so they then influence the American Psychiatric

   24    Association and American Medical Association to endorse

   25    their treatment, their expertise.




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 152 of 203
                                                                          152



    1           The reason they're expert is no one else is

    2    interested in the problem.          And one of the reasons that

    3    no one else is interested in the problem is that

    4    transexual activists have attacked doctors who have

    5    contrary opinions.       And if you want to look at that

    6    document, you should read Alice Dreger's book on

    7    Galileo's Finger, it's called, and just look at what

    8    happened to Ken Zucker in the last couple years and look

    9    what happened to the Chicago professor who wrote The Man

   10    Who Would Be Queen and who lost his job for two years,

   11    was put on probation, put on suspension from the

   12    University -- from Northwestern University.

   13           So what's happened socially is that transsexualism

   14    is a dangerous subject to be interested in and most

   15    people aren't interested in.           And so these endorsements

   16    from the APA and AMA are really coming from the

   17    subsections of gay and lesbian caucuses, and so the

   18    general organizations have just agreed with them.             They

   19    don't want a fight.       They don't want a fight.

   20           And, you know, when you couch things as a sexual

   21    minority right or as a human right, no mental health

   22    professional wants to be against human rights.             No mental

   23    health professional wants to be against human rights.

   24           And so we have people who are experts.            But I can

   25    tell you, based on my experiences with that organization




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 153 of 203
                                                                            153



    1    and the experiences of the people in Massachusetts who

    2    attended their continuing education program, their

    3    science is merely indoctrination of their views.             It is

    4    not science.     It is not what is in keeping with the

    5    movement of understanding of disease and how to treat it.

    6           So it's a kind of arbitrariness, you see.            And it's

    7    a very unsavory thing.         It's a very unsavory thing, and

    8    so most doctors don't want to have anything to do with

    9    this area.

   10          Q.       Well, I'm wondering about the doctors who

   11    don't feel way that, not that they are shunning working

   12    with transpeople or fearful of working with transpeople,

   13    but simply, you know, haven't gotten any special

   14    training, you know, whether in medical school or

   15    elsewhere.     Do you think --

   16          A.       Well, no, no.       See, what you need to

   17    understand is the term "special training" from WPATH's

   18    point of view is that you look at this subject the way I

   19    look at this subject, which is there's nothing wrong with

   20    being transgender.       It doesn't come from pathology.          It's

   21    just a choice that people make.             But if you look at the

   22    data about what are the co-morbidities of children and

   23    adolescents and adults with gender dysphoria, there is an

   24    enormous degree of co-morbidity.             And, see, it's not

   25    politically correct to think that gender dysphoria is




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 154 of 203
                                                                                   154



    1    associated with inherent distress.

    2           The WPATH, if you can read it, WPATH says it's from

    3    minority stress.       The only reason there's something wrong

    4    with these people is that their families and their

    5    schools and their friends and their doctors and their

    6    nurses have discriminated against them; that they're

    7    marginalized people and that the problem is coming from

    8    outside their gender dysphoria.             It's coming from

    9    society.

   10           And so that gives gender dysphoric people who are

   11    outside of prison, and even some people who are in

   12    prison, a purpose for their life.             They're going to fight

   13    discrimination, they're going to fight against the forces

   14    in the world that are aligned up against them, and

   15    they're going to improve human rights for everyone.

   16           That's fine.      I mean, I'm a doctor.             I agree.   I

   17    support human rights, you know.             But, you see, this is

   18    not compatible with science.           This is not compatible with

   19    scholarship.     This is compatible with political advocacy.

   20    And when you --

   21          Q.       Yeah.    I'm trying to ask you about a

   22    different situation, which is --

   23          A.       I'm missing the point then.               I'm sorry.

   24          Q.       Yeah.    Imagine just a psychiatrist who, you

   25    know, has a practice treating people for, you know,




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 155 of 203
                                                                            155



    1    whatever, you know -- whoever comes in, right, has never

    2    treated people with gender dysphoria and didn't take any

    3    coursework about that in medical school or anywhere else.

    4    Would -- I guess the way I -- I should ask it a little

    5    differently.

    6             Does the fact that somebody has a degree in

    7    psychiatry make them capable of diagnosing and treating

    8    gender dysphoria?

    9          A.       You're asking me that question, right?

   10          Q.       Yes.

   11          A.       The answer is absolutely yes.

   12          Q.       Yeah?

   13          A.       Yeah.     And isn't it amazing that that is not

   14    the politically correct answer.              Because what is a

   15    psychiatrist?      A person who specializes in social,

   16    vocational, interpersonal, cognitive disabilities in the

   17    world.     The idea that you need -- you know, when you're

   18    done with three years of training in psychiatry, you

   19    haven't seen every form of suffering that's in the world,

   20    and every patient teaches you.             You continue to grow.

   21             When I was done with my psychiatric residency, I

   22    was credentialed as a person.             I saw my first transsexual

   23    person after I was credentialed.              When you have an M.D.

   24    degree or a Ph.D. degree, you're licensed to continue

   25    learning, and you already know quite a bit.               And you can




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 156 of 203
                                                                               156



    1    sometimes -- you can sometimes distinguish between

    2    indoctrination and the evolution of knowledge.

    3           And so the idea that you have to be specially

    4    trained is demeaning, in fact, to the education of people

    5    with terminal degrees in mental health.                   It's very

    6    demeaning.

    7          Q.       Are you familiar with any of the plaintiff's

    8    experts, Dr. Brown, Dr. Gorton or Dr. Baker-Hargrove?

    9          A.       Am I familiar with any of the places, is that

   10    what you mean?

   11          Q.       No, the plaintiff's experts.

   12          A.       Oh, yes.      Two of them I've never heard of,

   13    I've never encountered, but Dr. Brown and I seem to be on

   14    the opposite side of many cases.              And Dr. Brown

   15    trained -- he spent a month with me when he was a medical

   16    student.

   17          Q.       Uh-huh.     But you don't know anything about

   18    Dr. Gorton?

   19          A.       No.    Well, I do know -- not things that I

   20    know from professionally; things from this lawsuit.

   21          Q.       Meaning you read his report, is that what you

   22    mean, or something else?

   23          A.       I now know that he began his life in the

   24    opposite gender that he currently uses.

   25          Q.       Uh-huh.     Anything else you know about him?




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 157 of 203
                                                                                 157



    1           A.       Well, I read the report, and that taught me a

    2    lot.

    3           Q.       What did it teach you?

    4           A.       Well, number one, he's not a mental health

    5    professional.

    6           Q.       Uh-huh.

    7           A.       And number two, he's diagnosed and treated

    8    many, many people, which tells me that he doesn't spend a

    9    lot of time with people.            That is the way I was

   10    describing I think the ideal evaluation and therapy ought

   11    to be.      And the fact that, you know, that this is his

   12    field, this is his specialty, this is his niche, which

   13    this is not a usual niche for an emergency room doctor,

   14    but of course his personal life experience has pushed him

   15    into this area.

   16             And it's a little hard to think that one can be

   17    objective when one's devoted one's life to something

   18    because of personal experiences.               But, you know, but

   19    still, he's an emergency room doctor.                 He's trained to

   20    take care of acute emergencies.               And he's not a

   21    psychiatrist.       What can I say?         I mean, I'm not competent

   22    to -- I'm really not competent to work in the emergency

   23    room anymore.

   24           Q.       So you think you have to be nontransgender to

   25    be able to objectively treat transgender people?




                     Northeast Court Reporting, LLC
                        (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 158 of 203
                                                                             158



    1          A.      Well, I'm not schizophrenic, I'm not

    2    depressed, I don't have an anxiety disorder, and yet I

    3    treat all these people.

    4          Q.      That wasn't my question, Doctor.              You raised

    5    the question about it being hard to think one can be

    6    objective if they devoted their life to something for --

    7    you know, because they have a personal experience with

    8    like that, so, I mean, I guess the question would be,

    9    Would a psychiatrist be incompetent to treat depression

   10    because they've experienced depression themselves, would

   11    be the analogy?

   12          A.      I see your point.          I see your point.      So the

   13    answer to your question is, a doctor who is depressed, a

   14    doctor who is depressed and maybe has been on the verge

   15    of suicide can still take care of a patient and be very

   16    empathic to a suicidal, depressed person.                However, all

   17    of us doctors have limitations, including Dr. Levine.

   18    And so having experienced a situation sometimes can skew

   19    your view towards it and make you feel more desperate for

   20    the patient than an objective appraisal would lead to.

   21    We want an objective appraisal of the short-term problem

   22    and the long-term problem.

   23           If you are committed to -- because you've committed

   24    yourself personally to change your gender and you think

   25    you were going to suffer endlessly and perhaps kill




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 159 of 203
                                                                               159



    1    yourself because you -- if you didn't get a change your

    2    gender, you might project that same scenario on another

    3    person.    And, therefore, that would be a bias.             But I'm

    4    biased too, and you're biased, and we're all biased in

    5    certain ways.       So maybe, perhaps, I unwisely spoke.

    6          Q.      What about Dr. Baker-Hargrove?             Do you know

    7    anything about him?

    8          A.      No.

    9          Q.      Never heard of him before this case?

   10          A.      No.

   11          Q.      But you do know, like you said, Dr. Brown.

   12    What is your professional opinion of him?

   13          A.      I don't think that's a fair question to ask

   14    me.

   15          Q.      Why is that?

   16          A.      Well, because the answer is not simple.             I

   17    think Dr. Brown is a very educated, smart person who's

   18    passionately devoted to the treatment of transgender

   19    prisoners who typically finds that prisons have been

   20    horrible in their treatment of prisoners, who probably

   21    has never seen a prisoner that he thought should not have

   22    sex reassignment surgery or anything he wanted.               And he

   23    clearly doesn't make the same distinction that I do

   24    between psychologically helpful and medically necessary.

   25           He said in his rebuttal to my report that he's




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 160 of 203
                                                                          160



    1    never seen, in his 30 years, he has never seen anyone who

    2    wasn't happy with their results of gender treatment.             And

    3    yet he's the second author in a report from the VA

    4    hospital that demonstrated that among veterans, there was

    5    a premature mortality rate among transsexual veterans

    6    that was equal to the premature mortality rate of people

    7    with bipolar disorder and schizophrenia.

    8           In other words, in looking at the longevity or

    9    mortality data of the veterans, transgender identified

   10    people have the same 20-year -- they live 20 years less

   11    than the other veterans.          And he commented on this -- in

   12    this paper that suicide was a big -- was a common thing.

   13    And yet in his report, he never had a patient who had any

   14    of this.

   15           So I think he's a passionate -- see, what I object

   16    to this work that I'm doing and Dr. Brown does, is that

   17    it forces you to win an argument rather than look at all

   18    the data objectively.        It's very clear that the data

   19    objectively is that post sex reassignment surgery, it

   20    carries psychiatric morbidity, more suicide attempts, and

   21    far more completed suicides than control groups, you see?

   22    And that's what the data shows.             That's what science has

   23    established.

   24           And yet Dr. Brown in his report says that none of

   25    his patients have ever had any trouble after sex




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 161 of 203
                                                                            161



    1    reassignment surgery.         And maybe that's true.      Maybe it's

    2    because he doesn't see them, because they tend to

    3    disappear, or maybe he just doesn't want to know.             He

    4    doesn't want to know the data.

    5           So, look, Dr. Brown is a credentialed, very smart,

    6    very productive, earnest man who passionately believes

    7    that prisoners need to have sex reassignment surgery.

    8    And he has made a living in the kind of things that we're

    9    doing today.     He does a great deal of this work.          And so

   10    what's my opinion of him?           He's a fine fellow, but we

   11    disagree on several things.

   12          Q.       Okay.     You talked about the data showing

   13    rates of suicidality after sex reassignment surgery being

   14    higher than control groups.            Is it also higher than the

   15    rate for people with gender dysphoria who don't have sex

   16    reassignment surgery?

   17          A.       This is such an intelligent and wonderful

   18    question.    And while I compliment you on the question, I

   19    need you to understand that no one knows the answer to

   20    the question.      And this is part of the scientific problem

   21    with the field, you see.           The assumption is that we're

   22    saving these people's lives.            Now, the data is that when

   23    you give them sex reassignment surgery, a significant

   24    amount of those people will be unhappy, and some of them

   25    will be dead by ten years, you see.




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 162 of 203
                                                                           162



    1             But we ask the scientific question, What happens to

    2    the people who have gender dysphoria who don't have sex

    3    reassignment surgery?         And the answer to that question

    4    is, Nobody knows.        So don't go around telling me that

    5    you're saving people's lives by giving them hormones and

    6    sex reassignment surgery when you don't know the answer

    7    and you don't have any data.            You believe you're saving

    8    people's lives.

    9           Q.      Uh-huh.

   10           A.      Now, the other new information that you

   11    probably don't have is that the justification -- maybe

   12    I -- you didn't ask me a question and I shouldn't tell

   13    you.     I'm sorry.    Never mind.

   14           Q.      Does this relate to Dr. Brown?

   15           A.      No.     It's irrelevant, I'm sorry.        It's my big

   16    mouth.

   17           Q.      Okay.     You read Dr. Brown's expert report and

   18    rebuttal report, you mentioned?

   19           A.      Oh, yes.

   20           Q.      Now, I know you disagree with him about sex

   21    reassignment surgery, but, of course, this case isn't

   22    about that, so is there anything in his report that you

   23    could tell me you disagree with?

   24           A.      Well, I disagree with his interpretation of

   25    my report.     You know, he criticized my report for not




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 163 of 203
                                                                           163



    1    making a diagnosis or he doesn't think I believe in

    2    gender identity disorder or gender dysphoria.             He doesn't

    3    believe I have -- I believe in giving hormones to certain

    4    people is okay.      He thinks I construe myself as a

    5    security expert.      He just couldn't find anything in my CV

    6    that indicated that I was a security expert.

    7           He said that I spent eight pages of my report just

    8    saying what happened between me and the patient, and what

    9    kind of report was that, that I -- because I didn't write

   10    a report the way he writes a report, he questions my

   11    abilities.    He thinks that all I was describing was

   12    personality when I talked about Reiyn's character, as

   13    though everything was irrelevant.

   14           I would say that Dr. Brown had nothing to say about

   15    Reiyn's character, his nature, his personality, how he

   16    got this brilliant mind of his into prison and whether

   17    that's a psychiatric diagnosis.             He thought that I didn't

   18    make any recommendations for people -- for him to get

   19    treatment in prison for any other psychiatric conditions,

   20    and as though if I defined the personality or what I call

   21    the mixed character disorder of Reiyn, there would be

   22    treatment for that in a prison.             Dr. Brown certainly

   23    understands that prison mental health is crisis oriented;

   24    it is not personality disorder oriented.

   25           And so I want you to know I sort of felt that




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 164 of 203
                                                                              164



    1    Dr. Brown's rebuttal was dashed off, was kind of

    2    desperate, and most of what he said was irrelevant to the

    3    issue.     So did I find anything I disagreed with in his

    4    report?     Sure.

    5          Q.       Uh-huh.     Did you disagree with his

    6    conclusions that if Reiyn is ultimately denied access to

    7    female clothing and underwear and grooming standards,

    8    that she would be at risk -- serious risk of self-harm?

    9          A.       Did Dr. Brown perceive Reiyn to be a

   10    manipulative person?         Did Dr. Brown perceive that Reiyn

   11    was lying about anything or exaggerating about anything?

   12    I do think -- I agree with Dr. Brown that if Reiyn loses

   13    this particular case or, as he said, marches it up to the

   14    Supreme Court, he would be having suicidal thoughts.                 Can

   15    you imagine someone killing themselves because they can't

   16    wear panties?       Can you imagine that human beings will

   17    kill themselves because they can't wear hair to their

   18    shoulders?

   19             There's no skepticism in Dr. Brown's report.

   20    There's no sense that he's been with people.               I mean,

   21    Dr. Brown has spent his entire life -- he certainly must

   22    know about histrionic manipulation.               He's a psychiatrist.

   23    But he paid no attention to Reiyn's personality and

   24    Reiyn's history.       The only history he was interested in

   25    was his history of his gender struggles, not his




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 165 of 203
                                                                                    165



    1    personality, not his paranoia.

    2           He actually said that his social phobia was all due

    3    to his gender identity disorder.              He dismissed everything

    4    about this person, including the fact that he stabbed

    5    somebody and kept a loaded gun, a machine gun, or what do

    6    you call it, an automatic gun on his person.

    7           Dr. Brown was focused only on the diagnosis and

    8    giving the person what he wanted because it's medically

    9    necessary.     Dr. Brown would have said anything Reiyn

   10    wanted was medically necessary because he with a

   11    transsexual.

   12           If you read my paper in last year's journal, you

   13    will see that Dr. Brown is following not a developmental

   14    perspective.     He's combining a human rights perspective

   15    or minority rights perspective with a medical

   16    perspective.     And there are limitations to that view,

   17    which I've tried to make clear to you today.

   18           And so I agree that Reiyn -- I've already -- now

   19    two hours ago we talked about Reiyn, given his character

   20    structure, will have a crisis of sort.                    Doctors cannot

   21    predict suicide.       We studied that endlessly in

   22    psychiatry.     We're no good at predicting the future.                    He

   23    will have a suicidal ideation and crisis, which can be

   24    handled by the prison.          That's what prison -- prison

   25    officials are really good at taking care of suicidal




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 166 of 203
                                                                                166



    1    prisoners, because people are often suicidal in prisons.

    2    But it's not predicting that Reiyn is going to suicide

    3    and we have to give him long hair or he'll die.                That's

    4    histrionic, you know.         That's --

    5          Q.       Are you aware that Reiyn has attempted

    6    suicide in prison?

    7          A.       Yes.

    8          Q.       And also cut her testicles?

    9          A.       No, she didn't cut her testicles.             She cut

   10    her scrotum.

   11          Q.       Her scrotum, okay.          But you call it

   12    hysterical to be talking about suicide?

   13          A.       It's histrionic, it's exaggerated, it's

   14    melodrama.     It's not -- listen, I want to save people's

   15    lives.     I'm a doctor, and I'm a psychiatrist, and I know

   16    there are things called manipulation, and I know there's

   17    things called suicidal gestures, and I know there's such

   18    thing like really intent to die.              That's what -- people

   19    like me have to make those distinctions all the time,

   20    because people do suicide, and prisoners sometimes

   21    suicide, and they're not necessarily all transgendered

   22    people.

   23          Q.       But you were able to determine that her

   24    suicide attempts here were just gestures?

   25          A.       No, I was not able to determine that.             I had




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 167 of 203
                                                                               167



    1    three and a half hours with somebody who was trying to

    2    convince me of something.           That wasn't the focus, whether

    3    her suicidality was a gesture.             She told me the first one

    4    was a gesture.      She said it was -- she didn't say it was

    5    a gesture; she said it was a manipulation of her mother.

    6    She said that to me.         Now, if someone makes a suicide

    7    attempt as a manipulation yesterday, it's possible

    8    tomorrow she may not be gesturing, or it could be she's

    9    gesturing again.

   10             But that was not my reason for being here with her

   11    that day on June 6th, or whatever that was.               Am I being

   12    clear?     I guess I don't ask you the questions.            Sorry.

   13                                       - - -

   14                   (Whereupon, a recess was taken.)

   15                                       - - -

   16          Q.       (BY MS. COOPER)         I'd like to go back to what

   17    was marked as Levine 3, the Fuller deposition.

   18          A.       Okay.

   19          Q.       Okay.     If you could turn to little page 60?

   20          A.       Got there.

   21          Q.       The second question, Q:            "And going back to

   22    treatment options for gender dysphoria, could access to

   23    cross-sex clothing be considered a treatment option?"

   24    Answer:     "Oh, yes.     Yes."

   25             Is that still your view?




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 168 of 203
                                                                                   168



    1          A.       Yes.

    2          Q.       Okay.     And finally, or almost finally, in

    3    your report you talk -- in the Informed Consent section

    4    you talk a lot about risks associated with hormone

    5    therapy and sex reassignment surgery, and, you know, that

    6    those include feeling neither male or female, inauthentic

    7    in either role, post SRS suicide, depression, vocational

    8    disability, difficulty finding a lasting love

    9    relationship.     I'm just wondering, do you think those are

   10    likely to happen after hormone therapy and/or sex

   11    reassignment surgery or just some possibility?

   12                            MR. REID:     Object to the form.

   13          A.       If you look at the studies that we have,

   14    these are documented things.           Remember I quoted 53

   15    percent are on disability to you?

   16          Q.       (BY MS. COOPER)        Uh-huh.

   17          A.       The suicide attempt rate after sex

   18    reassignment surgery was 7.4 times -- the odds ratio was

   19    7.4 times greater than control groups.                   I already told

   20    you the completed suicide rate was 19 times.                   The

   21    difficult finding a love relationship is almost

   22    universal.     Everyone loses fertility except if they bank

   23    their sperm.     Their sexual -- I didn't even list some of

   24    other problems.        Their sexual capacities usually are

   25    greatly diminished because they've lost the nerves to




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 169 of 203
                                                                            169



    1    their new genitals.

    2           So when one is going to undertake a major life

    3    change, one needs to be informed about the risk of that,

    4    like we ask people to know the risk of hormones before

    5    they take hormones.        Informed consent is one of ethical

    6    responsibilities of the physician.               So when a prisoner,

    7    an inmate, says, oh, none of these things could happen to

    8    me, even though the reoperation rate for sex reassignment

    9    surgery is 30 percent, and someone insists this is not

   10    going to happen to me, it doesn't indicate realistic

   11    thinking.    It doesn't represent clear thinking.             It

   12    represents the inability to know, to tolerate, to know

   13    the facts.

   14           And so I use this as both a form of therapy to talk

   15    over these things over time and as an indication of the

   16    groundedness of a person or the power of a fantasy to

   17    distort reality.       So that's why I say he didn't

   18    understand the term, he didn't know what the term meant.

   19    And then when I explained what it meant, he said none of

   20    these things could happen to him because he's not one of

   21    these Swedish people.         He's better than 99 percent of the

   22    people, and nothing could possibly happen to him.

   23           So this is what we're up against here.              This is the

   24    character of the person.           He has youthful certainty --

   25          Q.       Uh-huh.




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 170 of 203
                                                                            170



    1          A.       -- which to me, as a psychiatrist, is

    2    dangerous for any human being to be so certain.

    3          Q.       Now, the kind of treatment or the

    4    accommodations, to use your words, that she's seeking

    5    here, access to female clothing and grooming standards,

    6    do those pose any of the kinds of risks you described?

    7                           MR. REID:       Object to the form.

    8          A.       Well, let's see.         Dr. Brown thinks it would

    9    cause the potential of suicidal.              I don't think so.   It

   10    certainly will cause depression temporarily.              He doesn't

   11    have a vocation.

   12          Q.       (BY MS. COOPER)         I think you may have heard

   13    my question backwards.          Let me do it again.

   14           My question was whether providing access to female

   15    undergarments and grooming standards could cause these

   16    risks or any of these risks you identified in this

   17    section?

   18                           MR. REID:       Same objection.

   19          A.       I don't think so.          In the short term, I don't

   20    think so.

   21          Q.       Okay.     In the long term?

   22          A.       In the long term, you know, we don't know.

   23    We talked about the rape and harassment issues about

   24    increasing feminization.

   25          Q.       Okay.     Given that your recommendation is that




                     Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 171 of 203
                                                                            171



    1    it would be a compassionate response to Reiyn to allow

    2    access to female undergarments and some canteen items, I

    3    think you said, and perhaps allow some longer hair

    4    growth, did you ever -- I'm not asking about

    5    conversations with counsel, but have you ever talked

    6    directly to the DOC people?           Did you say, Come on, what

    7    are we doing here?

    8          A.      No.     My sole involvement with this case,

    9    besides the interview of Reiyn, was with attorneys.

   10          Q.      Uh-huh.

   11          A.      I've not met anyone from the DOC.

   12          Q.      Okay.

   13                           MS. COOPER:        That's all I've got.

   14                           MR. REID:      All right, thank you.      We'll

   15                  read and sign, but no questions.

   16                                      - - -

   17                 (Deposition concluded at 3:46 p.m.)

   18                                      - - -

   19

   20

   21

   22

   23

   24

   25




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 172 of 203
                                                                             172



    1            I have read the foregoing transcript of my

    2    deposition taken on Monday, the 15th day of May, 2017

    3    from page 1 to page 172 and note the following

    4    corrections:

    5

    6    PAGE:        LINE:           CORRECTION:                  REASON:

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16
                                                 _______________________
   17                                            Stephen B. Levine, M.D.

   18                                            _______________________
                                                 DATE
   19

   20    STATE OF OHIO
         COUNTY OF _____________________
   21
         The foregoing instrument was acknowledged before me this
   22    _____________________ (date) by _______________________
         (name of person acknowledged.)
   23
         ______________________________
   24    Notary Public
         Printed Name: _________________
   25    My Commission Expires:




                    Northeast Court Reporting, LLC
                       (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 173 of 203
                                                                          173



    1

    2

    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 174 of 203
                                                                           174



    1

    2    THE STATE OF OHIO,       )

    3                             )   SS:                 NOTARY CERTIFICATE

    4    COUNTY OF MEDINA.        )

    5                  I, Christine A. Schirripa, a Registered
                Professional Reporter, Certified Reporting
    6           Instructor, and Notary Public within and for the
                State of Ohio, duly commissioned and qualified, do
    7           hereby certify that the within-named witness
                STEPHEN B. LEVINE, M.D., was by me first duly sworn
    8           to testify the truth, the whole truth and nothing
                but the truth in the cause aforesaid; that the
    9           testimony then given by him was by me reduced to
                Stenotype in the presence of said witness,
   10           afterwards prepared and produced by means of
                Computer-Aided Transcription and that the foregoing
   11           is a true and correct transcript of the testimony
                so given by him as aforesaid.
   12                 I do further certify that this deposition was
                taken at the time and place in the foregoing
   13           caption specified, and was completed without
                adjournment.
   14                 I do further certify that I am not a
                relative, employee of or attorney for any party or
   15           counsel, or otherwise financially interested in
                this action.
   16                 I do further certify that I am not, nor is
                the court reporting firm with which I am
   17           affiliated, under a contract as defined in Civil
                Rule 28 (D).
   18                 IN WITNESS WHEREOF, I have hereunto set my
                hand and affixed my seal of office at Parma, Ohio,
   19           on this 5th day of June, 2016.

   20

   21               _________________________________________
                    Christine A. Schirripa, RPR, CRI, Notary Public
   22               My Commission Expires 11-26-16

   23

   24

   25




                    Northeast Court Reporting, LLC
                      (216) 475-2766 - www.NEcourtreporting.com
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 175 of 203




                            Kirkland E. Reid, Esquire
                                  Jones Walker
                             RSA Battle House Tower
                        11 North Water Street, Suite 1200
                             Mobile, Alabama 36602
         Zip}


                             IN RE:    Reign Keohane vs. Julie Jones

                Mr. Reid:

              Stephen Levine's deposition taken on /15/17 has been
         transcribed and is completed.

              When Dr. Levine is finished reading his deposition,
         he are required to sign the signature page located on
         page 172 and a Notary Public must witness his signature.
         The Rules of Civil Procedure provides thirty (30) days in
         which to read and sign said deposition; unless otherwise
         stipulated, the signature is considered waived.

              After the deposition has been signed by him, I'll
         send the signature page to all the attorneys.

              Thank you very much for your time and your
         consideration in this matter. If you have any questions,
         please don't hesitate to call me.




                Christine Schirripa, RPR, CRI

                CC:   Leslie Cooper, Esquire
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 176 of 203




                          141:24               2009 Vol. 1 -          403 Vol. 1 -                                 123:1
            1            13,000 [2] -           39:18                  50:14                        9             accept [2] -
                          Vol. 1 - 11:19,      2010 [2] - Vol. 1 -    439-7513 Vol. 1 -                            Vol. 1 - 86:2,
   1 [10] - Vol. 1 -      11:25                 51:6, 78:5             2:10                900 Vol. 1 -            107:13
    3:16, 8:6, 8:6,      13-year-old           2011 [2] - Vol. 1 -    44 [2] - Vol. 1 -     66:18                 acceptable
    8:9, 8:13, 25:5,      Vol. 1 - 19:12        51:8, 58:5             13:15, 21:17        90s Vol. 1 -            Vol. 1 - 106:23
    37:3, 49:24,         132 Vol. 1 - 3:9      2013 [2] - Vol. 1 -    46 Vol. 1 - 3:16      14:16                 accepted [5] -
    80:13, 172:3         135 Vol. 1 - 3:9       23:4, 25:15           47 Vol. 1 - 12:10    99 Vol. 1 -             Vol. 1 - 35:20,
   1,500 Vol. 1 -        137 Vol. 1 - 3:9      2014 [2] - Vol. 1 -    49 Vol. 1 - 3:9       169:21                 74:12, 74:20,
    12:12                14 [2] - Vol. 1 -      23:4, 82:18           4:16cv511-mw/cas     9th Vol. 1 - 22:5       109:7, 131:16
   1/06/10 Vol. 1 -       11:20, 23:1          2015 [2] - Vol. 1 -     Vol. 1 - 1:8                               access [50] -
    48:1                 140 Vol. 1 - 3:9       123:6, 123:6                                                       Vol. 1 - 34:5,
                         141 Vol. 1 - 3:10     2016 [4] - Vol. 1 -
                                                                                                    A              34:17, 34:22,
   10 [8] - Vol. 1 -
    52:13, 84:18,        145 Vol. 1 - 3:10      22:2, 28:7, 51:8,
                                                                               5                                   35:25, 36:12,
                                                                                           a.m Vol. 1 - 1:23
    89:13, 119:25,       147 Vol. 1 - 3:10      174:19                5 [4] - Vol. 1 -     abbreviate              36:20, 40:5,
    120:3, 120:4,        148 Vol. 1 - 3:10     2017 [4] - Vol. 1 -     3:3, 61:6, 61:15,    Vol. 1 - 54:5          50:12, 51:1,
    120:5, 139:6         15/17 Vol. 1 -         1:15, 1:21, 8:18,      89:11               abbreviated             51:12, 51:23,
   100 Vol. 1 -           175:10                172:2                 50 [2] - Vol. 1 -     Vol. 1 - 54:5          64:16, 68:7,
    121:19               15th [3] - Vol. 1 -   212 Vol. 1 - 2:22       129:18, 142:8       abilities Vol. 1 -      68:8, 70:6,
   10004 Vol. 1 -         1:15, 1:21,          250 Vol. 1 -           50-year-old           163:11                 70:12, 71:16,
    2:21                  172:2                 12:15                  Vol. 1 - 129:17     ability [3] -           77:23, 79:8,
   101 [3] - Vol. 1 -    16 [2] - Vol. 1 -     251 Vol. 1 - 2:10      5075 Vol. 1 -         Vol. 1 - 30:15,        79:17, 79:20,
    121:15, 121:15,       11:20, 22:25         26 Vol. 1 - 12:3        1:22                 33:12, 98:11           89:25, 91:2,
    121:19               168 Vol. 1 - 3:10     28 [2] - Vol. 1 -      53 [4] - Vol. 1 -    able [19] - Vol. 1 -    93:2, 93:20,
   103 [2] - Vol. 1 -    17 Vol. 1 - 59:24      11:21, 174:17          3:9, 66:18,          27:8, 33:25,           95:3, 95:4,
    50:14, 114:18        170 Vol. 1 - 3:10                             131:22, 168:14       51:3, 64:20,           96:19, 98:7,
   105 Vol. 1 -          172 [2] - Vol. 1 -             3             549-2584 Vol. 1 -     70:12, 79:17,          99:8, 99:11,
    123:19                172:3, 175:12                                2:22                 88:13, 98:7,           103:17, 104:7,
   108 Vol. 1 - 3:9      18 [3] - Vol. 1 -     3 [3] - Vol. 1 -       5th Vol. 1 -          103:13, 104:23,        104:23, 107:10,
   10:02 Vol. 1 -         62:23, 63:5,          3:17, 119:5,           174:19               107:10, 116:1,         107:21, 108:6,
    1:23                  63:15                 167:17                                      116:6, 135:15,         127:19, 128:1,
   11 [7] - Vol. 1 -     19 Vol. 1 -           30 [6] - Vol. 1 -                                                   128:14, 129:22,
    2:8, 49:17, 96:9,     168:20                12:11, 13:3,
                                                                               6            138:8, 138:9,
                                                                                            157:25, 166:23,        136:2, 136:18,
    96:18, 115:22,       19-fold Vol. 1 -       83:1, 160:1,          6 [2] - Vol. 1 -      166:25                 136:24, 148:25,
    119:25, 175:5         58:7                  169:9, 175:13          80:13, 82:15        abnormal Vol. 1 -       164:6, 167:22,
   11-26-16 Vol. 1 -                           30-year Vol. 1 -       60 Vol. 1 -           126:6                  170:5, 170:14,
    174:22                        2             58:5                   167:19              absence Vol. 1 -        171:2
   119 Vol. 1 - 3:17                           300 [3] - Vol. 1 -     6th [2] - Vol. 1 -    98:10                 accessible
   12 [18] - Vol. 1 -    2 [7] - Vol. 1 -       14:13, 14:14,          8:18, 167:11        absolute Vol. 1 -       Vol. 1 - 78:2
    13:19, 25:17,         3:16, 46:16,          21:2                                        60:16                 accommodate
    27:12, 32:2,          46:18, 47:10,        32 [2] - Vol. 1 -                           absolutely [9] -       [4] - Vol. 1 -
    37:8, 37:11,          50:5, 52:13,          11:21, 12:24
                                                                               7            Vol. 1 - 39:7,         69:22, 69:23,
    37:16, 37:20,         119:1                34 Vol. 1 - 120:1      7 Vol. 1 - 124:1      100:7, 113:16,         134:15, 139:11
    38:6, 38:23,         2/08/10 Vol. 1 -      35 Vol. 1 - 120:1      7.4 [2] - Vol. 1 -    115:15, 115:15,       accommodating
    39:6, 40:3,           48:2                 36 [3] - Vol. 1 -       168:18, 168:19       127:10, 132:5,         Vol. 1 - 138:25
    48:12, 87:15,        20 Vol. 1 -            53:15, 56:11,         70-year-old [3] -     144:18, 155:11        accommodation
    120:9, 120:21,        160:10                120:1                  Vol. 1 - 139:9,     absurd Vol. 1 -        [6] - Vol. 1 -
    137:19, 139:6        20-some Vol. 1 -      36602 [2] -             142:2, 144:5         102:8                  71:1, 75:4,
   12,000 [2] -           53:12                 Vol. 1 - 2:9,         70s [2] - Vol. 1 -   absurdity [2] -         116:22, 121:25,
    Vol. 1 - 11:18,      20-year Vol. 1 -       175:6                  14:12, 83:8          Vol. 1 - 100:25,       130:19, 137:7
    11:25                 160:10               37 Vol. 1 - 120:1      7th [4] - Vol. 1 -    104:3                 accommodations
   12-year-old [2] -     200 Vol. 1 -          3:46 Vol. 1 -           56:13, 59:7,        abuse [8] -            [2] - Vol. 1 -
    Vol. 1 - 19:8,        134:5                 171:17                 59:12, 109:20        Vol. 1 - 44:24,        81:10, 170:4
    19:11                2006 [3] - Vol. 1 -                                                44:24, 44:24,         accordance [3] -
   12-year-old's          32:1, 39:12,                                                                             Vol. 1 - 50:14,
    Vol. 1 - 19:9         100:18
                                                        4                      8            90:16, 90:16,
                                                                                            98:19, 98:20,          61:23, 131:6
   1200 [2] - Vol. 1 -   2007 Vol. 1 -         4 [2] - Vol. 1 -                             149:18                according Vol. 1 -
                                                                      8 Vol. 1 - 3:16
    2:8, 175:5            32:1                  35:3, 46:15           80 Vol. 1 - 32:6     abuser Vol. 1 -         13:18
   121 Vol. 1 - 3:9      2008 [7] - Vol. 1 -   4,000 [2] - Vol. 1 -                         98:19                 account [2] -
                                                                      80s [2] - Vol. 1 -
   121-page Vol. 1 -      38:9, 39:9,           106:15, 106:16         14:12, 14:13        academic Vol. 1 -       Vol. 1 - 87:20,
    53:16                 39:16, 40:15,        4,500 Vol. 1 -         8th [2] - Vol. 1 -    11:14                  137:23
   125 Vol. 1 - 2:20      45:12, 45:14,         106:10                                     Academy [2] -          accumulated
                                                                       57:14, 59:20
   13 Vol. 1 -            134:11               40 Vol. 1 - 76:25                            Vol. 1 - 28:5,         Vol. 1 - 13:16
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 177 of 203




   accuracy Vol. 1 -      [5] - Vol. 1 -           Vol. 1 - 25:24,        155:25, 165:18,     anguished              Vol. 1 - 146:9
    25:13                  33:8, 33:18,            42:4, 148:17           168:19               Vol. 1 - 128:4       approach [3] -
   ace Vol. 1 -            55:14, 70:9,           agree [16] -           alter Vol. 1 -       answered [6] -         Vol. 1 - 24:22,
    95:23                  91:21                   Vol. 1 - 73:21,        60:22                Vol. 1 - 60:3,        24:23, 109:8
   acknowledged           adolescence              80:25, 81:19,         alternate Vol. 1 -    121:12, 128:10,      appropriate [9] -
   [3] - Vol. 1 -          Vol. 1 - 86:16          82:6, 102:11,          58:1                 141:5, 141:12,        Vol. 1 - 30:24,
    76:16, 172:21,        adolescent [3] -         102:12, 102:16,       although [6] -        145:3                 45:21, 51:16,
    172:22                 Vol. 1 - 35:14,         110:14, 110:14,        Vol. 1 - 21:1,      answering              52:22, 75:8,
   ACLU Vol. 1 -           80:23, 150:13           124:12, 132:23,        50:5, 63:1, 72:8,    Vol. 1 - 105:2        75:11, 107:16,
    4:10                  adolescents [5] -        142:11, 150:9,         112:13, 122:8       answers Vol. 1 -       125:23, 132:12
   acting Vol. 1 -         Vol. 1 - 59:12,         154:16, 164:12,       AMA Vol. 1 -          145:10               appropriately
    86:21                  59:14, 82:24,           165:18                 152:16              anti-anxiety           Vol. 1 - 96:4
   action [2] -            82:25, 153:23          agreed Vol. 1 -        amazing [2] -         Vol. 1 - 100:13      approval [2] -
    Vol. 1 - 135:24,      adopt Vol. 1 -           152:18                 Vol. 1 - 86:12,     anti-depressant        Vol. 1 - 52:14,
    174:15                 87:13                  agreed-upon [2] -       155:13              [2] - Vol. 1 -         70:11
   actions Vol. 1 -       adrenal Vol. 1 -         Vol. 1 - 66:14,       ambition Vol. 1 -     100:13, 113:15       approved [2] -
    136:2                  111:15                  67:3                   66:4                anti-depressants       Vol. 1 - 50:13,
   active [2] -           adult [3] - Vol. 1 -    agreement              America [3] -        [2] - Vol. 1 -         56:14
    Vol. 1 - 10:13,        19:4, 19:10,            Vol. 1 - 127:1         Vol. 1 - 20:20,      113:18, 115:1        approximately
    44:13                  19:11                  ahead [7] -             53:16, 76:7         antibiotics           [4] - Vol. 1 -
   activists Vol. 1 -     adults Vol. 1 -          Vol. 1 - 17:23,       American [8] -        Vol. 1 - 114:21       10:20, 11:16,
    152:4                  153:23                  60:25, 88:18,          Vol. 1 - 2:19,      anticipate Vol. 1 -    12:5, 12:16
   actual [3] -           advance Vol. 1 -         94:24, 109:11,         22:9, 28:5,          17:23                apt [3] - Vol. 1 -
    Vol. 1 - 11:22,        56:15                   124:20, 145:5          74:13, 74:16,       anticipated [2] -      84:6, 84:6, 92:8
    51:4, 54:23           advanced Vol. 1 -       Alabama [2] -           123:1, 151:23,       Vol. 1 - 8:22,       arbitrariness
   acute [7] - Vol. 1 -    84:8                    Vol. 1 - 2:9,          151:24               112:1                 Vol. 1 - 153:6
    89:22, 90:2,          advisable Vol. 1 -       175:6                 among [5] -          antisocial Vol. 1 -   Archives Vol. 1 -
    90:7, 90:17,           53:3                   alert [2] - Vol. 1 -    Vol. 1 - 66:24,      30:3                  28:2
    91:1, 92:8,           advise Vol. 1 -          92:6, 92:13            82:22, 111:1,       anxiety [6] -         arduous [2] -
    157:20                 112:14                 Alice Vol. 1 -          160:4, 160:5         Vol. 1 - 18:20,       Vol. 1 - 31:20,
   adapt [2] - Vol. 1 -   advocacy [5] -           152:6                 amount [2] -          75:17, 86:20,         85:22
    86:14, 138:21          Vol. 1 - 57:20,        aligned Vol. 1 -        Vol. 1 - 116:16,     90:9, 100:4,         areas [2] - Vol. 1 -
   adaptive [3] -          57:23, 58:16,           154:14                 161:24               158:2                 11:4, 21:21
    Vol. 1 - 74:5,         58:18, 154:19          alleviate [6] -        Amsterdam            anymore [3] -         aren't [4] - Vol. 1 -
    86:19, 139:2          advocate Vol. 1 -        Vol. 1 - 18:17,        Vol. 1 - 76:9        Vol. 1 - 112:19,      45:5, 84:1,
   add [3] - Vol. 1 -      46:2                    64:6, 64:7, 66:6,     analogy Vol. 1 -      113:19, 157:23        150:15, 152:15
    110:23, 141:5,        affect [4] - Vol. 1 -    71:17, 71:18           158:11              anyone's Vol. 1 -     argument Vol. 1 -
    142:19                 106:3, 106:4,          allow [12] -           anatomic [2] -        84:2                  160:17
   added Vol. 1 -          106:5, 107:22           Vol. 1 - 51:1,         Vol. 1 - 57:2,      APA [3] - Vol. 1 -    argumentative
    28:17                 affiliated Vol. 1 -      59:16, 88:16,          57:17                23:3, 23:6,           Vol. 1 - 99:1
   additional [4] -        174:17                  105:16, 134:25,       anatomically          152:16               armed Vol. 1 -
    Vol. 1 - 57:5,        affixed Vol. 1 -         144:2, 144:3,          Vol. 1 - 81:25      apparatus              123:8
    102:23, 110:23,        174:18                  144:10, 146:25,       anatomy [4] -         Vol. 1 - 134:16      array Vol. 1 -
    130:12                aforesaid [2] -          149:10, 171:1,         Vol. 1 - 80:19,     apparent Vol. 1 -      66:14
   address [3] -           Vol. 1 - 174:8,         171:3                  105:9, 105:14,       142:9                arrogant Vol. 1 -
    Vol. 1 - 33:25,        174:11                 allowed [8] -           129:4               Apparently             86:3
    41:14, 41:15          afterwards               Vol. 1 - 30:7,        and/or Vol. 1 -       Vol. 1 - 138:22      arrogantly
   addressed [3] -         Vol. 1 - 174:10         34:14, 79:8,           168:10              appear Vol. 1 -        Vol. 1 - 91:23
    Vol. 1 - 33:19,       against [13] -           106:22, 135:2,        Andrade [4] -         35:6                 art [3] - Vol. 1 -
    33:20, 118:13          Vol. 1 - 26:13,         135:11, 142:15,        Vol. 1 - 120:12,    appearance             90:5, 90:6,
   addressing [3] -        82:12, 112:14,          146:24                 120:15, 120:21,      Vol. 1 - 95:8         90:24
    Vol. 1 - 21:23,        119:12, 133:13,        allowing [2] -          121:9               APPEARANCES           article [5] -
    38:20, 93:5            151:7, 151:8,           Vol. 1 - 122:3,       Angelina Vol. 1 -     Vol. 1 - 2:1          Vol. 1 - 28:5,
   adequate Vol. 1 -       152:22, 152:23,         146:3                  36:2                apply Vol. 1 -         28:8, 35:8,
    52:23                  154:6, 154:13,         allows Vol. 1 -        anger Vol. 1 -        81:11                 35:20, 59:19
   adjournment             154:14, 169:23          95:2                   143:1               appraisal [2] -       articles [10] -
    Vol. 1 - 174:13       age Vol. 1 -            alopecia Vol. 1 -      anguish [11] -        Vol. 1 - 158:20,      Vol. 1 - 7:1,
   administer              82:25                   116:13                 Vol. 1 - 124:6,      158:21                10:4, 22:7,
    Vol. 1 - 105:12       agency Vol. 1 -         already [10] -          124:9, 124:13,      appreciate [4] -       34:25, 35:2,
   administration          108:2                   Vol. 1 - 59:4,         125:11, 125:12,      Vol. 1 - 16:3,        35:5, 50:18,
   [2] - Vol. 1 -         agent Vol. 1 -           81:10, 104:2,          125:14, 128:2,       30:15, 45:24,         76:11, 76:11,
    37:15, 48:13           100:13                  128:11, 141:12,        128:5, 128:7,        146:8                 76:12
   administrators         aggressive [3] -         142:18, 148:9,         129:5, 129:7        appreciates           articulate Vol. 1 -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 178 of 203




    33:10                  152:4                156:8, 159:6           behaviors [3] -         23:14, 28:22,         bras Vol. 1 -
   articulating           attempt [3] -        balance Vol. 1 -         Vol. 1 - 42:10,        33:21, 40:12,          40:5
    Vol. 1 - 45:9          Vol. 1 - 39:13,      30:14                   126:7, 133:6           47:25, 121:18,        brassiere Vol. 1 -
   ascertain Vol. 1 -      167:7, 168:17       bald [5] - Vol. 1 -     beings [7] -            129:6, 155:25          34:10
    121:5                 attempted [2] -       116:18, 116:23,         Vol. 1 - 24:9,        bitch Vol. 1 -         brassieres
   Asia [2] - Vol. 1 -     Vol. 1 - 42:4,       139:9, 142:3,           55:6, 62:20,           151:18                 Vol. 1 - 34:12
    53:15, 53:15           166:5                144:5                   104:17, 104:18,       blanket Vol. 1 -       break [5] - Vol. 1 -
   aside [2] - Vol. 1 -   attempting [3] -     bank Vol. 1 -            104:19, 164:16         26:4                   5:5, 5:7, 5:9,
    58:22, 71:14           Vol. 1 - 18:11,      168:22                 belief Vol. 1 -        blocking [2] -          67:10, 115:17
   asking [9] -            87:2, 87:2          bar Vol. 1 -             86:4                   Vol. 1 - 7:3,         breast [29] -
    Vol. 1 - 45:20,       attempts [2] -        136:17                 believed Vol. 1 -       151:2                  Vol. 1 - 34:12,
    60:18, 82:6,           Vol. 1 - 160:20,    barn Vol. 1 -            100:18                blogs Vol. 1 -          41:6, 41:8,
    128:11, 132:10,        166:24               82:7                   believes [4] -          83:6                   41:12, 41:22,
    138:13, 143:3,        attended Vol. 1 -    barrier Vol. 1 -         Vol. 1 - 91:3,        blood Vol. 1 -          42:15, 64:18,
    155:9, 171:4           153:2                39:22                   91:19, 121:24,         105:7                  82:2, 116:14,
   aspect [5] -           attention [2] -      basic Vol. 1 -           161:6                 body [30] -             116:22, 117:20,
    Vol. 1 - 97:7,         Vol. 1 - 23:16,      130:16                 beneficial [5] -        Vol. 1 - 24:1,         118:6, 121:2,
    126:23, 127:5,         164:23              basically [3] -          Vol. 1 - 103:21,       24:2, 42:19,           121:4, 121:9,
    127:7, 128:21         attorney [3] -        Vol. 1 - 42:25,         110:12, 110:17,        42:25, 57:13,          122:3, 123:12,
   aspects [11] -          Vol. 1 - 2:17,       81:18, 121:7            111:7, 117:15          60:22, 65:3,           124:5, 124:12,
    Vol. 1 - 23:21,        148:20, 174:14      basics [2] -            benefit [2] -           69:18, 72:6,           124:22, 124:24,
    23:22, 38:21,         attorneys [5] -       Vol. 1 - 44:14,         Vol. 1 - 109:10,       79:23, 97:4,           125:8, 125:15,
    42:14, 49:6,           Vol. 1 - 9:5,        44:14                   132:16                 97:4, 97:13,           125:16, 125:25,
    53:17, 60:9,           10:17, 139:13,      battle [4] - Vol. 1 -   Benjamin [2] -          97:21, 99:24,          127:17, 147:12,
    86:2, 105:24,          171:9, 175:15        2:7, 128:22,            Vol. 1 - 54:1,         105:5, 105:6,          148:12, 148:14
    127:12, 127:14        attracted Vol. 1 -    139:13, 175:5           54:3                   105:7, 105:8,         breasts [13] -
   aspirations             133:5               bear [2] - Vol. 1 -     besides [5] -           105:11, 106:4,         Vol. 1 - 42:23,
    Vol. 1 - 69:22        attractions           64:1, 64:2              Vol. 1 - 7:22,         106:8, 107:22,         42:24, 42:25,
   aspired-to [2] -        Vol. 1 - 85:13      became [2] -             9:2, 10:1, 36:24,      110:3, 111:20,         101:8, 102:1,
    Vol. 1 - 16:14,       audience [3] -        Vol. 1 - 28:8,          171:9                  113:1, 113:7,          106:13, 110:4,
    61:25                  Vol. 1 - 24:5,       56:20                  best [10] - Vol. 1 -    129:10, 131:1,         116:24, 125:2,
   assess Vol. 1 -         28:18, 29:11        become [4] -             4:25, 5:1, 56:21,      149:9                  125:2, 125:3,
    67:4                  augmentation          Vol. 1 - 44:6,          58:5, 107:6,          book Vol. 1 -           125:5, 148:7
   assessments             Vol. 1 - 64:18       44:25, 57:20,           108:22, 130:23,        152:6                 brief Vol. 1 -
    Vol. 1 - 66:14        author Vol. 1 -       85:25                   130:24, 130:25,       books Vol. 1 -          53:18
   assigned Vol. 1 -       160:3               becoming Vol. 1 -        131:2                  35:3                  briefly Vol. 1 -
    98:12                 authority [2] -       13:6                   better [17] -          bore Vol. 1 -           117:18
   assist Vol. 1 -         Vol. 1 - 99:3,      Bedford Vol. 1 -         Vol. 1 - 16:9,         63:18                 briefs Vol. 1 -
    50:2                   99:4                 1:23                    16:13, 17:2,          born Vol. 1 -           69:13
   associated [2] -       authorized [2] -     begin [4] - Vol. 1 -     17:6, 18:10,           66:9                  brilliant Vol. 1 -
    Vol. 1 - 154:1,        Vol. 1 - 50:18,      16:22, 61:3,            46:3, 48:15,          bottom [6] -            163:16
    168:4                  50:20                82:10, 134:10           66:1, 68:15,           Vol. 1 - 49:16,       bring Vol. 1 -
   Associates             automatic Vol. 1 -   beginning [4] -          68:19, 86:4,           49:19, 89:18,          45:4
    Vol. 1 - 8:17          165:6                Vol. 1 - 15:2,          98:6, 102:5,           99:15, 120:5,         Broad Vol. 1 -
   Association [8] -      autotomy [3] -        84:24, 87:19,           102:6, 108:23,         121:19                 2:20
    Vol. 1 - 22:9,         Vol. 1 - 112:20,     121:23                  134:10, 169:21        box Vol. 1 -           broader Vol. 1 -
    53:9, 54:2, 54:4,      112:21, 113:20      begins Vol. 1 -         beyond [2] -            47:17                  58:14
    74:14, 74:16,         available [2] -       35:2                    Vol. 1 - 89:6,        bra [8] - Vol. 1 -     brother [4] -
    151:24, 151:24         Vol. 1 - 35:17,     Behalf [2] -             138:9                  43:1, 88:13,           Vol. 1 - 62:13,
   assume [2] -            35:21                Vol. 1 - 2:4, 2:15     bias [2] - Vol. 1 -     97:5, 117:11,          62:23, 62:24,
    Vol. 1 - 5:16,        avoid Vol. 1 -       behave Vol. 1 -          77:5, 159:3            117:21, 124:25,        63:5
    12:10                  5:1                  129:17                 biased [3] -            146:20, 147:15        brought Vol. 1 -
   assumption                                  behaving Vol. 1 -        Vol. 1 - 159:4,       brace Vol. 1 -          116:9
    Vol. 1 - 161:21               B             136:9                   159:4, 159:4           68:25                 Brown [19] -
   assumptions [6] -                           behavior [5] -          biases Vol. 1 -        brain [4] - Vol. 1 -    Vol. 1 - 156:8,
    Vol. 1 - 28:11,       backwards             Vol. 1 - 11:8,          77:4                   105:16, 105:23,        156:13, 156:14,
    28:23, 28:24,          Vol. 1 - 170:13      25:24, 27:11,          big-muscled             105:24, 132:21         159:11, 159:17,
    29:1, 29:4, 29:4      bad Vol. 1 -          28:2, 90:14             Vol. 1 - 95:14        branch Vol. 1 -         160:16, 160:24,
   astute Vol. 1 -         113:1               behavioral [3] -        bigger Vol. 1 -         39:1                   161:5, 162:14,
    44:7                  bait Vol. 1 -         Vol. 1 - 25:23,         102:1                 branches Vol. 1 -       163:14, 163:22,
   attached Vol. 1 -       46:11                38:15, 90:22           bipolar Vol. 1 -        39:1                   164:9, 164:10,
    35:1                  Baker-hargrove       behaviorally             160:7                 brand Vol. 1 -          164:12, 164:21,
   attacked Vol. 1 -      [2] - Vol. 1 -        Vol. 1 - 38:20         bit [8] - Vol. 1 -      78:19                  165:7, 165:9,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 179 of 203




    165:13,            cancer Vol. 1 -         165:25              CC Vol. 1 -             159:1, 169:3          Christine [4] -
    170:8               116:22                careful Vol. 1 -      175:21                changed Vol. 1 -        Vol. 1 - 1:18,
   Brown's [5] -       cannot [3] -            76:19               celebrate Vol. 1 -      9:16                   174:5, 174:21,
    Vol. 1 - 6:25,      Vol. 1 - 63:3,        caring Vol. 1 -       129:7                 changes [2] -           175:20
    10:4, 162:17,       134:10, 165:20         109:8               cell Vol. 1 -           Vol. 1 - 61:3,        chronic Vol. 1 -
    164:1, 164:19      canteen [22] -         Carol Vol. 1 -        106:4                  124:16                 38:17
   bulging Vol. 1 -     Vol. 1 - 34:13,        119:2               center [9] -           changing [2] -         circumstance
    42:19               34:14, 34:17,         carries [2] -         Vol. 1 - 11:18,        Vol. 1 - 99:24,        Vol. 1 - 30:25
   bunch [2] -          34:17, 40:7,           Vol. 1 - 129:3,      11:24, 13:13,          104:19                circumstances
    Vol. 1 - 94:2,      51:2, 51:7,            160:20               13:16, 13:20,         character [13] -       [2] - Vol. 1 -
    108:3               51:13, 51:23,         carry Vol. 1 -        14:18, 21:5,           Vol. 1 - 30:2,         118:13, 132:24
   burden Vol. 1 -      70:7, 77:24,           65:10                59:10, 132:9           30:21, 84:15,         citations Vol. 1 -
    40:12               78:2, 79:15,          cartilage [2] -      centers Vol. 1 -        84:21, 91:25,          98:11
   bureaucratic         79:18, 79:24,          Vol. 1 - 57:10,      59:24                  92:24, 133:12,        citizens Vol. 1 -
    Vol. 1 - 78:6       94:23, 95:3,           100:22              certain [24] -          139:23, 163:12,        69:2
   busy Vol. 1 -        96:5, 96:20,          case [41] -           Vol. 1 - 9:6,          163:15, 163:21,       civil [5] - Vol. 1 -
    14:13               135:4, 135:7,          Vol. 1 - 1:8,        9:14, 17:24,           165:19, 169:24         2:19, 4:4, 28:15,
   buttocks Vol. 1 -    171:2                  4:11, 6:6, 7:13,     17:24, 18:15,         characteristics         174:17, 175:13
    57:10              canteen/cosmetic        7:15, 7:17, 8:3,     26:23, 45:7,           Vol. 1 - 80:19        claim Vol. 1 -
   buys Vol. 1 -        Vol. 1 - 50:13         8:4, 8:23, 10:1,     71:22, 73:7,          charge Vol. 1 -         21:2
    72:15              capable Vol. 1 -        10:5, 10:7, 10:7,    85:13, 90:8,           69:24                 clarify [2] -
   buzz [12] -          155:7                  15:25, 25:3,         91:11, 91:23,         charges Vol. 1 -        Vol. 1 - 43:22,
    Vol. 1 - 87:23,    capacities [3] -        25:23, 26:21,        92:21, 94:17,          26:12                  75:6
    138:1, 138:9,       Vol. 1 - 86:19,        27:3, 31:1, 36:3,    101:12, 101:14,       Charlene [12] -        classes [2] -
    140:7, 140:11,      91:20, 168:24          36:8, 39:12,         101:23, 139:15,        Vol. 1 - 40:24,        Vol. 1 - 21:22,
    140:16, 141:1,     capacity [6] -          40:22, 41:2,         139:16, 147:15,        41:5, 41:5, 42:8,      21:25
    141:22, 141:24,     Vol. 1 - 1:9,          41:4, 47:2,          159:5, 163:3,          42:18, 43:2,          classify Vol. 1 -
    142:1, 142:9,       43:16, 96:14,          107:16, 116:4,       170:2                  95:9, 122:11,          62:21
    144:12              98:5, 98:9,            117:19, 118:10,     certainly [13] -        122:15, 122:16,       classroom
                        122:1                  119:12, 119:20,      Vol. 1 - 34:9,         125:11, 125:24         Vol. 1 - 99:5
            C          caption [2] -           119:21, 122:7,       40:15, 46:24,         Charlene-paige         clear [13] -
                        Vol. 1 - 119:3,        122:11, 122:16,      48:11, 66:10,         [7] - Vol. 1 -          Vol. 1 - 5:13,
   cage Vol. 1 -        174:13                 124:8, 159:9,        93:7, 98:20,           95:7, 95:7,            17:6, 39:8,
    26:4               capture Vol. 1 -        162:21, 164:13,      126:20, 141:6,         119:2, 121:1,          56:24, 58:16,
   California [6] -     40:14                  171:8                143:8, 163:22,         125:4, 125:19,         89:3, 92:18,
    Vol. 1 - 22:4,     care [55] - Vol. 1 -   cases [12] -          164:21, 170:10         126:9                  93:9, 102:19,
    22:23, 22:24,       11:21, 11:23,          Vol. 1 - 32:7,      certainty [4] -        cheapens Vol. 1 -       160:18, 165:17,
    25:7, 25:9,         29:11, 29:13,          35:25, 36:1,         Vol. 1 - 91:8,         71:3                   167:12, 169:11
    79:20               30:11, 44:4,           36:10, 36:12,        91:11, 122:3,         chemical Vol. 1 -      clearly [5] -
   calm [2] - Vol. 1 - 52:24, 52:25,           36:15, 36:17,        169:24                 100:13                 Vol. 1 - 69:14,
    41:12, 42:15        53:4, 53:13,           36:22, 40:21,       CERTIFICATE            chemotherapy            74:8, 76:18,
   calmed Vol. 1 -      53:21, 54:3,           44:19, 107:18,       Vol. 1 - 174:3        [3] - Vol. 1 -          134:18, 159:23
    72:22               54:11, 54:23,          156:14              certified [3] -         116:5, 116:12,        Cleveland [4] -
   calmer Vol. 1 -      55:4, 55:12,          catch Vol. 1 -        Vol. 1 - 1:19,         117:5                  Vol. 1 - 22:5,
    72:20               55:23, 56:13,          108:5                4:5, 174:5            chest [4] - Vol. 1 -    60:5, 119:17,
   calmness Vol. 1 - 57:14, 58:8,             categories           certify [4] -           125:15, 125:16,        119:18
    122:19              58:10, 58:23,          Vol. 1 - 35:4        Vol. 1 - 174:7,        126:11, 126:12        clinic [4] - Vol. 1 -
   can't [29] -         58:24, 59:8,          category Vol. 1 -     174:12, 174:14,       Chicago Vol. 1 -        37:10, 43:5,
    Vol. 1 - 5:22,      59:15, 59:16,          127:23               174:16                 152:9                  70:21, 100:17
    10:8, 10:18,        59:20, 59:21,         caucuses Vol. 1 -    cetera [6] -           chief Vol. 1 -         clinical [2] -
    19:8, 20:23,        59:25, 60:8,           152:17               Vol. 1 - 57:11,        37:19                  Vol. 1 - 54:22,
    23:9, 49:14,        60:10, 60:24,         cause [9] -           57:11, 57:11,         child [4] - Vol. 1 -    77:1
    57:16, 63:4,        61:5, 61:16,           Vol. 1 - 82:13,      63:19, 84:11,          80:23, 83:22,         clinically Vol. 1 -
    63:10, 63:16,       69:12, 74:11,          84:17, 112:15,       84:11                  150:11, 150:15         52:21
    72:9, 76:4, 78:5, 82:23, 93:1,             123:13, 142:16,     chair [3] - Vol. 1 -   childhood Vol. 1 -     clinician [3] -
    90:12, 93:14,       98:17, 100:3,          170:9, 170:10,       61:5, 61:13,           23:13                  Vol. 1 - 45:19,
    93:17, 99:6,        109:19, 109:21,        170:15, 174:8        61:15                 chin [2] - Vol. 1 -     70:11, 71:9
    102:15, 104:24,     110:5, 110:6,         causes [5] -         change [11] -           57:9, 101:8           clinician's
    106:19, 112:16,     132:15, 132:15,        Vol. 1 - 67:6,       Vol. 1 - 21:7,        choice [3] -            Vol. 1 - 51:22
    125:14, 127:11,     134:6, 135:21,         116:12, 136:1,       24:18, 105:4,          Vol. 1 - 68:5,        clinicians [8] -
    134:1, 139:11,      137:5, 150:11,         142:6, 147:12        116:21, 149:9,         69:1, 153:21           Vol. 1 - 38:25,
    150:11, 164:15,     150:16, 151:19,       cautious Vol. 1 -     149:9, 151:5,         choose Vol. 1 -         43:10, 44:7,
    164:17              157:20, 158:15,        59:13                151:15, 158:24,        100:15                 51:20, 55:14,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 180 of 203




    64:14,                  Vol. 1 - 19:4,      116:14              99:6                 Vol. 1 - 17:22       50:11, 86:20
    70:8, 70:9              165:14             compare [2] -       concept [9] -        confusing Vol. 1 -   contains [2] -
   clinics Vol. 1 -        comes [9] -          Vol. 1 - 130:1,     Vol. 1 - 46:1,       118:20               Vol. 1 - 15:23,
    56:25                   Vol. 1 - 22:11,     148:11              93:18, 109:9,       connections           83:6
   close [2] - Vol. 1 -     23:19, 24:19,      compared [2] -       109:15, 109:16,      Vol. 1 - 87:1       contend Vol. 1 -
    21:8, 116:8             54:19, 76:8,        Vol. 1 - 19:4,      111:6, 112:4,       connotation           62:16
   closed-mindednes         76:9, 77:13,        78:1                123:8, 134:19        Vol. 1 - 126:4      contending
    Vol. 1 - 55:3           148:22, 155:1      compassion [2] -    concepts [3] -       consecutive           Vol. 1 - 78:14
   closely Vol. 1 -        comfort Vol. 1 -     Vol. 1 - 140:2,     Vol. 1 - 28:7,       Vol. 1 - 145:20     content Vol. 1 -
    59:2                    90:8                140:3               102:7, 134:17       consensus             54:14
   closer [2] -            comfortable [3] -   compassionate       concern [4] -         Vol. 1 - 55:18      contentious
    Vol. 1 - 9:17,          Vol. 1 - 45:8,     [12] - Vol. 1 -      Vol. 1 - 42:24,     consent [3] -         Vol. 1 - 147:3
    51:6                    104:6, 127:21       55:23, 69:20,       43:2, 67:6,          Vol. 1 - 100:14,    context [7] -
   clothes [3] -           coming [8] -         87:19, 88:15,       148:7                168:3, 169:5         Vol. 1 - 49:24,
    Vol. 1 - 68:5,          Vol. 1 - 14:12,     116:10, 137:22,    concerns [7] -       consider [4] -        88:23, 88:25,
    69:15, 69:16            14:18, 32:7,        139:18, 142:21,     Vol. 1 - 11:9,       Vol. 1 - 75:21,      121:18, 136:24,
   clothing [20] -          55:15, 67:5,        143:6, 146:2,       35:11, 35:13,        86:9, 128:24,        138:18, 138:20
    Vol. 1 - 34:6,          152:16, 154:7,      146:17, 171:1       87:21, 89:23,        148:21              continuation
    40:5, 50:12,            154:8              compassionately      106:11, 137:24      considerably          Vol. 1 - 97:13
    50:18, 51:1,           commencing          [2] - Vol. 1 -      concluded             Vol. 1 - 41:13      continue [3] -
    51:13, 51:23,           Vol. 1 - 1:23       63:15, 125:8        Vol. 1 - 171:17     consideration         Vol. 1 - 111:10,
    70:7, 90:1, 91:2,      commensurate        compatible [3] -    conclusions          [6] - Vol. 1 -        155:20, 155:24
    98:8, 99:9,            [3] - Vol. 1 -       Vol. 1 - 154:18,    Vol. 1 - 164:6       52:22, 92:14,       continued [5] -
    99:12, 104:23,          50:15, 50:20,       154:18, 154:19     condition [24] -      106:25, 107:1,       Vol. 1 - 42:17,
    107:21, 136:24,         51:2               competent [3] -      Vol. 1 - 66:2,       107:2, 175:17        43:3, 122:24,
    148:25, 164:7,         comment [2] -        Vol. 1 - 150:16,    73:22, 73:24,       considered [6] -      123:3, 129:9
    167:23, 170:5           Vol. 1 - 48:25,     157:21, 157:22      73:25, 74:1,         Vol. 1 - 38:5,      continues [4] -
   CMR Vol. 1 -             146:1              complete [5] -       74:2, 74:5,          121:2, 123:9,        Vol. 1 - 57:12,
    50:14                  commented            Vol. 1 - 5:21,      90:18, 99:17,        149:22, 167:23,      57:13, 97:14,
   co-head Vol. 1 -         Vol. 1 - 160:11     10:14, 10:17,       99:24, 100:1,        175:14               111:3
    120:16                 comments             10:19, 97:16        103:20, 113:6,      considering [2] -    continuing [2] -
   co-morbidities           Vol. 1 - 59:3      completed [4] -      113:12, 115:5,       Vol. 1 - 13:6,       Vol. 1 - 132:1,
    Vol. 1 - 153:22        Commission [3] -     Vol. 1 - 160:21,    126:19, 126:22,      15:14                153:2
   co-morbidity             Vol. 1 - 74:24,     168:20, 174:13,     126:24, 126:24,     consistently         contract Vol. 1 -
    Vol. 1 - 153:24         172:25, 174:22      175:10              127:6, 127:13,       Vol. 1 - 83:17       174:17
   co-occurring            commissioned        completely [3] -     131:3, 131:4,       consolidated         contractual
    Vol. 1 - 50:4           Vol. 1 - 174:6      Vol. 1 - 66:9,      135:19               Vol. 1 - 26:13       Vol. 1 - 50:10
   coast Vol. 1 -          commit Vol. 1 -      127:8, 130:13      conditions [10] -    constantly           contradictions
    7:2                     142:25             complex [4] -        Vol. 1 - 26:17,      Vol. 1 - 129:15      Vol. 1 - 29:21
   cognitive Vol. 1 -      committed [2] -      Vol. 1 - 29:6,      26:23, 27:4,        construe Vol. 1 -    contrary Vol. 1 -
    155:16                  Vol. 1 - 158:23,    29:20, 117:24,      100:5, 100:6,        163:4                152:5
   Cohen-kettenis           158:23              134:9               101:15, 112:23,     construes            contribute [3] -
   [3] - Vol. 1 -          committee [11] -    complexity [6] -     127:6, 137:4,        Vol. 1 - 139:24      Vol. 1 - 9:2, 9:8,
    23:8, 76:5, 76:5        Vol. 1 - 33:7,      Vol. 1 - 29:9,      163:19              consult Vol. 1 -      9:11
   collar [7] - Vol. 1 -    33:18, 38:3,        42:12, 42:13,      conduct Vol. 1 -      81:15               control [5] -
    88:1, 88:5, 88:6,       44:2, 47:15,        84:12, 91:18,       16:19               consultant [3] -      Vol. 1 - 25:24,
    89:6, 138:10,           52:20, 53:1,        91:19              conducted             Vol. 1 - 25:7,       38:15, 160:21,
    140:10, 140:17          53:14, 61:6,       complicated [4] -    Vol. 1 - 10:9        43:4, 48:5           161:14, 168:19
   colleagues               120:17, 121:3       Vol. 1 - 19:7,     conducting           consultants          controversy
    Vol. 1 - 14:20         committing [2] -     41:21, 55:20,       Vol. 1 - 14:1        Vol. 1 - 37:9        Vol. 1 - 102:14
   collected Vol. 1 -       Vol. 1 - 68:22,     132:20             cone Vol. 1 -        consultations        convene Vol. 1 -
    14:13                   68:23              complications        68:18               [2] - Vol. 1 -        121:3
   college Vol. 1 -        common [4] -         Vol. 1 - 96:13     conferences [2] -     53:2, 53:3          conversate
    94:10                   Vol. 1 - 24:2,     compliment           Vol. 1 - 13:3,      consulted [4] -       Vol. 1 - 68:22
   color Vol. 1 -           51:25, 100:2,       Vol. 1 - 161:18     43:21                Vol. 1 - 25:10,     conversation [9] -
    88:2                    160:12             components          confident Vol. 1 -    79:17, 146:23,       Vol. 1 - 93:12,
   combination [2] -       community [5] -      Vol. 1 - 24:14      91:24                146:25               93:25, 94:21,
    Vol. 1 - 38:13,         Vol. 1 - 29:16,    comport Vol. 1 -    Confidential         consulting [5] -      94:25, 120:12,
    42:20                   38:1, 59:5,         88:23               Vol. 1 - 3:17        Vol. 1 - 25:5,       120:20, 120:22,
   combinations             66:24, 78:22       Computer-aided      confirmation [2] -    31:7, 49:7, 79:3,    120:24, 132:6
   [2] - Vol. 1 -          companies            Vol. 1 - 174:10     Vol. 1 - 73:9,       148:4               conversations
    18:24, 19:1             Vol. 1 - 108:2     concentrate [2] -    73:10               contain [3] -         Vol. 1 - 171:5
   combining [2] -         company Vol. 1 -     Vol. 1 - 99:5,     conforming            Vol. 1 - 50:7,      conveys Vol. 1 -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 181 of 203




    92:23               correction [4] -       174:4               credentialing            12:23, 12:23,       dealt Vol. 1 -
   convicted Vol. 1 -    Vol. 1 - 22:20,      couple [3] -         [2] - Vol. 1 -           57:15, 156:24        86:8
    87:2                 79:7, 88:22,          Vol. 1 - 40:2,       55:4, 150:7            curved Vol. 1 -      death [2] - Vol. 1 -
   conviction [4] -      172:6                 80:24, 152:8        credentials              144:9                38:17, 96:13
    Vol. 1 - 17:7,      Correctional [3] -    courageously          Vol. 1 - 25:6          custody Vol. 1 -     decades Vol. 1 -
    65:23, 85:12,        Vol. 1 - 1:11,        Vol. 1 - 72:9       CRI [2] - Vol. 1 -       82:18                16:4
    130:21               47:19, 74:24         course [22] -         174:21, 175:20         cut [20] - Vol. 1 -  decide [5] -
   convictions [4] -    corrections [31] -     Vol. 1 - 12:16,     cricoid Vol. 1 -         87:23, 87:25,        Vol. 1 - 20:16,
    Vol. 1 - 91:12,      Vol. 1 - 1:10,        19:13, 38:25,        100:22                  88:4, 138:1,         33:5, 75:18,
    91:13, 91:13,        3:16, 6:3, 22:21,     41:20, 44:5,        crimes [2] -             138:9, 139:7,        111:23, 113:20
    91:14                29:10, 30:10,         53:12, 55:15,        Vol. 1 - 42:4,          139:8, 140:7,       decided [4] -
   convince Vol. 1 -     31:6, 31:17,          65:22, 66:3,         42:7                    140:11, 140:16,      Vol. 1 - 20:4,
    167:2                33:16, 37:8,          69:5, 71:19,        crisis [3] - Vol. 1 -    140:17, 141:1,       37:17, 37:18,
   Cooper [49] -         38:1, 40:17,          71:19, 71:20,        163:23, 165:20,         141:22, 141:24,      112:8
    Vol. 1 - 2:16,       41:2, 43:5,           79:19, 95:16,        165:23                  142:1, 142:9,       decides [4] -
    3:3, 4:8, 4:9,       47:18, 54:9,          104:17, 113:13,     crisis-oriented          144:12, 166:8,       Vol. 1 - 19:8,
    7:7, 8:12, 35:15,    54:18, 55:10,         116:21, 120:24,      Vol. 1 - 45:5           166:9, 166:9         111:21, 112:2,
    40:6, 46:21,         77:20, 78:8,          132:13, 157:14,     criteria [2] -          CV [6] - Vol. 1 -     112:10
    47:3, 47:9,          88:20, 92:6,          162:21               Vol. 1 - 77:6,          22:13, 35:1,        decision [19] -
    49:15, 54:12,        92:9, 133:21,        coursework            80:21                   35:7, 37:3,          Vol. 1 - 15:11,
    66:13, 67:14,        134:4, 135:25,        Vol. 1 - 155:3      criticized Vol. 1 -      59:18, 163:5         15:14, 17:1,
    70:19, 73:10,        136:13, 136:17,      court [11] -          162:25                                       17:4, 17:21,
    81:5, 98:24,         140:5, 143:19,        Vol. 1 - 1:1,       cross-dress                      D            18:9, 18:13,
    103:15, 108:12,      172:4                 1:22, 4:19, 5:2,     Vol. 1 - 109:25                              18:14, 19:14,
    115:18, 115:22,     correctly [3] -        29:7, 36:6, 37:1,   Cross-examinatio        danger [2] -          24:17, 39:14,
    118:25, 119:8,       Vol. 1 - 117:22,      91:21, 120:7,       [4] - Vol. 1 -           Vol. 1 - 95:22,      44:15, 66:15,
    121:14, 131:9,       117:24, 121:8         164:14, 174:16       1:18, 3:3, 4:3,         95:23                69:24, 94:25,
    132:22, 134:24,     cortisone Vol. 1 -    courtroom             4:7                    dangerous [3] -       105:12, 118:14,
    137:7, 137:10,       111:16                Vol. 1 - 29:8       cross-gender             Vol. 1 - 95:13,      123:7, 125:17
    137:17, 140:15,     cosmetic [5] -        courtrooms [2] -      Vol. 1 - 50:12          152:14, 170:2       decision-making
    141:8, 141:13,       Vol. 1 - 34:6,        Vol. 1 - 28:12,     cross-sex [2] -         dashed Vol. 1 -       Vol. 1 - 31:20
    145:5, 145:8,        101:6, 101:6,         55:16                Vol. 1 - 71:16,         164:1               decisions [4] -
    145:13, 145:17,      101:7, 130:23        courts Vol. 1 -       167:23                 data [11] - Vol. 1 - Vol. 1 - 71:5,
    145:21, 146:5,      cosmetics              53:19               cry Vol. 1 -             58:3, 58:6,          84:14, 88:22,
    147:21, 148:3,       Vol. 1 - 34:9        covered Vol. 1 -      129:8                   153:22, 160:9,       105:17
    151:1, 167:16,      cost [4] - Vol. 1 -    117:4               culture Vol. 1 -         160:18, 160:18, declared [3] -
    168:16, 170:12,      85:6, 86:24,         crap Vol. 1 -         55:24                   160:22, 161:4,       Vol. 1 - 57:25,
    171:13, 175:21       86:24, 86:25          46:4                cure [6] - Vol. 1 -      161:12, 161:22,      62:17, 63:25
   cooperation          cotton Vol. 1 -       crazy Vol. 1 -        56:23, 57:1,            162:7               declares Vol. 1 -
    Vol. 1 - 27:11       71:24                 151:14               97:11, 97:16,          data-supported        63:24
   cope Vol. 1 -        couch Vol. 1 -        cream Vol. 1 -        117:6, 127:8            Vol. 1 - 96:12      declaring [2] -
    63:12                152:20                68:18               cured [3] - Vol. 1 -    datas Vol. 1 -        Vol. 1 - 32:10,
   cords Vol. 1 -       coughing Vol. 1 -     create [5] -          97:7, 97:8,             60:17                78:16
    100:22               114:17                Vol. 1 - 21:6,       130:13                 date [5] - Vol. 1 - decompensate
   core Vol. 1 -        couldn't [5] -         67:8, 139:22,       cures Vol. 1 -           35:4, 48:1, 48:2, [2] - Vol. 1 -
    85:25                Vol. 1 - 10:16,       148:6, 149:8         57:2                    172:18, 172:22       92:3, 92:20
   corner Vol. 1 -       25:23, 115:11,       created [5] -        curing Vol. 1 -         dated Vol. 1 -       decompensation
    49:17                135:8, 163:5          Vol. 1 - 150:18,     57:17                   8:17                [11] - Vol. 1 -
   correct [28] -       counsel [5] -          150:24, 151:1,      curious Vol. 1 -        day-to-day            90:2, 90:4, 90:7,
    Vol. 1 - 4:12,       Vol. 1 - 4:10,        151:3, 151:22        72:23                   Vol. 1 - 136:14      90:11, 90:12,
    9:22, 10:10,         7:10, 7:22,          creates Vol. 1 -     curl Vol. 1 -           De'lonta [3] -        90:15, 90:17,
    11:2, 21:13,         171:5, 174:15         18:19                144:8                   Vol. 1 - 26:21,      91:1, 92:5, 92:8,
    32:18, 36:3,        counted Vol. 1 -      creating [2] -       curls Vol. 1 -           31:1, 36:2           142:24
    36:17, 40:22,        78:24                 Vol. 1 - 139:12,     144:8                  de-emphasis          decompensations
    61:6, 68:2, 75:9,   counteracting          140:6               curly Vol. 1 -           Vol. 1 - 109:23      Vol. 1 - 89:22
    75:12, 75:13,        Vol. 1 - 136:9       creative Vol. 1 -     144:8                  dead Vol. 1 -        deeply Vol. 1 -
    79:4, 83:15,        countertransfere       144:1               current [5] -            161:25               11:22
    91:15, 103:8,        Vol. 1 - 30:12       credential            Vol. 1 - 52:24,        deal [3] - Vol. 1 - Defendant [3] -
    107:23, 118:12,     counting [2] -         Vol. 1 - 54:21       54:10, 58:23,           39:24, 56:19,        Vol. 1 - 2:15,
    120:13, 121:6,       Vol. 1 - 14:14,      credentialed [5] -    58:24, 130:3            161:9                4:2, 8:14
    124:6, 124:14,       76:20                 Vol. 1 - 150:8,     currently [7] -         dealing [2] -        Defendants
    147:12, 153:25,     COUNTY [2] -           150:13, 155:22,      Vol. 1 - 11:17,         Vol. 1 - 122:9,      Vol. 1 - 1:12
    155:14, 174:11       Vol. 1 - 172:20,      155:23, 161:5        12:18, 12:22,           151:5               defer [4] - Vol. 1 -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 182 of 203




    137:11,               Vol. 1 - 11:19          7:21, 58:2          diagnostic             171:6                Vol. 1 - 21:7,
    141:1, 141:2,        depends Vol. 1 -        details Vol. 1 -      Vol. 1 - 80:22       Director Vol. 1 -     47:7, 48:9,
    141:23                12:22                   33:9                diapered Vol. 1 -      1:11                 114:20
   deferred Vol. 1 -     deposes Vol. 1 -        deteriorate           63:18                directs Vol. 1 -     disease [4] -
    144:25                4:5                     Vol. 1 - 115:4      dictate Vol. 1 -       128:19               Vol. 1 - 38:18,
   define [3] -          deposition [19] -       deterioration         59:17                disabilities          105:10, 117:7,
    Vol. 1 - 138:2,       Vol. 1 - 1:14,          Vol. 1 - 90:21      die [11] - Vol. 1 -    Vol. 1 - 155:16      153:5
    140:24, 141:19        1:17, 4:12, 6:21,      determination         111:12, 111:16,      disability [6] -     disharmony
   defined [2] -          7:13, 7:25,             Vol. 1 - 122:22      112:25, 113:8,        Vol. 1 - 66:19,      Vol. 1 - 11:9
    Vol. 1 - 163:20,      36:25, 119:11,         determine [8] -       114:22, 114:23,       66:21, 131:23,      dismissed
    174:17                119:14, 119:16,         Vol. 1 - 39:20,      116:22, 117:9,        131:24, 168:8,       Vol. 1 - 165:3
   definition Vol. 1 -    120:6, 167:17,          132:11, 138:2,       139:25, 166:3,        168:15              disorder [19] -
    97:15                 171:17, 172:2,          140:23, 141:18,      166:18               disabled [2] -        Vol. 1 - 20:21,
   definitions            174:12, 175:10,         141:22, 166:23,     DIEGUEZ                Vol. 1 - 66:22,      23:13, 23:19,
    Vol. 1 - 108:1        175:11, 175:13,         166:25               Vol. 1 - 1:11         66:23                24:14, 31:18,
   degree [7] -           175:15                 determined [2] -     Dieguez's             disadvantages         32:17, 47:20,
    Vol. 1 - 67:9,       depressed [9] -          Vol. 1 - 20:1,       Vol. 1 - 8:15         Vol. 1 - 74:5        48:10, 55:5,
    122:2, 142:21,        Vol. 1 - 63:13,         56:20               dies Vol. 1 -         disagree [9] -        74:7, 81:13,
    153:24, 155:6,        115:7, 115:7,          determines [2] -      72:5                  Vol. 1 - 49:9,       100:19, 150:12,
    155:24, 155:24        118:8, 118:8,           Vol. 1 - 29:5,      difference [4] -       51:12, 60:10,        158:2, 160:7,
   degrees [5] -          158:2, 158:13,          140:23               Vol. 1 - 55:7,        67:6, 161:11,        163:2, 163:21,
    Vol. 1 - 86:17,       158:14, 158:16         develop [2] -         73:2, 104:20,         162:20, 162:23,      163:24, 165:3
    86:18, 102:11,       depression [8] -         Vol. 1 - 48:13,      127:17                162:24, 164:5       disorders [2] -
    102:12, 156:5         Vol. 1 - 100:4,         148:7               differences [2] -     disagreed             Vol. 1 - 43:5,
   delaying Vol. 1 -      113:14, 114:25,        developed [2] -       Vol. 1 - 73:12,       Vol. 1 - 164:3       50:4
    136:24                115:3, 158:9,           Vol. 1 - 43:16,      73:18                disagreement         disrespectful
   delays Vol. 1 -        158:10, 168:7,          52:19               differently [5] -      Vol. 1 - 59:9        Vol. 1 - 63:25
    136:7                 170:10                 development [8] -     Vol. 1 - 127:25,     disagrees [2] -      distinction [2] -
   delivery Vol. 1 -     deprived Vol. 1 -        Vol. 1 - 34:12,      128:13, 132:23,       Vol. 1 - 146:6,      Vol. 1 - 107:7,
    11:22                 148:17                  48:9, 80:23,         142:10, 155:5         150:22               159:23
   demand Vol. 1 -       derivative Vol. 1 -      82:2, 83:15,        difficult [5] -       disappear            distinctions
    71:22                 76:11                   83:15, 85:25,        Vol. 1 - 26:11,       Vol. 1 - 161:3       Vol. 1 - 166:19
   demands Vol. 1 -      describe [2] -           147:12               44:10, 84:13,        disappointment       distinguish [2] -
    146:4                 Vol. 1 - 14:23,        developmental         94:20, 168:21         Vol. 1 - 92:12       Vol. 1 - 65:13,
   demeaning [3] -        120:22                 [5] - Vol. 1 -       difficulty Vol. 1 -   disciplinary [4] -    156:1
    Vol. 1 - 46:12,      described [2] -          24:21, 28:14,        168:8                 Vol. 1 - 26:12,     distort [2] -
    156:4, 156:6          Vol. 1 - 30:21,         28:25, 45:6,        dilemma [2] -          98:11, 135:24,       Vol. 1 - 29:9,
   demonstrated           170:6                   165:13               Vol. 1 - 130:2,       136:1                169:17
   [2] - Vol. 1 -        describing [2] -        devoted [3] -         130:5                disciplined          distorting Vol. 1 -
    58:6, 160:4           Vol. 1 - 157:10,        Vol. 1 - 157:17,    dilemmas Vol. 1 -      Vol. 1 - 41:23       23:18
   denied [5] -           163:11                  158:6, 159:18        29:17                Disclosures [2] -    distortions
    Vol. 1 - 41:24,      description [2] -       deVries Vol. 1 -     dime [2] - Vol. 1 -    Vol. 1 - 3:16,       Vol. 1 - 84:6
    95:22, 95:23,         Vol. 1 - 3:15,          76:4                 29:25, 30:1           8:15                distress [19] -
    132:15, 164:6         80:22                  diabetic [2] -       dimensions            disconnect            Vol. 1 - 30:16,
   deny [2] - Vol. 1 -   designed [2] -           Vol. 1 - 111:18,     Vol. 1 - 11:13        Vol. 1 - 54:20       30:16, 57:13,
    135:20, 137:5         Vol. 1 - 49:1,          113:2               diminish [6] -        discover Vol. 1 -     65:8, 65:17,
   department [20] -      138:16                 diagnosed [6] -       Vol. 1 - 124:6,       83:20                65:21, 65:25,
    Vol. 1 - 1:10,       desire Vol. 1 -          Vol. 1 - 47:20,      124:9, 128:2,        discriminated         71:17, 97:20,
    3:16, 6:3, 31:6,      63:11                   49:21, 50:7,         128:5, 128:7,         Vol. 1 - 154:6       97:21, 97:24,
    31:17, 37:8,         desired Vol. 1 -         71:8, 80:21,         129:5                discriminating        97:25, 122:1,
    38:1, 40:17,          131:7                   157:7               diminished [2] -       Vol. 1 - 151:18      123:24, 124:4,
    41:1, 43:4,          desires Vol. 1 -        diagnoses             Vol. 1 - 75:18,      discrimination        129:2, 130:3,
    47:18, 48:6,          38:21                   Vol. 1 - 76:13       168:25                Vol. 1 - 154:13      142:25, 154:1
    49:8, 54:9, 70:5,    desistance              diagnosing           diminishing           discuss Vol. 1 -     distressed [4] -
    78:8, 88:20,          Vol. 1 - 23:12          Vol. 1 - 155:7       Vol. 1 - 124:13       43:18                Vol. 1 - 65:22,
    136:17, 140:4,       despair Vol. 1 -        diagnosis [13] -     directed Vol. 1 -     discussed [4] -       82:14, 115:13,
    143:19                143:1                   Vol. 1 - 73:1,       146:1                 Vol. 1 - 8:4,        129:18
   departments [2] -     desperate [2] -          80:17, 80:25,       direction [4] -        28:22, 49:9,        DISTRICT [2] -
    Vol. 1 - 48:17,       Vol. 1 - 158:19,        81:4, 81:7, 81:8,    Vol. 1 - 51:6,        60:7                 Vol. 1 - 1:1, 1:2
    79:7                  164:2                   81:11, 81:16,        51:6, 67:5,          discussing [2] -     distrust [3] -
   depend Vol. 1 -       despite Vol. 1 -         84:10, 100:18,       78:11                 Vol. 1 - 28:2,       Vol. 1 - 45:25,
    93:5                  42:12                   163:1, 163:17,      directly [2] -         38:14                46:7, 91:11
   depending             detail [2] - Vol. 1 -    165:7                Vol. 1 - 143:5,      discussion [4] -     disturbed [3] -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 183 of 203




     Vol. 1 -              8:12, 9:19, 10:4,     duly [3] - Vol. 1 -    129:10, 129:20,       Vol. 1 - 134:3,        emotional [3] -
    27:14,                 10:5, 43:23,           4:4, 174:6,           129:25, 130:14,       159:17                  Vol. 1 - 66:19,
    38:20, 41:18           43:24, 46:21,          174:7                 130:18, 132:2,       educating Vol. 1 -       90:7, 142:24
   DIVISION                47:9, 60:5,           duration Vol. 1 -      134:18, 136:6,        37:25                  emotionally [2] -
    Vol. 1 - 1:2           67:14, 76:15,          109:24                148:23, 149:21,      education [5] -          Vol. 1 - 66:23,
   DOC [8] - Vol. 1 -      120:7, 120:12,        dying Vol. 1 -         150:12, 150:17,       Vol. 1 - 27:22,         149:11
    10:13, 56:3,           120:15, 120:21,        38:15                 153:23, 153:25,       48:22, 98:15,          empathic Vol. 1 -
    77:16, 82:12,          120:24, 121:9,        dynamics Vol. 1 -      154:8, 155:2,         153:2, 156:4            158:16
    143:4, 143:4,          156:8, 156:8,          43:19                 155:8, 161:15,       educational [7] -       emphasize
    171:6, 171:11          156:8, 156:13,        dysfunction [2] -      162:2, 163:2,         Vol. 1 - 9:7,           Vol. 1 - 71:19
   doctor [35] -           156:14, 156:18,        Vol. 1 - 11:8,        167:22                37:4, 38:2, 44:3,      employee Vol. 1 -
    Vol. 1 - 4:12,         158:17, 159:6,         11:12                dysphoric [12] -       54:14, 74:6,            174:14
    69:5, 69:11,           159:11, 159:17,       dysphoria [124] -      Vol. 1 - 24:9,        94:9                   enables Vol. 1 -
    69:12, 70:18,          160:16, 160:24,        Vol. 1 - 12:19,       26:2, 55:5,          educationally            52:1
    70:19, 72:13,          161:5, 162:14,         13:24, 14:9,          64:10, 71:1,         [2] - Vol. 1 -          encountered
    74:10, 83:11,          162:17, 163:14,        14:25, 18:17,         73:8, 105:17,         17:14, 86:24            Vol. 1 - 156:13
    84:9, 84:10,           163:22, 164:1,         19:17, 20:15,         118:1, 128:8,        effect [2] - Vol. 1 -   endless Vol. 1 -
    100:8, 105:13,         164:9, 164:10,         21:23, 22:6,          129:2, 136:20,        48:2, 130:20            143:6
    105:22, 107:23,        164:12, 164:19,        23:3, 23:11,          154:10               Effective Vol. 1 -      endlessly [3] -
    110:2, 113:18,         164:21, 165:7,         23:12, 24:25,                               48:1                    Vol. 1 - 145:7,
    113:19, 113:22,        165:9, 165:13,         31:12, 35:5,                  E            effeminate [4] -         158:25, 165:21
    114:3, 114:4,          170:8, 175:11          35:14, 36:1,                                Vol. 1 - 149:3,        endocrine [2] -
    114:6, 114:7,         draft [2] - Vol. 1 -    36:20, 36:24,        ear [3] - Vol. 1 -     149:3, 149:5,           Vol. 1 - 107:1,
    114:14, 114:17,        9:4, 48:25             40:4, 41:16,          140:10, 140:17,       149:15                  109:22
    117:15, 117:16,       drafted Vol. 1 -        51:14, 51:21,         144:9                efforts Vol. 1 -        endocrinologist
    151:17, 154:16,        61:6                   52:9, 52:10,         earlier [9] -          150:25                 [3] - Vol. 1 -
    157:13, 157:19,       drafting Vol. 1 -       53:18, 54:2,          Vol. 1 - 10:2,       eight Vol. 1 -           15:16, 106:18,
    158:4, 158:13,         61:9                   54:4, 54:23,          60:14, 60:17,         163:7                   112:11
    158:14, 166:15        drama [2] -             56:24, 57:2,          64:5, 67:25,         either [9] - Vol. 1 -   endocrinologists
   doctors [19] -          Vol. 1 - 139:12,       57:2, 57:17,          77:15, 117:19,        23:4, 34:22,           [2] - Vol. 1 -
    Vol. 1 - 13:19,        139:22                 57:22, 64:7,          138:7, 141:2          36:16, 36:18,           16:2, 19:23
    20:25, 33:23,         dramatic Vol. 1 -       65:8, 65:9,          earned [2] -           36:25, 68:3,           endorse Vol. 1 -
    71:4, 83:7, 83:7,      140:1                  65:10, 65:15,         Vol. 1 - 138:19,      108:13, 137:12,         151:24
    91:21, 100:18,        dream [3] -             66:6, 66:9, 67:7,     138:19                168:7                  endorsements
    106:21, 111:11,        Vol. 1 - 64:21,        67:19, 67:21,        earnest Vol. 1 -      elaborating              Vol. 1 - 152:15
    112:6, 151:3,          81:24, 130:9           68:7, 68:9, 69:4,     161:6                 Vol. 1 - 65:5          endowed Vol. 1 -
    151:19, 152:4,        Dreger's Vol. 1 -       69:7, 69:9,          ears [3] - Vol. 1 -   elected [2] -            91:20
    153:8, 153:10,         152:6                  69:11, 71:8,          88:1, 88:5,           Vol. 1 - 100:7,        enforce Vol. 1 -
    154:5, 158:17,        dress [4] - Vol. 1 -    71:16, 71:17,         138:10                100:8                   88:24
    165:20                 68:1, 71:5,            73:3, 73:21,         ease Vol. 1 -         elective Vol. 1 -       engaging Vol. 1 -
   document [12] -         93:19, 133:6           73:24, 74:8,          40:12                 112:5                   16:17
    Vol. 1 - 3:16,        dress-up Vol. 1 -       74:22, 75:9,         easier [6] -          electrolysis [2] -      enhance [3] -
    8:5, 8:6, 8:13,        85:15                  75:12, 75:16,         Vol. 1 - 33:21,       Vol. 1 - 34:22,         Vol. 1 - 64:17,
    10:12, 46:15,         dressed [2] -           75:23, 77:13,         34:1, 40:16,          78:3                    65:2, 66:11
    46:22, 47:12,          Vol. 1 - 69:19,        78:25, 80:16,         54:7, 77:20,         elements [4] -          enhanced Vol. 1 -
    53:16, 118:25,         110:1                  81:1, 81:6,           78:4                  Vol. 1 - 13:9,          133:10
    119:9, 152:6          dressing [3] -          81:13, 81:17,        easily [2] -           49:20, 50:8,           enormous [5] -
   documented              Vol. 1 - 67:16,        93:1, 94:1, 96:6,     Vol. 1 - 68:13,       85:11                   Vol. 1 - 54:17,
    Vol. 1 - 168:14        71:10, 104:11          96:19, 97:3,          117:3                eliminate Vol. 1 -       54:20, 56:1,
   documents [3] -        Drive Vol. 1 -          97:6, 97:8, 98:7,    easy Vol. 1 -          66:9                    150:25, 153:24
    Vol. 1 - 10:1,         1:22                   99:11, 99:16,         38:4                 elsewhere [3] -         enraged Vol. 1 -
    10:6, 10:21           drug [2] - Vol. 1 -     99:23, 99:25,        edition [5] -          Vol. 1 - 20:24,         90:11
   doubt [2] - Vol. 1 -    105:12, 105:15         100:16, 100:19,       Vol. 1 - 56:13,       138:5, 153:15          ensure [3] -
    91:7, 142:24          drugs [2] - Vol. 1 -    103:2, 107:12,        59:7, 59:12,         emergencies              Vol. 1 - 52:21,
   downgraded              100:4, 100:6           107:15, 108:9,        59:20, 109:20         Vol. 1 - 157:20         88:21, 133:20
    Vol. 1 - 59:8         DSM-5 [2] -             108:16, 109:7,       editions Vol. 1 -     emergency [4] -         enters Vol. 1 -
   downplayed              Vol. 1 - 80:17,        109:17, 114:7,        109:18                Vol. 1 - 72:5,          105:15
    Vol. 1 - 60:11         80:21                  115:9, 115:12,       Edmonton               157:13, 157:19,        entire [2] - Vol. 1 -
   dozen [3] -            due [3] - Vol. 1 -      117:21, 117:25,       Vol. 1 - 36:2         157:22                  37:25, 164:21
    Vol. 1 - 4:15,         131:14, 132:25,        118:14, 122:17,      educate [2] -         emerging [4] -          entirely [2] -
    78:23, 79:2            165:2                  122:21, 125:18,       Vol. 1 - 30:10,       Vol. 1 - 35:11,         Vol. 1 - 55:11,
   Dr [48] - Vol. 1 -     dueling Vol. 1 -        126:18, 126:22,       33:16                 35:14, 134:17,          71:18
    6:25, 7:3, 7:4,        28:12                  128:15, 128:22,      educated [2] -         134:18                 entitled [3] -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 184 of 203




    Vol. 1 -              15:2, 15:9,         Vol. 1 - 128:23        63:21, 64:3,        express [2] -        fantasied Vol. 1 -
    8:14,        91:5,    15:15, 15:17,      exaggerated [2] -       64:6, 65:8,          Vol. 1 - 72:9,       66:3
    91:24                 15:23, 24:12,       Vol. 1 - 133:17,       67:15, 68:24,        104:24              fantasy [10] -
   environment            24:13, 37:19,       166:13                 70:23, 75:14,       expressed [2] -       Vol. 1 - 17:3,
    Vol. 1 - 138:21       80:2, 80:4,        exaggerating            77:1, 77:3, 77:4,    Vol. 1 - 56:4,       17:5, 17:7, 18:9,
   environments           136:7, 157:10       Vol. 1 - 164:11        78:12, 78:13,        91:7                 64:21, 65:10,
    Vol. 1 - 86:14       evaluations         example [8] -           91:10, 127:10,      expression            65:25, 85:17,
   EPub Vol. 1 -          Vol. 1 - 39:17      Vol. 1 - 17:21,        129:1, 130:8,        Vol. 1 - 149:14      85:20, 169:16
    35:16                evaluators           18:5, 42:2, 57:1,      135:18, 136:14,     expressive           fat Vol. 1 -
   equal Vol. 1 -         Vol. 1 - 83:18      70:13, 97:18,          147:2, 148:4,        Vol. 1 - 149:11      101:10
    160:6                events Vol. 1 -      113:3, 150:11          150:6, 157:14,      extended Vol. 1 -    fatal Vol. 1 -
   equate [2] -           17:25              examples [2] -          158:7                136:7                117:7
    Vol. 1 - 70:2,       eventually [2] -     Vol. 1 - 103:5,       experienced [4] -    extensive [2] -      FDOC Vol. 1 -
    71:4                  Vol. 1 - 28:16,     112:23                 Vol. 1 - 54:14,      Vol. 1 - 15:1,       6:2
   equip Vol. 1 -         40:12              exceed Vol. 1 -         91:9, 158:10,        15:23               fearful Vol. 1 -
    70:2                 Everglades           91:20                  158:18              extent Vol. 1 -       153:12
   eradicate Vol. 1 -     Vol. 1 - 1:11      except [3] -           experiences [5] -     136:10              features [2] -
    127:12               everybody [4] -      Vol. 1 - 55:18,        Vol. 1 - 124:14,    external Vol. 1 -     Vol. 1 - 23:15,
   especially [3] -       Vol. 1 - 52:3,      131:12, 168:22         126:6, 152:25,       93:16                57:18
    Vol. 1 - 55:6,        62:12, 77:9,       exception [2] -         153:1, 157:18       extremely Vol. 1 -   federal [2] -
    82:24, 84:5           86:4                Vol. 1 - 20:17,       experiment [5] -      76:7                 Vol. 1 - 4:3, 30:1
   Esquire [4] -         everyone [7] -       142:14                 Vol. 1 - 30:2,      eyeball [2] -        feedback [2] -
    Vol. 1 - 2:5,         Vol. 1 - 111:3,    excess [2] -            30:7, 30:8,          Vol. 1 - 80:5,       Vol. 1 - 9:15,
    2:16, 175:4,          126:4, 126:7,       Vol. 1 - 58:6,         106:14, 111:5        80:5                 96:16
    175:21                133:17, 142:10,     58:7                  expert [23] -                             feel [27] - Vol. 1 -
   essential [2] -        154:15, 168:22     excuse [2] -            Vol. 1 - 3:16,               F            18:7, 30:16,
    Vol. 1 - 49:20,      everything [8] -     Vol. 1 - 9:14,         6:2, 7:2, 8:15,                           30:17, 49:1,
    50:8                  Vol. 1 - 4:20,      109:11                 35:23, 36:5,        face [3] - Vol. 1 -   67:21, 68:19,
   established [2] -      68:16, 83:14,      exhibit [7] -           36:11, 37:2,         65:3, 106:15,        71:11, 71:21,
    Vol. 1 - 142:7,       85:24, 100:23,      Vol. 1 - 8:7, 8:9,     38:5, 41:9,          108:21               71:25, 101:3,
    160:23                101:5, 163:13,      8:13, 46:16,           54:22, 76:21,       facial Vol. 1 -       101:22, 102:5,
   establishment          165:3               46:18, 47:17,          76:22, 140:2,        34:23                102:6, 106:20,
    Vol. 1 - 16:25       everywhere [3] -     119:5                  140:3, 142:6,       facilitate Vol. 1 - 106:23, 108:18,
   estimate Vol. 1 -      Vol. 1 - 40:17,    exist [2] - Vol. 1 -    148:9, 148:21,       24:22                110:22, 124:22,
    12:5                  114:3, 114:4        58:23, 129:10          150:9, 152:1,       facilities [4] -      124:23, 125:1,
   estimated Vol. 1 -    evidence [2] -      existence Vol. 1 -      162:17, 163:5,       Vol. 1 - 51:3,       125:14, 125:16,
    19:16                 Vol. 1 - 56:21,     97:22                  163:6                79:8, 135:1,         131:11, 143:19,
   estrogen Vol. 1 -      76:24              existential [4] -      expertise [3] -       136:20               149:12, 153:11,
    131:14               evidence-based       Vol. 1 - 130:1,        Vol. 1 - 151:1,     facility [3] -        158:19
   et [6] - Vol. 1 -     [2] - Vol. 1 -       130:5, 131:3,          151:22, 151:25       Vol. 1 - 22:18,     feeling [4] -
    57:10, 57:11,         76:23, 77:11        139:4                 experts [13] -        92:15, 92:16         Vol. 1 - 79:20,
    57:11, 63:18,        evolution [4] -     expect Vol. 1 -         Vol. 1 - 28:12,     facts [3] - Vol. 1 - 90:9, 130:13,
    84:11, 84:11          Vol. 1 - 104:18,    78:19                  28:12, 29:2,         144:16, 144:19,      168:6
   ethical [11] -         104:18, 123:4,     expectations            48:16, 83:3,         169:13              feelings [4] -
    Vol. 1 - 29:22,       156:2               Vol. 1 - 44:9          99:17, 101:12,      fail Vol. 1 - 63:6    Vol. 1 - 82:20,
    30:16, 35:11,        evolutionary        expected Vol. 1 -       150:8, 150:19,      fair [5] - Vol. 1 -   128:8, 128:15,
    35:13, 59:19,         Vol. 1 - 40:13      39:2                   150:20, 152:24,      45:18, 71:15,        142:16
    59:23, 106:11,       evolve Vol. 1 -     expensive [2] -         156:8, 156:11        107:9, 110:12,      feels [4] - Vol. 1 -
    106:25, 111:19,       123:15              Vol. 1 - 73:13,       Expires [2] -         159:13               81:22, 91:24,
    112:20, 169:5        evolved [2] -        73:14                  Vol. 1 - 172:25,    fall Vol. 1 -         124:23, 133:14
   ethically Vol. 1 -     Vol. 1 - 125:22,   experience [47] -       174:22               127:23              fellow Vol. 1 -
    106:23                134:5               Vol. 1 - 14:19,       explain [4] -        falsely Vol. 1 -      161:10
   ethics Vol. 1 -       evolves Vol. 1 -     16:12, 16:18,          Vol. 1 - 31:14,      145:23              felt [3] - Vol. 1 -
    106:24                123:17              16:23, 17:13,          64:7, 85:10,        familiar [3] -        37:15, 82:21,
   Europe [3] -          evolving Vol. 1 -    18:2, 18:8,            139:21               Vol. 1 - 74:23,      163:25
    Vol. 1 - 53:15,       51:5                18:13, 18:16,         explained [4] -       156:7, 156:9        female [71] -
    59:24, 111:3         exact Vol. 1 -       20:2, 29:12,           Vol. 1 - 101:2,     families [2] -        Vol. 1 - 17:10,
   European Vol. 1 -      35:13               38:2, 51:19,           104:2, 143:13,       Vol. 1 - 146:11,     17:11, 17:11,
    76:3                 exactly [4] -        54:18, 54:23,          169:19               154:4                32:5, 33:20,
   evaluated Vol. 1 -     Vol. 1 - 23:9,      55:11, 60:8,          explore Vol. 1 -     family [4] -          34:5, 34:13,
    82:18                 37:12, 59:11,       61:20, 61:22,          15:13                Vol. 1 - 17:15,      34:14, 34:15,
   evaluation [13] -      143:17              62:11, 62:12,         exploring Vol. 1 -    60:21, 118:17,       34:17, 40:5,
    Vol. 1 - 10:9,       exaggerate           63:8, 63:12,           50:2                 118:19               40:7, 50:17,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 185 of 203




    50:21,              Fenway [3] -             5:9, 5:9, 88:17        172:21, 174:10,       fulfill Vol. 1 -     110:22
    51:1, 51:13,         Vol. 1 - 37:9,         finished [2] -          174:12                 81:24              gave [5] - Vol. 1 -
    51:23, 52:6,         48:12, 100:17           Vol. 1 - 56:14,       forehead [2] -         fulfilled Vol. 1 -   27:18, 37:23,
    57:8, 62:4, 62:7,   fertility Vol. 1 -       175:11                 Vol. 1 - 101:10,       67:2                48:21, 81:23,
    62:8, 62:22,         168:22                 firm Vol. 1 -           102:13                full [5] - Vol. 1 -  103:5
    65:24, 68:8,        fever Vol. 1 -           174:16                forge Vol. 1 -          5:20, 68:3,        gay Vol. 1 -
    69:15, 69:16,        114:17                 fit [2] - Vol. 1 -      48:17                  116:8, 131:24,      152:17
    69:19, 70:7,        field [19] - Vol. 1 -    95:12, 99:19          forget [2] -            136:12             gears Vol. 1 -
    72:15, 77:23,        43:22, 56:25,          five [7] - Vol. 1 -     Vol. 1 - 33:6,        Fuller [24] -        80:1
    79:8, 79:17,         58:6, 66:13,            9:20, 14:17,           141:15                 Vol. 1 - 40:22,    gender [193] -
    79:24, 81:10,        76:7, 76:19,            27:9, 39:14,          forgive Vol. 1 -        40:24, 41:5,        Vol. 1 - 11:9,
    85:14, 91:2,         76:25, 77:9,            78:1, 80:11,           108:5                  41:5, 42:8,         12:19, 12:19,
    93:3, 94:23,         77:11, 83:3,            117:9                 forgot Vol. 1 -         42:18, 43:2,        13:24, 14:9,
    95:3, 95:4, 96:4,    83:4, 84:4,            flat-top Vol. 1 -       27:18                  95:7, 95:9,         14:25, 16:15,
    96:20, 98:8,         97:10, 123:4,           141:25                formed [2] -            117:18, 118:17,     17:22, 18:3,
    99:9, 99:11,         130:22, 131:22,        flip [2] - Vol. 1 -     Vol. 1 - 19:3,         119:2, 119:12,      18:17, 18:25,
    103:18, 104:7,       149:23, 157:12,         49:23, 89:11           85:23                  119:21, 121:1,      19:16, 20:15,
    104:23, 107:10,      161:21                 Florida [12] -         former Vol. 1 -         121:9, 122:7,       20:15, 20:21,
    108:6, 111:20,      Fifty-three              Vol. 1 - 1:2,          17:15                  122:11, 122:16,     21:20, 21:23,
    111:22, 118:2,       Vol. 1 - 66:21          1:10, 6:3, 7:20,      formidable              125:4, 125:19,      22:6, 23:3,
    128:1, 128:3,       fight [11] - Vol. 1 -    136:17, 138:17,        Vol. 1 - 42:20         125:24, 126:10,     23:11, 23:11,
    128:14, 129:22,      89:8, 89:9,             142:7, 142:12,        forms [17] -            167:17              23:13, 23:17,
    135:2, 135:7,        90:11, 125:10,          142:13, 142:21,        Vol. 1 - 41:6,        Fuller's [6] -       23:19, 23:23,
    136:18, 136:18,      139:13, 139:25,         146:13, 148:16         41:8, 41:12,           Vol. 1 - 95:7,      24:6, 24:7, 24:9,
    136:24, 148:14,      143:6, 152:19,         fluctuating             41:22, 42:15,          123:23, 124:4,      24:13, 24:18,
    148:25, 149:10,      152:19, 154:12,         Vol. 1 - 42:10         100:5, 117:20,         124:6, 124:13,      24:19, 24:25,
    164:7, 168:6,        154:13                 fly Vol. 1 - 38:6       121:2, 121:4,          125:12              24:25, 26:2,
    170:5, 170:14,      fighting [3] -          focus [5] - Vol. 1 -    121:9, 122:3,         fully Vol. 1 -       26:13, 31:11,
    171:2                Vol. 1 - 81:9,          58:13, 58:20,          123:12, 124:5,         81:25               31:17, 32:16,
   female-to-male        125:9, 144:13           60:8, 130:3,           124:12, 125:8,        function [8] -       33:18, 35:5,
    Vol. 1 - 50:23      figure [5] - Vol. 1 -    167:2                  125:25, 127:17         Vol. 1 - 96:14,     35:14, 36:1,
   femaleness            54:6, 56:17,           focused Vol. 1 -       formulate Vol. 1 -      98:6, 98:6, 98:9,   36:20, 36:24,
    Vol. 1 - 64:17       136:8, 139:11,          165:7                  43:17                  98:25, 99:13,       38:3, 40:3,
   females [2] -         144:1                  focusing [2] -         forth [11] -            105:6, 129:4        40:10, 41:15,
    Vol. 1 - 50:20,     figures Vol. 1 -         Vol. 1 - 110:8,        Vol. 1 - 9:7,         functional Vol. 1 -  42:10, 43:5,
    143:10               149:7                   134:25                 43:17, 49:5,           122:1               44:2, 47:14,
   feminine [26] -      file [4] - Vol. 1 -     folks [4] - Vol. 1 -    78:17, 79:14,         functioning [4] -    47:20, 47:21,
    Vol. 1 - 18:22,      10:15, 10:17,           56:3, 139:11,          79:24, 82:21,          Vol. 1 - 74:7,      48:9, 50:3,
    19:5, 24:10,         10:17, 10:19            143:19, 144:24         94:11, 133:21,         98:10, 131:18,      51:14, 51:21,
    52:4, 57:7,         filed Vol. 1 -          follow [4] -            146:11, 149:7          131:19              52:4, 52:9,
    57:12, 65:3,         76:16                   Vol. 1 - 27:5,        fortunately            functions Vol. 1 -   52:10, 53:17,
    65:3, 88:24,        fill Vol. 1 -            58:25, 59:11,          Vol. 1 - 149:25        106:8               54:2, 54:4, 54:9,
    93:15, 101:22,       117:20                  102:24                forward Vol. 1 -       fundamental [2] -    54:23, 55:5,
    104:24, 116:2,      filled [2] - Vol. 1 -   follow-up [6] -         20:7                   Vol. 1 - 24:17,     55:5, 56:24,
    129:13, 129:14,      114:19, 114:20          Vol. 1 - 20:20,       forwarded               97:3                56:25, 57:1,
    133:5, 133:6,       final [2] - Vol. 1 -     21:4, 21:11,           Vol. 1 - 52:20        future [6] -         57:17, 57:22,
    133:17, 135:4,       17:21, 134:1            40:2, 58:5,           Framingham [2] -        Vol. 1 - 81:24,     58:2, 61:24,
    138:25, 144:3,      finally [3] -            76:21                  Vol. 1 - 32:4,         84:17, 91:15,       61:25, 64:7,
    148:24, 149:6,       Vol. 1 - 130:11,       followed Vol. 1 -       32:7                   91:16, 92:19,       64:10, 65:7,
    149:13, 149:16,      168:2, 168:2            31:23                 free [7] - Vol. 1 -     165:22              65:9, 65:10,
    149:16              financially             follows [2] -           29:16, 30:4,          future's Vol. 1 -    65:14, 67:7,
   femininity [3] -      Vol. 1 - 174:15         Vol. 1 - 4:5,          40:1, 55:9,            92:18               67:19, 67:20,
    Vol. 1 - 13:9,      finding [2] -            54:10                  69:16, 131:17,                             68:6, 68:9, 69:4,
    19:10, 133:10        Vol. 1 - 168:8,        force Vol. 1 -          141:6                          G           69:6, 69:9,
   feminization          168:21                  42:20                 freedom [3] -                               69:11, 70:5,
    Vol. 1 - 170:24     finds Vol. 1 -          forced [2] -            Vol. 1 - 69:16,       Galileo's Vol. 1 - 70:14, 70:21,
   feminize [2] -        159:19                  Vol. 1 - 29:8,         71:22, 133:6           152:7               71:1, 71:8,
    Vol. 1 - 57:6,      fine [4] - Vol. 1 -      140:16                front [4] - Vol. 1 -   gang [2] - Vol. 1 - 71:15, 71:17,
    110:3                5:6, 5:11,             forces [3] -            8:14, 9:19, 27:6,      93:23, 133:7        73:3, 73:8,
   feminized Vol. 1 -    154:16, 161:10          Vol. 1 - 30:14,        137:21                garments [2] -       73:21, 73:24,
    147:8               Finger Vol. 1 -          154:13, 160:17        frustrated [2] -        Vol. 1 - 34:11,     74:8, 74:21,
   feminizing            152:7                  foregoing [4] -         Vol. 1 - 127:11,       72:15               75:8, 75:12,
    Vol. 1 - 52:9       finish [3] - Vol. 1 -    Vol. 1 - 172:1,        128:4                 gathering Vol. 1 - 75:16, 75:19,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 186 of 203




    75:22,              genuine Vol. 1 -       glimpsed [2] -          Vol. 1 - 169:16      141:25, 142:2,         64:23, 65:4,
    77:13, 78:25,        84:14                  Vol. 1 - 148:12,      group [4] - Vol. 1 -  142:4, 142:15,         65:5, 67:9,
    80:16, 80:18,       genuinely Vol. 1 -      148:13                 31:19, 33:13,        142:19, 144:5,         73:20, 111:25,
    80:23, 81:1,         138:13                goal Vol. 1 -           57:20, 94:3          144:7, 144:8,          112:8, 112:8,
    81:6, 81:13,        gesture [4] -           49:25                 groups [3] -          144:10, 144:10,        129:9, 131:25
    81:13, 81:16,        Vol. 1 - 92:5,        God [2] - Vol. 1 -      Vol. 1 - 160:21,     146:24, 147:1,        happy [18] -
    93:1, 94:1, 96:5,    167:3, 167:4,          111:12, 151:8          161:14, 168:19       147:5, 147:8,          Vol. 1 - 45:10,
    96:19, 97:3,         167:5                 goes [8] - Vol. 1 -    grow [8] - Vol. 1 -   164:17, 166:3,         49:12, 64:13,
    97:6, 97:8, 98:7,   gestures [2] -          44:7, 45:23,           116:1, 135:11,       171:3                  64:15, 64:16,
    99:11, 99:16,        Vol. 1 - 166:17,       50:22, 52:25,          135:13, 138:9,      haircut [7] -           64:20, 64:20,
    99:23, 99:25,        166:24                 72:15, 96:25,          144:10, 146:24,      Vol. 1 - 87:23,        66:7, 66:15,
    100:16, 100:19,     gesturing [2] -         114:10, 118:18         147:1, 155:20        138:1, 143:20,         67:2, 72:24,
    100:19, 103:2,       Vol. 1 - 167:8,       gone [4] - Vol. 1 -    growing Vol. 1 -      143:20, 143:25,        72:25, 82:9,
    104:22, 105:17,      167:9                  26:10, 27:13,          136:19               144:2, 144:13          89:21, 93:11,
    107:11, 107:15,     gets [3] - Vol. 1 -     44:3, 97:10           grown Vol. 1 -       haircuts [3] -          127:13, 139:14,
    108:8, 108:15,       100:14, 118:8,        Gorton [4] -            82:25                Vol. 1 - 106:2,        160:2
    109:6, 109:17,       118:8                  Vol. 1 - 7:4, 7:6,    growth Vol. 1 -       106:3, 138:22         harassed Vol. 1 -
    114:7, 114:12,      GID [9] - Vol. 1 -      156:8, 156:18          171:4               hairs [2] - Vol. 1 -    96:1
    115:9, 115:12,       49:20, 50:7,          Gorton's Vol. 1 -      guards Vol. 1 -       127:1, 127:2          harassment [3] -
    117:21, 117:25,      50:16, 52:3,           10:5                   25:24               half [8] - Vol. 1 -     Vol. 1 - 93:23,
    118:1, 118:14,       52:5, 52:6,           gotten Vol. 1 -        guess [18] -          4:15, 78:23,           133:8, 170:23
    120:16, 122:16,      52:13, 52:20,          153:13                 Vol. 1 - 5:12,       80:8, 80:10,          hardship Vol. 1 -
    122:21, 125:18,      53:1                  government [2] -        12:11, 21:9,         123:3, 150:3,          85:19
    126:18, 126:22,     GID-diagnosed           Vol. 1 - 53:20,        32:17, 41:7,         167:1                 harm [10] -
    128:8, 128:21,       Vol. 1 - 50:2          108:2                  45:23, 65:4,        Halloween               Vol. 1 - 74:3,
    129:2, 129:3,       GID-related            government's            65:12, 80:11,        Vol. 1 - 110:1         74:8, 74:9,
    129:19, 129:24,      Vol. 1 - 49:25         Vol. 1 - 30:1          90:24, 97:24,       handiwork               82:13, 84:17,
    130:14, 130:18,     giddy Vol. 1 -         grab Vol. 1 -           112:16, 119:15,      Vol. 1 - 9:12          101:4, 106:13,
    131:7, 132:2,        64:9                   14:21                  139:23, 143:3,      handle Vol. 1 -         112:15, 112:15,
    134:18, 136:6,      girl [6] - Vol. 1 -    grant Vol. 1 -          155:4, 158:8,        45:22                  123:13
    136:20, 148:23,      82:21, 83:21,          129:1                  167:12              handled Vol. 1 -       harm's [4] -
    149:21, 150:12,      83:25, 85:18,         grasp Vol. 1 -         guessing [3] -        165:24                 Vol. 1 - 94:7,
    150:12, 150:17,      85:18, 85:22           63:21                  Vol. 1 - 10:25,     hands Vol. 1 -          94:8, 94:17,
    150:21, 153:23,     girls Vol. 1 -         gratuitousness          12:15, 14:6          151:11                 95:5
    153:25, 154:8,       86:5                   Vol. 1 - 139:16       guidance [2] -       happen [8] -           harmed Vol. 1 -
    154:10, 155:2,      gist Vol. 1 - 7:17     greater [2] -           Vol. 1 - 45:16,      Vol. 1 - 64:11,        118:11
    155:8, 156:24,      given [25] -            Vol. 1 - 112:8,        58:25                94:21, 113:1,         harmful Vol. 1 -
    158:24, 159:2,       Vol. 1 - 13:5,         168:19                gun [3] - Vol. 1 -    168:10, 169:7,         110:19
    160:2, 161:15,       13:14, 14:10,         greatly Vol. 1 -        165:5, 165:5,        169:10, 169:20,       Harry [2] - Vol. 1 -
    162:2, 163:2,        19:19, 31:24,          168:25                 165:6                169:22                 54:1, 54:3
    163:2, 164:25,       31:24, 69:18,         grieves Vol. 1 -       guns Vol. 1 -        happened [8] -         hat Vol. 1 - 44:7
    165:3, 167:22        94:6, 100:12,          131:21                 95:17                Vol. 1 - 25:21,       hate [2] - Vol. 1 -
   general [4] -         104:9, 104:21,        grips [2] - Vol. 1 -                         32:7, 119:19,          99:2, 99:4
    Vol. 1 - 74:8,       111:2, 111:15,         59:23, 63:1                    H            140:21, 152:8,        hats Vol. 1 -
    99:6, 150:5,         118:3, 123:9,         groom Vol. 1 -                               152:9, 152:13,         116:18
    152:18               125:6, 133:12,         68:1                  hair [52] - Vol. 1 - 163:8                  haven't [5] -
   generally [8] -       135:20, 139:4,        grooming [20] -         6:8, 34:22,         happens [6] -           Vol. 1 - 8:4,
    Vol. 1 - 20:15,      139:4, 139:5,          Vol. 1 - 67:16,        34:23, 78:3,         Vol. 1 - 51:21,        111:25, 132:4,
    66:23, 77:19,        165:19, 170:25,        71:10, 96:20,          88:1, 88:4,          62:19, 65:5,           153:13, 155:19
    78:7, 79:23,         174:9, 174:11          98:8, 99:9,            88:10, 88:11,        92:17, 150:17,        having [34] -
    82:3, 133:18,       gives [2] - Vol. 1 -    99:12, 103:18,         89:5, 90:1, 91:2, 162:1                     Vol. 1 - 7:25,
    150:15               18:20, 154:10          104:8, 104:23,         101:21, 101:24, happier [8] -               15:19, 17:10,
   generated            giving [10] -           107:11, 107:21,        102:1, 115:24,       Vol. 1 - 65:24,        26:11, 38:16,
    Vol. 1 - 53:12       Vol. 1 - 5:20,         108:6, 127:18,         116:2, 116:2,        66:4, 72:19,           57:3, 58:1, 62:8,
   genital [3] -         29:18, 30:6,           128:15, 136:18,        116:5, 116:12,       72:20, 81:23,          64:17, 65:25,
    Vol. 1 - 64:18,      42:14, 45:16,          136:25, 148:25,        116:18, 135:12,      96:24, 97:1,           66:16, 71:8,
    64:19, 80:19         111:20, 143:9,         164:7, 170:5,          135:13, 136:19,      101:19                 80:21, 93:15,
   genitalia Vol. 1 -    162:5, 163:3,          170:15                 138:3, 138:5,       happiest Vol. 1 -       99:11, 101:7,
    57:8                 165:8                 Groten Vol. 1 -         138:6, 139:7,        66:24                  101:8, 101:10,
   genitals [4] -       glad Vol. 1 -           7:3                    139:8, 140:10,      happily Vol. 1 -        101:21, 102:13,
    Vol. 1 - 114:15,     116:9                 ground Vol. 1 -         140:16, 140:24,      56:23                  108:3, 109:22,
    114:16, 131:12,     glands Vol. 1 -         4:17                   140:25, 141:19, happiness [11] -            116:24, 125:2,
    169:1                111:15                groundedness            141:22, 141:25,      Vol. 1 - 64:9,         126:11, 130:10,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 187 of 203




    139:8,                 1:23                   128:25                111:4, 114:1,        hours [11] -         ideal [3] - Vol. 1 -
    139:22, 140:9,        Heino Vol. 1 -         himself [7] -          147:11, 168:4,        Vol. 1 - 10:25,      44:4, 57:22,
    140:16, 148:7,         23:8                   Vol. 1 - 6:15,        168:10                11:21, 15:3,         157:10
    148:12, 158:18,       held Vol. 1 -           94:17, 94:19,        hormones [85] -        30:18, 48:19,       ideas Vol. 1 -
    164:14                 47:7                   95:17, 95:18,         Vol. 1 - 15:18,       80:8, 80:10,         19:2
   HBIGDA [2] -           helped Vol. 1 -         118:18, 118:20        15:19, 16:1,          80:10, 80:11,       ideation Vol. 1 -
    Vol. 1 - 54:5,         122:11                hire [2] - Vol. 1 -    31:24, 32:24,         165:19, 167:1        165:23
    54:6                  helpful [25] -          37:18, 37:18          33:2, 33:3,          housed [3] -         identification [4] -
   he'll Vol. 1 -          Vol. 1 - 46:10,       hiring Vol. 1 -        33:12, 34:5,          Vol. 1 - 50:16,      Vol. 1 - 8:10,
    166:3                  75:15, 75:17,          139:12                34:11, 43:24,         50:19, 148:16        46:19, 47:19,
   he's [25] - Vol. 1 -    75:18, 75:20,         his/her Vol. 1 -       43:25, 44:15,        housing Vol. 1 -      119:6
    6:15, 19:11,           88:12, 104:7,          50:3                  44:16, 46:3,          50:15               identified [6] -
    94:15, 94:16,          104:13, 107:9,        historically [3] -     59:12, 59:14,        however [5] -         Vol. 1 - 31:21,
    94:16, 94:17,          107:10, 107:15,        Vol. 1 - 16:4,        60:1, 60:13,          Vol. 1 - 20:19,      32:2, 32:5,
    101:3, 114:22,         107:19, 108:11,        16:11, 71:4           60:23, 60:25,         42:15, 98:25,        66:20, 160:9,
    142:20, 148:8,         108:12, 108:13,       histories [7] -        61:2, 64:16,          133:6, 158:16        170:16
    148:9, 157:4,          116:1, 122:14,         Vol. 1 - 82:24,       67:22, 80:20,        huh-uh Vol. 1 -      identify [2] -
    157:7, 157:19,         125:24, 126:2,         83:2, 83:9,           81:11, 81:17,         4:22                 Vol. 1 - 13:24,
    157:19, 157:20,        126:21, 127:9,         83:10, 84:5,          81:20, 81:21,        human [25] -          23:22
    159:25, 160:3,         127:19, 127:20,        84:6, 111:11          81:22, 81:23,         Vol. 1 - 11:7,      identity [67] -
    160:15, 161:10,        138:8, 159:24         history [12] -         82:3, 82:7, 82:9,     21:21, 23:15,        Vol. 1 - 11:9,
    164:20, 164:22,       helping [3] -           Vol. 1 - 82:17,       82:9, 82:11,          23:21, 24:8,         11:12, 12:19,
    165:14, 169:20,        Vol. 1 - 46:10,        82:20, 84:2,          84:11, 92:4,          24:9, 24:9,          20:15, 20:21,
    169:21                 57:17, 75:18           85:11, 104:1,         97:11, 100:21,        27:14, 28:15,        21:20, 23:13,
   heading [2] -          helpless Vol. 1 -       108:1, 118:4,         101:16, 101:18,       41:18, 55:5,         23:14, 23:17,
    Vol. 1 - 84:20,        90:9                   138:15, 138:17,       105:3, 105:4,         62:20, 87:3,         23:17, 23:19,
    96:9                  helplessness            164:24, 164:24,       105:18, 106:1,        104:17, 104:17,      23:22, 23:23,
   heads Vol. 1 -          Vol. 1 - 139:4         164:25                106:7, 107:3,         104:19, 151:8,       24:5, 24:6, 24:7,
    44:6                  helps [3] - Vol. 1 -   histrionic [3] -       107:4, 110:3,         152:21, 152:22,      24:8, 24:13,
   health [32] -           126:23, 126:24,        Vol. 1 - 164:22,      111:2, 111:4,         152:23, 154:15,      24:15, 24:19,
    Vol. 1 - 22:19,        131:18                 166:4, 166:13         111:9, 111:10,        154:17, 164:16,      24:25, 26:14,
    38:1, 44:9, 50:1,     here's Vol. 1 -        HIV Vol. 1 - 2:18      111:13, 111:14,       165:14, 170:2        26:14, 31:18,
    50:4, 50:10,           125:1                 Hobart Vol. 1 -        111:20, 111:24,      humanness [2] -       32:16, 33:18,
    53:10, 55:10,         hereby Vol. 1 -         36:2                  112:3, 112:10,        Vol. 1 - 45:3,       38:3, 40:10,
    70:5, 72:16,           174:7                 hold Vol. 1 -          112:12, 114:5,        45:3                 43:5, 47:14,
    72:18, 72:21,         hereinafter             134:20                114:6, 114:13,       hundred Vol. 1 -      47:20, 47:22,
    73:1, 74:24,           Vol. 1 - 4:5          holds Vol. 1 -         125:4, 125:5,         102:15               48:10, 50:3,
    86:6, 86:7,           hereunto Vol. 1 -       74:5                  130:22, 131:2,       hundreds [2] -        54:9, 55:5,
    92:10, 92:15,          174:18                hole Vol. 1 -          131:8, 132:8,         Vol. 1 - 13:16,      56:25, 58:2,
    101:12, 105:10,       herself [7] -           95:24                 132:10, 136:2,        129:1                61:24, 61:25,
    124:13, 132:25,        Vol. 1 - 26:15,       homosexual             136:6, 149:1,        Hunt Vol. 1 -         70:6, 70:15,
    134:8, 136:8,          26:15, 70:21,          Vol. 1 - 24:11        149:5, 149:7,         46:23                80:18, 80:23,
    136:13, 137:12,        82:8, 118:2,          homosexuality          149:8, 149:8,        hysterical Vol. 1 - 81:10, 81:13,
    143:22, 152:21,        125:12, 138:24         Vol. 1 - 149:3        149:10, 149:13,       166:12               85:6, 85:9,
    152:23, 156:5,        hesitant Vol. 1 -      homosexuals            150:20, 162:5,                             85:24, 86:16,
    157:4, 163:23          68:11                 [2] - Vol. 1 -         163:3, 169:4,                 I            86:21, 86:24,
   healthy [3] -          hesitate Vol. 1 -       149:3, 149:15         169:5                                      87:10, 87:11,
    Vol. 1 - 18:1,         175:17                hope [3] - Vol. 1 -   horrible Vol. 1 -     ice Vol. 1 -          87:13, 88:25,
    106:21, 106:22        heterosexual            30:9, 81:24,          159:20                68:18                100:19, 104:18,
   hear [2] - Vol. 1 -     Vol. 1 - 24:10         92:23                horse Vol. 1 -        Idaho [6] - Vol. 1 - 104:24, 114:12,
    30:9, 135:8           Hey Vol. 1 -           hopeless Vol. 1 -      82:7                  22:3, 22:16,         114:12, 120:16,
   heard [4] - Vol. 1 -    113:18                 90:9                 hospital Vol. 1 -      22:22, 25:8,         129:3, 131:7,
    121:6, 156:12,        hide Vol. 1 -          hormonal Vol. 1 -      160:4                 25:9, 79:14          150:12, 163:2,
    159:9, 170:12          43:1                   38:21                Hospitals Vol. 1 -    idea [18] - Vol. 1 - 165:3
   heart [2] - Vol. 1 -   hierarchy [2] -        hormone [20] -         22:5                  7:25, 15:25,        idiosyncratic [2] -
    105:23, 116:9          Vol. 1 - 76:24,        Vol. 1 - 15:16,      hostile Vol. 1 -       18:20, 19:9,         Vol. 1 - 60:4,
   heaviness [2] -         77:11                  19:23, 38:14,         46:12                 38:16, 38:20,        126:10
    Vol. 1 - 125:15,      Higgins Vol. 1 -        45:20, 60:6,         hostility [2] -        67:1, 71:3,         idiot Vol. 1 -
    125:16                 119:2                  61:16, 64:25,         Vol. 1 - 45:23,       83:24, 85:17,        151:18
   heavy [3] -            higher [3] -            69:3, 75:8,           46:1                  97:10, 101:25,      ignored Vol. 1 -
    Vol. 1 - 124:24,       Vol. 1 - 100:23,       103:5, 104:21,       hour [3] - Vol. 1 -    104:10, 122:20,      58:2
    125:2, 125:3           161:14, 161:14         107:16, 109:15,       48:18, 132:8,         125:13, 150:25, ignores [2] -
   Heights Vol. 1 -       highly Vol. 1 -         110:9, 110:16,        150:3                 155:17, 156:3        Vol. 1 - 23:23,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 188 of 203




    24:14                including [9] -        116:10                 139:1                Vol. 1 - 23:20,       171:9
   II Vol. 1 - 10:14      Vol. 1 - 24:8,       influence [6] -        insisting Vol. 1 -    24:17, 53:11,        interviewed [4] -
   illness [4] -          27:10, 51:12,         Vol. 1 - 39:23,        144:14               57:21, 85:15,         Vol. 1 - 26:3,
    Vol. 1 - 28:24,       77:9, 123:5,          54:25, 105:5,         insists Vol. 1 -      151:12, 152:2,        26:5, 37:22,
    131:5, 134:18,        136:19, 136:20,       105:22, 105:25,        169:9                152:3, 152:14,        122:18
    134:19                158:17, 165:4         151:23                instability Vol. 1 - 152:15, 164:24,       intimate [2] -
   imagine [5] -         incompetent           influenced [4] -        118:3                174:15                Vol. 1 - 86:25,
    Vol. 1 - 48:11,       Vol. 1 - 158:9        Vol. 1 - 48:20,       instance [2] -       interesting [3] -      90:13
    132:5, 154:24,       incongruence           48:21, 77:4,           Vol. 1 - 89:5,       Vol. 1 - 19:6,       intrapsychic
    164:15, 164:16       [2] - Vol. 1 -         84:7                   99:8                 31:25, 58:4           Vol. 1 - 17:3
   immediate [2] -        80:18, 98:22         information [5] -      instantly Vol. 1 - interests Vol. 1 -      introduction
    Vol. 1 - 37:13,      inconstant [4] -       Vol. 1 - 27:24,        149:15               11:14                 Vol. 1 - 134:11
    39:7                  Vol. 1 - 118:1,       55:18, 67:4,          instead Vol. 1 -     interface Vol. 1 -    intrusion Vol. 1 -
   immediately            118:16, 118:23,       145:22, 162:10         138:24               29:21                 105:8
    Vol. 1 - 45:15        123:10               informed [5] -         institution [6] -    interfere Vol. 1 -    invoke [2] -
   impaired Vol. 1 -     incorporated           Vol. 1 - 120:25,       Vol. 1 - 1:12,       133:24                Vol. 1 - 28:23,
    66:25                 Vol. 1 - 85:11        140:8, 168:3,          50:16, 50:19,       interferes Vol. 1 -    28:25
   implants [2] -        increase Vol. 1 -      169:3, 169:5           50:21, 53:23,        63:22                involve Vol. 1 -
    Vol. 1 - 57:10,       77:23                inherent [5] -          74:18               internal [3] -         36:19
    101:9                increased [2] -        Vol. 1 - 56:12,       institutionalize      Vol. 1 - 43:19,      involved [12] -
   importance [3] -       Vol. 1 - 14:12,       65:25, 66:2,           Vol. 1 - 53:19       104:15, 104:22        Vol. 1 - 11:22,
    Vol. 1 - 109:23,      14:18                 122:10, 154:1         institutions         internally Vol. 1 -    12:24, 13:5,
    128:23, 150:20       increasing [3] -      initial [2] - Vol. 1 - Vol. 1 - 53:20        86:21                 13:14, 24:21,
   importantly            Vol. 1 - 32:11,       15:1, 15:9            instruct Vol. 1 -    international [5] -    36:23, 40:22,
    Vol. 1 - 55:14        32:11, 170:24        initially Vol. 1 -      139:7                Vol. 1 - 53:14,       45:16, 48:8,
   improper Vol. 1 -     indicate [2] -         82:17                 Instructor [2] -      54:2, 54:4, 58:9,     72:13, 79:1,
    145:24                Vol. 1 - 148:18,     injured Vol. 1 -        Vol. 1 - 1:20,       67:3                  151:10
   improve [11] -         169:10                25:24                  174:6               Internet [7] -        involvement [2] -
    Vol. 1 - 26:15,      indicated [2] -       injury Vol. 1 -        instrument            Vol. 1 - 35:17,       Vol. 1 - 51:23,
    27:12, 72:16,         Vol. 1 - 31:4,        116:23                 Vol. 1 - 172:21      35:21, 83:1,          171:8
    96:13, 98:8,          163:6                inmate [15] -          insubordination       83:2, 83:5, 83:5,    involves [2] -
    98:25, 99:12,        indicates Vol. 1 -     Vol. 1 - 27:1,         Vol. 1 - 136:1       84:7                  Vol. 1 - 11:8,
    121:25, 122:1,        67:5                  42:11, 46:12,         insulin [2] -        interpersonal          73:21
    124:12, 154:15       indication Vol. 1 -    50:2, 50:8,            Vol. 1 - 111:17,    [2] - Vol. 1 -        involving [8] -
   improving [4] -        169:15                50:14, 52:1,           113:2                74:6, 155:16          Vol. 1 - 11:9,
    Vol. 1 - 26:15,      individual [21] -      53:1, 71:2,           insurance [5] -      interpersonally        21:21, 21:22,
    98:5, 123:23,         Vol. 1 - 15:4,        80:21, 96:19,          Vol. 1 - 108:1,      Vol. 1 - 17:14        23:20, 35:25,
    124:3                 37:16, 38:6,          99:8, 131:17,          116:10, 116:14, interpret [2] -            36:12, 36:23,
   inability [2] -        38:24, 50:9,          148:7, 169:7           117:4, 117:16        Vol. 1 - 55:17,       36:25
    Vol. 1 - 86:9,        68:19, 69:1,         inmate's [3] -         integrates            60:3                 irrelevant [4] -
    169:12                74:3, 84:4, 91:4,     Vol. 1 - 52:22,        Vol. 1 - 18:22      interpretation         Vol. 1 - 70:22,
   inapparently           93:24, 104:10,        80:22, 132:24         intelligent [4] -    [2] - Vol. 1 -         162:15, 163:13,
    Vol. 1 - 147:25       107:18, 108:8,       inmates [28] -          Vol. 1 - 86:12,      51:5, 162:24          164:2
   inappropriate          108:15, 118:15,       Vol. 1 - 31:11,        86:13, 91:4,        interpreted           isn't [9] - Vol. 1 -
    Vol. 1 - 38:22        126:12, 126:16,       31:18, 33:14,          161:17               Vol. 1 - 122:15       70:8, 74:1, 87:5,
   inauthentic            126:17, 132:12,       38:7, 47:20,          intense Vol. 1 -     interrupt [2] -        87:8, 126:18,
    Vol. 1 - 168:6        133:8                 49:21, 50:6,           78:13                Vol. 1 - 97:19,       130:19, 151:14,
   inch [8] - Vol. 1 -   individualized         50:13, 50:16,         intensely Vol. 1 - 109:12                   155:13, 162:21
    10:22, 141:25,       [3] - Vol. 1 -         50:19, 51:14,          149:12              interrupting          isolation Vol. 1 -
    142:4, 143:25,        50:1, 50:6,           51:21, 55:12,         intent Vol. 1 -       Vol. 1 - 109:13       25:25
    144:4, 144:6,         52:23                 65:14, 77:21,          166:18              intervening           issue [12] -
    144:7, 144:24        individually           79:7, 79:17,          intention [3] -       Vol. 1 - 115:6        Vol. 1 - 23:23,
   inchoate Vol. 1 -      Vol. 1 - 125:20       94:18, 133:4,          Vol. 1 - 23:24,     intervention [6] -     29:2, 41:21,
    30:16                individuals [6] -      133:15, 133:20,        23:25, 24:3          Vol. 1 - 100:12,      68:14, 132:17,
   include [7] -          Vol. 1 - 38:12,       135:1, 136:19,        intentions Vol. 1 - 103:12, 115:3,          133:13, 142:11,
    Vol. 1 - 61:16,       53:11, 53:19,         136:20, 142:17,        24:12                115:12, 132:16,       142:13, 147:3,
    61:23, 62:2,          60:1, 75:15,          146:11, 148:5,        interact Vol. 1 -     134:14                148:2, 148:14,
    62:7, 67:16,          99:10                 148:23                 63:3                interventions          164:3
    67:16, 168:6         indoctrination        inside Vol. 1 -        interest [5] -       [2] - Vol. 1 -        issued Vol. 1 -
   included Vol. 1 -     [3] - Vol. 1 -         30:13                  Vol. 1 - 11:7,       71:4, 131:1           119:20
    61:13                 54:14, 153:3,        insist Vol. 1 -         11:14, 11:15,       interview [5] -       issues [15] -
   includes Vol. 1 -      156:2                 18:5                   21:20, 23:19         Vol. 1 - 7:20,        Vol. 1 - 12:19,
    10:13                industry Vol. 1 -     insisted Vol. 1 - interested [12] -          14:2, 15:8, 38:6,     20:16, 21:20,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 189 of 203




    30:19,                 Julie [2] - Vol. 1 -  72:2                   105:1                   58:22, 60:8,           limb [2] - Vol. 1 -
    46:5, 50:3,             1:9, 175:8          knowledgable           lawyerly Vol. 1 -        65:16, 71:7,            42:21, 42:22
    103:10, 132:7,         July Vol. 1 -         Vol. 1 - 150:23        123:16                  74:10, 75:2,           limitations [7] -
    137:13, 138:2,          22:2                knowledge [5] -        lawyers [3] -            75:2, 81:17,            Vol. 1 - 15:24,
    140:23, 140:23,        June [3] - Vol. 1 -   Vol. 1 - 94:13,        Vol. 1 - 55:17,         87:15, 87:18,           53:23, 54:12,
    141:19, 148:10,         28:7, 167:11,        94:14, 105:13,         91:20, 97:24            99:25, 102:18,          56:12, 147:5,
    170:23                  174:19               150:19, 156:2         layers Vol. 1 -          119:17, 121:18,         158:17, 165:16
   item Vol. 1 -           justice Vol. 1 -     knowledged              48:16                   125:7, 125:8,          limited [3] -
    73:13                   28:19                Vol. 1 - 126:13       lcooper@aclu.org         137:17, 142:4,          Vol. 1 - 20:22,
   items [28] -            justices Vol. 1 -    known [6] -             Vol. 1 - 2:23           144:6, 170:8            66:25, 98:24
    Vol. 1 - 9:20,          91:21                Vol. 1 - 11:6,        lead [5] - Vol. 1 -     lethal Vol. 1 -         lingo Vol. 1 -
    34:6, 34:13,           justification         32:17, 82:22,          61:8, 61:10,            115:5                   100:20
    34:15, 34:17,           Vol. 1 - 162:11      94:4, 106:11,          74:2, 74:8,            letter [4] - Vol. 1 -   lips [2] - Vol. 1 -
    34:18, 40:7,           justify [6] -         142:7                  158:20                  8:17, 15:21,            101:9, 101:10
    50:13, 50:18,           Vol. 1 - 29:17,     knows [9] -            leading Vol. 1 -         15:22, 26:6            listed [2] - Vol. 1 -
    50:20, 51:2,            111:20, 112:6,       Vol. 1 - 86:4,         75:22                  letterhead [2] -         10:12, 80:7
    51:5, 51:7,             143:8, 143:9,        91:4, 91:5, 91:6,     learn [2] - Vol. 1 -     Vol. 1 - 8:16,         listen [4] - Vol. 1 -
    51:13, 51:23,           143:12               91:22, 91:22,          134:7, 138:20           13:18                   54:15, 89:3,
    70:7, 77:24,                                 139:13, 161:19,       learned Vol. 1 -        letters [2] -            89:4, 166:14
    78:2, 79:15,                    K            162:4                  134:3                   Vol. 1 - 16:3,         listened Vol. 1 -
    79:18, 79:25,                               Kosilek [3] -          learning [3] -           19:19                   42:13
    94:23, 95:3,           Katherine Vol. 1 - Vol. 1 - 36:6,            Vol. 1 - 129:14,       level [6] - Vol. 1 -    literal [3] - Vol. 1 -
    96:5, 96:20,            46:23                37:7, 39:12            129:16, 155:25          50:15, 50:21,           93:17, 94:16,
    135:4, 135:7,          keeping Vol. 1 - kreid@jones.walk           least [5] - Vol. 1 -     51:2, 76:6,             104:11
    171:2                   153:4                Vol. 1 - 2:11          50:9, 72:10,            77:10, 90:8            literature [2] -
   itself [4] - Vol. 1 -   keeps [2] -                                  79:1, 89:8,            Levine [30] -            Vol. 1 - 22:7,
    17:9, 18:17,            Vol. 1 - 42:18,              L              133:25                  Vol. 1 - 1:14,          43:20
    71:25, 111:4            104:19                                     leaves Vol. 1 -          1:17, 3:3, 4:1,        lived Vol. 1 -
                           Ken Vol. 1 -         label Vol. 1 -          142:4                   8:6, 8:9, 8:12,         12:24
             J              152:8                80:17                 led [5] - Vol. 1 -       8:13, 8:17, 9:19,      liver Vol. 1 -
                           Kenneth [3] -        Labeled Vol. 1 -        87:1, 118:13,           43:23, 43:24,           105:22
   January Vol. 1 -         Vol. 1 - 23:7,       10:13                  122:21, 122:24,         46:16, 46:18,          lives [16] -
    8:18                    46:23, 76:1         language Vol. 1 -       122:24                  46:21, 47:9,            Vol. 1 - 63:22,
   jeopardy [2] -          Keohane [6] -         106:19                legal [8] - Vol. 1 -     47:10, 52:13,           64:9, 66:12,
    Vol. 1 - 93:24,         Vol. 1 - 1:6,       largely Vol. 1 -        9:7, 37:4, 39:10,       60:5, 67:14,            66:25, 67:2,
    142:17                  4:11, 6:10,          42:9                   39:21, 89:21,           76:15, 80:13,           67:4, 108:23,
   Jersey [5] -             10:10, 80:2,        larger Vol. 1 -         92:7, 128:22,           119:5, 120:7,           114:9, 129:10,
    Vol. 1 - 25:8,          175:8                101:7                  134:14                  120:24, 158:17,         138:14, 138:18,
    25:11, 25:18,          Keohane's            laser Vol. 1 -         legally Vol. 1 -         167:17, 172:17,         143:2, 161:22,
    25:22, 36:3             Vol. 1 - 10:13       34:22                  139:13                  174:7, 175:11           162:5, 162:8,
   Jesus Vol. 1 -          kept Vol. 1 -        lasting Vol. 1 -       legs Vol. 1 -           Levine's Vol. 1 -        166:15
    114:10                  165:5                168:8                  72:1                    175:10                 living [15] -
   job [2] - Vol. 1 -      kill [5] - Vol. 1 -  later [3] - Vol. 1 -   length [10] -           LGBT Vol. 1 -            Vol. 1 - 12:25,
    46:2, 152:10            41:19, 41:24,        28:6, 83:20,           Vol. 1 - 115:25,        2:18                    13:2, 17:2,
   jockey Vol. 1 -          90:10, 158:25,       132:8                  116:2, 138:3,          Liberties Vol. 1 -       18:10, 21:18,
    72:1                    164:17              latest Vol. 1 -         140:24, 140:25,         2:19                    57:13, 61:23,
   Jones [4] -             killing Vol. 1 -      47:23                  141:20, 141:22,        libido Vol. 1 -          75:20, 81:25,
    Vol. 1 - 1:9, 2:6,      164:15              laughing Vol. 1 -       143:14, 144:11,         82:3                    85:11, 94:3,
    175:4, 175:8           kindness [2] -        55:2                   147:6                  licensed Vol. 1 -        95:19, 131:6,
   journal [4] -            Vol. 1 - 51:18,     law [3] - Vol. 1 -     lens Vol. 1 -            155:24                  131:16, 161:8
    Vol. 1 - 28:5,          71:1                 11:12, 28:6,           24:21                  lie [4] - Vol. 1 -      LLC Vol. 1 -
    35:10, 122:25,         kinds [3] - Vol. 1 - 123:1                  lesbian Vol. 1 -         82:23, 96:2,            1:22
    165:12                  34:16, 103:11,      Lawrence [2] -          152:17                  112:8, 139:18          loaded Vol. 1 -
   journey Vol. 1 -         170:6                Vol. 1 - 28:1,        Leslie [4] -            lied [2] - Vol. 1 -      165:5
    112:9                  Kirk Vol. 1 -         28:8                   Vol. 1 - 2:16,          82:17, 82:19           lobe [2] - Vol. 1 -
   judge Vol. 1 -           145:9               lawsuit [4] -           4:9, 145:11,           lift Vol. 1 - 95:11      114:19, 114:19
    39:14                  Kirkland [2] -        Vol. 1 - 92:11,        175:21                 lifter Vol. 1 -         located Vol. 1 -
   judges Vol. 1 -          Vol. 1 - 2:5,        129:8, 136:22,        less [2] - Vol. 1 -      42:19                   175:12
    55:17                   175:4                156:20                 48:11, 160:10          liked Vol. 1 -          logical Vol. 1 -
   judgment [5] -          knife Vol. 1 -       lawsuits [2] -         lesser Vol. 1 -          110:2                   102:8
    Vol. 1 - 17:8,          95:17                Vol. 1 - 48:12,        144:12                 likely [4] - Vol. 1 -   long-term [6] -
    68:20, 101:15,         knowing [2] -         78:15                 let's [22] - Vol. 1 -    92:3, 119:22,           Vol. 1 - 13:12,
    101:16, 108:22          Vol. 1 - 27:10,     lawyer Vol. 1 -         12:10, 49:24,           121:25, 168:10          21:5, 25:25,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 190 of 203




    26:10,                lying [2] - Vol. 1 -  111:21, 111:22,       70:5               93:13, 126:9,     106:3, 106:8,
    117:8, 158:22          83:8, 164:11         129:10, 129:11,      Massachusetts       126:10, 126:12,   106:9, 106:17,
   longer [12] -                                129:23, 135:1,       [34] - Vol. 1 -     143:15, 156:21    111:9, 111:9,
    Vol. 1 - 90:14,                M            136:20, 138:4,        22:2, 22:22,       meanings Vol. 1 - 111:14, 111:15,
    92:13, 102:1,                               149:16, 168:6         25:7, 25:9,        90:20             111:17, 111:18,
    112:3, 112:10,        M.D [9] - Vol. 1 - male-appearing           27:23, 28:21,      means [16] -      111:19, 112:2,
    112:11, 122:13,       1:14, 1:18, 3:3,      Vol. 1 - 69:18        31:6, 31:16,       Vol. 1 - 16:21,   112:11, 113:6,
    138:5, 139:8,         4:1, 86:18,          male-to-female         32:3, 34:1,        45:25, 46:1,      113:10, 113:15,
    142:19, 144:24,       102:11, 155:23, [3] - Vol. 1 -              34:14, 37:8,       70:24, 72:12,     113:22, 114:1,
    171:3                 172:17, 174:7         62:3, 67:17,          37:21, 38:6,       73:8, 80:20,      114:22, 114:24,
   longevity Vol. 1 -     ma'am Vol. 1 -        68:7                  39:11, 43:4,       90:21, 90:23,     115:2, 115:24,
    160:8                 64:15                males [2] -            43:9, 47:18,       92:22, 98:10,     116:20, 117:3,
   longings Vol. 1 -      machine Vol. 1 - Vol. 1 - 147:5,            51:1, 51:20,       98:13, 104:12,    117:5, 117:6,
    140:3                 165:5                 147:8                 56:3, 77:16,       121:24, 142:1,    117:12, 117:20,
   looking [6] -          mad Vol. 1 -         mammoplasty            77:23, 78:10,      174:10            121:2, 121:10,
    Vol. 1 - 46:25,       63:13                 Vol. 1 - 100:21       78:13, 79:10,      meant [6] -       121:24, 122:4,
    47:10, 95:13,         magazines            management             79:19, 95:2,       Vol. 1 - 54:6,    122:17, 122:23,
    118:24, 145:12,       Vol. 1 - 143:25      [6] - Vol. 1 -         96:3, 120:18,      61:10, 102:19,    123:5, 125:17,
    160:8                 maintain Vol. 1 - 26:7, 37:24,              133:25, 134:25,    147:24, 169:18,   131:1, 139:19,
   looks [2] - Vol. 1 -   85:19                 38:11, 47:19,         135:10, 153:1      169:19            143:15, 159:24,
    8:21, 35:2            maintaining           57:22, 97:12         mastectomies        mediate Vol. 1 -  165:8, 165:10
   lose [3] - Vol. 1 -    Vol. 1 - 133:15      managing Vol. 1 -     [2] - Vol. 1 -      44:8              medication [2] -
    92:11, 116:5,         major [2] - Vol. 1 - 50:2                   116:11, 116:16     medical [48] -    Vol. 1 - 5:23,
    116:18                130:4, 169:2         manipulation [4] -    master Vol. 1 -     Vol. 1 - 6:7,     68:24
   loses [3] - Vol. 1 -   majority [5] -        Vol. 1 - 164:22,      18:1               10:13, 10:15,     medicine [8] -
    92:7, 164:12,         Vol. 1 - 20:16,       166:16, 167:5,       masturbate          28:14, 28:24,     Vol. 1 - 33:23,
    168:22                20:18, 21:12,         167:7                 Vol. 1 - 106:6     39:20, 52:24,     39:1, 39:2,
   loss [2] - Vol. 1 -    21:16, 149:14        manipulative          masturbation        55:17, 56:18,     76:23, 77:2,
    82:3, 116:12          makers Vol. 1 -       Vol. 1 - 164:10       Vol. 1 - 106:7     68:25, 69:6,      77:11, 102:14,
   lost [9] - Vol. 1 -    126:9                mannerisms [2] -      match [3] -         69:13, 69:19,     106:12
    21:4, 21:11,          makes [18] -          Vol. 1 - 133:5,       Vol. 1 - 97:14,    72:14, 74:13,     MEDINA Vol. 1 -
    65:4, 71:21,          Vol. 1 - 5:2,         149:6                 97:21, 129:3       90:18, 96:9,      174:4
    73:16, 111:14,        17:20, 64:13,        marches Vol. 1 -      material Vol. 1 -   96:10, 96:11,     meet [5] - Vol. 1 -
    144:23, 152:10,       64:15, 64:16,         164:13                69:13              96:17, 97:15,     15:5, 27:5,
    168:25                64:19, 66:4,         marginalized          matter [8] -        99:17, 99:19,     31:19, 53:22,
   lotions [3] -          68:11, 68:20,         Vol. 1 - 154:7        Vol. 1 - 38:14,    100:9, 101:5,     62:21
    Vol. 1 - 34:19,       71:11, 72:19,        marital [3] -          41:17, 94:15,      104:1, 106:24,    meeting [3] -
    79:22, 79:23          96:24, 97:1,          Vol. 1 - 11:8,        100:25, 125:9,     107:20, 112:4,    Vol. 1 - 55:1,
   lots Vol. 1 -          102:8, 133:17,        11:12, 35:10          127:3, 130:6,      112:6, 112:24,    58:9, 77:21
    114:11                136:7, 136:8,        mark [4] - Vol. 1 -    175:17             115:23, 116:6,    meetings [5] -
   loud Vol. 1 -          167:6                 8:5, 8:6, 46:15,     matters [4] -       122:10, 122:13,   Vol. 1 - 22:8,
    124:18                makeup Vol. 1 -       118:25                Vol. 1 - 11:7,     122:21, 125:22,   32:24, 33:13,
   love [5] - Vol. 1 -    79:21                marked [8] -           69:1, 97:12,       130:24, 132:15,   40:18, 78:8
    55:16, 105:2,         making [12] -         Vol. 1 - 8:9,         148:22             135:21, 137:4,    melodrama
    117:1, 168:8,         Vol. 1 - 18:9,        8:13, 46:18,         mature Vol. 1 -     137:12, 147:22,   Vol. 1 - 166:14
    168:21                18:13, 18:14,         47:10, 52:12,         91:17              151:24, 153:14, melodramatic
   lover [2] - Vol. 1 -   40:16, 67:1,          80:13, 119:5,        maybe [14] -        155:3, 156:15,    Vol. 1 - 140:1
    95:24, 131:13         72:24, 75:17,         167:17                Vol. 1 - 19:16,    165:15            members [2] -
   low [3] - Vol. 1 -     77:17, 77:20,        market Vol. 1 -        45:23, 71:9,       medically [69] -  Vol. 1 - 28:18,
    76:7, 76:18,          84:13, 94:20,         151:22                85:23, 90:10,      Vol. 1 - 41:8,    53:2
    77:12                 163:1                marketing              108:4, 112:17,     100:11, 100:20, memory Vol. 1 -
   lowest Vol. 1 -        male [31] -           Vol. 1 - 150:24       114:4, 158:14,     100:24, 101:2,    7:19
    76:23                 Vol. 1 - 6:17,       masculine [3] -        159:5, 161:1,      101:11, 101:16, menstruate
   ludicrous Vol. 1 -     17:10, 17:11,         Vol. 1 - 18:23,       161:1, 161:3,      101:19, 101:20,   Vol. 1 - 129:12
    101:13                17:11, 18:21,         19:5, 24:10           162:11             101:22, 102:2,    mental [30] -
   lumpectomies           19:5, 34:10,         masculinity [2] -     MDOC [3] -          102:13, 103:3,    Vol. 1 - 22:19,
    Vol. 1 - 116:11       34:11, 50:16,         Vol. 1 - 13:9,        Vol. 1 - 48:10,    103:6, 103:7,     37:25, 44:9,
   lunch Vol. 1 -         50:16, 50:19,         19:10                 51:20, 52:13       103:14, 103:19,   50:1, 50:4,
    115:17                57:13, 62:22,        masochistic           meandering          103:24, 104:21,   50:10, 55:10,
   luncheon Vol. 1 -      66:10, 69:12,         Vol. 1 - 94:6         Vol. 1 - 28:22     104:25, 105:3,    63:22, 72:16,
    115:20                75:19, 79:8,         Massachusettes        meaning [9] -       105:7, 105:14,    72:18, 72:21,
   lung Vol. 1 -          87:13, 97:4,         [3] - Vol. 1 -         Vol. 1 - 34:8,     105:18, 105:19,   73:1, 86:6, 86:7,
    114:19                97:5, 111:20,         22:16, 54:9,          72:8, 81:25,       105:21, 106:2,    92:9, 92:15,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 191 of 203




   94:13,                 41:17, 73:13,         13:14, 30:12,         42:4, 87:2, 87:3,     101:11, 101:16,     142:24
   97:14, 124:13,         128:21, 129:24,       30:12, 35:9,          118:4                 101:19, 101:20,    neglect Vol. 1 -
   126:6, 134:8,          130:2, 130:19         43:7, 43:8, 43:9,     murdered Vol. 1 -     101:22, 102:2,      44:23
   136:8, 136:13,         minority [8] -        48:19, 156:15         42:6                  102:13, 103:3,     neither Vol. 1 -
   137:12, 143:22,        Vol. 1 - 28:15,       month's Vol. 1 -      muscles [2] -         103:6, 103:7,       168:6
   152:21, 152:22,        29:2, 56:15,          90:18                 Vol. 1 - 42:19,       103:14, 103:19,    neovagina
   156:5, 157:4,          76:12, 151:21,        monthly [2] -         95:16                 103:24, 104:21,     Vol. 1 - 57:8
   163:23                 152:21, 154:3,        Vol. 1 - 48:22,       muscular [2] -        104:25, 105:4,     nerves Vol. 1 -
   mentality Vol. 1 -     165:15                50:9                  Vol. 1 - 42:18,       105:7, 105:15,      168:25
   46:7                   minus Vol. 1 -        months [12] -         96:4                  105:18, 105:19,    neutral Vol. 1 -
   mentally Vol. 1 -      25:12                 Vol. 1 - 15:10,       mutuality Vol. 1 -    105:21, 106:2,      16:13
   18:1                   minuscript            15:10, 25:17,         24:11                 106:3, 106:8,      nice Vol. 1 -
   mention Vol. 1 -       Vol. 1 - 119:24       27:12, 27:12,         myself [7] -          106:10, 106:17,     90:6
   25:6                   minute Vol. 1 -       28:6, 33:5, 33:6,     Vol. 1 - 14:22,       108:8, 108:11,     niche [4] - Vol. 1 -
   mentioned [22] -       47:5                  61:2, 61:2,           58:15, 68:18,         111:9, 111:10,      150:18, 151:22,
   Vol. 1 - 9:19,         minutes [3] -         112:19, 117:10        72:9, 85:22,          111:14, 111:15,     157:12, 157:13
   10:2, 10:3,            Vol. 1 - 25:9,        mood [2] - Vol. 1 -   90:10, 163:4          111:17, 111:18,    nipple Vol. 1 -
   21:19, 22:15,          145:15, 145:19        90:8, 90:22                                 111:19, 112:3,      148:12
   25:5, 25:8,            Miss [4] - Vol. 1 -   morbidity Vol. 1 -            N             112:11, 113:7,     no-no Vol. 1 -
   27:22, 32:13,          123:23, 124:3,        160:20                                      113:11, 113:15,     41:20
   34:3, 34:24,           124:6, 124:12         morning Vol. 1 -      naive Vol. 1 -        113:23, 114:1,     Nobody Vol. 1 -
   36:11, 36:15,          missing Vol. 1 -      4:9                    19:4                 114:22, 114:24,     162:4
   53:5, 64:5,            154:23                morphine Vol. 1 -     naked Vol. 1 -        115:2, 115:12,     nod Vol. 1 - 4:23
   67:25, 77:21,          misstated Vol. 1 -    96:25                  26:4                 115:24, 116:20,    none [4] - Vol. 1 -
   120:20, 146:22,        36:7                  mortality [3] -       names Vol. 1 -        117:3, 117:5,       83:13, 160:24,
   147:11, 147:14,        misstating            Vol. 1 - 160:5,        76:3                 117:6, 117:12,      169:7, 169:19
   162:18                 Vol. 1 - 138:12       160:6, 160:9          narcissistic [3] -    117:20, 121:2,     nonexistent
   merely Vol. 1 -        mistake Vol. 1 -      mosaic [5] -           Vol. 1 - 91:25,      121:10, 121:24,     Vol. 1 - 78:4
   153:3                  89:12                 Vol. 1 - 18:25,        116:23, 144:14       122:5, 122:17,     nontransgender
   mess [4] - Vol. 1 -    misunderstand         24:10, 52:4,          narrator Vol. 1 -     122:23, 123:5,      Vol. 1 - 157:24
   42:21, 42:22,          Vol. 1 - 121:21       114:11, 114:12         128:25               125:18, 139:14,    nor Vol. 1 -
   95:9, 95:13            mixed Vol. 1 -        motivations           narrowly Vol. 1 - 139:19, 143:15,         174:16
   met [7] - Vol. 1 -     163:21                Vol. 1 - 43:19         130:3                159:24, 165:9,     Norsworthy
   80:3, 80:21,           Mobile [2] -          mouth [2] -           natal [3] - Vol. 1 - 165:10               Vol. 1 - 36:1
   140:8, 140:13,         Vol. 1 - 2:9,         Vol. 1 - 116:8,        6:15, 24:18,        necessity [21] -    North [4] - Vol. 1 -
   140:18, 140:21,        175:6                 162:16                 24:19                Vol. 1 - 6:8,       2:8, 53:16, 76:7,
   171:11                 modern Vol. 1 -       move [2] - Vol. 1 -   national [5] -        60:12, 96:9,        175:5
   Meyer-bahlburg         45:4                  74:10, 112:7           Vol. 1 - 22:8,       96:10, 96:11,      Northeast Vol. 1 -
   Vol. 1 - 23:8          modest Vol. 1 -       moved [3] -            40:18, 74:23,        96:18, 97:15,       1:22
   microphone             129:4                 Vol. 1 - 9:17,         77:21, 78:8          99:17, 99:19,      NORTHERN
   Vol. 1 - 9:17          modification          92:15, 122:11         natural Vol. 1 -      101:5, 104:1,       Vol. 1 - 1:2
   mid-'80s Vol. 1 -      Vol. 1 - 146:2        movement [4] -         129:13               106:24, 107:20,    Northwestern
   14:15                  modifications         Vol. 1 - 40:15,       nature [8] -          112:4, 112:6,       Vol. 1 - 152:12
   Middle Vol. 1 -        Vol. 1 - 49:25        77:16, 77:19,          Vol. 1 - 55:12,      112:24, 115:23,    nose [3] - Vol. 1 -
   123:21                 modified [3] -        153:5                  57:23, 118:15,       122:10, 122:13,     57:9, 101:20,
   midway Vol. 1 -        Vol. 1 - 65:22,       moving [2] -           125:6, 125:17,       122:22, 125:22      102:1
   84:23                  97:25, 98:2           Vol. 1 - 40:20,        133:12, 151:8,      needed [4] -        nosology Vol. 1 -
   mightily Vol. 1 -      modify Vol. 1 -       78:10                  163:15               Vol. 1 - 10:18,     76:13
   85:6                   20:12                 MTF Vol. 1 -          Naw Vol. 1 -          27:11, 48:13,      Notary [6] -
   mill [2] - Vol. 1 -    moment [3] -          50:17                  60:24                137:5               Vol. 1 - 1:20,
   132:7, 132:9           Vol. 1 - 47:13,       muddled [2] -         Nazis Vol. 1 -       needless Vol. 1 -    172:24, 174:3,
   mind [7] - Vol. 1 -    118:24, 134:20        Vol. 1 - 61:14,        106:13               33:24               174:6, 174:21,
   30:13, 65:23,          momentous [5] -       77:18                 necessarily [8] -    needlessly           175:12
   97:21, 105:24,         Vol. 1 - 15:14,       multi Vol. 1 -         Vol. 1 - 6:20,       Vol. 1 - 118:5     note Vol. 1 -
   149:9, 162:13,         17:21, 19:13,         48:14                  63:10, 68:5,        needs [12] -         172:3
   163:16                 21:7, 136:4           multiple [4] -         77:2, 91:14,         Vol. 1 - 4:19,     nothing [7] -
   minds Vol. 1 -         Monday [2] -          Vol. 1 - 23:15,        109:21, 141:3,       20:19, 33:9,        Vol. 1 - 58:1,
   83:24                  Vol. 1 - 1:21,        23:21, 48:16,          166:21               52:23, 55:9,        115:24, 125:9,
   minimize Vol. 1 -      172:2                 48:16                 necessary [74] -      87:23, 94:21,       153:19, 163:14,
   139:12                 money Vol. 1 -        multiply Vol. 1 -      Vol. 1 - 41:8,       104:10, 134:13,     169:22, 174:8
   minimum Vol. 1 -       116:17                12:11                  59:8, 60:25,         137:11, 137:25,    notice Vol. 1 -
   50:7                   month [10] -          murder [5] -           100:11, 100:20,      169:3               61:3
   minor [6] - Vol. 1 -   Vol. 1 - 13:5,        Vol. 1 - 42:4,         100:24, 101:2,      negative Vol. 1 -   nuanced Vol. 1 -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 192 of 203




    19:7                  14:1, 174:18          167:22                outpatients          paradigms [2] -        161:6
   numbered              officers [2] -        order [8] - Vol. 1 -    Vol. 1 - 29:16       Vol. 1 - 28:11,      past [10] - Vol. 1 -
    Vol. 1 - 9:20         Vol. 1 - 88:22,       18:1, 29:9, 83:7,     outraged [3] -        29:17                 9:7, 12:6, 13:25,
   numbering [2] -        133:21                84:9, 85:19,           Vol. 1 - 37:15,     paradox Vol. 1 -       19:17, 19:23,
    Vol. 1 - 47:4,       official Vol. 1 -      106:23, 112:7,         55:1, 55:3           30:9                  20:1, 26:16,
    49:16                 1:9                   150:8                 outside [7] -        paradoxes [2] -        45:1, 45:4, 92:3
   numbers [2] -         officials [10] -      organ Vol. 1 -          Vol. 1 - 30:23,      Vol. 1 - 29:21,      pathology [3] -
    Vol. 1 - 32:1,        Vol. 1 - 33:11,       105:6                  42:5, 67:24,         122:10                Vol. 1 - 84:16,
    32:9                  94:18, 122:20,       organization [8] -      72:4, 146:7,        paragraph [13] -       105:14, 153:20
   nurses Vol. 1 -        134:11, 138:1,        Vol. 1 - 53:10,        154:8, 154:11        Vol. 1 - 37:4,       pathway [3] -
    154:6                 140:22, 141:3,        53:14, 56:17,         overdose Vol. 1 - 50:22, 82:16,             Vol. 1 - 27:2,
   nursing Vol. 1 -       141:18, 141:21,       58:17, 58:18,          90:19                84:20, 85:1,          31:2, 112:7
    53:24                 165:25                58:22, 134:9,         overrepresentati      89:18, 89:20,        pathways Vol. 1 -
   nylon Vol. 1 -        Ohio [7] - Vol. 1 -    152:25                 Vol. 1 - 32:8        96:10, 99:16,         149:4
    71:24                 1:21, 1:23, 11:1,    organizations          override [2] -        107:25, 115:23,      patient [63] -
                          172:20, 174:2,       [2] - Vol. 1 -          Vol. 1 - 143:21,     121:23, 141:17        Vol. 1 - 11:21,
            O             174:6, 174:18         55:18, 152:18          145:1               parameters             12:3, 12:13,
                         older Vol. 1 -        organized              overwhelmed           Vol. 1 - 66:16        12:14, 15:8,
   O'Brien [2] -          91:9                  Vol. 1 - 57:15         Vol. 1 - 90:9       paranoia Vol. 1 -      17:19, 19:3,
    Vol. 1 - 119:3,      one's [14] -          orientation [2] -                            165:1                 42:11, 43:13,
    119:12                Vol. 1 - 24:18,       Vol. 1 - 11:10,                P           paraphilia [2] -       45:16, 45:21,
   object [16] -          24:19, 61:23,         23:24                                       Vol. 1 - 11:10,       59:16, 62:10,
    Vol. 1 - 49:10,       61:24, 61:25,        oriented [2] -         p.m Vol. 1 -          24:3                  63:1, 63:21,
    53:7, 108:10,         90:21, 96:1,          Vol. 1 - 163:23,       171:17              paraphilic Vol. 1 -    64:24, 67:8,
    121:11, 132:19,       101:8, 101:9,         163:24                packs [2] -           24:11                 70:15, 70:20,
    135:23, 137:6,        101:20, 149:6,       origin Vol. 1 -         Vol. 1 - 124:25,    parents [5] -          70:24, 71:7,
    137:8, 140:12,        149:7, 157:17,        45:6                   124:25               Vol. 1 - 15:5,        71:9, 72:15,
    141:4, 145:2,         157:17               origins Vol. 1 -       pages [6] -           15:6, 83:19,          74:9, 82:8,
    148:8, 148:19,       one-inch Vol. 1 -      57:22                  Vol. 1 - 8:16,       83:23, 86:8           92:25, 93:8,
    160:15, 168:12,       144:4                Osborne [2] -           10:21, 119:24,      Parma Vol. 1 -         100:7, 100:8,
    170:7                one-third Vol. 1 -     Vol. 1 - 28:1,         119:24, 120:9,       174:18                100:14, 100:14,
   objecting [2] -        24:7                  28:7                   163:7               participate [9] -      102:4, 102:5,
    Vol. 1 - 141:7,      ones Vol. 1 -         others [5] -           paid Vol. 1 -         Vol. 1 - 16:19,       103:3, 103:6,
    145:24                10:2                  Vol. 1 - 13:20,        164:23               16:21, 30:5,          103:8, 103:17,
   objection [3] -       ongoing [2] -          56:9, 60:21,          pain [12] - Vol. 1 - 30:22, 48:19,          104:10, 109:6,
    Vol. 1 - 137:14,      Vol. 1 - 15:13,       70:22, 80:20           52:10, 96:13,        86:13, 90:13,         109:8, 110:12,
    147:18, 170:18        31:7                 otherwise [3] -         96:21, 96:22,        90:14, 98:16          110:17, 112:2,
   OBJECTIONS            opinion [19] -         Vol. 1 - 135:19,       96:25, 96:25,       participation          112:12, 112:15,
    Vol. 1 - 3:7          Vol. 1 - 6:7,         174:15, 175:13         97:3, 97:6, 97:8, Vol. 1 - 50:9            112:18, 112:20,
   objective [4] -        37:10, 41:9,         ought [11] -            97:16, 97:20,       particular [17] -      112:21, 113:17,
    Vol. 1 - 157:17,      41:10, 41:11,         Vol. 1 - 31:22,        97:25                Vol. 1 - 12:3,        114:2, 114:6,
    158:6, 158:20,        41:15, 76:21,         59:5, 71:9,           panties [26] -        15:25, 17:17,         114:13, 114:15,
    158:21                76:22, 76:25,         85:23, 87:12,          Vol. 1 - 40:5,       25:22, 45:16,         122:2, 133:9,
   objectively [3] -      77:2, 80:24,          112:17, 122:9,         69:10, 69:12,        45:21, 50:21,         133:10, 148:12,
    Vol. 1 - 157:25,      121:1, 121:6,         123:12, 141:23,        70:3, 70:20,         55:19, 70:16,         151:16, 155:20,
    160:18, 160:19        122:2, 124:8,         151:15, 157:10         70:22, 70:22,        86:6, 89:5,           158:15, 158:20,
   obligation Vol. 1 - 124:16, 148:21,         ourselves Vol. 1 -      71:24, 72:3,         103:8, 108:8,         160:13, 163:8
    133:19                159:12, 161:10        17:19                  72:7, 72:8,          113:2, 114:2,        patient's [4] -
   obviously [4] -       opinions [4] -        outcome [5] -           72:10, 88:13,        151:6, 164:13         Vol. 1 - 19:2,
    Vol. 1 - 72:6,        Vol. 1 - 29:3,        Vol. 1 - 29:23,        93:13, 93:14,       particularly [2] -     45:22, 70:23,
    73:12, 108:18,        29:5, 54:25,          60:16, 91:22,          93:22, 94:2,         Vol. 1 - 14:17,       113:19
    150:22                152:5                 117:8, 117:8           97:6, 98:1, 99:3, 26:1                    patients [40] -
   occasionally          opportunity           outcomes Vol. 1 -       105:21, 105:22, party [3] - Vol. 1 -       Vol. 1 - 11:16,
    Vol. 1 - 27:15        Vol. 1 - 94:10        91:11                  106:2, 106:4,        54:16, 110:1,         12:1, 12:6,
   occasions             opposed [2] -         outer Vol. 1 -          107:4, 164:16        174:14                12:13, 12:15,
    Vol. 1 - 37:22        Vol. 1 - 6:14,        34:11                 panty Vol. 1 -       passage [2] -          12:19, 13:4,
   occur [2] - Vol. 1 - 97:17                  outlandish              71:25                Vol. 1 - 89:24,       13:22, 14:9,
    17:25, 64:11         opposite [2] -         Vol. 1 - 133:16       paradigm [8] -        99:22                 14:14, 14:14,
   odds Vol. 1 -          Vol. 1 - 156:14,     outlined [2] -          Vol. 1 - 28:14,     passionate [2] -       14:18, 14:20,
    168:18                156:24                Vol. 1 - 26:17,        28:14, 28:15,        Vol. 1 - 94:16,       14:21, 14:24,
   offered Vol. 1 -      option Vol. 1 -        27:5                   28:16, 28:17,        160:15                16:16, 19:15,
    50:8                  167:23               outpatient              28:19, 76:23,       passionately [2] -     19:16, 19:19,
   office [2] - Vol. 1 - options Vol. 1 -       Vol. 1 - 30:4          77:1                 Vol. 1 - 159:18,      19:22, 20:1,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 193 of 203




    20:3,                45:15, 58:15,       40:13, 56:17,          85:15                154:19               predict [3] -
    20:14, 20:21,        59:3, 148:13,       77:6                  plays Vol. 1 -       politically [2] -      Vol. 1 - 17:16,
    20:22, 20:25,        158:25, 159:5,     phobia Vol. 1 -         19:11                Vol. 1 - 153:25,      91:15, 165:21
    21:11, 21:12,        171:3               165:2                 please [10] -         155:14               predictability
    24:13, 31:18,       period Vol. 1 -     phrase [4] -            Vol. 1 - 35:8,      ponytails Vol. 1 -     Vol. 1 - 90:23
    32:16, 32:21,        92:11               Vol. 1 - 71:19,        52:13, 60:3,         147:8                predicting [2] -
    33:13, 44:2,        periodically         72:18, 90:6,           62:24, 73:3,        poor Vol. 1 -          Vol. 1 - 165:22,
    48:12, 60:18,        Vol. 1 - 15:18      128:13                 73:4, 84:3,          69:22                 166:2
    75:9, 75:12,        permission [2] -    physical [7] -          110:25, 142:19,     portray Vol. 1 -      preface Vol. 1 -
    83:5, 160:25         Vol. 1 - 18:4,      Vol. 1 - 44:24,        175:17               70:21                 75:5
   patterns [2] -        92:4                61:3, 66:20,          pleased [2] -        pose Vol. 1 -         prefer [5] -
    Vol. 1 - 11:11,     permitted [2] -      95:8, 100:12,          Vol. 1 - 71:24,      170:6                 Vol. 1 - 72:2,
    129:13               Vol. 1 - 50:17,     111:24, 112:24         88:10               posed Vol. 1 -         126:1, 131:3,
   pay [3] - Vol. 1 -    93:2               physically [4] -       pleasing [5] -        132:17                131:4, 145:6
    23:16, 116:14,      perpetuity           Vol. 1 - 66:23,        Vol. 1 - 72:11,     position Vol. 1 -     preferable
    117:16               Vol. 1 - 116:15     95:12, 107:22,         72:24, 72:25,        102:4                 Vol. 1 - 126:3
   peaceable            persist [2] -        113:7                  73:20, 138:25       positions Vol. 1 -    preferred Vol. 1 -
    Vol. 1 - 24:11       Vol. 1 - 15:19,    physician [12] -       plenty Vol. 1 -       99:18                 33:20
   Peggy [2] -           20:18               Vol. 1 - 53:2,         145:10              possibility           premature [2] -
    Vol. 1 - 23:8,      persistence [8] -    68:20, 96:11,         plight Vol. 1 -       Vol. 1 - 168:11       Vol. 1 - 160:5,
    76:5                 Vol. 1 - 23:12,     102:5, 104:2,          139:5               possible [7] -         160:6
   pending Vol. 1 -      84:24, 85:5,        105:8, 105:11,        plus Vol. 1 -         Vol. 1 - 5:10,       premised Vol. 1 -
    5:8                  85:8, 85:17,        105:15, 105:19,        25:12                27:11, 39:19,         145:24
   penile Vol. 1 -       86:11, 86:23,       107:25, 121:24,       point [20] -          70:22, 79:10,        preoccupied
    82:2                 87:4                169:6                  Vol. 1 - 5:5,        127:24, 167:7         Vol. 1 - 98:22
   penis [6] - Vol. 1 - person's [4] -      physicians [2] -        6:20, 7:16, 29:9,   possibly Vol. 1 -     prepare [2] -
    57:3, 72:1,          Vol. 1 - 42:16,     Vol. 1 - 101:15,       39:8, 39:16,         169:22                Vol. 1 - 6:20,
    106:21, 106:21,      69:22, 81:17,       102:15                 39:18, 49:24,       post [3] - Vol. 1 -    120:6
    131:14, 131:14       118:17             physiologic             50:24, 83:16,        57:4, 160:19,        prepared Vol. 1 -
   penitentiaries       personal [6] -       Vol. 1 - 107:2         86:10, 94:15,        168:7                 174:10
    Vol. 1 - 138:18      Vol. 1 - 13:22,    physiology [5] -        105:3, 110:23,      potential [4] -       preparing [2] -
   people's [12] -       74:9, 126:10,       Vol. 1 - 99:24,        144:23, 147:15,      Vol. 1 - 115:3,       Vol. 1 - 7:13,
    Vol. 1 - 24:2,       157:14, 157:18,     105:5, 105:9,          153:18, 154:23,      123:10, 125:7,        38:14
    45:25, 46:1,         158:7               105:14, 106:5          158:12, 158:12       170:9                prerequisite
    46:1, 54:18,        personality [7] -   picking [3] -          policies [4] -       potentially [3] -      Vol. 1 - 110:9
    63:9, 66:12,         Vol. 1 - 144:21,    Vol. 1 - 84:3,         Vol. 1 - 23:11,      Vol. 1 - 112:14,     prescribe [7] -
    86:10, 161:22,       163:12, 163:15,     84:3, 90:11            33:7, 33:7, 55:8     115:13, 117:7         Vol. 1 - 70:18,
    162:5, 162:8,        163:20, 163:24, piece [2] - Vol. 1 -      policy [41] -        power Vol. 1 -         70:19, 105:10,
    166:14               164:23, 165:1       46:4, 134:9            Vol. 1 - 33:6,       169:16                107:3, 107:4,
   per [3] - Vol. 1 -   personally [8] -    pills Vol. 1 -          39:10, 47:14,       powerful Vol. 1 -      107:23, 117:15
    11:22, 119:24,       Vol. 1 - 12:8,      90:17                  47:15, 47:22,        91:4                 prescribing
    122:21               13:23, 14:8,       placement               47:24, 47:24,       practical [2] -        Vol. 1 - 69:6
   perceive [7] -        33:17, 59:3,        Vol. 1 - 50:16         48:2, 48:7,          Vol. 1 - 51:10,      presence Vol. 1 -
    Vol. 1 - 62:18,      59:4, 80:3,        places Vol. 1 -         48:10, 48:13,        123:7                 174:9
    63:4, 64:2,          158:24              156:9                  48:17, 48:20,       practice [7] -        present [12] -
    64:13, 97:4,        persons [2] -       placid Vol. 1 -         48:22, 48:24,        Vol. 1 - 11:1,        Vol. 1 - 15:7,
    164:9, 164:10        Vol. 1 - 105:17,    27:14                  49:1, 49:2, 49:6,    11:5, 11:20,          18:6, 23:2, 23:5,
   perceived [2] -       114:9              plaintiff [5] -         49:12, 50:14,        14:8, 58:24,          45:4, 60:19,
    Vol. 1 - 64:21,     perspective [6] -    Vol. 1 - 1:7, 2:4,     50:25, 52:1,         106:12, 154:25        64:11, 65:20,
    65:6                 Vol. 1 - 45:7,      4:10, 6:9, 80:2        52:13, 54:10,       practitioners          68:1, 131:10,
   percent [7] -         45:25, 165:14,     plaintiff's [2] -       54:19, 56:12,        Vol. 1 - 150:5        131:23, 148:24
    Vol. 1 - 32:6,       165:14, 165:15,     Vol. 1 - 156:7,        56:12, 69:24,       prays Vol. 1 -        presentation [7] -
    66:18, 66:21,        165:16              156:11                 70:6, 70:7, 78:6,    114:10                Vol. 1 - 16:14,
    131:22, 168:15, pervasive Vol. 1 - plan [10] - Vol. 1 -         93:7, 95:2, 99:8,   PREA Vol. 1 -          18:2, 19:5,
    169:9, 169:21        46:7                37:10, 37:11,          136:17, 137:2,       133:2                 22:25, 28:9,
   percentage           Ph.D [3] - Vol. 1 - 49:20, 50:1,            142:6, 142:8,       prearranged            38:24, 75:19
    Vol. 1 - 134:6       86:17, 102:11,      50:6, 50:11,           146:2, 146:14,       Vol. 1 - 77:6        presentations
   perceptions           155:24              51:14, 51:17,          146:15              precedent              Vol. 1 - 22:13
    Vol. 1 - 63:23      phase Vol. 1 -       52:14, 52:19          polite Vol. 1 -       Vol. 1 - 39:10       presented [6] -
   perform Vol. 1 -      48:25              plans [3] - Vol. 1 -    5:4                 precludes Vol. 1 -     Vol. 1 - 22:8,
    98:11               phenomenon           37:16, 43:14,         political [4] -       136:5                 22:9, 23:6,
   perhaps [8] -        [5] - Vol. 1 -       43:17                  Vol. 1 - 57:24,     precursor Vol. 1 -     25:19, 58:9,
    Vol. 1 - 4:15,       19:1, 19:7,        playing Vol. 1 -        76:12, 91:13,        110:9                 66:1
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 194 of 203




   presenting [6] -      134:11, 135:11,      Vol. 1 - 11:1,       56:19, 130:24,        prosper Vol. 1 -      126:8, 126:14,
    Vol. 1 - 13:10,      135:25, 136:13,      86:21, 104:15,       130:25, 134:4          117:9                126:18, 126:22,
    17:8, 17:13,         136:15, 136:24,      122:20              professional           prosthesis            127:6, 131:4,
    61:23, 85:22,        137:12, 137:24,     privately Vol. 1 -   [15] - Vol. 1 -         Vol. 1 - 116:15      131:5, 134:17,
    131:6                138:14, 138:20,      72:10                1:19, 44:10,          protect [4] -         134:19, 135:21,
   presents [7] -        139:6, 140:9,       probably [24] -       53:9, 68:23,           Vol. 1 - 95:15,      137:4, 145:1,
    Vol. 1 - 6:15,       140:11, 140:14,      Vol. 1 - 6:16,       91:13, 109:15,         95:17, 95:18,        151:23, 155:21,
    13:4, 91:7,          140:17, 142:8,       13:3, 14:1, 14:2,    109:16, 134:8,         95:24                160:20, 163:17,
    118:2, 118:18,       143:2, 146:8,        14:15, 23:1,         136:8, 136:14,        protection            163:19
    118:19, 125:12       146:25, 154:11,      30:4, 30:21,         152:22, 152:23,        Vol. 1 - 26:5       psychiatrically
   pressed Vol. 1 -      154:12, 163:16,      38:17, 48:15,        157:5, 159:12,        protocol Vol. 1 -    [11] - Vol. 1 -
    49:11                163:19, 163:22,      68:12, 76:4,         174:5                  61:13                107:10, 107:14,
   presume Vol. 1 -      163:23, 165:24,      78:4, 84:1,         professional's         protocols [12] -      108:7, 108:12,
    8:24                 165:24, 165:24,      116:17, 122:8,       Vol. 1 - 109:9         Vol. 1 - 31:11,      110:11, 110:17,
   prevent [5] -         166:6                122:11, 138:16,     professionally          32:13, 32:20,        116:1, 125:23,
    Vol. 1 - 5:20,      prison's Vol. 1 -     138:24, 143:24,      Vol. 1 - 156:20        33:12, 34:5,         126:3, 127:9,
    5:24, 29:18,         133:19               144:3, 148:15,      professionals           49:8, 49:9,          127:20
    96:12, 96:13        prisoner [12] -       159:20, 162:11      [6] - Vol. 1 -          58:13, 74:13,       psychiatrist [13] -
   previous [3] -        Vol. 1 - 26:11,     probation Vol. 1 -    22:19, 22:21,          74:20, 78:20,        Vol. 1 - 102:6,
    Vol. 1 - 45:23,      28:3, 28:16,         152:11               55:10, 60:18,          150:9                112:13, 112:16,
    110:6, 110:24        29:24, 81:9,        problem [19] -        86:6, 86:7            protuberant [2] -     113:25, 146:7,
   previously            88:19, 88:20,        Vol. 1 - 25:22,     professions             Vol. 1 - 126:11,     146:16, 154:24,
    Vol. 1 - 8:6         98:7, 133:13,        25:23, 27:17,        Vol. 1 - 92:10         126:11               155:15, 157:21,
   primarily Vol. 1 -    142:14, 159:21,      40:19, 55:19,       professor Vol. 1 -     prove Vol. 1 -        158:9, 164:22,
    76:10                169:6                57:19, 66:13,        152:9                  122:4                166:15, 170:1
   principle Vol. 1 -   prisoners [42] -      83:12, 92:20,       profound Vol. 1 -      provide [8] -        psychiatrists [2] -
    112:21               Vol. 1 - 24:12,      96:1, 97:12,         59:9                   Vol. 1 - 14:24,      Vol. 1 - 106:19,
   Printed Vol. 1 -      30:8, 30:20,         97:13, 107:20,      program [15] -          48:22, 69:25,        150:15
    172:24               30:24, 32:2,         152:2, 152:3,        Vol. 1 - 30:5,         82:3, 132:1,        psychiatry [17] -
   prior Vol. 1 -        32:24, 33:9,         154:7, 158:21,       31:17, 31:22,          132:6, 140:2,        Vol. 1 - 23:16,
    9:21                 35:25, 36:13,        158:22, 161:20       32:14, 32:22,          140:2                26:6, 28:6,
   prison [91] -         36:19, 36:23,       problems [8] -        33:4, 33:10,          provided [5] -        37:19, 37:23,
    Vol. 1 - 6:17,       37:9, 37:11,         Vol. 1 - 29:22,      52:3, 52:5, 52:7,      Vol. 1 - 4:3,        48:23, 90:5,
    10:15, 22:20,        37:23, 39:25,        30:3, 30:21,         54:13, 56:14,          16:4, 27:24,         91:25, 100:3,
    25:4, 26:10,         40:3, 40:16,         59:19, 59:24,        70:12, 98:15,          50:10, 51:22         123:1, 126:6,
    27:16, 27:23,        42:3, 44:5,          66:20, 78:20,        153:2                 provider Vol. 1 -     126:17, 127:11,
    28:4, 29:14,         44:22, 54:18,        168:24              programs [3] -          50:11                149:23, 155:7,
    29:18, 31:21,        54:24, 55:6,        procedure [5] -       Vol. 1 - 44:3,        provides Vol. 1 -     155:18, 165:22
    32:5, 33:11,         55:23, 59:6,         Vol. 1 - 4:4,        44:6, 98:20            175:13              psychodynamic
    34:10, 41:20,        68:4, 68:6,          65:1, 96:12,        progress Vol. 1 -      providing [8] -       Vol. 1 - 45:6
    42:3, 42:7, 42:9,    71:15, 88:21,        112:5, 175:13        94:9                   Vol. 1 - 60:1,      psychodynamics
    44:9, 44:23,         88:23, 95:3,        process [14] -       prohibition             96:19, 108:6,        Vol. 1 - 43:18
    53:24, 55:13,        132:14, 133:17,      Vol. 1 - 17:3,       Vol. 1 - 136:25        127:25, 128:1,      psychological
    55:21, 55:24,        134:14, 138:5,       18:8, 20:8,         project [2] -           128:5, 128:14,      [14] - Vol. 1 -
    67:24, 69:21,        138:20, 148:1,       23:18, 28:25,        Vol. 1 - 2:18,         170:14               15:6, 56:19,
    69:24, 71:23,        159:19, 159:20,      29:8, 29:8,          159:2                 provision Vol. 1 -    72:8, 104:16,
    72:4, 78:17,         161:7, 166:1,        40:20, 46:14,       promised Vol. 1 -       52:23                105:24, 108:17,
    78:21, 78:24,        166:20               57:15, 57:20,        109:12                provocative [2] -     108:19, 108:20,
    79:4, 87:21,        prisons [25] -        85:22, 120:11,      promulgated             Vol. 1 - 118:5,      108:24, 111:24,
    88:20, 88:25,        Vol. 1 - 25:7,       136:4                Vol. 1 - 55:8          147:25               126:15, 130:25,
    89:1, 89:23,         32:9, 32:10,        processes [3] -      Promulgation           psyche Vol. 1 -       132:16, 145:1
    92:16, 92:25,        34:2, 45:5, 46:6,    Vol. 1 - 17:25,      Vol. 1 - 48:1          85:12               psychologically
    93:6, 93:7,          48:15, 53:20,        31:21, 46:12        pronounce              psychiatric [36] -   [23] - Vol. 1 -
    93:20, 94:2,         55:21, 78:10,       produced Vol. 1 -     Vol. 1 - 76:4          Vol. 1 - 22:9,       87:22, 87:25,
    94:12, 94:18,        78:18, 79:16,        174:10              pronouns [3] -          45:7, 73:22,         88:3, 88:12,
    94:23, 95:11,        92:10, 134:3,       producing             Vol. 1 - 62:4,         73:25, 74:1,         103:21, 104:7,
    96:2, 98:10,         134:12, 135:15,      Vol. 1 - 114:18      62:8, 62:8             74:4, 74:16,         104:13, 107:9,
    98:12, 103:12,       135:19, 146:22,     productive           properly Vol. 1 -       78:20, 80:17,        108:7, 108:13,
    118:5, 118:21,       147:5, 147:7,        Vol. 1 - 161:6       150:11                 99:16, 99:19,        110:11, 110:17,
    122:19, 129:11,      148:4, 148:16,      products Vol. 1 -    Property Vol. 1 -       99:23, 100:1,        110:19, 115:25,
    133:14, 133:19,      149:20, 159:19,      68:6                 50:14                  108:16, 112:15,      117:14, 122:14,
    133:23, 134:2,       166:1               profession [5] -     prose [2] - Vol. 1 -    112:23, 113:5,       125:24, 126:1,
    134:9, 134:10,      private [4] -         Vol. 1 - 56:18,      61:11, 61:11           113:12, 126:5,       127:20, 137:25,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 195 of 203




    138:8,               qualitative           161:15, 168:17,        123:13, 126:15,      Vol. 1 - 14:11,       32:14, 32:21,
    151:16, 159:24        Vol. 1 - 127:16      168:20, 169:8          127:11, 132:16,      27:17, 59:17,         32:23, 34:3,
   psychologists         quality [4] -        rates Vol. 1 -          134:13, 145:3,       66:18                 38:11, 40:3
   [2] - Vol. 1 -         Vol. 1 - 66:11,      161:13                 150:11, 152:16,     recently [2] -        recommending
    28:18, 133:22         66:12, 76:7,        rather [8] -            157:22, 165:25,      Vol. 1 - 7:1, 10:5   [2] - Vol. 1 -
   psychology [3] -       115:4                Vol. 1 - 4:21,         166:18              recess [4] -           28:13, 93:2
    Vol. 1 - 126:5,      quarter [5] -         17:10, 24:22,         rearrangement         Vol. 1 - 67:12,      recommends
    126:7, 126:16         Vol. 1 - 142:4,      94:16, 131:12,         Vol. 1 - 64:18       115:20, 134:22,       Vol. 1 - 96:11
   psychotherapy          143:24, 144:4,       143:7, 151:10,        reason [13] -         167:14               record [4] -
   [6] - Vol. 1 -         144:6, 144:24        160:17                 Vol. 1 - 58:10,     recognition            Vol. 1 - 47:4,
    45:25, 50:10,        quarter-inch         ratio Vol. 1 -          64:3, 74:4, 81:3,    Vol. 1 - 33:15        47:7, 115:18,
    59:5, 59:6, 59:7,     Vol. 1 - 143:20      168:18                 81:15, 85:24,       recognize [28] -       141:7
    59:10                queen [3] -          RE Vol. 1 -             106:9, 135:20,       Vol. 1 - 46:21,      records [7] -
   puberty Vol. 1 -       Vol. 1 - 89:22,      175:8                  137:5, 152:1,        46:24, 47:11,         Vol. 1 - 9:14,
    86:17                 92:23, 152:10       react [3] - Vol. 1 -    154:3, 167:10,       52:8, 56:11,          9:20, 9:21, 9:25,
   public [6] -          quest [5] - Vol. 1 -  17:17, 17:18,          172:6                57:16, 57:23,         10:1, 10:13,
    Vol. 1 - 1:20,        57:4, 57:5,          69:18                 reasonable [5] -      63:8, 74:19,          10:24
    64:12, 172:24,        57:12, 92:8,        reactions Vol. 1 -      Vol. 1 - 38:19,      77:1, 77:10,         redone Vol. 1 -
    174:6, 174:21,        130:12               17:24                  38:25, 96:12,        85:21, 91:17,         102:13
    175:12               questioner [2] -     reader Vol. 1 -         122:2, 144:11        91:17, 91:18,        reduce [2] -
   publication            Vol. 1 - 120:21,     92:24                 reasons [12] -        92:10, 93:7,          Vol. 1 - 100:25,
    Vol. 1 - 122:25       123:21              readers Vol. 1 -        Vol. 1 - 63:7,       98:25, 100:5,         128:15
   publications [2] -    quick [3] - Vol. 1 -  81:7                   63:20, 65:12,        102:10, 112:20,      reduced [4] -
    Vol. 1 - 22:14,       34:25, 38:4,        reading [3] -           111:24, 111:25,      116:25, 119:8,        Vol. 1 - 97:23,
    35:3                  60:1                 Vol. 1 - 43:21,        138:16, 145:1,       125:3, 134:13,        98:3, 98:4,
   publicly Vol. 1 -     quickly [4] -         121:19, 175:11         146:12, 147:15,      142:22, 149:15,       174:9
    13:10                 Vol. 1 - 5:10,      real-life [22] -        147:19, 147:23,      149:20               refer [5] - Vol. 1 -
   published [7] -        59:13, 59:14,        Vol. 1 - 16:12,        152:2               recognized [6] -       6:12, 15:21,
    Vol. 1 - 7:1,         127:12               16:12, 16:18,         reassignment          Vol. 1 - 55:9,        53:1, 62:8,
    10:5, 28:1, 28:4,    quieted Vol. 1 -      16:23, 18:2,          [56] - Vol. 1 -       74:12, 76:18,         62:13
    35:9, 35:18,          14:15                18:8, 18:13,           13:1, 15:20,         83:8, 111:3,         reference Vol. 1 -
    43:20                quite [7] - Vol. 1 -  18:16, 20:1,           15:22, 16:1,         149:6                 73:20
   punch Vol. 1 -         17:16, 27:3,         60:8, 61:20,           17:22, 18:5,        recognizes            referenced [2] -
    108:21                27:13, 57:19,        61:22, 62:11,          18:7, 18:15,         Vol. 1 - 85:15        Vol. 1 - 52:25,
   purchase Vol. 1 -      118:13, 134:12,      62:12, 63:7,           26:16, 26:18,       recollection           53:5
    50:17                 155:25               63:12, 63:21,          26:25, 27:10,        Vol. 1 - 47:21       referred Vol. 1 -
   purpose [2] -         quote [2] - Vol. 1 -  64:3, 64:5,            28:3, 29:25,        recommend              63:2
    Vol. 1 - 4:2,         90:19, 130:19        65:21, 67:15,          30:6, 30:20,        [10] - Vol. 1 -       referring [3] -
    154:12               quoted Vol. 1 -       75:14                  30:24, 31:2,         15:15, 16:22,         Vol. 1 - 6:9,
   pus [2] - Vol. 1 -     168:14              realistic Vol. 1 -      31:4, 37:14,         29:23, 39:5,          42:23, 53:22
    114:19, 114:20       quoting Vol. 1 -      169:10                 38:16, 39:8,         40:4, 40:8,          refers Vol. 1 -
   pushed [2] -           123:6               reality [10] -          39:11, 39:13,        59:10, 87:19,         23:25
    Vol. 1 - 95:25,                            Vol. 1 - 39:24,        39:19, 57:1,         92:17, 137:22        reflexive Vol. 1 -
    157:14                        R            39:25, 40:1,           57:5, 58:7,         recommendation         24:23
   pushing Vol. 1 -                            63:8, 63:9,            60:14, 64:19,       [9] - Vol. 1 -        reframe Vol. 1 -
    102:3                raise [2] - Vol. 1 - 85:21, 86:2,            65:1, 66:17,         15:23, 26:6,          58:19
   puts [2] - Vol. 1 -    44:18, 83:23         92:1, 92:2,            70:2, 97:7, 97:9,    37:17, 38:19,        refresh Vol. 1 -
    99:17, 102:3         raised [6] -          169:17                 97:11, 101:1,        39:21, 41:19,         47:21
   putting [6] -          Vol. 1 - 63:15,     realize Vol. 1 -        101:17, 103:7,       121:4, 122:25,       refreshed Vol. 1 -
    Vol. 1 - 58:22,       63:18, 66:10,        64:21                  130:9, 130:10,       170:25                7:19
    71:14, 93:24,         102:23, 151:13, realizing Vol. 1 -          130:22, 159:22,     recommendations       refusal Vol. 1 -
    94:17, 95:5,          158:4                19:7                   160:19, 161:1,      [14] - Vol. 1 -        86:2
    101:9                raising Vol. 1 -     really [31] -           161:7, 161:13,       31:10, 31:15,        refuse [2] -
                          23:10                Vol. 1 - 14:6,         161:16, 161:23,      34:4, 37:24,          Vol. 1 - 100:9,
            Q            rape [7] - Vol. 1 - 18:4, 18:7,              162:3, 162:6,        40:9, 50:12,          118:6
                          93:23, 93:24,        27:13, 27:18,          162:21, 168:5,       52:21, 64:25,        refused [2] -
   qualified [2] -        95:11, 133:7,        28:20, 45:5,           168:11, 168:18,      87:16, 122:12,        Vol. 1 - 83:22,
    Vol. 1 - 26:24,       133:7, 133:8,        49:1, 54:5, 55:1,      169:8                137:18, 137:19,       92:4
    174:6                 170:23               64:1, 66:6,           rebuttal [5] -        141:17, 163:18       refusing Vol. 1 -
   qualify [5] -         rare Vol. 1 -         66:14, 71:7,           Vol. 1 - 6:25,      recommended            138:23
    Vol. 1 - 26:18,       131:12               85:13, 87:5,           10:4, 159:25,       [10] - Vol. 1 -       regarding [6] -
    29:15, 96:11,        rate [6] - Vol. 1 -   87:8, 95:12,           162:18, 164:1        19:18, 27:9,          Vol. 1 - 31:11,
    96:23, 128:21         160:5, 160:6,        112:25, 122:17,       recent [4] -          31:2, 31:16,          34:4, 34:4, 48:9,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 196 of 203




    50:12,                137:22, 163:12,        removal [3] -         Vol. 1 - 138:17      30:22                  role [3] - Vol. 1 -
    58:13                 163:15, 164:23,         Vol. 1 - 34:22,     represents           rest [2] - Vol. 1 -      18:21, 58:16,
   registered [3] -       164:24                  34:23, 78:3          Vol. 1 - 169:12      20:7, 138:6             168:7
    Vol. 1 - 1:19,       rejected Vol. 1 -       remove Vol. 1 -      repudiate Vol. 1 -   result [3] - Vol. 1 -   roles [3] - Vol. 1 -
    52:2, 174:5           26:16                   114:14               24:18                37:17, 40:10,           19:10, 60:19,
   regret Vol. 1 -       relate [2] - Vol. 1 -   rendered Vol. 1 -    request [3] -         54:17                   105:3
    66:16                 11:7, 162:14            121:6                Vol. 1 - 87:20,     results Vol. 1 -        room [5] - Vol. 1 -
   regular Vol. 1 -      related [7] -           reoperation           88:16, 137:23        160:2                   72:5, 122:20,
    32:23                 Vol. 1 - 6:6, 9:7,      Vol. 1 - 169:8      require [2] -        retain [2] - Vol. 1 -    157:13, 157:19,
   Reid [30] -            37:4, 50:3,            repeat [5] -          Vol. 1 - 16:3,       50:18, 60:13            157:23
    Vol. 1 - 2:5, 3:9,    106:7, 110:23,          Vol. 1 - 10:2,       142:9               retained [3] -          rough Vol. 1 -
    7:5, 47:2, 49:10,     133:1                   62:6, 87:7,         required [4] -        Vol. 1 - 6:2,           9:4
    53:7, 108:10,        relating [2] -           95:22, 104:4         Vol. 1 - 100:7,      36:16, 41:1            routine Vol. 1 -
    121:11, 132:19,       Vol. 1 - 103:10,       rephrase [5] -        129:23, 140:11,     rethink Vol. 1 -         4:16
    135:23, 137:6,        128:7                   Vol. 1 - 19:18,      175:12               85:23                  RPR [2] - Vol. 1 -
    137:8, 137:14,       relations [3] -          68:11, 68:15,       requirement [3] -    return [2] -             174:21, 175:20
    140:12, 141:4,        Vol. 1 - 11:13,         77:17, 113:9         Vol. 1 - 60:12,      Vol. 1 - 75:19,        RSA [2] - Vol. 1 -
    141:11, 145:2,        21:5, 60:20            report [59] -         60:13, 109:21        145:6                   2:7, 175:5
    145:10, 145:15,      relationship [8] -       Vol. 1 - 6:24,      requires [3] -       returns Vol. 1 -        ruined Vol. 1 -
    145:18, 145:23,       Vol. 1 - 15:13,         6:25, 6:25, 7:2,     Vol. 1 - 18:9,       18:21                   94:10
    147:18, 147:22,       21:8, 23:23,            8:21, 8:23, 9:1,     100:14, 105:10      reverted Vol. 1 -       rule [2] - Vol. 1 -
    148:8, 168:12,        23:24, 68:23,           9:3, 9:4, 9:9,      reread [2] -          21:13                   33:8, 174:17
    170:7, 170:18,        90:13, 168:9,           9:14, 9:21, 9:24,    Vol. 1 - 6:24,      review [3] -            rules [9] - Vol. 1 -
    171:14, 175:4,        168:21                  10:4, 10:4, 10:5,    6:24                 Vol. 1 - 10:24,         4:3, 4:17, 27:16,
    175:9                relationships [2] -      13:19, 25:6,        research [5] -        52:14, 52:20            44:8, 138:15,
   Reign Vol. 1 -         Vol. 1 - 13:12,         27:6, 27:21,         Vol. 1 - 22:10,     reviewed [4] -           138:16, 138:21,
    175:8                 115:5                   35:2, 36:8,          76:6, 76:8, 76:9,    Vol. 1 - 9:20,          143:3, 175:13
   reinforce Vol. 1 -    relative [2] -           36:16, 37:2,         76:20                9:21, 9:25, 10:6       run [9] - Vol. 1 -
    104:10                Vol. 1 - 90:8,          80:7, 80:12,        researchers [2] -    rhinoplasty              11:11, 11:18,
   reinforces             174:14                  81:4, 81:6,          Vol. 1 - 56:24,      Vol. 1 - 100:21         13:3, 13:3,
    Vol. 1 - 66:3        relatively [2] -         82:15, 84:18,        75:22               rich [2] - Vol. 1 -      39:17, 39:17,
   Reiyn [54] -           Vol. 1 - 19:3,          89:12, 96:8,        reserve [2] -         29:6, 29:20             44:19, 56:25,
    Vol. 1 - 1:6,         130:2                   96:18, 115:23,       Vol. 1 - 25:3,      rid Vol. 1 -             132:7
    4:11, 6:10, 6:12,    relevance Vol. 1 -       119:20, 121:20,      123:15               114:15
    6:13, 10:10,          69:13                   122:6, 137:16,      residency Vol. 1 -   ridiculous [2] -                 S
    80:2, 80:20,         relevant [2] -           141:18, 143:4,       155:21               Vol. 1 - 146:14,
    80:25, 82:16,         Vol. 1 - 70:23,         147:11, 156:21,     resides Vol. 1 -      146:15                 sacrificed Vol. 1 -
    83:17, 84:3,          81:14                   157:1, 159:25,       6:17                right-hand               132:25
    84:4, 85:10,         relieve [2] -            160:3, 160:13,      respect [6] -         Vol. 1 - 49:17         safe [8] - Vol. 1 -
    87:22, 88:8,          Vol. 1 - 96:13,         160:24, 162:17,      Vol. 1 - 78:25,     rights [13] -            135:16, 138:3,
    89:21, 91:9,          96:21                   162:18, 162:22,      112:21, 113:19,      Vol. 1 - 28:15,         140:24, 140:25,
    91:18, 91:19,        relieves [2] -           162:25, 162:25,      115:3, 134:7,        28:15, 28:15,           141:19, 141:22,
    92:2, 92:18,          Vol. 1 - 52:9,          163:7, 163:9,        148:4                29:2, 56:15,            143:20, 146:13
    92:18, 92:25,         96:22                   163:10, 163:10,     respectable           76:12, 91:6,           safety [16] -
    94:6, 94:14,         relieving Vol. 1 -       164:4, 164:19,       Vol. 1 - 76:24       152:22, 152:23,         Vol. 1 - 88:21,
    94:19, 95:16,         97:17                   168:3               respond [2] -         154:15, 154:17,         88:21, 133:15,
    117:14, 127:24,      religious [2] -         reporter [5] -        Vol. 1 - 46:4,       165:14, 165:15          133:18, 133:20,
    137:25, 138:18,       Vol. 1 - 91:12,         Vol. 1 - 1:19,       46:11               rigid [2] - Vol. 1 -     138:2, 138:16,
    138:23, 139:12,       151:8                   4:19, 5:2, 120:8,   responded             92:21, 93:13            140:23, 140:23,
    140:5, 140:5,        rely Vol. 1 -            174:5                Vol. 1 - 38:23      rip Vol. 1 - 42:21       141:19, 142:6,
    142:17, 142:19,       43:22                  reporting [4] -      response [6] -       Risen Vol. 1 -           142:11, 142:12,
    142:23, 143:23,      remain Vol. 1 -          Vol. 1 - 1:20,       Vol. 1 - 87:20,      8:17                    147:15, 147:19,
    143:24, 147:10,       18:1                    1:22, 174:5,         88:15, 111:11,      risk [7] - Vol. 1 -      148:1
    163:21, 164:6,       remembering              174:16               137:22, 140:6,       133:7, 148:20,         sake Vol. 1 -
    164:9, 164:10,        Vol. 1 - 147:16        reports [2] -         171:1                149:17, 164:8,          120:7
    164:12, 165:9,       remind [2] -             Vol. 1 - 36:9,      responsibilities      164:8, 169:3,          sat [2] - Vol. 1 -
    165:18, 165:19,       Vol. 1 - 24:4,          49:5                [2] - Vol. 1 -        169:4                   83:18, 83:24
    166:2, 166:5,         31:1                   represent [2] -       146:10, 169:6       risks [6] - Vol. 1 -    save [2] - Vol. 1 -
    171:1, 171:9         remodeled [2] -          Vol. 1 - 45:7,      responsible [3] -     132:25, 148:11,         115:13, 166:14
   Reiyn's [10] -         Vol. 1 - 101:8,         169:11               Vol. 1 - 93:1,       168:4, 170:6,          saving [5] -
    Vol. 1 - 82:25,       101:11                 representation        105:9, 133:14        170:16, 170:16          Vol. 1 - 115:6,
    84:24, 85:5,         remodeling               Vol. 1 - 124:21     responsibly [2] -    risky Vol. 1 -           115:10, 161:22,
    87:20, 88:16,         Vol. 1 - 101:20        represented           Vol. 1 - 30:5,       148:15                  162:5, 162:7
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 197 of 203




   saying [22] -      scroll Vol. 1 -        18:3, 61:23           92:7                  98:18, 98:19,         shoulders [2] -
    Vol. 1 - 5:3,      47:25                self-confidence       sets Vol. 1 -          98:19, 114:12,         Vol. 1 - 89:7,
    18:18, 47:18,     scrotum [2] -          Vol. 1 - 86:3         28:11                 148:19, 148:19,        164:18
    71:7, 73:15,       Vol. 1 - 166:10,     self-control          setting [3] -          149:17, 151:21,       shouldn't [5] -
    77:25, 87:5,       166:11                Vol. 1 - 90:21        Vol. 1 - 32:14,       152:20, 168:23,        Vol. 1 - 37:16,
    87:8, 89:4,       se Vol. 1 -           self-harm Vol. 1 -     87:21, 137:24         168:24                 43:24, 105:23,
    99:18, 103:1,      122:21                164:8                seven Vol. 1 -        sexuality [2] -         144:25, 162:12
    103:4, 112:11,    seal Vol. 1 -         self-preservatio       53:12                 Vol. 1 - 21:21,       showing [2] -
    117:21, 117:23,    174:18                Vol. 1 - 90:22       seven-foot             23:21                  Vol. 1 - 119:14,
    130:6, 139:17,    secondary             seminar [9] -          Vol. 1 - 95:9        sexually [3] -          161:12
    142:5, 143:2,      Vol. 1 - 80:19        Vol. 1 - 22:2,       seven-inch             Vol. 1 - 133:5,       shown Vol. 1 -
    146:16, 146:18,   secret Vol. 1 -        22:3, 22:16,          Vol. 1 - 95:17        147:25, 148:17         66:18
    163:8              109:25                25:19, 27:23,        several [5] -         sexually-deprive       shows Vol. 1 -
   says [24] -        Secretary Vol. 1 -     27:25, 28:20,         Vol. 1 - 6:24,        Vol. 1 - 94:3          160:22
    Vol. 1 - 4:5,      1:9                   48:21, 77:22          7:1, 15:9, 37:7,     shackles Vol. 1 -      shrinkage Vol. 1 -
    43:23, 43:24,     section [5] -         seminars [2] -         161:11                122:18                 82:2
    48:1, 49:25,       Vol. 1 - 53:18,       Vol. 1 - 40:18,      severally Vol. 1 -    shall [4] - Vol. 1 -   shriveled-up
    50:5, 62:24,       137:19, 141:18,       78:9                  115:7                 50:7, 50:17,           Vol. 1 - 131:14
    80:15, 85:5,       168:3, 170:17        send [2] - Vol. 1 -   severe [2] -           52:19, 111:23         shunning Vol. 1 -
    89:20, 114:13,    security [29] -        15:16, 175:15         Vol. 1 - 65:17,      share Vol. 1 -          153:11
    114:15, 119:1,     Vol. 1 - 50:15,      Senior Vol. 1 -        113:14                31:20                 sift Vol. 1 -
    120:5, 120:22,     50:21, 51:2,          2:17                 sex [66] - Vol. 1 -   shaved [2] -            84:13
    121:23, 123:22,    89:23, 132:17,       sense [19] -           13:1, 15:20,          Vol. 1 - 57:10,       sign [3] - Vol. 1 -
    125:19, 133:10,    132:25, 133:11,       Vol. 1 - 15:24,       15:21, 16:1,          100:22                 171:15, 175:12,
    142:21, 151:16,    133:13, 133:24,       17:1, 63:9,           17:21, 18:5,         she'll Vol. 1 -         175:13
    154:2, 160:24,     134:16, 135:20,       63:11, 65:2,          18:7, 18:15,          129:16                signature [4] -
    169:7              137:5, 137:11,        67:7, 69:23,          22:10, 24:2,         she's [32] -            Vol. 1 - 175:12,
   scarves Vol. 1 -    141:2, 143:19,        93:15, 94:6,          24:18, 24:19,         Vol. 1 - 81:21,        175:12, 175:14,
    116:18             144:23, 146:6,        95:18, 95:20,         26:16, 26:18,         82:20, 86:7,           175:15
   scenario [2] -      146:8, 146:9,         97:13, 104:16,        26:25, 27:10,         86:8, 88:19,          signed Vol. 1 -
    Vol. 1 - 112:5,    146:9, 146:10,        104:16, 104:22,       28:3, 29:25,          88:25, 89:4,           175:15
    159:2              148:1, 148:6,         133:16, 142:20,       30:6, 30:19,          89:25, 90:1,          significant [2] -
   Schirripa [4] -     148:9, 148:20,        144:21, 164:20        30:23, 31:2,          91:1, 91:5,            Vol. 1 - 65:8,
    Vol. 1 - 1:19,     148:21, 148:22,      sensibilities          31:3, 35:10,          91:23, 92:8,           161:23
    174:5, 174:21,     163:5, 163:6          Vol. 1 - 104:9        37:14, 38:16,         92:20, 116:21,        silent Vol. 1 -
    175:20            security-related      sensitizing            39:8, 39:11,          117:8, 121:19,         151:3
   schizophrenia      [2] - Vol. 1 -         Vol. 1 - 33:8         39:13, 39:18,         125:13, 128:3,        silicone Vol. 1 -
    Vol. 1 - 160:7     87:21, 137:23        sensuous Vol. 1 -      56:25, 57:4,          128:22, 128:23,        101:8
   schizophrenic      seeing Vol. 1 -        101:10                58:7, 60:13,          129:7, 129:11,        silly Vol. 1 -
    Vol. 1 - 158:1     8:18                 sent [6] - Vol. 1 -    65:1, 66:16,          129:14, 129:17,        143:7
   scholar Vol. 1 -   seeking [4] -          9:5, 19:22, 35:7,     70:2, 80:19,          139:2, 139:2,         similar [2] -
    131:22             Vol. 1 - 36:19,       48:24, 140:10,        94:4, 94:5, 97:7,     139:5, 139:8,          Vol. 1 - 22:3,
   scholarly [4] -     36:23, 90:1,          140:13                97:8, 97:11,          139:24, 167:8,         25:19
    Vol. 1 - 11:15,    170:4                sentences              97:11, 101:1,         170:4                 similarities
    21:19, 56:10,     seem [5] - Vol. 1 -    Vol. 1 - 102:20       101:17, 103:6,       shift Vol. 1 -          Vol. 1 - 73:17
    59:19              21:1, 32:10,         separate [2] -         130:9, 130:10,        78:5                  similarly [2] -
   scholarship         38:18, 44:16,         Vol. 1 - 11:25,       130:22, 151:5,       shirt [3] - Vol. 1 -    Vol. 1 - 69:8,
    Vol. 1 - 154:19    156:13                14:2                  151:15, 159:22,       88:5, 88:6,            113:25
   schools Vol. 1 -   seemed [4] -          September [3] -        160:19, 160:25,       138:10                simple [2] -
    154:5              Vol. 1 - 38:21,       Vol. 1 - 22:1,        161:7, 161:13,       shocked [2] -           Vol. 1 - 134:15,
   schoolteachers      39:9, 45:20,          22:1, 22:5            161:15, 161:23,       Vol. 1 - 81:7,         159:16
    Vol. 1 - 105:16    118:5                serious [6] -          162:2, 162:6,         83:19                 simply [3] -
   science [7] -      seems [8] -            Vol. 1 - 73:22,       162:20, 168:5,       short [4] - Vol. 1 -    Vol. 1 - 82:16,
    Vol. 1 - 57:24,    Vol. 1 - 35:20,       73:24, 74:1,          168:10, 168:17,       101:23, 138:23,        94:1, 153:13
    77:5, 77:12,       54:7, 64:12,          74:3, 130:20,         169:8                 144:5, 170:19         sincerely Vol. 1 -
    153:3, 153:4,      82:5, 130:4,          164:8                sexual [24] -         short-term              138:13
    154:18, 160:22     143:7, 145:12,       served Vol. 1 -        Vol. 1 - 11:7,        Vol. 1 - 158:21       Sinea Vol. 1 -
   scientific [9] -    151:7                 36:11                 11:8, 11:9,          shorter Vol. 1 -        46:23
    Vol. 1 - 56:16,   sees [3] - Vol. 1 -   service Vol. 1 -       11:11, 11:12,         139:7                 sister Vol. 1 -
    56:21, 57:20,      93:21, 131:12,        50:11                 11:12, 23:22,        shortly Vol. 1 -        62:13
    58:17, 60:2,       131:15               sessions Vol. 1 -      24:5, 24:7,           41:18                 Sitting Vol. 1 -
    76:17, 77:3,      self [4] - Vol. 1 -    33:5                  24:14, 28:2,         shorts Vol. 1 -         21:11
    161:20, 162:1      16:14, 17:1,         setback Vol. 1 -       44:24, 90:14,         72:1                  situation [2] -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 198 of 203




     Vol. 1 -               17:14, 82:1,           128:19, 137:20,        168:7                   142:11, 172:20,      struggle [3] -
    154:22,                 86:25, 103:13,         144:9, 151:4,         SS Vol. 1 -              174:2, 174:6          Vol. 1 - 13:8,
    158:18                  108:17, 152:13         163:25, 165:20         174:3                  state's Vol. 1 -       42:8, 139:17
   situations Vol. 1 -     society [7] -          soul [3] - Vol. 1 -    stabbed Vol. 1 -         29:25                struggles Vol. 1 -
    126:14                  Vol. 1 - 22:10,        18:23, 18:23,          165:4                  states [7] -           164:25
   six [6] - Vol. 1 -       30:4, 32:11,           93:15                 stability [2] -          Vol. 1 - 1:1,        struggling
    12:3, 15:3,             55:9, 131:18,         sounds [2] -            Vol. 1 - 90:7,          20:20, 76:9,          Vol. 1 - 26:14
    27:12, 30:18,           131:20, 154:9          Vol. 1 - 130:5,        90:22                   78:14, 111:2,        stubborn [8] -
    33:5, 109:18           soft Vol. 1 -           151:14                stabilize Vol. 1 -       142:9, 142:10         Vol. 1 - 84:24,
   six-hour [2] -           144:7                 speaking [4] -          88:24                  statewide [2] -        85:5, 85:8,
    Vol. 1 - 22:2,         softening Vol. 1 -      Vol. 1 - 5:1,         staff [12] - Vol. 1 -    Vol. 1 - 137:2,       86:10, 86:23,
    48:20                   82:2                   106:20, 133:18,        2:17, 7:24, 13:4,       142:8                 87:4, 99:1,
   skeptic Vol. 1 -        sole Vol. 1 -           143:4                  15:8, 15:9,            station Vol. 1 -       139:3
    56:7                    171:8                 special [10] -          33:16, 43:17,           82:8                 stubbornness
   skeptical Vol. 1 -      somebody [14] -         Vol. 1 - 25:25,        48:23, 54:13,          status [2] -          [2] - Vol. 1 -
    60:4                    Vol. 1 - 66:7,         33:12, 33:15,          92:6, 118:21,           Vol. 1 - 73:7,        85:16, 86:1
   skepticism [7] -         70:10, 71:8,           55:9, 91:19,           122:23                  151:21               student [2] -
    Vol. 1 - 54:17,         108:21, 109:6,         92:14, 92:15,         stage Vol. 1 -          staying Vol. 1 -       Vol. 1 - 60:20,
    56:2, 56:4,             112:25, 113:14,        150:18, 153:13,        48:25                   82:15                 156:16
    58:12, 58:13,           114:25, 115:8,         153:17                stance [2] -            Steet Vol. 1 -        studied Vol. 1 -
    58:16, 164:19           115:11, 135:21,       specialization          Vol. 1 - 57:24,         2:8                   165:21
   skeptics Vol. 1 -        155:6, 165:5,         [2] - Vol. 1 -          57:24                  Stenotype             studies Vol. 1 -
    56:5                    167:1                  11:4, 149:22          standard [2] -           Vol. 1 - 174:9        168:13
   skew Vol. 1 -           somebody's             specialize              Vol. 1 - 53:21,        step Vol. 1 -         stuffs Vol. 1 -
    158:18                  Vol. 1 - 130:20        Vol. 1 - 55:19         67:3                    47:4                  117:10
   skin [3] - Vol. 1 -     someone [12] -         specializes            standards [53] -        Stephen [7] -         style [4] - Vol. 1 -
    61:4, 69:14,            Vol. 1 - 63:25,        Vol. 1 - 155:15        Vol. 1 - 52:25,         Vol. 1 - 1:14,        47:2, 133:17,
    82:1                    72:5, 73:3,           specially [2] -         53:4, 53:13,            1:17, 3:3, 4:1,       138:25, 143:25
   slight [3] - Vol. 1 -    93:21, 98:6,           Vol. 1 - 150:13,       53:23, 54:3,            172:17, 174:7,       subject [11] -
    96:6, 96:7,             107:15, 129:24,        156:3                  54:11, 54:17,           175:10                Vol. 1 - 24:25,
    144:8                   139:20, 143:24,       specialty [5] -         55:15, 55:25,          steps Vol. 1 -         29:7, 81:18,
   Slightly Vol. 1 -        164:15, 167:6,         Vol. 1 - 11:6,         56:2, 56:13,            18:15                 102:16, 116:8,
    146:24                  169:9                  11:13, 53:2,           57:14, 58:8,           stereotypic            123:23, 124:3,
   slip [2] - Vol. 1 -     someone's               149:22, 157:12         58:10, 58:12,           Vol. 1 - 84:5         145:6, 152:14,
    62:14, 62:25            Vol. 1 - 115:6        specific [3] -          58:23, 58:24,          stipulated Vol. 1 -    153:18, 153:19
   slips Vol. 1 -          Somewhere               Vol. 1 - 33:9,         59:8, 59:11,            175:14               subjected Vol. 1 -
    26:12                   Vol. 1 - 56:20         88:9, 109:23           59:14, 59:16,          stop [3] - Vol. 1 -    140:16
   slow [2] - Vol. 1 -     son [4] - Vol. 1 -     specifically [3] -      59:20, 59:21,           50:22, 50:24,        subjective [8] -
    80:14, 134:13           63:16, 63:17,          Vol. 1 - 6:5,          60:7, 60:10,            113:8                 Vol. 1 - 42:13,
   slowed Vol. 1 -          63:18, 151:17          28:21, 77:22           60:24, 61:5,           stopped [2] -          66:11, 70:23,
    136:2                  sophisticated          specified Vol. 1 -      61:9, 61:16,            Vol. 1 - 14:14,       96:22, 122:1,
   smart [2] - Vol. 1 -    [2] - Vol. 1 -          174:13                 74:11, 74:19,           51:11                 123:23, 124:4,
    159:17, 161:5           44:6, 44:11           speech Vol. 1 -         76:17, 91:2,           store Vol. 1 -         131:15
   smarter [5] -           sorry [25] -            149:7                  96:21, 98:8,            64:14                subjects Vol. 1 -
    Vol. 1 - 86:5,          Vol. 1 - 7:6,         spend [4] -             99:9, 99:12,           strange [3] -          11:15
    86:5, 86:5, 86:7,       20:3, 24:13,           Vol. 1 - 49:13,        103:18, 107:11,         Vol. 1 - 23:14,      subsections
    86:8                    28:22, 32:12,          80:6, 129:15,          107:21, 108:6,          60:5, 82:5            Vol. 1 - 152:17
   social [24] -            39:3, 51:11,           157:8                  109:19, 109:20,        stranger Vol. 1 -     substance [2] -
    Vol. 1 - 13:19,         87:7, 88:3, 88:6,     spent [6] - Vol. 1 -    110:5, 110:6,           64:12                 Vol. 1 - 28:8,
    16:5, 16:6,             89:12, 97:19,          28:10, 41:22,          127:18, 128:15,        Street [2] -           90:16
    16:12, 16:23,           107:3, 119:25,         145:18, 156:15,        136:19, 136:25,         Vol. 1 - 2:20,       substances
    18:16, 60:9,            120:2, 121:15,         163:7, 164:21          148:25, 164:7,          175:5                 Vol. 1 - 90:16
    60:12, 60:20,           128:16, 134:24,       sperm [2] -             170:5, 170:15          strengths Vol. 1 -    subtle Vol. 1 -
    64:6, 64:25,            135:7, 135:9,          Vol. 1 - 106:6,       standing Vol. 1 -        15:24                 84:15
    67:15, 67:20,           147:20, 154:23,        168:23                 83:23                  stress Vol. 1 -       subtype Vol. 1 -
    67:25, 74:6,            162:13, 162:15,       splitting Vol. 1 -     start [4] - Vol. 1 -     154:3                 81:12
    75:14, 103:10,          167:12                 127:1                  61:14, 73:22,          strong [2] -          subtypes Vol. 1 -
    109:7, 109:14,         sort [16] - Vol. 1 -   spoke [2] -             87:19, 130:12           Vol. 1 - 96:1,        81:14
    109:21, 109:24,         14:15, 25:25,          Vol. 1 - 23:13,       started Vol. 1 -         96:3                 successes
    110:8, 155:15,          27:7, 43:14,           159:5                  134:2                  strongly Vol. 1 -      Vol. 1 - 89:21
    165:2                   54:16, 75:22,         sputum Vol. 1 -        state [8] - Vol. 1 -     18:7                 sue Vol. 1 -
   socially [7] -           84:15, 123:22,         114:18                 1:21, 32:2,            structure Vol. 1 -     144:15
    Vol. 1 - 16:17,         126:13, 126:25,       SRS Vol. 1 -            78:18, 142:11,          165:20               sued [2] - Vol. 1 -
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 199 of 203




    55:21,                  Vol. 1 - 16:3,       169:21               Vol. 1 - 21:22,        126:1, 126:17,        therapeutic [2] -
    55:22                   106:21              switch [3] -          22:1, 22:15,           144:12, 153:17,        Vol. 1 - 46:5,
   suffer [2] - Vol. 1 -   surgeries [3] -       Vol. 1 - 58:17,      24:24, 150:16,         169:18, 169:18,        46:14
    65:17, 158:25           Vol. 1 - 57:5,       80:1, 105:2          157:1                  170:19, 170:21,       therapies Vol. 1 -
   suffering [6] -          61:18, 101:7        sworn [2] -          Taylor Vol. 1 -         170:22                 100:10
    Vol. 1 - 33:23,        surgery [76] -        Vol. 1 - 4:4,        1:22                  terminal Vol. 1 -      therapist [6] -
    33:24, 33:24,           Vol. 1 - 13:2,       174:7               teach [5] - Vol. 1 -    156:5                  Vol. 1 - 21:8,
    70:1, 151:20,           15:20, 15:22,       symmetrical           21:25, 44:4,          terminology [4] -       30:13, 41:19,
    155:19                  16:1, 17:22,         Vol. 1 - 116:24      45:2, 54:21,           Vol. 1 - 103:25,       41:24, 46:2,
   suffers [2] -            17:22, 18:5,        sympathetic [2] -     157:3                  108:4, 108:25,         46:13
    Vol. 1 - 91:7,          18:7, 18:15,         Vol. 1 - 151:20,    teaches Vol. 1 -        127:21                therapists [2] -
    114:25                  19:19, 26:16,        151:21               155:20                terms [7] - Vol. 1 -    Vol. 1 - 46:5,
   sufficient Vol. 1 -      26:18, 26:25,       symposium [5] -      teaching [2] -          13:22, 76:22,          54:22
    67:20                   27:10, 28:4,         Vol. 1 - 22:4,       Vol. 1 - 44:13,        86:25, 127:19,        therapy [26] -
   suggest Vol. 1 -         29:25, 30:6,         23:7, 23:9,          55:4                   130:25, 146:19,        Vol. 1 - 19:23,
    71:9                    30:20, 30:24,        23:10, 24:4         team Vol. 1 -           147:24                 22:10, 32:24,
   suggesting [2] -         31:2, 31:4,         symptom Vol. 1 -      40:10                 test [2] - Vol. 1 -     34:4, 35:10,
    Vol. 1 - 87:12,         37:14, 38:17,        126:24              Telephonic [2] -        16:12, 65:21           45:5, 45:20,
    89:25                   39:5, 39:7, 39:9,   symptoms              Vol. 1 - 1:14,        testicles [2] -         46:14, 60:7,
   suicidal [7] -           39:12, 39:13,        Vol. 1 - 80:18       1:17                   Vol. 1 - 166:8,        61:16, 69:3,
    Vol. 1 - 158:16,        39:19, 57:1,        synonym [4] -        telling [3] -           166:9                  71:6, 75:8,
    164:14, 165:23,         57:5, 58:7,          Vol. 1 - 24:6,       Vol. 1 - 125:13,      testified [4] -         98:16, 103:6,
    165:25, 166:1,          58:14, 60:6,         24:7, 107:13,        151:6, 162:4           Vol. 1 - 35:24,        104:21, 107:16,
    166:17, 170:9           60:14, 64:17,        126:14              tells [2] - Vol. 1 -    35:24, 36:12,          109:16, 110:10,
   suicidality [2] -        65:1, 66:17,        system [3] -          83:14, 157:8           36:16                  110:16, 114:1,
    Vol. 1 - 161:13,        67:22, 69:8,         Vol. 1 - 22:20,     temporarily [8] -      testify [3] -           147:11, 157:10,
    167:3                   70:2, 75:11,         32:2, 55:13          Vol. 1 - 64:19,        Vol. 1 - 36:8,         168:5, 168:10,
   suicide [17] -           77:10, 97:7,        systematically        66:4, 72:22,           117:19, 174:8          169:14
    Vol. 1 - 58:7,          97:9, 97:11,         Vol. 1 - 77:6        79:1, 93:11,          testimony [6] -        there's [42] -
    92:5, 142:25,           100:1, 101:1,       systems [4] -         116:16, 116:25,        Vol. 1 - 5:21,         Vol. 1 - 5:8, 9:4,
    158:15, 160:12,         101:17, 103:7,       Vol. 1 - 78:24,      170:10                 35:23, 37:1,           14:17, 20:12,
    160:20, 165:21,         105:19, 105:20,      79:4, 79:6,         temporary [3] -         37:7, 174:9,           33:7, 33:15,
    166:2, 166:6,           107:16, 110:10,      134:5                Vol. 1 - 67:9,         174:11                 35:8, 49:19,
    166:12, 166:20,         130:9, 130:10,                            92:7, 116:13          testing Vol. 1 -        53:18, 54:20,
    166:21, 166:24,         130:12, 130:22,              T           ten [11] - Vol. 1 -     15:6                   58:1, 59:9, 64:9,
    167:6, 168:7,           130:23, 131:2,                            14:2, 14:8,           testosterone            66:5, 66:8,
    168:17, 168:20          131:19, 150:21,     taken [13] -          14:16, 19:16,          Vol. 1 - 143:9         72:13, 72:14,
   suicides Vol. 1 -        159:22, 160:19,      Vol. 1 - 4:12,       19:25, 21:1,          textbook Vol. 1 -       76:3, 85:16,
    160:21                  161:1, 161:7,        57:23, 67:12,        89:14, 89:15,          83:9                   86:1, 86:1,
   Suite [2] - Vol. 1 -     161:13, 161:16,      72:5, 82:11,         145:15, 145:18,       thank [8] - Vol. 1 -    91:18, 96:1,
    2:8, 175:5              161:23, 162:3,       115:20, 119:11,      161:25                 35:15, 54:8,           103:1, 106:25,
   summer Vol. 1 -          162:6, 162:21,       134:14, 134:22, tend [5] - Vol. 1 -         79:3, 120:11,          107:1, 107:1,
    82:18                   168:5, 168:11,       167:14, 172:2,       13:12, 14:19,          146:19, 148:3,         109:14, 115:24,
   superior Vol. 1 -        168:18, 169:9        174:12, 175:10       15:12, 29:2,           171:14, 175:16         127:15, 127:16,
    91:4                   surgical Vol. 1 -    takes [4] - Vol. 1 - 161:2                  themselves [26] -       128:20, 139:15,
   supervise [2] -          68:24                15:9, 30:18,        tends [2] - Vol. 1 -    Vol. 1 - 13:9,         139:15, 148:5,
    Vol. 1 - 14:20,        surprised Vol. 1 -    114:18, 126:10       21:6, 23:17            13:10, 17:13,          151:4, 153:19,
    31:19                   122:22              taking [19] -        tension Vol. 1 -        18:6, 29:13,           154:3, 164:19,
   support [3] -           surveyed Vol. 1 -     Vol. 1 - 5:9,        86:20                  32:10, 60:19,          164:20, 166:16,
    Vol. 1 - 15:25,         59:25                18:9, 29:11,        Teresita [2] -          62:17, 64:11,          166:17
    16:1, 154:17           Susan [3] -           29:13, 44:4,         Vol. 1 - 1:10,         65:20, 65:21,         thereafter Vol. 1 -
   supposed Vol. 1 -        Vol. 1 - 62:24,      52:22, 54:23,        8:14                   78:16, 88:23,          130:23
    106:13                  62:25, 63:2          55:12, 57:24,       term [31] - Vol. 1 -    95:5, 95:12,          therefore [4] -
   supreme [2] -           suspension            68:23, 90:17,        16:6, 16:8, 16:9,      95:15, 131:11,         Vol. 1 - 21:6,
    Vol. 1 - 91:21,         Vol. 1 - 152:11      90:18, 106:13,       16:14, 23:25,          131:11, 131:23,        94:1, 122:4,
    164:14                 sustain Vol. 1 -      106:20, 111:4,       24:2, 90:5, 90:6,      148:24, 149:11,        159:3
   surface [2] -            93:15                111:10, 134:6,       90:23, 92:23,          150:18, 151:22,       they're [59] -
    Vol. 1 - 89:9,         swarmy Vol. 1 -       149:5, 165:25        99:17, 106:24,         158:10, 164:15,        Vol. 1 - 15:14,
    117:23                  151:4               talks Vol. 1 -        107:20, 111:19,        164:17                 15:19, 16:20,
   surgeon [2] -           Sweden [2] -          114:9                112:6, 113:11,        theoretical             17:4, 21:4,
    Vol. 1 - 101:3,         Vol. 1 - 58:5,      TALLAHASSEE           122:10, 122:13,        Vol. 1 - 93:4          21:18, 22:20,
    106:18                  66:19                Vol. 1 - 1:2         122:13, 123:5,        Theoretically           29:13, 30:14,
   surgeons [2] -          Swedish Vol. 1 -     taught [6] -          123:6, 125:22,         Vol. 1 - 99:14         33:15, 33:19,
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 200 of 203




    44:11,             123:4, 123:16,         128:11, 161:9,         transcribed          84:8, 86:16,         53:1, 53:17,
    44:11, 44:18,      123:17, 128:17,        165:17                  Vol. 1 - 175:10     153:12, 153:12       53:18, 54:22,
    45:8, 53:22,       136:3, 169:11,        today's [3] -           transcript [3] -    transperson [8] -     61:13, 64:25,
    56:5, 63:22,       169:11                 Vol. 1 - 6:21,          Vol. 1 - 3:17,      Vol. 1 - 13:6,       65:18, 65:19,
    63:25, 65:11,     thinks [6] -            100:20, 120:6           172:1, 174:11       13:7, 13:11,         66:5, 66:8, 67:7,
    65:21, 65:24,      Vol. 1 - 63:16,       tolerate Vol. 1 -       Transcription        17:1, 87:10,         68:9, 68:10,
    66:23, 69:16,      76:15, 142:12,         169:12                  Vol. 1 - 174:10     93:9, 95:20,         68:12, 68:14,
    72:3, 72:6,        163:4, 163:11,        tomorrow Vol. 1 -       transexual           111:23               68:17, 68:21,
    72:20, 73:6,       170:8                  167:8                   Vol. 1 - 152:4     transsexual [11] -    69:3, 69:6, 69:9,
    76:11, 76:12,     third [2] - Vol. 1 -   Toniqua Vol. 1 -        transferred          Vol. 1 - 31:22,      69:11, 69:19,
    76:12, 76:13,      47:16, 123:22          36:2                    Vol. 1 - 140:9      32:6, 32:9,          69:20, 70:3,
    78:21, 84:5,      thirty Vol. 1 -        top [5] - Vol. 1 -      transfolks Vol. 1 - 32:10, 50:23,         71:3, 71:14,
    92:13, 92:14,      175:13                 9:13, 47:17,            133:4               82:9, 83:10,         72:14, 74:13,
    95:10, 99:3,      though [17] -           80:15, 120:21,         transgender          132:9, 155:22,       75:2, 75:2,
    105:4, 106:22,     Vol. 1 - 36:11,        123:22                 [30] - Vol. 1 -      160:5, 165:11        78:19, 88:24,
    112:10, 130:11,    39:12, 44:16,         topic Vol. 1 -           13:4, 13:24,       transsexualism        94:12, 98:18,
    130:13, 131:24,    52:3, 58:8,            23:2                    14:9, 19:17,        Vol. 1 - 152:13      98:20, 99:20,
    136:3, 137:12,     62:18, 71:21,         Toronto Vol. 1 -         26:14, 29:15,      transwoman [3] -      100:2, 100:6,
    138:23, 144:2,     87:6, 100:2,           76:9                    33:13, 36:13,       Vol. 1 - 6:16,       100:9, 100:16,
    149:11, 150:16,    113:17, 113:22,       total Vol. 1 -           53:10, 53:11,       118:22, 118:23       103:2, 109:22,
    150:17, 151:6,     127:1, 139:24,         12:2                    62:4, 66:20,       transwomen [2] -      111:4, 113:2,
    151:20, 152:1,     145:9, 163:13,        totally Vol. 1 -         67:17, 68:7,        Vol. 1 - 52:8,       113:10, 121:25,
    154:6, 154:12,     163:20, 169:8          38:21                   77:20, 79:7,        96:4                 125:18, 127:7,
    154:13, 154:15,   thoughtful [4] -       touched [2] -            79:17, 82:23,      treat [13] -          130:6, 130:18,
    166:21             Vol. 1 - 19:12,        Vol. 1 - 60:7,          87:6, 87:9,         Vol. 1 - 32:16,      132:2, 132:6,
   they've [13] -      24:22, 44:12,          62:3                    101:12, 135:1,      62:18, 67:20,        132:18, 133:1,
    Vol. 1 - 17:5,     98:21                 towards [7] -            135:11, 146:23,     68:17, 75:8,         135:20, 136:6,
    30:3, 44:3,       thoughts [2] -          Vol. 1 - 9:13,          147:1, 148:5,       75:11, 102:16,       149:21, 150:10,
    44:22, 44:24,      Vol. 1 - 110:23,       27:2, 40:16,            153:20, 157:25,     108:8, 150:6,        151:25, 159:18,
    57:25, 60:11,      164:14                 77:16, 77:20,           159:18, 160:9       153:5, 157:25,       159:20, 160:2,
    71:21, 134:5,     thousands               149:4, 158:19          transgendered        158:3, 158:9         163:19, 163:22,
    150:24, 151:21,    Vol. 1 - 106:10       towel Vol. 1 -           Vol. 1 - 166:21    treated [5] -         167:22, 167:23,
    158:10, 168:25    threatened [2] -        132:4                  transgenderism       Vol. 1 - 65:7,       170:3
   thin Vol. 1 -       Vol. 1 - 41:19,       Tower [2] -              Vol. 1 - 149:4      65:10, 100:15,      treatments [5] -
    95:14              78:15                  Vol. 1 - 2:7,          transition [28] -    155:2, 157:7         Vol. 1 - 23:11,
   thing [45] -       threatening             175:5                   Vol. 1 - 16:5,     treating [6] -        29:15, 35:14,
    Vol. 1 - 5:12,     Vol. 1 - 123:11       track Vol. 1 -           16:7, 18:16,        Vol. 1 - 11:17,      66:11, 113:6
    5:12, 17:8,       threats [2] -           22:13                   20:2, 20:4,         12:18, 12:23,       trick Vol. 1 -
    17:20, 23:14,      Vol. 1 - 41:23,       tradition [3] -          20:17, 56:22,       74:21, 154:25,       138:12
    23:16, 25:19,      42:17                  Vol. 1 - 69:1,          60:9, 60:12,        155:7               tried [2] - Vol. 1 -
    34:21, 36:7,      three-hour              69:14, 106:15           60:19, 64:6,       treatment [111] -     93:8, 165:17
    43:14, 47:11,      Vol. 1 - 22:4         traditionally            64:24, 64:25,       Vol. 1 - 14:24,     tries Vol. 1 -
    56:21, 62:20,     throughout              Vol. 1 - 116:2          65:6, 67:15,        15:4, 15:16,         21:5
    71:13, 72:21,      Vol. 1 - 39:1         train Vol. 1 -           67:20, 67:25,       16:2, 16:24,        trimmed Vol. 1 -
    72:22, 81:12,     thrown Vol. 1 -         82:7                    75:14, 103:11,      21:23, 22:6,         140:10
    82:5, 83:16,       132:4                 trained [4] -            103:13, 108:17,     23:3, 29:19,        trouble [4] -
    88:9, 93:16,      thwarted [3] -          Vol. 1 - 103:16,        108:18, 109:7,      29:23, 29:24,        Vol. 1 - 11:11,
    93:17, 98:18,      Vol. 1 - 89:23,        156:4, 156:15,          109:14, 109:21,     30:5, 30:22,         27:15, 99:4,
    100:2, 105:13,     92:1, 92:2             157:19                  109:24, 110:9,      31:11, 32:13,        160:25
    106:14, 116:13,   thyroid Vol. 1 -       training [6] -           150:21              32:20, 33:11,       troubles Vol. 1 -
    126:8, 127:8,      57:9                   Vol. 1 - 45:8,         transitioned         33:14, 35:25,        86:18
    129:5, 129:24,    tissue [3] -            54:13, 56:3,            Vol. 1 - 21:13      36:13, 36:20,       true [8] - Vol. 1 -
    130:3, 130:4,      Vol. 1 - 106:22,       153:14, 153:17,        transitioning [6] - 36:23, 37:10,         61:7, 72:2, 84:1,
    130:19, 131:10,    124:22, 148:13         155:18                  Vol. 1 - 16:13,     37:11, 37:16,        85:18, 112:1,
    131:15, 134:15,   title [3] - Vol. 1 -   traits [2] - Vol. 1 -    16:17, 16:23,       38:11, 38:14,        129:19, 161:1,
    146:17, 146:20,    23:9, 35:13,           84:21, 86:3             20:8, 20:19,        40:3, 42:3, 42:5,    174:11
    146:21, 151:2,     47:18                 trans [8] - Vol. 1 -     62:16               43:14, 43:17,       trust [2] - Vol. 1 -
    153:7, 153:7,     today [13] -            33:3, 33:15,           transitions          45:17, 47:19,        134:16, 134:17
    160:12, 166:18     Vol. 1 - 5:21,         40:16, 44:21,           Vol. 1 - 65:11      49:8, 49:20,        trusted Vol. 1 -
   thinking [12] -     6:19, 6:20, 7:18,      85:5, 85:9,            transpeople [9] -    50:1, 50:6,          122:19
    Vol. 1 - 59:21,    21:18, 32:3,           86:24, 134:13           Vol. 1 - 29:18,     50:11, 51:13,       trusting [2] -
    59:22, 78:3,       43:11, 101:7,         transcribe               33:22, 34:1,        51:17, 52:14,        Vol. 1 - 21:8,
    81:18, 90:10,      109:25, 123:8,         Vol. 1 - 4:19           37:13, 44:21,       52:19, 52:20,        124:21
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 201 of 203




   trustworthy            unanimous             169:18               24:24                  131:15                 138:11, 138:13,
    Vol. 1 - 128:25        Vol. 1 - 44:18      understanding        University [3] -       valid Vol. 1 -          138:14, 143:18,
   truth [8] - Vol. 1 -   unanticipated        [16] - Vol. 1 -       Vol. 1 - 22:5,         77:2                   144:3, 153:18,
    21:16, 60:16,          Vol. 1 - 17:24       19:9, 21:10,         152:12, 152:12        valuable [2] -          158:19, 165:16,
    91:22, 125:14,        uncomfortable         43:3, 50:25,        unless [3] -            Vol. 1 - 45:9,         167:25
    151:7, 174:8,         [3] - Vol. 1 -        74:12, 78:9,         Vol. 1 - 141:11,       45:10                 views [2] - Vol. 1 -
    174:8, 174:8           99:18, 102:3,        105:9, 105:11,       150:13, 175:13        value [2] - Vol. 1 -    113:22, 153:3
   truthful Vol. 1 -       102:9                107:20, 123:4,      unnecessariness         21:7, 21:8            violence [9] -
    5:21                  unconscious           123:6, 136:16,       Vol. 1 - 139:16       varieties [2] -         Vol. 1 - 42:16,
   tucks Vol. 1 -          Vol. 1 - 62:20       136:21, 144:16,     unreasonableness        Vol. 1 - 19:4,         42:17, 99:2,
    71:25                 unconsciously         144:19, 153:5        Vol. 1 - 139:15        100:3                  118:4, 122:18,
   turn [8] - Vol. 1 -     Vol. 1 - 62:22      understands          unsavory [2] -         variety Vol. 1 -        123:10, 125:7,
    8:16, 49:15,          undergarments         Vol. 1 - 163:23      Vol. 1 - 153:7,        138:22                 133:9, 135:24
    50:5, 80:13,          [25] - Vol. 1 -      understood [5] -      153:7                 various [6] -          violent [5] -
    84:18, 119:23,         52:6, 68:8,          Vol. 1 - 5:17,      unscientific            Vol. 1 - 44:3,         Vol. 1 - 26:1,
    143:8, 167:19          70:12, 71:16,        17:19, 89:24,        Vol. 1 - 54:15         60:19, 65:12,          117:25, 118:8,
   twice Vol. 1 -          79:9, 93:3, 95:4,    99:7, 138:17        unstable [4] -          75:1, 78:20,           118:15, 134:7
    21:3                   96:5, 96:20,        undertake [2] -       Vol. 1 - 118:1,        79:4                  Virginia [6] -
   two-way Vol. 1 -        99:9, 99:12,         Vol. 1 - 136:4,      118:16, 123:10,       varying Vol. 1 -        Vol. 1 - 25:8,
    140:4                  103:18, 104:8,       169:2                136:3                  55:2                   25:10, 25:18,
   type [4] - Vol. 1 -     107:11, 108:7,      underwear [2] -      unusual [3] -          vast Vol. 1 -           26:9, 36:8,
    4:22, 5:2, 14:23,      127:18, 128:2,       Vol. 1 - 6:8,        Vol. 1 - 24:3,         149:14                 79:14
    109:23                 128:3, 128:14,       164:7                71:13, 125:6          verbally Vol. 1 -      visited Vol. 1 -
   types Vol. 1 -          129:23, 129:24,     undressed            unwilling Vol. 1 -      4:21                   118:17
    75:1                   135:2, 136:18,       Vol. 1 - 72:6        54:15                 verge Vol. 1 -         visits [5] - Vol. 1 -
   typical Vol. 1 -        170:15, 171:2       unease [2] -         unwisely Vol. 1 -       158:14                 11:19, 11:25,
    14:7                  underlying [5] -      Vol. 1 - 60:1,       159:5                 version [7] -           12:3, 12:13,
   typically Vol. 1 -      Vol. 1 - 28:22,      122:24              upon [5] - Vol. 1 -     Vol. 1 - 47:14,        12:14
    159:19                 28:24, 29:1,        unethical [3] -       1:18, 52:23,           52:24, 54:10,         vocal Vol. 1 -
                           29:3, 29:4           Vol. 1 - 106:14,     58:16, 67:2,           59:18, 61:6,           100:22
             U            underneath [2] -      106:20, 151:4        77:3                   61:12, 61:15          vocation Vol. 1 -
                           Vol. 1 - 28:11,     unfortunately        urinate [3] -          versions [3] -          170:11
   ugly Vol. 1 -           28:12               [5] - Vol. 1 -        Vol. 1 - 83:19,        Vol. 1 - 53:13,       vocational [3] -
    114:18                underpants [8] -      149:24, 149:25,      83:22, 83:25           60:14, 60:17           Vol. 1 - 74:6,
   uh-huh [40] -           Vol. 1 - 34:15,      150:1, 150:2,       urination Vol. 1 -     versus [3] -            155:16, 168:7
    Vol. 1 - 4:21,         73:4, 73:7,          150:5                106:5                  Vol. 1 - 55:9,        vocationally
    6:12, 10:12,           73:11, 146:20,      unhappy [2] -        us-against-them         119:2, 148:13          Vol. 1 - 17:14
    20:11, 26:19,          148:6, 148:13,       Vol. 1 - 17:4,       Vol. 1 - 46:7         vessel Vol. 1 -        voice Vol. 1 -
    34:16, 34:20,          148:14               161:24              useful [6] -            105:7                  100:23
    34:24, 37:6,          understand [47] -    unicorn Vol. 1 -      Vol. 1 - 27:3,        veterans [4] -         Volume Vol. 1 -
    41:14, 42:1,           Vol. 1 - 4:11,       116:24               41:7, 41:12,           Vol. 1 - 160:4,        10:14
    48:8, 49:3, 51:9,      5:14, 16:6, 16:8,   Union Vol. 1 -        104:15, 116:25,        160:5, 160:9,         volunteered
    51:25, 56:1,           18:19, 20:19,        2:19                 122:4                  160:11                 Vol. 1 - 38:2
    56:7, 66:5, 69:8,      36:14, 44:1,        unique [6] -         uses [2] - Vol. 1 -    viable Vol. 1 -        vulnerability [3] -
    78:7, 82:11,           44:21, 46:6,         Vol. 1 - 33:22,      108:2, 156:24          100:2                  Vol. 1 - 95:19,
    84:22, 89:2,           63:15, 66:17,        60:4, 70:1,         using [5] - Vol. 1 -   victim Vol. 1 -         95:21, 147:24
    89:19, 109:1,          69:25, 70:19,        78:18, 84:16,        62:4, 62:7,            148:19                vulnerable [6] -
    112:13, 127:2,         73:19, 75:6,         146:13               90:15, 90:16,         victims Vol. 1 -        Vol. 1 - 89:22,
    130:15, 132:1,         76:6, 82:22,        unit Vol. 1 -         99:17                  133:8                  90:2, 91:1,
    135:6, 136:16,         84:3, 86:15,         70:16               usual Vol. 1 -         videoconference         93:22, 93:23,
    146:5, 156:17,         86:15, 91:12,       United [4] -          157:13                 Vol. 1 - 119:10        95:11
    156:25, 157:6,         103:15, 104:2,       Vol. 1 - 1:1,       usually [2] -          view [31] - Vol. 1 -
    162:9, 164:5,          104:5, 104:20,       20:20, 76:8,         Vol. 1 - 126:16,       6:13, 29:9,                    W
    168:16, 169:25,        106:1, 107:7,        111:2                168:24                 30:23, 31:3,
    171:10                 109:2, 111:1,       units Vol. 1 -       utilizing Vol. 1 -      45:20, 54:16,         waistband
   ultimate Vol. 1 -       112:22, 114:5,       26:1                 52:24                  68:17, 75:7,          Vol. 1 - 148:13
    5:12                   117:13, 121:8,      universal [3] -                              86:10, 103:11,        wait [2] - Vol. 1 -
   ultimately [3] -        123:15, 127:3,       Vol. 1 - 18:25,              V              108:4, 113:5,         47:13, 137:21
    Vol. 1 - 20:16,        127:16, 130:16,      142:8, 168:22                               113:11, 124:17,       waived Vol. 1 -
    94:19, 164:6           136:12, 137:1,      universality         VA Vol. 1 -             125:21, 126:25,       175:14
   unable [2] -            137:2, 138:15,       Vol. 1 - 45:3        160:3                  127:15, 128:1,        Walker [2] -
    Vol. 1 - 89:25,        139:21, 150:20,     universities [2] -   vagina [2] -            129:22, 132:14,       Vol. 1 - 2:6,
    91:1                   153:17, 161:19,      Vol. 1 - 22:17,      Vol. 1 - 129:12,       137:10, 137:15,       175:4
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 202 of 203




   walking [3] -          161:8, 161:21,         167:11                 wigs Vol. 1 -        37:12, 51:3,           writes [3] -
   Vol. 1 - 131:13,       165:22, 169:23         wheelchair             117:2                78:16, 94:5,           Vol. 1 - 33:7,
   142:14, 147:7          we've [4] - Vol. 1 -   Vol. 1 - 38:18         willing Vol. 1 -     101:23, 106:14,        76:11, 163:10
   wanted [14] -          13:17, 33:25,          whereas Vol. 1 -       101:14               116:5, 116:10,         writing [4] -
   Vol. 1 - 27:2,         145:15, 145:18         110:6                  win [3] - Vol. 1 -   116:15, 116:18,        Vol. 1 - 9:3,
   33:2, 41:5,            weapons Vol. 1 -       WHEREOF                29:9, 139:25,        117:1, 129:17,         9:11, 9:21, 48:7
   49:13, 63:20,          43:1                   Vol. 1 - 174:18        160:17               135:11, 146:23,        written [4] -
   81:21, 83:20,          wear [19] -            Whereupon [8] -        wins Vol. 1 -        147:1                  Vol. 1 - 9:24,
   88:9, 118:7,           Vol. 1 - 34:10,        Vol. 1 - 8:9,          129:8                women's [3] -          34:25, 35:5,
   118:10, 121:5,         34:15, 52:5,           46:18, 47:7,           Wisconsin            Vol. 1 - 51:3,         59:18
   159:22, 165:8,         68:5, 69:15,           67:12, 115:20,         Vol. 1 - 79:14       73:3, 127:18           wrong [6] -
   165:10                 69:16, 70:20,          119:5, 134:22,         within [6] -         won't [2] - Vol. 1 -   Vol. 1 - 24:6,
   wanting [3] -          72:10, 72:16,          167:14                 Vol. 1 - 13:9,       71:18, 113:7           58:1, 91:5,
   Vol. 1 - 15:20,        88:13, 94:1,           whether [37] -         25:17, 35:21,        wonderful Vol. 1 -     140:6, 153:19,
   44:18, 79:23           105:21, 116:6,         Vol. 1 - 10:14,        53:23, 55:24,        161:17                 154:3
   wants [31] -           116:17, 116:18,        18:14, 28:3,           174:6                wondering [5] -        wrote [7] - Vol. 1 -
   Vol. 1 - 24:1,         129:23, 135:2,         36:11, 39:8,           within-named         Vol. 1 - 18:16,        8:23, 26:6, 36:8,
   24:1, 52:1, 52:4,      164:16, 164:17         39:21, 41:6,           Vol. 1 - 174:7       46:25, 116:4,          36:16, 59:22,
   59:12, 62:10,          wearing [13] -         42:24, 45:20,          withstand Vol. 1 -   153:10, 168:9          122:6, 152:9
   67:8, 68:16,           Vol. 1 - 68:24,        64:17, 66:22,          86:20                worker Vol. 1 -
   70:21, 81:9,           69:10, 69:12,          75:18, 76:20,          witness [10] -       60:20                           X
   82:1, 83:13,           70:3, 72:3, 72:7,      79:16, 84:14,          Vol. 1 - 3:2,        workers Vol. 1 -
   89:5, 89:6, 89:7,      72:8, 73:11,           99:3, 99:10,           3:16, 6:2, 8:15,     13:19                  x-ray Vol. 1 -
   92:19, 93:8,           93:22, 97:5,           106:6, 111:5,          35:12, 36:6,         works Vol. 1 -          114:19
   100:23, 101:25,        97:25, 99:3,           111:21, 116:21,        174:7, 174:9,        105:11
   102:1, 102:1,          148:6                  117:8, 117:9,          174:18, 175:12       worries Vol. 1 -
   114:6, 123:12,         wears [2] -            117:10, 118:21,        witnessed            131:21
                                                                                                                             Y
   128:3, 128:20,         Vol. 1 - 72:15,        121:5, 125:13,         Vol. 1 - 41:23       worry Vol. 1 -         yeah [30] -
   130:4, 139:1,          117:10                 127:19, 131:13,        wives Vol. 1 -       133:18                  Vol. 1 - 26:22,
   139:2, 139:8,          week [5] - Vol. 1 -    131:16, 132:15,        15:5                 worse Vol. 1 -          35:3, 36:19,
   152:22, 152:23         11:22, 13:4,           145:22, 147:4,         woman [59] -         138:24                  47:24, 51:12,
   warrior [3] -          30:11, 30:11,          153:14, 163:16,        Vol. 1 - 6:14,       worth [3] - Vol. 1 -    62:7, 68:3,
   Vol. 1 - 89:21,        92:13                  167:2, 170:14          6:17, 12:25,         10:22, 90:19,           73:19, 77:25,
   92:23, 139:24          weeks Vol. 1 -         who's [8] - Vol. 1 -   13:2, 17:2, 17:6,    148:22                  79:3, 95:1,
   wash Vol. 1 -          12:10                  12:24, 12:25,          17:9, 18:6,          worthless Vol. 1 -      102:21, 110:25,
   151:11                 weight [3] -           13:1, 24:16,           18:10, 18:11,        46:3                    113:10, 124:2,
   watching Vol. 1 -      Vol. 1 - 42:19,        105:2, 105:9,          19:8, 42:22,         wouldn't [9] -          124:15, 127:2,
   129:16                 124:22, 124:23         148:16, 159:17         42:23, 62:17,        Vol. 1 - 7:24,          127:22, 132:22,
   ways [6] - Vol. 1 -    weights Vol. 1 -       who've Vol. 1 -        62:19, 64:12,        30:5, 30:22,            135:3, 137:2,
   38:24, 74:21,          95:11                  116:11                 64:13, 64:22,        33:2, 39:20,            137:3, 141:16,
   75:20, 128:10,         welcome Vol. 1 -       whoever Vol. 1 -       65:6, 65:11,         71:6, 71:9,             145:8, 147:14,
   148:24, 159:5          124:15                 155:1                  66:2, 66:4,          126:21, 130:6           149:24, 154:21,
   we'd [3] - Vol. 1 -    well-being             whole [8] -            67:17, 68:2,         WPATH [28] -            154:24, 155:12,
   15:5, 30:6,            Vol. 1 - 130:20        Vol. 1 - 29:12,        70:24, 71:10,        Vol. 1 - 52:25,         155:13
   110:7                  weren't [2] -          40:19, 41:21,          71:10, 72:10,        53:5, 53:21,           year's Vol. 1 -
   we'll [2] - Vol. 1 -   Vol. 1 - 144:13,       47:11, 58:6,           73:8, 73:9,          53:25, 54:1,            165:12
   5:6, 171:14            147:8                  94:15, 127:8,          73:10, 81:9,         54:6, 54:10,           yellow Vol. 1 -
   we're [34] -           west Vol. 1 - 7:2      174:8                  81:25, 82:1,         54:13, 54:17,           114:18
   Vol. 1 - 4:17,         Western Vol. 1 -       whom [2] -             93:18, 93:19,        54:19, 55:15,          yep Vol. 1 -
   5:3, 9:15, 14:2,       25:3                   Vol. 1 - 49:5,         93:19, 104:11,       55:25, 56:2,            89:15
   29:20, 30:7,           what's [9] -           103:17                 104:12, 104:12,      56:6, 56:16,           yesterday Vol. 1 -
   59:13, 65:12,          Vol. 1 - 8:13,         whose [5] -            110:1, 110:5,        56:23, 57:19,           167:7
   67:1, 69:21,           30:13, 31:25,          Vol. 1 - 11:11,        116:23, 116:25,      57:25, 58:8,           yet [8] - Vol. 1 -
   69:21, 73:16,          32:7, 49:11,           76:3, 122:18,          117:7, 118:16,       58:12, 58:17,           23:15, 30:7,
   77:7, 97:20,           52:12, 145:17,         122:19, 133:17         118:20, 118:22,      74:11, 125:19,          35:17, 123:25,
   98:20, 101:13,         152:13, 161:10         wife [3] - Vol. 1 -    123:11, 129:15,      150:7, 150:14,          158:2, 160:3,
   102:14, 102:15,        whatever [12] -        7:18, 7:23, 15:4       129:16, 131:11,      150:18, 154:2,          160:13, 160:24
   103:25, 104:22,        Vol. 1 - 58:13,        wig [9] - Vol. 1 -     131:16, 131:18,      154:2                  York [2] - Vol. 1 -
   107:2, 107:3,          89:7, 106:5,           116:6, 116:17,         131:19, 131:23,      WPATH's [2] -           2:21, 2:21
   112:23, 117:6,         123:11, 124:24,        116:19, 116:20,        142:20, 142:22,      Vol. 1 - 53:22,        you'll [6] - Vol. 1 -
   127:1, 127:11,         127:20, 144:2,         117:1, 117:1,          146:17               153:17                  8:12, 52:18,
   127:13, 136:21,        144:10, 146:12,        117:10, 117:16,        women [16] -         wrapped Vol. 1 -        61:2, 80:16,
   142:1, 159:4,          150:22, 155:1,         117:17                 Vol. 1 - 32:4,       26:4                    85:4, 119:23
Case 4:16-cv-00511-MW-CAS Document 129-9 Filed 06/19/17 Page 203 of 203




   young [8] -
    Vol. 1 - 6:8,
    6:13, 6:17,
    27:14, 92:21,
    139:20, 142:22,
    146:17
   younger Vol. 1 -
    14:20
   youngster
    Vol. 1 - 19:3
   yourself [6] -
    Vol. 1 - 94:7,
    94:8, 94:20,
    120:8, 158:24,
    159:1
   youthful Vol. 1 -
    169:24

           Z
   Zip Vol. 1 -
   175:6
   Zucker [3] -
   Vol. 1 - 23:7,
   76:1, 152:8
